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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                       Chapter 15

NEXTPOINT FINANCIAL INC. et al.,                             Case No. 23-10983 (TMH)

                Debtors in a foreign proceeding.1            (Jointly Administered)


NOTICE OF (A) FILING OF CHAPTER 15 PETITIONS AND RELATED CHAPTER 15
   DOCUMENTS SEEKING RECOGNITION OF CANADIAN PROCEEDINGS AS
FOREIGN MAIN PROCEEDINGS OR IN THE ALTERNATIVE FOREIGN NON-MAIN
             PROCEEDINGS AND (B) RECOGNITION HEARING

        PLEASE TAKE NOTICE that on July 26, 2023 (the “Petition Date”), NextPoint
Financial Inc., as the duly authorized foreign representative (the “Foreign Representative”)
with respect to the foreign proceedings, Case No. 5-235288 (the “Canadian Proceedings”),
commenced by the above-captioned Debtors (collectively, the “Debtors”) in the Supreme Court
of British Columbia (the “Canadian Court”) for which an order was entered recognizing their
application on July 25, 2023, pursuant to the Companies’ Creditors Arrangement Act, R.S.C.
1985, c. C-36 (as amended, the “CCAA”), filed an Official Form 401 Petition for each of the
Debtors [D.I. 1] (collectively for each of the Debtors, the “Chapter 15 Petitions”) under chapter
15 of title 11 of the United States Code (the “Bankruptcy Code”) commencing these
proceedings ancillary to the Canadian Proceedings (collectively, the “Chapter 15 Cases”), and
the Verified Petition for (I) Recognition of Foreign Main Proceedings or, in the Alternative,
Foreign Non-main Proceedings, (II) Recognition of Foreign Representative, (III) Recognition of
Initial Order and Amended and Restated Initial Order, and (IV) Related Relief Under Chapter
15 of the Bankruptcy Code [D.I. 5] (the “Verified Petition”) and Motion of the Foreign
Representative for Chapter 15 Recognition and Final Relief [D.I. 13] (the “Recognition
Motion”) seeking recognition of the Canadian Proceedings as foreign main proceedings within
the meaning of chapter 15 of the Bankruptcy Code. A true and correct copy of the Chapter 15
Petitions, the Verified Petition, and the Recognition Motion (without duplication) are attached to
this Notice as Exhibit A, Exhibit B, and Exhibit C, respectively.
1
          The Debtors in these chapter 15 proceedings, together with the last four digits of their business
identification numbers are: NextPoint Financial Inc. (6134); LT Holdco, LLC (8090); LT Intermediate Holdco, LLC
(0811); SiempreTax+ LLC (6145); JTH Tax LLC (8391); Liberty Tax Holding Corporation (N/A); Liberty Tax
Service, Inc. (N/A); JTH Financial, LLC (1522); JTH Properties 1632, LLC (0248); Liberty Credit Repair, LLC
(5427); Wefile, LLC (6778); JTH Tax Office Properties, LLC (0248); LTS Software LLC (6450), JTH Court Plaza,
LLC (2116); 360 Accounting Solutions LLC (8312); LTS Properties, LLC (9088); NPI Holdco LLC (1936); CTAX
Acquisition LLC (6975); Community Tax Puerto Rico LLC (4349); Community Tax LLC (8001); NPLM Holdco
LLC (8132); MMS Servicing LLC (7430); LoanMe, LLC (5663); LoanMe Funding, LLC (2305); LM Retention
Holdings, LLC (N/A); LoanMe Trust-Prime 2018-1 (0257); LoanMe Trust SBL 2019-1 (N/A); LoanMe Stores,
LLC (3810); InsightsLogic, LLC (0818); and LM 2020 CM I SPE, LLC (N/A). The location of the Debtors’
headquarters is 500 Grapevine Hwy, Suite 402, Hurst, TX 76054, and the Debtors’ mailing address is 1133 Melville
St., Suite 2700, Vancouver, BC V6E 4E5.



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         PLEASE TAKE FURTHER NOTICE that copies of the Chapter 15 Petitions and
related filings in the Chapter 15 Cases are also available (a) for a fee via PACER by visiting
http://ecf.deb.uscourts.gov/ (a PACER login and password are required to retrieve a document),
(b) on the public website maintained by the Debtors’ noticing agent, Stretto, Inc.,
[https://case.stretto.com/nextpoint], or (c) upon written request (including by e-mail) to counsel
to the Foreign Representative, DLA Piper (US) LLP, 1201 N. Market Street, Suite 2100
Wilmington, Delaware 19801 (Attn: R. Craig Martin, Esq. [craig.martin@us.dlapiper.com]), and
1251 Avenue of the Americas, New York, New York 10020 (Attn: Rachel Ehrlich Albanese, Esq.
[rachel.albanese@us.dlapiper.com]           and       Jamila        Justine     Willis,       Esq.
[jamila.willis@us.dlapiper.com]).

       PLEASE TAKE FURTHER NOTICE that on July 27, 2023, the Bankruptcy Court
entered the Order Granting Provisional Relief [D.I. 39] (the “Provisional Relief Order”),
granting provisional, injunctive, and related relief, including, but not limited to, granting
recognition of and giving effect in the United States to the Initial Order entered in the Canadian
Proceedings. True and correct copies of the Provisional Relief Order, and the corresponding
motion, are attached to this Notice as Exhibit D and Exhibit E, respectively.

       PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court scheduled a hearing
for August 18, 2023 at 10:00 a.m. (prevailing Eastern time) before the Honorable Thomas M.
Horan (the “Recognition Hearing”) on the Chapter 15 Petitions to consider the recognition of
the Canadian Proceedings as foreign main proceedings and give full force and effect to orders
entered in the Canadian Proceedings and related relief in accordance with the relief requested in
the Recognition Motion.

        PLEASE TAKE FURTHER NOTICE that any party in interest wishing to submit a
response, answer, or objection to the Chapter 15 Petitions or Recognition Motion must do so
pursuant to the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and the Local
Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the
District of Delaware, and such response, answer, or objection must (a) be in writing, (b) set forth
in detail the factual and legal bases therefor, (c) be filed with the United States Bankruptcy Court
for the District of Delaware, Office of the Clerk of the Court, 824 Market Street, Wilmington,
Delaware 19801, and (d) be served upon counsel for the Foreign Representative, DLA Piper
(US) LLP, 1201 N. Market Street, Suite 2100 Wilmington, Delaware 19801 (Attn: R. Craig
Martin, Esq. [craig.martin@us.dlapiper.com]), and 1251 Avenue of the Americas, New York,
New York 10020 (Attn: Rachel Ehrlich Albanese, Esq. [rachel.albanese@us.dlapiper.com] and
Jamila Justine Willis, Esq. [jamila.willis@us.dlapiper.com]), so as to actually be received no
later than August 11, 2023 at 4:00 p.m. (prevailing Eastern time).

      PLEASE TAKE FURTHER NOTICE that hearings in this matter, including the
Recognition Hearing, shall take place at the United States Bankruptcy Court for the District of
Delaware, 824 North Market Street, Wilmington, Delaware 19801.

       PLEASE TAKE FURTHER NOTICE that all parties in interest opposed to the
Chapter 15 Petition or the Foreign Representative’s request for relief in the Recognition Motion
must appear at the Recognition Hearing at the time and place set forth herein, which may be
adjourned from time to time without further notice except for an “in court” announcement at the

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Recognition Hearing or a filing on the docket of the Chapter 15 Cases of the date and time to
which the Recognition Hearing has been adjourned.

       PLEASE TAKE FURTHER NOTICE that at such hearing the Court may order the
scheduling of a case management conference to consider the efficient administration of these
chapter 15 cases.

       PLEASE TAKE FURTHER NOTICE that your rights may be affected. You should
read the Verified Petition carefully and discuss it with your attorney, if you have one in
connection with these chapter 15 cases. If you do not have an attorney, you may wish to
consult one.

       PLEASE TAKE FURTHER NOTICE that unless later ordered by the Bankruptcy
Court, any claims process for the Debtors will occur as part of the Canadian Proceedings and not
in connection with the Chapter 15 Cases.

     PLEASE TAKE FURTHER NOTICE THAT IF NO RESPONSES OR OBJECTIONS
ARE RECEIVED IN ACCORDANCE WITH THIS NOTICE, THE BANKRUPTCY COURT
MAY GRANT THE RELIEF REQUESTED BY THE FOREIGN REPRESENTATIVE
WITHOUT FURTHER NOTICE OR HEARING.




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Dated: July 28, 2023          Respectfully submitted,
       Wilmington, Delaware
                              DLA PIPER LLP (US)

                              /s/ R. Craig Martin
                              R. Craig Martin, Esq. (DE 5032)
                              1201 N. Market Street, Suite 2100
                              Wilmington, DE 19801
                              Telephone: (302) 468-5700
                              Facsimile: (302) 394-2462
                              Email: craig.martin@us.dlapiper.com

                              -and-

                              Rachel Ehrlich Albanese, Esq. (pro hac vice admitted)
                              Jamila Justine Willis, Esq. (pro hac vice admitted)
                              1251 Avenue of the Americas
                              New York, New York 10020
                              Telephone: (212) 335-4500
                              Facsimile: (212) 335-4501
                              Email: rachel.albanese@us.dlapiper.com
                                      jamila.willis@us.dlapiper.com

                              Counsel to the Foreign Representative




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                              EXHIBIT A TO NOTICE

                                Chapter 15 Petitions




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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 __________     District of __________
 District of Delaware

                         23-10983
 Case number (If known): _________________________ Chapter 15                                                                                  Check if this is an
                                                                                                                                                  amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1.   Debtor’s name
                                            NextPoint Financial Inc.
                                           _____________________________________________________________________________________________




2.   Debtor’s unique identifier            For non-individual debtors:

                                                       Federal Employer Identification Number (EIN)      ___ ___ – ___ ___ ___ ___ ___ ___ ___

                                                             723516134
                                                        Other ___________________________.                     Business Number
                                                                                           Describe identifier _____________________________.


                                           For individual debtors:

                                                       Social Security number:    xxx – xx– ____ ____ ____ ____

                                                       Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                       Other ___________________________. Describe identifier ______________________________.



3.   Name of foreign
     representative(s)                      NextPoint Financial Inc.
                                           ____________________________________________________________________________________________


4.   Foreign proceeding in which
     appointment of the foreign             Supreme Court of British Columbia
                                           ____________________________________________________________________________________________
     representative(s) occurred

5.   Nature of the foreign
                                           Check one:
     proceeding
                                                 Foreign main proceeding
                                                 Foreign nonmain proceeding
                                                 Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign                     A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                                 A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.

                                                 Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.
                                                  _______________________________________________________________________________________

                                                  _______________________________________________________________________________________


7.   Is this the only foreign                    No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the
     foreign representative(s)?
                                                 Yes




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Debtor          NextPoint  Financial Inc.
                _______________________________________________________                                                  23-10983
                                                                                                  Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:


                                         Canada
                                         ______________________________________________                  1133 Melville St., Suite 2700
                                                                                                         ______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         Vancouver BC V6E4E5
                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region ZIP/Postal Code


                                                                                                         Canada
                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):



                                         _______________________________________________                 1133 Melville St., Suite 2700
                                                                                                         _______________________________________________
                                         Number     Street                                               Number     Street

                                         _______________________________________________                 _______________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _______________________________________________                 Vancouver BC V6E4E5
                                                                                                         _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region ZIP/Postal Code


                                         _______________________________________________                 Canada
                                                                                                         _______________________________________________
                                         Country                                                         Country




10. Debtor’s website (URL)
                                          www.nextpointfinancial.com
                                         ____________________________________________________________________________________________________




11. Type of debtor                       Check one:

                                               Non-individual (check one):

                                                     Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                     Partnership

                                                     Other. Specify: ________________________________________________

                                               Individual




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Debtor      NextPoint  Financial Inc.
            _______________________________________________________                                              23-10983
                                                                                          Case number (if known)_____________________________________
               Name




12. Why is venue proper in this      Check one:
   district?                             Debtor’s principal place of business or principal assets in the United States are in this district.
                                         Debtor does not have a place of business or assets in the United States, but the following
                                          action or proceeding in a federal or state court is pending against the debtor in this district:
                                          ___________________________________________________________________________.

                                         If neither box is checked, venue is consistent with the interests of justice and the convenience
                                          of the parties, having regard to the relief sought by the foreign representative, because:
                                          ___________________________________________________________________________.



13. Signature of foreign
   representative(s)                 I request relief in accordance with chapter 15 of title 11, United States Code.

                                     I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                     relief sought in this petition, and I am authorized to file this petition.

                                     I have examined the information in this petition and have a reasonable belief that the
                                     information is true and correct.

                                     I declare under penalty of perjury that the foregoing is true and correct,


                                      /s/ Peter Kravitz
                                         ________________________________________________           Peter Kravitz
                                                                                                    _______________________________________________
                                         Signature of foreign representative                        Printed name


                                     Executed on         07/26/2023
                                                         __________________
                                                          MM / DD / YYYY



                                        ________________________________________________           _______________________________________________
                                         Signature of foreign representative                        Printed name


                                     Executed on         __________________
                                                          MM / DD / YYYY




14. Signature of attorney
                                      /s/ R. Craig Martin
                                         _________________________________________________ Date                  07/26/2023
                                                                                                                _________________
                                         Signature of Attorney for foreign representative                       MM   / DD / YYYY


                                         R. Craig Martin
                                         _________________________________________________________________________________________________
                                         Printed name
                                         DLA Piper, LLP (US)
                                         _________________________________________________________________________________________________
                                         Firm name
                                         1201 North Market Street, Suite 2100
                                         _________________________________________________________________________________________________
                                         Number     Street
                                         Wilmington
                                         ____________________________________________________          DE          19801
                                                                                                       __________________________________________
                                         City                                                           State          ZIP Code


                                         (302)  468-5700
                                         ____________________________________                            craig.martin@us.dlapiper.com
                                                                                                        __________________________________________
                                         Contact phone                                                  Email address




                                          5032
                                         ______________________________________________________ DE
                                                                                                ____________
                                         Bar number                                             State




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                               RESOLUTIONS CONSENTED TO IN WRITING
                                      BY ALL DIRECTORS OF

                                       NEXTPOINT FINANCIAL INC.
                                            (the "Company")

                                             AS OF JULY 25, 2023

     We, the undersigned, being all the directors of the Company (the “Board”), hereby consent to and
     adopt in writing the following resolutions:

     BACKGROUND:


A.        The Company and certain of its direct and indirect subsidiaries (the “Subsidiaries”) intend to enter
          into a Restructuring Support Agreement (the “Restructuring Agreement”) with the Sponsors, the
          Credit Facility Agents and the Supporting Secured Lenders (as such terms are defined in the
          Restructuring Agreement) pursuant to which the Company will proceed with a corporate
          restructuring and related transactions (the “Transaction”).

B.        A draft of the Restructuring Agreement has been provided to the Board (the “Draft Restructuring
          Agreement”).

C.        The Board has considered presentations by the management and the financial and legal advisors
          of the Company regarding the liabilities and liquidity of the Company, the strategic alternatives
          available to the Company and the effect of the foregoing on the Company’s business.

D.        The Board has had the opportunity to consult with the management and the financial and legal
          advisors of the Company and fully consider each of the strategic alternatives available to the
          Company.

E.        The Board has determined it is in the best interests of the Company to seek protection pursuant to
          the Companies’ Creditors Arrangement Act (the “CCAA”) and recognition of the CCAA proceedings
          under Chapter 15 of title 11 of the U.S. Bankruptcy Code to, inter alia, implement the Transaction
          (the “Proceedings”).

F.        In connection with the Proceedings and pursuant to the terms of the Restructuring Agreement, the
          Company and the Subsidiaries are required to enter into certain additional agreements (together,
          the “Ancillary Restructuring Documents”).

G.        A term sheet for interim financing has been provided to the Board (the “DIP Financing Term
          Sheet”).

H.        The Board has determined it is in the best interests of the Company to borrow additional funds to
          effectuate the restructuring contemplated in the Draft Restructuring Agreement on substantially the
          terms and subject to the conditions described to the Board and set forth in the DIP Financing Term
          Sheet.

I.        A draft sales and investment solicitation process has been provided to the Board (the “SISP
          Proposal”).

J.        The Board has determined it is in the best interests of the Company to commence a marketing and
          sale process on substantially the same terms and subject to the conditions set forth in the SISP
          Proposal.

K.        Scott Terrell has acted as Interim Chief Executive Officer of the Company since May 31, 2023.
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L.    The Corporate Governance and Nominating Committee of the Board (the “Nominating
      Committee”) has recommended that Scott Terrell be appointed as the permanent Chief Executive
      Officer of the Company.

RESOLVED THAT:

1.    The Company is authorized and directed to enter into the Restructuring Agreement in substantially
      the same form as the Draft Restructuring Agreement, with such amendments, additions or deletions
      as may be approved by any one officer or director of the Company, with such approval to be
      evidenced by the execution of the Restructuring Agreement.

2.    The Company is authorized and directed to enter into, and to cause the applicable Subsidiaries to
      enter into the Ancillary Restructuring Documents, as may be approved by any officer or director of
      the Company, with the execution thereof to be the evidence of such approval.

3.    The Company and the Subsidiaries are authorized to file an application with the Supreme Court of
      British Columbia for protection pursuant to the CCAA (the “Application”).

4.    The Company and the Subsidiaries are authorized to seek recognition of applicable orders in the
      CCAA proceedings in ancillary insolvency proceedings under Chapter 15 of Title 11 of the U.S.
      Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware.

5.    The Company is authorized to engage FTI Consulting Canada Inc. to assist in the Application and
      to act as Monitor in such Proceedings.

6.    The Company is authorized, empowered and directed to act as foreign representative in connection
      with the insolvency proceedings commenced under Chapter 15 of Title 11 of the U.S. Bankruptcy
      Code in the United States Bankruptcy Court for the District of Delaware.

7.    The Company is authorized and directed to engage and employ the law firm of DLA Piper (Canada)
      LLP and DLA Piper LLP (US) as restructuring counsel to represent and assist the Company in
      carrying out its duties under the Restructuring Agreement, the Ancillary Restructuring Documents,
      and the applicable insolvency laws of Canada and the United States of America, and to take any
      and all actions to advance the Company’s rights and obligations under the Restructuring
      Agreement and the applicable insolvency laws.

8.    The Company is authorized and directed to engage and employ the firm of Province, LLC to
      represent and assist Peter Kravitz as Chief Restructuring Officer and the Company in carrying out
      its duties under the Restructuring Agreement, the Ancillary Restructuring Documents, and the
      applicable insolvency laws of Canada and the United States of America, and to take any and all
      actions to advance the Company’s rights and obligations under the Restructuring Agreement and
      the applicable insolvency laws.

9.    The Company is authorized and directed to engage and employ the firm of Stretto, Inc. as noticing,
      claims and balloting agent and administrative advisor to represent and assist the Company in
      carrying out its duties under the Restructuring Agreement, the Ancillary Restructuring Documents,
      and the applicable insolvency laws of Canada and the United States of America, and to take any
      and all actions to advance the Company’s rights and obligations under the Restructuring
      Agreement and the applicable insolvency laws.

10.   The Company is authorized and directed to engage and employ the firm of Kekst CNC, Inc. as
      strategic communications consultant to represent and assist the Company in carrying out its duties
      under the Restructuring Agreement, the Ancillary Restructuring Documents, and the applicable
      insolvency laws of Canada and the United States of America, and to take any and all actions to
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      advance the Company’s rights and obligations under the Restructuring Agreement and the
      applicable insolvency laws.

11.   The Subsidiaries are hereby authorized to enter into or cause their subsidiaries to enter to, issue,
      execute, deliver and perform their respective obligations under the Restructuring Agreement and
      Ancillary Restructuring Documents, as applicable, substantially in the forms presented to the
      officers, directors and/or members of the applicable Subsidiaries, subject to such deletions,
      amendments or additions thereto as any officer or director may agree.

12.   The Company is hereby authorized to enter into a financing agreement on substantially the same
      terms and subject to the conditions set forth in the DIP Financing Term Sheet, with such
      amendments, additions or deletions as may be approved by any one officer or director of the
      Company, with such approval to be evidenced by the execution of such financing agreement.

13.   In accordance with the recommendation of the Nominating Committee, Scott Terrell is hereby
      appointed as Chief Executive Officer of the Company effective as of the date hereof, to serve at
      the discretion of the Board.

14.   Scott Terrell, in his capacity as Chief Executive Officer, and Peter Kravitz, in his capacity as Chief
      Restructuring Officer, acting alone or with one or more officers of the Company are authorized,
      empowered and directed to execute and file on behalf of the Company all petitions, schedules,
      lists, motions, papers or documents, and to take any and all action that they may deem necessary
      or proper to effectuate the restructuring contemplated by the Restructuring Agreement.

15.   Any officer or director of the Company be and is hereby authorized to execute all documents and
      do all other things as may be deemed necessary or desirable in connection with giving effect to
      these resolutions.

16.   Any acts taken prior to the effective date of this resolution by any director or officer in connection
      with the matters covered in these resolutions is hereby approved, ratified and confirmed.


                                       [Signature page follows]
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Execution Procedure

17.   These resolutions may be signed and delivered by electronic means, and may be signed in as
      many counterparts as may be necessary, each of which will be deemed to be an original, and
      together, will constitute one and the same instrument. Notwithstanding the date of execution, these
      resolutions will be deemed to bear the date set out above.




  ________________________________                     ________________________________
             24 Jul, 2023 3:17:52 PM EDT
  DON TURKLESON                                        MARYANN BRUCE



  ________________________________                     ________________________________
             24 Jul, 2023 3:55:32 PM EDT
  WILLIAM MINNER                                       LOGAN POWELL24 Jul, 2023 2:42:02 PM EDT




  ________________________________                     ________________________________
             24 Jul, 2023 4:33:47 PM EDT                         25 Jul, 2023 12:04:14 AM EDT
  ALICIA MORGA                                         NIK AJAGU
DocuSign Envelope ID: 1FBEC0D6-32C0-4828-A813-66513A21ED89
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            Execution Procedure

            17.      These resolutions may be signed and delivered by electronic means, and may be signed in as
                     many counterparts as may be necessary, each of which will be deemed to be an original, and
                     together, will constitute one and the same instrument. Notwithstanding the date of execution, these
                     resolutions will be deemed to bear the date set out above.




                ________________________________                       ________________________________
                DON TURKLESON                                          MARYANN BRUCE



                ________________________________                       ________________________________
                WILLIAM MINNER                                         LOGAN POWELL



                ________________________________                       ________________________________
                ALICIA MORGA                                           NIK AJAGU
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 15

    NEXTPOINT FINANCIAL INC., et al.,                             Case No. 23-[•] (•)

                   Debtors in a foreign proceeding.1              (Jointly Administered)


                          LIST PURSUANT TO RULE 1007(a)(4) OF THE
                        FEDERAL RULES OF BANKRUPTCY PROCEDURE

             NextPoint Financial Inc., in its capacity as the duly-appointed foreign representative (the

“Foreign Representative”) for the above-captioned debtors (collectively, the “Debtors”), which

are subject of the proceedings (the “Canadian Proceedings”) currently pending before the

Supreme Court of British Columbia (the “Canadian Court”), initiated pursuant to the Companies’

Creditors Arrangement Act, R.S.C. 1985, c. C-36 (as amended, the “CCAA”), respectfully

represents:

I.           Administrator in Foreign Proceedings Concerning the Debtors

             NextPoint Financial Inc. is the Court-appointed foreign representative (the “Foreign

Representative”) in the Canadian Proceedings.                    FTI Consulting Canada Inc. is the Court-

appointed monitor (the “Monitor”) in the Canadian Proceedings. The Foreign Representative




1
         The Debtors in these chapter 15 proceedings, together with the last four digits of their business identification
numbers are: NextPoint Financial Inc. (6134); LT Holdco, LLC (8090); LT Intermediate Holdco, LLC (0811);
SiempreTax+ LLC (6145); JTH Tax LLC (8391); Liberty Tax Holding Corporation (N/A); Liberty Tax Service Inc.
(N/A); JTH Financial, LLC (1522); JTH Properties 1632, LLC (0248); Liberty Credit Repair, LLC (5427); Wefile
LLC (6778); JTH Tax Office Properties, LLC (0248); LTS Software LLC (6450), JTH Court Plaza, LLC (2116); 360
Accounting Solutions LLC (8312); LTS Properties, LLC (9088); NPI Holdco LLC (1936); CTAX Acquisition LLC
(6975); Community Tax Puerto Rico LLC (4349); Community Tax LLC (8001); NPLM Holdco LLC (8132); MMS
Servicing LLC (7430); LoanMe, LLC (5663); LoanMe Funding, LLC (2305); LM Retention Holdings, LLC (N/A);
LoanMe Trust-Prime 2018-1 (0257); LoanMe Trust SBL 2019-1 (N/A); LoanMe Stores, LLC (3810); InsightsLogic,
LLC (0818); and LM 2020 CM I SPE, LLC (N/A). The location of the Debtors’ headquarters is 500 Grapevine Hwy,
Suite 402, Hurst, TX 76054, and the Debtors’ mailing address is 1133 Melville St., Suite 2700, Vancouver, BC V6E
4E5.


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believes that, other than the Canadian Proceedings, there are no foreign proceedings pending with

respect to the Debtors.

      The Foreign Representative’s mailing address is:

      NextPoint Financial Inc.
      1133 Melville Street, Suite 2700
      Vancouver, BC V6E 4E5

      The Monitor’s address is:

      FTI Consulting Canada Inc.
      TD Waterhouse Tower
      79 Wellington Street West
      Suite 2010, P.O. Box 104
      Toronto, Ontario M5K 1G8

II.       All Parties to Litigation Pending in the United States in which a Debtor is a Party at
          the Time of Filing of the Chapter 15 Petitions

             798 Tremont Holding, LLC
               798 Tremont Holding, LLC v. WeFile LLC d/b/a Liberty Tax Service, WeFile Inc.,
                 NY Tax Inc., and NextPoint Financial Inc., Case No. 815112/2022E (Supreme
                 Court of the State of New York, County of Bronx)

             Alexia Agnant and Demetress Corporation
               JTH Tax LLC d/b/a Liberty Tax Service v. Alexia Agnant and Demetress
                 Corporation, Case No. 1:22-cv-02385 (E.D.N.Y.)
             Attorney General in the State of California
               People v. JTH Tax, Inc., No. 07-460778 (Cal. Super. Ct.)

             Brandon Ali
               Brandon Ali v. LoanMe, LLC, Case No. 23NWCV00277 (Los Angeles County
                 Superior Court)

             Brent Turner
               Brent Turner v. NextPoint Financial Inc. and JTH Tax LLC d/b/a Liberty Tax
                 Service, Case No. CC-23-03216-B (County Court for the County of Dallas, Texas)

             Caleb LH Marker, Hart L. Robinovitch, Arielle Canepa, Flinn Milligan and Hrag
              Alexanian
               Caleb LH Marker, Hart L. Robinovitch, Arielle Canepa, Flinn Milligan, Hrag
                 Alexanian v LoanMe, LLC (p.k.a. LoanMe Inc.), Case No. 1220072796 (JAMS
                 Consumer Arbitration)

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            Carolyn Karrh
              Carolyn Karrh served a demand letter asserting negligence against a franchisee.

            Channell White
              Channell White v. Liberty Tax, Case No. MJ-32247-cv-0000038-2023 (Magisterial
                District Court in Delaware County, PA (small claims court))

            CMB Tax Service, LLC, Jeffrey Serbus, and Cindy Serbus
              JTH Tax LLC d/b/a Liberty Tax Service f/k/a JTH Tax, Inc. v. CMB Tax Service,
               LLC, Jeffrey Serbus, and Cindy Serbus, Case No. 4:21-cv-00022-M (E.D.N.C.)

            Denise Crumwell
              Denise Crumwell, individually and on behalf of all other persons similarly situated
                v. JTH Tax LLC, Case No. 1:23-cv-1755 (S.D.N.Y.)

            Department of Justice (Eastern District of Virginia)
              Department of Justice v Franchise Group Intermediate L 1, LLC, d/b/a Liberty
                Tax Service, Case No 2:19-cv-653 (District Court for the Eastern District of
                Virginia Norfolk Division)

            District of Columbia
              District of Columbia v. JTH Tax LLC f/k/a JTH Tax Inc. d/b/a Liberty Tax Service,
                Case No. 2022 CA 4285 B (Superior Court, District of Columbia)
            First Bank
              First Bank v. JTH Tax LLC d/b/a Liberty Tax Service, Case No. 1:22-cv-7303
                 (E.D.N.Y.)
            Gorilla Tax Services, Inc.; Sarkauskas Empire, Inc.; Sarkauskas Enterprises, LLC
              Gorilla Tax Services, Inc., Sarkauskas Empire, Inc., and Sarkauskas Enterprises,
                LLC v. JTH Tax LLC, Case No. 01-21-0017-9382 (E.D. Va.)
            Gulf Coast Marketing Group Inc.
              Gulf Coast Marketing Group Inc. v. JTH Tax LLC f/k/a JTH Tax Inc. d/b/a Liberty
                Tax Service and SiempreTax LLC, Case No. 2:21-cv-78 (E.D. Va.)
            Leopoldo Duran Abreu
              Leopoldo Duran Abreu v. ADBSM Holding Group LLC, Demetress Corporation,
                Rocket Tax Inc., and JTH Tax Inc., Case No. 508375/2023 (Kings County Supreme
                Court, New York)

            Lorenzo Dillard, Shannon Dillard, and Signature Taxx, Inc.
              JTH Tax LLC d/b/a Liberty Tax Service f/k/a JTH Tax, Inc. v. Lorenzo Dillard,
                Shannon Dillard, and Signature Taxx, Inc., Case No. 1:22-cv-01677 (D. Md.)



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            Michel Jacobs
              Michael Jacobs and Meridian Power Group Inc. v. Community Tax, Case No. 01-
                22-004-0052 (American Arbitration Association)

            Mufeed Haddad, Michael Budka, Mary Johnson, Mark Johnson, and M&M Business
             Group, LP
              Mufeed Haddad, Michael Budka, Mary Johnson, Mark Johnson, and M&M
                Business Group, LP v. JTH Tax LLC, Case No. CL21000441-00 (Circuit Court for
                the City of Virginia Beach, Virginia

            Randy Cabrera
              Cabrera v. LoanMe, LLC et. al., Case No. 5:22-cv-01368-JGB-SHK (United States
                District Court, California Central District (Eastern Division – Riverside))

            Renee Labrado
              Renee Labrado v. JTH Tax Inc., Case No. BC715076 (Superior Court of California,
                County of Los Angeles)

            Road King Development, Inc. and ZeeDee, LLC
              Road King Development, Inc. and ZeeDee, LLC v. JTH Tax LLC d/b/a Liberty Tax
                Service, Case No. 2:21-cv-00055-RAJ-LRL (E.D. Va.)

            Sheila and Dennis Smith
              Sheila and Dennis Smith v. Community Tax, Case No. 1-22-0003-2263 (American
                Arbitration Association)

            Shirleghta Givan
              Shirleghta Givan v. LoanMe, LLC (p.k.a. LoanMe Inc.), Case No. 2023-01314865
                (Orange County Superior Court)

            Sismas Group and Polymorphic, Inc.
              Sismas Group and Polymorphic, Inc. v. LoanMe, Inc., LoanMe, LLC, JTH Tax LLC
                d/b/a Liberty Tax, Case No.: 23 GDCV 00953 (Los Angeles County Superior Court,
                California)

            Stephen A. Gilbert and G-QTS Inc.
              JTH Tax LLC d/b/a Liberty Tax Service v. Stephen A. Gilbert and G-QTS Inc., Case
                No. 8:22-cv-00625 (M.D. Fla.)

            Tuan Vo
              Tuan Vo v. LoanMe, LLC (p.k.a. LoanMe Inc.), Case No. 8:17cv72 (United States
                District Court for the Central District of California)

III.    Entities Against Whom Provisional Relief is Sought Pursuant to 11 U.S.C. § 1519

        See attached Schedule 1.

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IV.       Corporate Ownership Statement Pursuant to Rules 1007(a) and 7007 of the Federal
          Rules of Bankruptcy Procedure

          Pursuant to Rules 1007(a) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the

Foreign Representative submits the following list of entities that hold ownership interests in the

Debtors:

          A.     NextPoint Financial Inc.

          NextPoint Financial Inc. is a publicly held company and its shares are traded on the Toronto

Stock Exchange (the “TSX”) under the ticker “NPF” and the OTCQB Exchange in the United

States under the ticker “NACQF”. The following entities own of 5% or more of NextPoint

Financial Inc.’s ownership interests:

         Tracy Neuberger 2020 Family Trust (Sponsor PVS) – 7.62%
         NextPoint Advisors, LLC (Barry Rosenstein) (Sponsor PVS) – 7.62%
         Bliksum (LoanMe) – 11.66%
         Intermediate L – 16.30%
         Cannell Capital – 5.34%
         Omega Capital Partners, LP – 5.34%
         B. Riley Financial – 5.34%

          B.     LT Holdco, LLC

          NPI Holdco LLC owns 100% of the ownership interests of LT Holdco, LLC.

          C.     LT Intermediate Holdco, LLC

          LT Holdco, LLC owns 100% of the ownership interests of LT Intermediate Holdco, LLC.

          D.     SiempreTax+ LLC

          LT Intermediate Holdco, LLC owns 100% of the ownership interests of SiempreTax+ LLC.

          E.     JTH Tax LLC

          LT Intermediate Holdco, LLC owns 100% of the ownership interests of JTH Tax LLC.

          F.     Liberty Tax Holding Corporation

          JTH Tax LLC owns 100% of the ownership interests of Liberty Tax Holding Corporation.


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        G.       Liberty Tax Service, Inc.

        JTH Tax LLC owns 60% of the ownership interests of Liberty Tax Service, Inc., and

Liberty Tax Holding Corporation owns 40% of the ownership interests of Liberty Tax Service,

Inc.

        H.       JTH Financial, LLC

        JTH Tax LLC owns 100% of the ownership interests of JTH Financial, LLC.

        I.       JTH Properties 1632, LLC

        JTH Financial, LLC owns 100% of the ownership interests of JTH Properties 1632, LLC.

        J.       Liberty Credit Repair, LLC

        JTH Tax LLC owns 100% of the ownership interests of Liberty Credit Repair, LLC.

        K.       Wefile, LLC

        JTH Tax LLC owns 100% of the ownership interests of Wefile, LLC.

        L.       JTH Tax Office Properties, LLC

        JTH Tax LLC owns 100% of the ownership interests of JTH Tax Office Properties, LLC.

        M.       LTS Software LLC

        JTH Tax LLC owns 100% of the ownership interests of LTS Software LLC.

        N.       JTH Court Plaza, LLC

        JTH Tax LLC owns 100% of the ownership interests of JTH Court Plaza, LLC.

        O.       360 Accounting Solutions LLC

        JTH Tax LLC owns 100% of the ownership interests of 360 Accounting Solutions LLC.

        P.       LTS Properties, LLC

        JTH Tax LLC owns 100% of the ownership interests of LTS Properties, LLC.

        Q.       NPI Holdco LLC

        NextPoint Financial Inc. owns 100% of the ownership interests of NPI Holdco LLC.

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        R.       CTAX Acquisition LLC

        NPI Holdco LLC owns 100% of the ownership interests of CTAX Acquisition LLC.

        S.       Community Tax Puerto Rico LLC

        CTAX Acquisition LLC owns 100% of the ownership interests of Community Tax Puerto

Rico LLC.

        T.       Community Tax LLC

        CTAX Acquisition LLC owns 100% of the ownership interests of Community Tax LLC.

        U.       NPLM Holdco LLC

        NPI Holdco LLC owns 100% of the ownership interests of NPLM Holdco LLC.

        V.       MMS Servicing LLC

        NPLM Holdco LLC owns 100% of the ownership interests of MMS Servicing LLC.

        W.       LoanMe, LLC

        NPLM Holdco LLC owns 100% of the ownership interests of LoanMe, LLC.

        X.       LoanMe Funding, LLC

        LoanMe, LLC owns 100% of the ownership interests of LoanMe Funding, LLC.

        Y.       LM Retention Holdings, LLC

        LoanMe, LLC owns 100% of the ownership interests of LM Retention Holdings, LLC.

        Z.       LoanMe Trust Prime 2018-1

        LM Retention Holdings, LLC owns 100% of the ownership interests of LoanMe Trust

Prime 2018-1.

        AA.      LoanMe Trust SBL 2019-1

        LM Retention Holdings, LLC owns 100% of the ownership interests of LoanMe Trust SBL

2019-1.



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        BB.      LoanMe Stores, LLC

        LoanMe, LLC owns 100% of the ownership interests of LoanMe Stores, LLC.

        CC.      InsightsLogic, LLC

        LoanMe, LLC owns 100% of the ownership interests of InsightsLogic, LLC.

        DD.      LM 2020 CM I SPE, LLC

        LoanMe, LLC owns 100% of the ownership interests of LM 2020 CM I SPE, LLC




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                      DECLARATION UNDER PENALTY OF PERJURY

        I, Peter Kravitz, am the Chief Restructuring Officer and an authorized signatory of the

foreign representative, NextPoint Financial Inc., in these chapter 15 cases. In such capacity, I am

familiar with the operations and financial affairs of the Debtors. I declare under penalty of perjury

under the laws of the United States of America that any information provided in the foregoing

“List Pursuant to Rule 1007(a)(4) of the Federal Rules of Bankruptcy Procedure” is true and

correct to the best of my knowledge, information and belief, with reliance on appropriate corporate

officers.

 Dated: July 26, 2023



                                                     /s/ Peter Kravitz
                                                     Peter Kravitz
                                                     Chief Restructuring Officer of NextPoint
                                                     Financial Inc.




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                                             Schedule 1

          Entities Against Whom Provisional Relief is Sought Pursuant to 11 U.S.C. § 1519

Secured Lenders / UCC Parties

                                                 Director of Employment Security of State of
AVTECH CAPITAL, LLC.                             Illinois
BASEPOINT ADMINISTRATIVE, LLC                    DRAKE ENTERPRISES LTD.
BP COMMERCIAL FUNDING TRUST II,
SERIES SPL-I                                     FRONTIER CAPITAL GROUP, LTD.
BP COMMERCIAL FUNDING TRUST, SERIES
SPL-X                                            KAYNE SOLUTIONS FUND, L.P.
BP SLL TRUST, SERIES SPL-III, A
STATUTORY SERIES OF BP SLL TRUST A
DELAWARE STATUTORY TRUST                         LM 2014 BP III SPE, LLC
C T CORPORATION SYSTEM                           LM 2014 BP SPE, LLC
CANON FINANCIAL SERVICES, INC.                   LM 2014 HC SPE, LLC
CAPITAL COMMUNITY BANK - SANDY
BEACH                                            LM 2019 IHA I SPE, LLC
CHILMARK ADMINISTRATIVE LLC                      LOANME GRANTOR TRUST SBL 2019-1
CIBC BANK USA                                    OAK HARBOR CAPITAL, LLC
CRA FUNDING 1, LLC                               TMI TRUST COMPANY


Litigation Parties

798 Tremont                                      Leopoldo Duran Abreu

Alexia Agnant and Demetress Corporation          Lorenzo Dillard, Shannon Dillard, and Signature
                                                 Taxx, Inc
Brandon Ali                                      Michel Jacobs
Brent Turner                                     Mufeed Haddad, Michael Budka, Mary Johnson,
                                                 Mark Johnson, and M&M Business Group, LP
Caleb LH Marker, Hart L. Robinovitch, Arielle    Randy Cabrera
Canepa, Flinn Milligan and Hrag Alexanian
Carolyn Karrh                                    Renee Labrado
Channell White                                   Road King Development, Inc. and ZeeDee, LLC
CMB Tax Service, LLC, Jeffrey Serbus, and        Sheila Smith and Dennis Smith
Cindy Serbus
Denise Crumwell                                  Shirleghta Givan
First Bank                                       Sismas Group and Polymorphic, Inc
Gorilla Tax Services, Inc.; Sarkauskas Empire,   Stephen A. Gilbert and G-QTS Inc.
Inc.; Sarkauskas Enterprises, LLC
Gulf Coast Marketing Group Inc.                  Tuan Vo




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Former Employees

Former Employee 1
Former Employee 2
Former Employee 3


Shareholders

ACADIA WOODS PARTNERS, LLC                 JOHN ALBARRAN
ACKER FAMILY 2012 GIFT TRUST               JOHNNY VO
ADAM BLANK                                 JONATHAN WILLIAMS
ADAM DAYAN LIVING TRUST                    JORDAN SNOW
ALAN ELEY                                  JOSH ROBISON
AMERICAN ENDOWMENT FOUNDATION              JULIET DIIORIO
FBO ROBERT AND THEA MITZMAN
CHARITABLE FUND
ANDRE VALENZUELA                           KRISTOF TSANG
ANDREW B. NEUBERGER EXEMPT FAMILY          LARRY CORRIDON
TRUST U/A/D 1/17/2020
ANDREW STRICKLER                           LEON G. COOPERMAN
ARELY ANTUNEZ                              MARIA SOTO
B. RILEY SECURITIES, INC.                  MARKOS BANOS
BEN MEDINA                                 MATT CHAVEZ
BILL MURPHY                                MICHAEL S. COOPERMAN WRA TRUST
BIRCHWOOD GROUP, LLC                       MICHAEL S. PIPER
BRADLEY JACOB DAYAN LIVING TRUST           MIKE CHIANG
BRIAN A. BENJAMIN                          MIKE HOEFKE
BRIAN ASHCRAFT                             MOTUS ADVISORS, INC
BRIAN BAUM                                 MR TECH STUFF INC
BRIAN KAHN                                 NEXTPOINT INVESTORS LLC
BRIAN MCDONALD                             NICHOLAS CARRERA
CDS & CO                                   OCO OPPORTUNITIES MASTER FUND, L.P.
CEDE & CO                                  OMEGA CAPITAL PARTNERS, LP
CORY MICHAEL HUGHES                        PASHA MISSAGHI
DANIEL URBAN                               PATRICK CLAIR
DAVE JOHNSON                               PAUL GLUCK
DEREK KNORR                                PAUL ROSARIO
DEUTSCH FAMILY INVESTMENT                  PETER WORONIECKI
PARTNERSHIP
DRAKE ENTERPRISES, LTD.                    PHILIP C. DRAKE
ERIC ADONA                                 SARAH NIESCHALK
ERNIE DECOSTA                              SCOTT TERRELL
FCG FINANCE GROUP                          STEPHANY CRUZ
FRANCHISE GROUP INTERMEDIATE L, LLC        SUSAN SPAR
FRANK AMATO                                TBMC LLC
GEORGE COLEMAN                             TED DEMARINO
GEORGE W. COLEMAN                          THE BASEPOINT FOUNDATION
GFIVE INDUSTRIES LLC                       THERESA SPEIGHTS


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IHA, LLC                                   TIM MAGERLE
JAAR LLC                                   TOBY F. COOPERMAN
JAAR LLC                                   TRACEY NEUBERGER 2020 FAMILY TRUST
                                           U/A/D 1/17/2020
JAMES M PACI TTEE PACI FAMILY              TRACEY NEUBERGER 2020 FAMILY TRUST
IRREVOCABLE TRUST DATED 7/13/2018          U/A/D 11/17/20
JASON PORT                                 TURNER MOMENTUM INVESTMENTS, LLC
JEFF STEWART                               USMAN HUSSEIN
JEFFREY D. STEPHENSON                      VELOCITY EQUITY LP
JESSIE SEAMAN                              WENDY LANE
JOHN A. LEDERER                            ZHONG-XI YUAN




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Franchisees and Area Developers
1040 LLC                        HAMPTON VENTURES         NKB ENTRERPRISES LLC
                                INC.
2 GIRLS AND A GUY TAX &         HANESHINDER CHAUHAN      NOE MARTINEZ JR AND
BOOKKEEPING LLC                                          ISELA CAMACHO
                                                         MARTINEZ
3G TAX CORP                HANK REARDEN LLC              NORCAL LTS INC
4 REAL PARTNERS            HARDCASTLE ADVISORS           NOR-CAL TAX PREP INC
                           LLC
5 STAGES BUSINESS          HARPER WHITE                  NORTH DALLAS WIRELESS
SERVICES LLC               INVESTMENTS LLC               LLC
81012XX18 LLC              HARRISBURG AREA               NORTH OC FINANCIAL
                           DEVELOPER LLC                 SERVICES INC
919 INVESTMENTS LLC        HARTMAN TAX SERVICE           NORTH SHORE TAX INC.
                           INC.
A & E TAX SERVICE LLC      HEATH FINANCIAL               NORTHWEST TAX SERVICES
                           ENTERPRISES INC.              LLC
A & V TAXES                HEATHER D. SHIRLEY            NOSHINA KHALID
WESTCHESTER INC.
A FELDMANN TAX SERVICE     HEMIZAME LLC                  NYM BOOKKEEPING & TAX
LLC                                                      PREP LLC
A NEW ENDEAVOR LLC         HESHAM MOHD                   O2 VENTURES LLC
A PLUS TAX SERVICE LLC     HUGO STRIEDINGER              OAKSHAW LLC
A TEAM TAX AND             HUMPHREYS TAX                 OBED MUTANYA
FINANCIAL SVCS INC.        SERVICE INC
A&F TAXES INC.             HYGUENS BARJON                OPS SUPPORT
A5 INC.                    I BUSINESS CENTER LLC         ORANGE ROSE LLC
AALA ENTERPRISE LLC        IAM TAX SERVICE LLC           ORION INC.
AAR 5 STARS TAX PREP       IBRIDGE BUSINESS              OSCAR VENTURA & MIRIAM
SERVICES LLC               SERVICES LLC                  SANCHEZ
AARON KIOUS                ILLINOIS TAX GROUP INC.       P&C FINANCIAL SERVICES
                                                         LLC
AARON SAVAGE               IMRAN ADAM                    P419 LLC
ABDELRAZAK KASSIM          INEXODUS LLC                  PACIFIC TAX SERVICES INC
ABDOU SAMB                 INHANDS TAX AND               PALMER BOOKS AND TAX
                           CONSULTING DBA LTS            LLC
                           7721
ABM TAX GROUP LLC          ISABEL GOMEZ                  PAMELA D. RUSSELL
ABRAHAM MARTINEZ           ISABEL VILLAGOMEZ             PATHIBHARA FINANCIAL
                                                         SERVICE INC.
ABWALLER LLC               ISMA LLC                      PATRICIA MARTINEZ &
                                                         PETER GALDA
ACAI SERVIES INC           ISMAT ALMOUHTASEB             PATRICIA MEADOWS
ACCOUNT.IT LLC             ISRAEL LOPEZ                  PATRICK BAIRD
ACE ADVANCED SERVICES      ITAX SOLUTIONS INC.           PATRICK C. PEREZ
LLC
ACE TAX SERVICE LLC        ITAXES INC.                   PATRICK DAUGHERTY
ADAMANDA INC.              J&D B'HATZLACHA LLC           PATRIOT FINANCIAL
                                                         SERVICES LLC
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ADE L LEWIS               J&N TAX LLC                    PAUL C. COX AND
                                                         ASSOCIATES LLC
ADELA QUIROZ-PEREZ        J&S TAX ACCOUNTING             PAULINUS I. AKOSA
                          AND INSURANCE
                          SERVICES LLC
ADRIANA MOSQUEDA          J&S TAX SOLUTIONS LLC          PEKAJO SERVICES INC.
ADT TAX AND               J. HARRINGTON                  PEOPLE'S TAX AND
ACCOUNTING INC            SERVICES LLC                   ACCOUNTING INC
AFFORDABLE TAXES INC      J. RAYMOND FLETCHER            PEP TAX PREPARATION INC
                          AND MICHAEL J. PESTA
AGUILAR AGUILAR           JAB LLC                        PERFECT CIRCLE
AGUILAR-ATENCIO &                                        INCORPORATED
ATENCIO
AGUSTIN LOPEZ             JACK LOCKSPEISER               PETERSON TAX SERVICE
                                                         LLC
AHL ACCOUNTED IV LLC      JACK MCDONNELL                 PFIZENMAYER AND
                                                         ASSOCIATES LLC
AKBS LLC                  JACOB EHRENPREIS               PHILIP A LYNCH & ROCK W.
                                                         ARCHACKI
ALAMO TAX SERVICES LLC    JAIN INC.                      PHILIP JEANFREAU
ALAN J. LORANDEAU JR      JAM TAX FRANCHISE INC          PHILIP KEMPISTY
ALAN S. TO                JAMAAL COLEMAN                 PHILLIP TEXIDOR
ALBERTO TAPIA             JAMES COLEY                    PINEYWOODS INVESTORS
                                                         LLC
ALDEMARO MEYNARD &        JAMES HEDGES                   PIONEER VALLEY
ERI MEYNARD                                              ENTERPRISES INC.
ALEJANDRINA JIMENEZ       JAMES OKEIGWE                  PLATINUM TAX LTD.
ALEJANDRO AND JOSE        JAMES R. GRANT                 PLUTO RISING INC.
LUCIO
ALEXANDRA AND             JANA GOOD                      POVO CORPORATION
LEONARD GRANT
ALISON HOLLAND            JANE SNEED                     POWERHOUSE TAX
                                                         SOLUTIONS LLC
ALIYA AKHTAR              JARRETT GOLD                   PRECISE TAXES INC
ALL THAT IS CERTAIN LLC   JASON ANDERSON                 PRICKETT ENTERPRISES
                                                         INC.
ALLEN TEPLITZ             JASON KASSAB                   PRINCESS CLARK-WENDEL
ALOHA TAX CORP.           JAVED RASHEED                  PRIORITY BOOKKEEPING
                                                         SERVICES LLC
ALTON COROTAN             JAVIER CARRENO                 PRISTINETAX INC.
ALYSIA L. KRAMER          JAVIER SOLIS                   PRP INC
AMANDA & TAVARUS          JAVIER TORRES                  PSP SERVICES LLC
YOUNG
AMBAR DOMINGUEZ           JAX FINANCIAL AND              PTS OF THE RGV LLC
                          ACCOUNTING SERVICES
                          LLC
AMBER N TEJADA            JDBW ENTERPRISES INC           PUJA BHATTA
AMEERAH S. ADEJOLA        JDBW LLC                       QBJ TAX PREPARATION
                                                         SERVICES LLC
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AMERICA ENTERPRISE INC   JEANNE JOHNSTON               QUALITY TAX SERVICE ONE
                                                       LLC
AMERICAN TAX LLC         JEFFREY A. MUSALL             QUEST TAX SERVICES LLC
AMERICAN TAX SERVICES    JENNIFER BERGER               QUIVER & ARROW LLC
INC.
AMJAD GHAFOOR            JENNIFER CHENG                R P S TAX SERVICE LLC
ANA CHACON               JEREMY FAJARDO                R&K EVANS LLC
ANABEL CAMPUSANO         JEROME HERT                   R&R PARTNERSHIP LLP
ANANDPUR BUSINESS        JERRY CHIN                    R4 SOLUTIONS LLC
SOLUTIONS INC.
ANDREA M. RUSSELL        JESSE & ANGELINA              RABINDRA KARKI
                         SMITH
ANDREA YOUNG BOOTHE      JESSICA RESTREPO              RAJU BANDUKWALA
                         MOSQUERA
ANDREW R. SMITH          JFJJ INCOME TAX               RAMI AKL
                         SERVICE LLC
ANDREW SMOLEN            JICARA COLLINS                RAMI MARJI
ANDREY ZAHARIEV          JIGAR & KRISHNA               RANDALL VAYON
                         BANKER
ANGELA BYRD              JIGISH LLC                    RANDALL WHITE
ANGELA COLEMAN           JINESH TALSANIA               RAQUEL R. SCHRICK
ANGELA PENN              JJJR&R1 INC.                  RAVELLE WOMBLE
ANGIE AMADOR             JJMG MANAGEMENT LLC           RAYMOND DESENA
ANGIE FINLEY             JL ENTERPRISES                RAYMOND GONZALES
                         INCORPORATED
ANJ INVESTMENTS INC      JM LEGACY                     RD BOOKKEEPING
                         INVESTMENTS LLC               SOLUTIONS LLC
ANNE WURST               JML TAX LLC                   RE TAX LLC
ANNETTE FLORES           JODHPUR INC.                  REA MARTINEZ-MALO
ANTHONY PERRI            JODY BILLS AND ABBY           REA T MARTINEZ & MARIO
                         BILLS                         URGILES C INC
APRIL SCANLAN            JOE FERRILL & ANNIE           RED LOCK LLC
                         FOSS
ARACELI SANCHEZ          JOELLE DAMAS                  RED WOLF FINANCIAL LLC
ARIA TAX LLC             JOHANNA TORRES                REDDING & JONES LLC
                         ANGULO
ARIANA MURRELL           JOHN B BAREIS AND             REDMOND AND
                         CARRIE S. BAREIS              ASSOCIATES LLC
ARIDYL FINANCIAL         JOHN BURTON                   REENIS HOLDINGS LLC
SERVICES LLC
ARIZONA TAX ASSOCIATES   JOHN CECIL                    REGAL VENTURES LLC
LLC
ARTHUR L. HALL           JOHN GUSTAFSON                RELIABLE TAX SERVICE
                                                       LLC
ASHISH POKHAREL          JOHN MCHALE                   RENEE ENTERPRISES LLC
ASHLEIGH D. WINDLE       JOHN NGUYEN                   RENEE MANCUSO
AUDREY L. MCINTYRE       JOHN NOISETTE                 RENSHAW ENTERPRISE LLC
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AV TAXES AND              JOHN PEREA                    REY AND JACKIE
ACCOUNTING SERVICES                                     FULGENCIO
INC
AYRON SOLUTIONS LLC       JOHN PINO                     RGV TAXPERTS LLC
AZUSA CANYON              JOHN SABIN                    RHINES BROTHERS LLC.
ENTERPRISES LLC
B ANNIE RAM ENTERPRISES   JOHN W. GIBSON                RHINES FINANCIAL LLC
INC
B&B BUSINESS GROUP LLC    JOHN W. REGAN                 RHINES FINANCIAL LLC
B&B TAX                   JOHNNY BILAVARN               RHINO EAGLE VENTURE
                                                        INC
BAILEY BEAR LLC           JOHNNY XIONG                  RHINO TAX LLC
BALWINDER KAUR            JOLANDA HAMILTON              RICHARD AGUILAR AND
                                                        JAVIER LERMA
BARBARA O. JONES          JORDAN DAVIS                  RICHARD CHEONG
BARTO VENTURES II LLC     JOSE ROSILLO                  RICHARD HANVIRIYAPUNT
BASIL PAPOUTSIS           JOSE’ ARREOLA                 RICHARD J. DAVIDSON
                          GUERRERO
BASTE FINANCIAL           JOSEPH GAGLIANO               RICHARD KALBFLEISCH
SERVICES INC
BBR SERVICES LLC          JOSEPH HINES AND              RICHARD KLENE
                          ROBIN HINES
BEL EXPRESS INC           JOSEPH NWEGBU                 RICHARD MCCALL
BERTINA WINCHEK           JOSEPH PERTZ                  RICHARD SHANBOUR
BERYL ROES                JOSHUA BIVEN                  RICHEY HEALTH
                                                        SOLUTIONS LLC
BEST TAX FILING LLC       JOVITA BRADEEN                RICKEY HENKES
BEVERLY LEWIS-HAYNES      JOYCE JORDAN                  RIMA USANOVA
BEVERLY W. MEREDITH       JOYCE MCCABE                  ROBDAR INC.
BGS ENTERPRISES INC       JSTREET ENTERPRISES           ROBERT & HEATHER
                          LLC                           RADFORD
BHOJ DONG                 JUAN SIERRA & SUSAN           ROBERT & JAMES METZGER
                          SALGADO
BIG SKY SERVICES INC.     JUANA TORRES                  ROBERT ANDERSON
BJG TAX SERVICE INC.      JUDITH ANICA                  ROBERT BOYER
                          GONZALEZ
BKP ENTERPRISES LLC.      JUDY VAN UNNIK                ROBERT BYRNE & DAVID
                                                        RUYLE JR.
BLEVINS AND ASSOCIATES    JULIO VERAS                   ROBERT DOWNUM
BMH ENTERPRISES LLC       JULIUS QUAYE                  ROBERT GAY
BMWILSON LLC              JUSTIN TAIT                   ROBERT KELLY &
                                                        ASSOCIATES, LLC
BOBBY JAY SPENCER         JUSTIN Y. YONO                ROBERT MATTICE'S
                                                        ACCOUNTING & TAX
                                                        PREPARATION INC.
BOBCAT TAX LLC            JUSTIN Y. YONO                ROBERT MCCOY
BOJONGO CPAS &            K&V ENTERPRISES               ROBERT MEDLEY
ADVISORY PLLC
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BOLD REALTY               KAILEE HART                  ROBERT STEPHEN
INVESTMENTS LLC                                        GOODMAN
BQS SERVICES LLC          KAMEDA TAX SERVICE           ROBERT YOAKUM JR
                          LLC
BRAD NESS                 KAMRAN RIAZ                  ROBERTO NESPEREIRA
BRANDON SERBUS            KAREN COOK                   ROBIN WININGER
BRAYAUD INDUSTRIES INC.   KAREN E. MIRANDA             ROSEMARY TRUJILLO
BRCS INC.                 KAREN P. GOSS                ROSY CURIEL
BRENDA L LITTLEFIELD      KAREN REDDING LLC            ROWAN SOLUTIONS INC.
BRENT SCHULZ              KAREN THOMPSON               ROY AND MARY COUCH
BRIAN & MONA JOHNSON      KATHERINE E. PHILLIPS        ROY BRISPORT
BRIAN & VALERIE           KATIE CANAS                  RRR TAX LLC
MITCHELL
BRIAN A. CHARLES          KAUR ENTERPRISES LLC         RTA REAL ESTATE
                                                       INVESTMENTS LLC
BRIAN MULLER              KAY WELDON                   RTA TAX SERVICE LLC
BRIAN NEAL                KAYLA S. FERRE AND           RUNNELS FINANCIAL
                          LAURA Y. GILLET              SERVICES LLC
BRIAN SCOTT               KAZEM TABATABAI              RUTH DEJONGE
BRITOMO SOLUTIONS 290     KBS TAX SERVICE INC          S & A TAX SERVICE INC
LLC
BRITOMO SOLUTIONS LLC     KC FINANCIAL LLC             S AND P ACCOUNTING
                                                       SERVICES LLC
BRONX FAMILY TAX          KC TAX SERVICES LLC          S&R SERVICES LLC
SERVICE INC.
BRUCE DIAZ & MOULOUD      KCI STORES INC               SAAD SULTAN
BOURBET
BRUCE STANSBERRY          KDD TAX INC.                 SAIFUR CHOUDHURY
BULLDOG FINANCIAL LLC     KELEQU VENTURES LLC          SAJA MAHDI
BUSINESS WISE SOLUTIONS   KELLY HUGHES                 SALAI T. HNIN
LLC
C&M TAX SERVICE, LLC      KENNETH SHELTON              SALEM FINANCIAL
                                                       CONSULTANT, INC.
CALVIN JOHNSON            KEVIN COOPER                 SALES SUPPORT
CALVIN R. HENDERSON       KEY BUSINESS SERVICES        SAM ROBERSON
                          INC.
CANARSIE LT INC.          KEYUR PATEL                  SAMUEL M. TROTMAN JR.
                                                       AND CYNTHIA WARD
CARDINAL CONSTRUCTS       KHALID ISLAM                 SAMUEL RANDOLPH
INC.
CARDOW & ASSOCIATES       KHRISSANDRA SWINNEY          SANA MEGHANI
INC
CARL L. TAYLOR            KIM WAGENMAN                 SANA MEGHANI & SALMAN
                                                       VIRANI
CARLA BUGGS GWINN         KIMBERCET                    SANDRA COMPHER
CARLOS E. FARIAS          KIMBERLY ALLEN               SANDRA HERNANDEZ
CARLOS WALKER             KIMBERLY POZZI               SANDY SHANNON
CARMEN Y. ALMONTE         KJ MILLER L.L.C.             SANJAY PAREKH
CAROL & DON EVANS         KKKI INC                     SANJEET KUMAR
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CAROL ELLIOTT              KLEINFELD BUSINESS           SANS PAREIL INC
                           SERVICES INC.
CAROL ELLIOTT              KMC TAXES LLC                SANS PAREIL INC.
CAROLINE ALDECOA           KOKOPELLI-I INC.             SANTOSH SHARMA
CARRIE BAREIS AND JOHN     KOKOU M. LOGOSSOU            SAPPHIRE TAX SERVICES
B. BAREIS                                               LLC
CARSON WOODS &             KOMAL HOODA                  SAQIB TASNEEM
ANTHONY MARUCCO
CASH MONEY                 KP & SONS LLC                SARAH DALTON RATHBONE
CORPORATION
CATHERINE COOPER AND       KPL TAX GROUP INC.           SARAH MCKEE AND CARL
WILLIAM COOPER                                          CURRY
CBM FINANCIAL INC.         KRYSTAL SIAS                 SARWAR LLC
CDM BUSINESS SERVICES      KULBIR HEER INC.             SCB LLC
LLC
CEBALLOS TAX SERVICES      KUSHAL NEUPANE               SCOTT BURKE
INC
CENTRAL PENN AD LLC        KYLE GARTH                   SCOTT ROTH
CHANDRA P. SINGH           LA K DUB PARTNERS LLC        SD TAX INC.
CHANTELL R TEJEDA AND      LADONNA K. PRESLEY           SD VENTURES LLC
GERNARDA BAILEY
CHARLES GARCIA             LAKE RISS INC.               SEAN GALVIN
CHARLES MCCRACKEN          LAKEYSHA SWAN                SEJ FINANCIALS LLC
CHARLES NJOYA              LAREN G. RICHARDSON          SENTRY INVESTMENTS INC
CHARLES SPENCER            LARRY GARCIA CPA LLC         SEZ TAX INC.
CHESTNUT TAX GROUP LLC     LAURA BANDA & KEVIN          SGM CAPITAL LLC
                           HOLLEY
CHEYDELLE MCKINZIE         LAURA IHRMAN                 SHAHBAZ HUSSAIN
CHOICE CITY TAX SERVICE    LAURA ZAVALA                 SHAKEEL AHMAD
LLC
CHRISTOPHER FOULKES        LAURIE L. KUSS               SHAMA TAX SERVICES INC.
CHRISTOPHER J. CRISTIANO   LAWRENCE BRUCE               SHANDREEKA BLOUNT
CHRISTOPHER YORK           LAWRENCE POPE, JR            SHARON MEDINA
CINDEN LLC                 LAWRENCE WALSH               SHAWN INCOME TAX LLC
CJ ACCOUNTING INC          LAWREY FRANCIS               SHAWN VADNAIS
CLATWORK LLC               LAWSON FINANCIAL             SHEENA RETNAM SIMON
                           SERVICES LLC
CLEMENT OGUNYEMI           LCMA FINANCIAL               SHELDON TAX &
                           SERVICES LLC                 ACCOUNTING INC.
CLIFFORD CONKELTON         LDMC ENTERPRISES INC         SHELLY BARRETT
CLIFFORD CUTTER            LEEANN GERST                 SHERRI A. MORGAN
CLIPPER SHIP VENTURES      LEGACY TAX PROS INC.         SHERRY L. DUNCAN
LLC
CNJ SERVICES LLC           LEGALEYE CONSULTING          SHERRY M. KELLY
                           LLC
CO TAX SERVICE INC.        LEO WAGATHA                  SHNICKQUA AIKEN
COASTAL TAX LLC            LEVERAGE POINT LLC           SHOSHANA ELETU
COATESVILLE COMMUNITY      LI LI                        SIEMPRE COSTORES
RISING LLC
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COHILL'S & ASSOCIATES    LIBERTY CREDIT REPAIR        SIENNA FINANCIAL
LLC                                                   SERVICES LLC
COLEMAN CROOK INC.       LIBERTY TAX DEBT             SIMRANJOT BACHAL AND
                         RESOLUTION                   JESSICA DHILLON
CONCELIUM LLC            LIGHTSHIP GROUP CORP         SIRIUS BUSINESS L.L.C.
CORDELL ROORDA           LILY'S TAX SERVICE LLC       SIVONNEY MOLINA
COVINGTON TAXES LLC      LINCOLN TAX LLC              SIXPAC INC.
CRISTINA STANCIU         LINDA D. GOEPPER             SJS FINANCIAL LLC
CRYSTAL CARLSON          LINDA J. NEWMAN              SKH HOLDINGS LLC
CTS TAX SERVICES LLC     LINDA K. BRAYDEN             SLACUM & DOYLE TAX
                                                      SERVICES LLC
CURTIS LUCKY             LINDA MOORE                  SLT SERVICES LLC
CYNETTA TAVE             LINDA TATUM                  SMART TAXES LLC
D V DORTCH LLC           LINH T. HOANG                SOFIA AGUILAR
D&K OF MS INC.           LION TAX LLC                 SOJ TAX LLC
DA WRIGHT ENTERPRISES    LISA COMEAU                  SOUTH JERSEY BUSINESS
LLC                                                   VENTURES LLC
DALE ROMAN               LISA D. HEMBREE              SOUTHBRIDGE TAX LLC
DALE SMITH               LISA MOIX                    SOUTHWEST TEXAS TAX
                                                      SERVICE
DAM TAXES INC            LISA PADILLA                 SPARTAN MARKETING INC
DAMICO CPA INC           LJ'S TAX SERVICE LLC         SPICES INCORPORATED
DAND LEGACY INC.         LKY SERVICES LLC             SPOKANE EXPANSION LLC
DANEISHA LLC             LLOYD MANNING JR             SSBR ENTERPRISES LLC
DANFAM ENTERPRISES LLC   LLOYD NEWELL                 STACY GOFORTH
DANIEL COSGROVE          LMH TAX SERVICE INC          STELLA CARPENTER
DANIEL RAVAL             LOUIS NEGRON JR. &           STEPHANIE LANE
                         LEONARDO NEGRON
DANIELLE KURKULES        LOWELL FAUX                  STEPHANIE SOARES & LISA
                                                      AIROSO-SHIER
DANIELLE QUIGGINS        LTS EATON AND                STEPHANIE STEWARD
                         ASSOCIATES LLC
DARRAN JOHNSON           LTS ENTREPRENEURS            STEPHANIE TRUAX
                         LLC
DARRYL PRYOR             LTS EQUITY INC.              STEVEN KOZIOL & BARRY
                                                      STRAUSS
DAVID A. BONNE           LUCINDY ANDERSON             SUCKUT FINANCIAL
                                                      SERVICES CORP
DAVID AND BARBARA        LUIS AGUILAR                 SUMMIT QUEST INC.
MYERS
DAVID CEPIN              LUIS ENCARNACION             SUN WEST INC
                         MATEO
DAVID GANG               LUIS FLORES                  SUNRISE PROFESSIONAL
                                                      SERVICES LLC
DAVID GUNTER             LUIS MARTINEZ                SUPARIWALA FINANCIALS
                                                      LLC
DAVID J. MARTZ           LUIS MEDINA                  SURESH ACHARYA
DAVID J. SANDERS         LYNDON HARRISON              SURYA INVESTMENT
                                                      GROUP LLC
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DAVID R. JAMES             M & A MANAGEMENT             SUSAN B. WALLACE
                           LLC
DAVID SILLAMAN             M & N SERVICES INC           SUSAN WARD
DAWN MINOR                 M & N SOLUTIONS INC.         SUSANNA M. MULLER
DAZO INCORPORATED          M & S PROFESSIONAL           SUZANNE PRICE
                           SERVICES INC.
DEBBY D. HALLMAN           M 4 CONSULTING LLC           SYED F. EKRAM
DEBORAH J. KLEIN           M&M BUSINESS GROUP           T&C TAX SERVICES LLC
                           L.P.
DEBORAH MOORE LLC          M. UMAR BEIG                 TAD MILLER
DEBORAH WAKEMAN            MADLIN ENTERPRISES           TALLEY ENTERPRISES INC
                           LLC
DEBRA AGUAYO               MAG IV INC.                  TAMI VARRICCHIO
DEBS TAX SERVICE LLC       MAHMOOD M. DHANANI           TAMI VIGEN INC.
DEETZ GLOBAL INC.          MAIN STREET TAX LLC          TAMMY GURRERA
DELTA RF LLC               MAIN STREET TAX              TAMMY SILCOX
                           SERVICES LLC
DEMITRIUS WILLIAMS         MALK JR TAX LLC              TARKINGTON FINANCIAL
                                                        INC.
DENILIVA INC.              MANEESH GUPTA                TAX ENTERPRISES LLC
DENISE DAVIS LLC           MANUEL DAMIAN-               TAX HEROES LLC
                           CABALLERO
DENNIS PRYOR               MANUEL HIZON                 TAX LADY HILLS LLC
DEPOT TAX SERVICES LLC     MARC A. VASSOR               TAX PREP & CONSULTING
                                                        LLC
DERRICK GREEN              MARC J. TIMOTHEE             TAX SERVICE VENTURES
                                                        LLC
DERRICK SMITH              MARCHIZZA TAX LLC            TAX TEAM LLC
DIAMAYA INDUSTRIES         MARCO SHOALS AND             TAX TEAM TWO LLC
GROUP                      LESLI SHOALS
DIANA L. CONDON & JAMES    MARGARET TABB                TAX TIME TAXES LLC
E. CONDON
DIANE FERREIRA             MARGARET TAYLOR              TAX WORLD LLC
DIANE MARIA DOS REIS       MARGARITA GARZA              TAXBIZ PARTNERS LLC
DIGIPRO ENGINEERING INC.   MARIA ELIZABETH              TAXCELLENT SERVICE
                           LOZANO-ARVIZO                CORPORATION
DILIGENT PARTNERS LLC      MARIA RIVERO                 TAXMATTERS INC.
DISTRICT TAXES CORP        MARJORIE CALLAGHAN           TAXOLOGY GROUP LLC
                           AND MICHAEL
                           CALLAGHAN
DL TAX INCORPORATED        MARK & CHRISTAL              TAXPREP LLC
                           HAWKINS
DL&K TAXES LLC             MARK & DYLAN                 TEDDY ARTHUR-KWALLAH
                           GRIESELDING
DMDBD LLC                  MARK AND KIMBERLI            TEK KOROTANIA
                           CAMARATA
DOLORES M. ANTESBERGER     MARK CASSLER &               TEMEYKA SCOTT
                           BENJAMIN SCHOTT
DON CHIPPEAUX              MARK COUCH                   TENDRIL HOLDINGS LLC
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DON KIM                  MARK CUNNINGHAM              TERRELL GRAY
DONALD JAMES & MARK      MARK GRAHAM                  THAKUR NEUPANE
RUSSO
DONNA A. THOMAS          MARK ROBISON                 THE ASSOCIATES NOTARY
                                                      PUBLIC CORPORATION
DONNA JEMISON            MARK SINGH                   THE FAR ROCK INC.
DONNA MITCHELL-MAYO      MARKIOS ACCOUNTING           THE GLORIOUS FREEDOM
                         & TAX SERVICE LLC
DONNIE HARRIS            MARLA CARMONA LLC            THE GUARDIAN GROUP LLC
DORIS MELTON             MARLON HUNTER                THE TAX LADIES SERVICES
                                                      INC.
DOUGLAS LORENZ           MARTHA DRAKE                 THOMAS ACKERMAN
DROPP ENTERPRISES LLC    MARTHA NAVARRO               THOMAS HENGGELER
                                                      ENTERPRISES LLC
DULCE N. CUEVAS          MARTIN HOLDINGS LLC          THOMAS JAROSICK
DULDUL INC.              MARY L. SPARKS               THOMAS ROYER
DUSTIN GRIFFIN           MARY METHNER                 THOMPSON FINANCIAL
                                                      SERVICES INC
DWIGHT DYE               MARY TAYLOR                  THOMPSON TAX BUSINESS
                                                      LLC
DYLAN GERARD             MAS TAX SERVICES LLC         TIANDRA PURYEAR
E & R GAGEN LLC          MATHIS FINANCIAL             TIFFANY T. BRADY
                         GROUP INC.
E&R TAX GROUP LLC        MATTHEW JESPERSEN            TILCAM SERVICES GROUP
                                                      OF TENNESSEE LLC
EAGLE OPS,INC            MAUREEN ZARS                 TIME TO FILE LLC
EASYMAX INC.             MAXES LLC                    TIMOTHY A STRICKLAND
ED WILSON                MAYRA RODRIGUEZ              TIMOTHY A. RICHARDSON
EDUARDO REBOLLEDO        MAYRA SALAS AND              TINA A. FARMER
                         CAROLINA SALAS
EDWARD & DEMETRISE       MAZIN, INC.                  TINA DAVIS AND ANGELA
ROBERTS                                               MAGEE
EDWARD ALLEN             MCFARMER INC.                TINA M. HILL
EDWARD STOCK             MCMANUS AND                  TK FINANCIAL LLC
                         MCMANUS ENTERPRISES
                         INC.
EDWIN SOGBE              MDK TAX LLC                  TL2 ACCOUNTING LLC
ELITE TAX SERVICES LLC   MEHAR ENTERPRISE INC         TLC ARC LLC
ELIZABETH ADAMS          MELI SERVICES INC            TLC TAX SERVICES INC.
ELIZABETH HURST          MELISSA D GRAHAM             TLT PARTNERS LLC
ELIZABETH J. CONNALLY    MELISSA FARMER               TM ENTERPRISES OF
                                                      LINDEN INC.
ELIZABETH KARNAVAR       MELISSA HOLSTEIN             TM TAX SERVICES LLC
EMILY TUVERA             METRO MULTI SERVICES         TMARKJ INC
                         INC
EMMANUEL ADEWALE         MG2T TAX SERVICES INC.       TMB VENTURES INC.
EMMANUEL FOKO AND        MI030 LLC                    TODD A. CROMACK
GWLADYS FOKO
ENA ASKIA                MICAELA A. SAENZ             TODD DUNLOP
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ERIC GE                  MICHAEL AND                    TODD MARION
                         KATHARINE SAWYER
ERIC J. BOWMAN           MICHAEL J. PESTA               TODD STAHL
ERIC L. LEMOND           MICHAEL KECK                   TOMAHAWK PROPERTIES
                                                        LLC
ERIC NTI-FREMPONG        MICHAEL MAGEE                  TOMMY C. CRISLER
ERIC PORTER              MICHAEL MARTINEZ               TOMMY SMITH
ERIKAH HENLEY            MICHAEL MERIT                  TONY ALLEN
ERNIE AND CHRISTINA      MICHAEL MOORE                  TONYA K. BURRESS
ROSS
ESSAUL FINANCIALS INC.   MICHAEL NIVERA                 TRACY A. HAYES AND
                                                        JENNIFER HAYES
EUGENE E. AND            MICHAEL SHINNEMAN              TRACY AND WILLIAM HYDE
MARYELLEN MCKINLEY
EUGENIA LAUX             MICHAEL TROMBETTA              TRANSCEND FINANCIAL
                                                        SERVICE LLC
EULALIO DIAZ JR          MICHAEL TURNER                 TRIDENT FINANCIAL
                                                        SERVICES LLC
EV HOME SOLUTIONS LLC    MICHAEL VAN HOUTAN             TRK SERVICES LLC
EXECUTIVE ST SALES       MICHAEL W. STANLEY             TROY OWEN
FAHAD M. ISLAM           MICHAEL W. STANLEY             TRUDI S. BARR
FAIS II INCORPORATED     MICHAEL WILLIAMS               TS FINANCIALS LLC
FAIZAN S AHMED           MICHAEL WILLIAMS &             TYE BROOKS
                         KEVIN CUNNINGHAM
FAMILY CIRCLE SERVICE    MICHELLE M. KOTEWA             TYNE SUNDERLAND LLC
INC
FANG ENTERPRISE LLC      MICHELLE NEILL TANGE           UK ENTERPRISE LTD
FARUK ALI MOHAMMED       MIDAS TOUCH INC.               UNITED INTEGRITY TAX
SALAM AND AHMED                                         GROUP LLC
HUSSAIN
FELIX R. STRATER III     MIGUEL LORA                    UNITED TAX SERVICES LLC
FIESTA FINANCIAL         MIHALKA ENTERPRISES            UNIVERSAL INTERPRETERS
SERVICES LLC             INC                            INC.
FINANCIAL CHANGE         MIKE BUDKA AND                 UNIVERSAL SERVICES #13
SOLUTIONS LLC            MUFEED HADDAD                  LLC
FINANCIAL FAMILY         MINH T. NGUYEN                 URMISH PATEL
ADVISORS LLC
FIRST PITCH LLC          MINNESOTA WEST TAX             UUB CORP
                         SERVICE INC
FLORIAN'S TAX SERVICES   MISHELL VEGA                   V&A TAX SERVICE LLC
CORP
FM1960 TAX OFFICE LLC    MISTY ROMERO                   VALERIE ADLER
FOUR STAR TAX SERVICES   MITCHELL ROSEN TAX             VALSAINT GROUP INC.
INC                      SERVICE LLC
FOUZIA SHAKOOR           MJM INVESTMENTS INC            VARGAS HOLDINGS CORP.
FOY FINANCIAL INC        MM TAX & ACCOUNTING            VERLA K. SMITH
                         INC.
FRANK TERESCHAK          MMMP ENTERPRISES INC.          VERONICA CAZARES
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FRED HUFFMAN & JEFFREY    MNS SERVICE CORP             VERONICA MANZO
WOODLEE
FREEDOM FINANCIAL INC.    MOBJOB INVESTMENTS           VFM LLC
                          LTD
FREEDOM ONE LLC           MOE INVESTMENTS L.L.C.       VGS TAX & ACCOUNTING
                                                       SERVICES LLC
FREEDOM TAX SERVICES      MOHAMED CHAREQ               VICTORIA HOTOBAH-
INC                                                    DURING
FURQAN KHALIQ             MOHAMMAD AKHTAR              VIKKIELEA CHOROSKI
G AND G ASSOCIATES LLC    MOHAMMAD ALAM                VIKRAMDEEP RANDHAWA
GA TAX AND BOOK           MOHAMMAD MIAH AND            VINCENT FERRARA
KEEPING INC.              MD OBAIDULLAH KHAN
GAIL GARCIA CERDA         MOHAMMED MIAH                VOLUSIA TAX FILERS LLC
GALAXY TAX SERVICES       MOHAWK INVESTMENTS           WA GROUP INC
LLC                       INC.
GANG FINANCIAL LLC        MONEY ENTERPRISES            WAHEGURU JI TAX LLC
                          INC.
GARRETT ATZ               MONICA GONZALEZ              WAHEGURU TAX NEW
                                                       BRITAIN LLC
GARY BLOOME P A           MONIQUE JACKSON              WALKER INTOWN
                                                       RENEWAL LLC
GARY GARLAND              MONIQUE PARISH               WALNUT CREEK
                                                       ENTERPRISES LLC
GARY LAVICKA              MORAN AGENCY LLC             WB FINANCIAL
                                                       MANAGEMENT LLC
GARY O. STOBART           MR TECH STUFF INC            WD TAXES LLC
GARY O'BRIEN              MR. BIG DREAMS INC           WEFILE INC.
GARY STAUBER              MSM ENTERPRISES INC          WEIS GROUP LLC
GARYPETER SITE NUMBER     MUFEED HADDAD                WENDY A. PROWS
ONE INC
GENESIS TAXES OF          MUFEED HADDAD                WENDY BALL
PENSACOLA INC
GENESIS VENTURES TAXES    MUHAMMAD SIKANDAR            WENDY RHODES
INC
GEORGE HANDY              MULTI ASSET TAX              WESTERN STARS AND
                          SERVICE LLC                  STRIPES INC.
GERALD L. ROSHON EA LLC   MUSTAFA ELHASANI             WESTON SIMPLE TAX LLC
GHASSAN JABER             MUSTAFA USMAN                WHIPPLE SERVICES INC.
GHAZI DAKIK               MUSTAPHA MARSEILLE           WHITNEY A. JUSTICE
GHL ENTERPRISES INC       MY BUSINESS GROUP LLC        WHITTIER ADVISORY
                                                       GROUP INC
GILBERT & IRMARIE         MY SERVICES FLORIDA          WILBERT J. BASS
MERCADO                   LLC
GINA M. BERNSTEIN         MY TAX PEOPLE LLC            WILLIAM ALLEN
GINGER F. AUSBAN          MYSMART POCKET INC.          WILLIAM BAKKEBY
GL FINANCIAL LLC          NANCY CLARK                  WILLIAM DANIELS
GOLDEN DUNES TAX          NANCY HAGEN                  WILLIAM E. LEE
SERVICE INC
GOLIATH ACCOUNTING INC.   NANCY TRAN                   WILLIAM HOLLIDAY
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GRACE WHITE & RODNEY    NATASHIA KLOS                 WILLIAM SHAHIN
WHITE
GRACIA GRACIA           NAVEEN KUMAR                  WILLIAMS CAPITAL
CREVECOEUR GRACIA                                     MANAGEMENT INC
GREG JABLONOWSKI        NC TAX SERVICES LLC           WINSTON ESTES FINANCIAL
                                                      LLC
GREG MASSEY             NELSON MALDONADO              WJ BUSINESS SERVICES INC
GREG MOSER              NEVILLE MAHONEY               WM. MURRAY MICHAEL
                                                      AND HUNTER HOLCOMB
GRITS MARKETING INC.    NEWSHAM BUSINESS              WOLFPACK TAX
                        SERVICES INC                  INCORPORATED
GSN FINANCIAL LLC       NHUNG TUYET                   WOODARD & TRAYLOR &
                        ELIZABETH PHAN                ROMERO
GUADALUPE MAURICIO      NICHOLAS BATCH                WYATT & KENDALL LLC
GUADALUPE MAURICIO      NICHOLAS J ELLIOTT            XIAOWEN GUAN
GUADALUPE RUBIO         NICOLA NUNU                   YESICA LOPEZ
GURMEET S. CHAWLA       NICOLE HAMILTON               YOUR TAX & ACCOUNTING
                                                      SOLUTIONS OF NPR LLC
GWENDA LACROIX          NIHARIKA JIWANI               YOUSAF KASHMIRI
HAASE FINANCIAL         NIKKI SHELSTAD                YPSILANTI TAX SERVICE
SERVICES LLC                                          INC.
HACK FINANCIAL LLC      NISHAN TAX INC.               YUN DAVIN LOH
HAI N. KNEPPER          NISM LLC                      YVONNE SOSA
HALEY S. KLEIN          NITIN MEHTA &                 ZAFAR TAHIR
                        VALLIDEVI
                        YARLAGADDA
HAMID MAHMOOD           NJ FINANCIAL SERVICES         ZAIN TAX SERVICES INC
HAMMOND FINANCIAL INC   NJLB INC
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Vendors/Contract Parties
#1RWM FLP                FORTUNE MAGAZINE                OPTIMA HEALTH -
                                                         2812*COBRA
(ADS) ADVERTISING    FORTUNE MEDIA GROUP, INC.           OPTIMA HEALTH - 60594
DELIVERY SER
*DO NOT USE*         FORTY-FOUR HOLDINGS                 OPTIMA HEALTH -
EVENTS MADE EASY     LOUISIANA LLC                       60594*00A
LLC
*DO NOT USE*         FORVIS, LLP                         OPTIMA HEALTH -
NORTHWESTEL                                              60594*00A COBRA
CABLE
*DO NOT              FORWARD ENTERPRISES INC             OPTIMA HEALTH - 60594-
USE*DENNIS R                                             COBRA
WELCH
045 WASTE            FORWARD ENTERPRISES, LLC            OPTIMUM
INDUSTRIES
0828 REAL ESTATE     FORWARD LEAP MARKETING, LLC         OPTIMUM
LIMITED
PARTNERSHIP
1 HOUR SIGNS         FOSTER REPRINTS                     OPTIMUM BUSINESS-
                                                         70340
10520 GR, LLC        FOSTER, LOLITA                      OPTIONS MEDIA GROUP
1060582 ONTARIO      FOUNDERS INN                        OPTIONS NEWSLETTER,
LTD.                                                     INC.
112-45 LLC           FOUNDRY UMC - INACTIVE              OPUBCO
                                                         COMMUNICATIONS
                                                         GROUP
1137751 ALBERTA      FOUNTAIN WATER & WATER              O'QUINN INVESTMENTS
INC.                 PRODUCTS INC.                       LLC
115214 CANADA LTEE   FOUNTAINHEAD ADVISORY               ORACLE AMERICA INC
& LUCIO D'ORIO &     SERVICE, INC.
ASSOC.
117 GUY R BREWER     FOUR ALARM FIRE LLC-2288            ORACLE AMERICA, INC.
REALTY LLC
118-01 LLC           FOUR ALARM FIRE, LLC.               ORANGE AID MARKETING
11908 BLUE RIDGE     FOUR POINT SOLUTIONS LTD.           ORANGE COUNTY
PARTNERS LLC                                             UTILITIES
1191 BOSTON ROAD     FOUR POINT SOLUTIONS, LTD.          ORANGE PEEL
CROP                                                     TRANSPORTATION
120 SUTPHIN, LLC-    FOUR POINTS HOLDINGS LLC            ORANGEVILLE TRANSIT
DO NOT USE
122 ONONDAGA LLC     FOURWORD                            OREGON DEPARTMENT
                                                         OF EDUCATION
123 COMPUTER         FOWLER, JAMES                       OREGON DEPARTMENT
GROUP                                                    OF REVENUE
123HIRE.COM          FOWLER, JIMMY                       OREGON DEPARTMENT
                                                         OF STATE LANDS (UCP)
123HIRE.COM          FOX CHAPEL LLC                      OREGON DEPT. OF
                                                         REVENUE
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1255560 ONTARIO INC   FOX PLAZA,LLC                        OREGON RV AND
                                                           STORAGE, LLC
1289935 ONTARIO       FOXMORE PROCESS SERVERS              ORGANIZATIONAL
LTD.                                                       FITNESS, LLC
13 ASSOCIATES, LLC    FOXSHIRE LIMITED PARTNERSHIP         ORIENTAL TRADING
1305 VETERANS         FPAL DOMAIN HOLDINGS, LLC            ORILLIA LOCKSMITH
PARKWAY LLC
1310984 ONTARIO       FPL                                  ORILLIA POWER
INC.                                                       DISTRIBUTION
                                                           CORPORATION
1370680 ONTARIO       FRAMED EXPRESSIONS INC.              ORION WORKS, LLC
LTD.
1433228 ONTARIO       FRAN ABBOTT                          ORKIN EXTERMINATION
INC.                                                       COMPANY, INC.
1460 LYELL LLC        FRAN NET                             ORKIN PEST CONTROL
                                                           INC
1489494 ONTARIO       FRANCA CASONATO                      ORPHAN HELPERS
INC.
1499570 ONTARIO       FRANCES BORROW                       ORR, JOHN
INC.
1500 WABASH           FRANCES LABADIE JACKSON              ORRICK, HERRINGTON &
ASSOCIATES, LLC                                            SUTCLIFFE LLP
1511 LEXINGTON        FRANCES LEE BATES                    ORRTAX SOFTWARE INC.
AVENUE HDFC
1652185 ONTARIO       FRANCES MCNUTT                       ORSAN AIR SERVICES
INC.
1662632 ONTARIO INC   FRANCES MISUGA/ANTOCHOW              ORSOLA GALLO
1678 NOSTRAND         FRANCHINO, MARIA                     ORVILLE ARCHER
AVENUE BROOKLYN
N.Y 11226
1679772 ONTARIO       FRANCHISE AMERICA, INC.              OSAMA USAMA AND JOE
INC.                                                       BROWN
1681940 ONTARIO INC   FRANCHISE ANNUAL                     OSCAR A HERNANDEZ
1693377 ONTARIO       FRANCHISE BUSINESS REVIEW            OSCAR HERNANDEZ
INC.
17 N. STATE, LLC      FRANCHISE CAREER                     OSCAR SALVENDY
                      CONSULTANTS
1702 LP               FRANCHISE CLIQUE                     OSCAR'S JEWELERS INC.
1733 UNICO, LLC       FRANCHISE CREATURE                   OSHAWA GENERALS
                                                           HOCKEY CLUB
1749 ASSOCIATES       FRANCHISE DIRECT - DO NOT USE        OSHAWA OFFICE
                                                           EQUIPMENT INC.
1789173 ONTARIO       FRANCHISE DIRECT USA INC             OSHAWA PUC NETWORKS
LTD                                                        INC.
1890305 ONTARIO       FRANCHISE DYNAMICS, LLC              OSHAWA -REVENUE AND
LTD.                                                       TAX SERVICES
1924923 ONTARIO       FRANCHISE EMPORIUM                   OSHAWA/WITHBY/CLARI
INC.                                                       NGTON/PORT PERRY THIS
                                                           WEEK
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1COVERALL NORTH       FRANCHISE GATOR, LLC               OSIKANLU, TEWOGBUYI
AMERICA INC
1ST COMMERCIAL        FRANCHISE GENIUS LLC               OSLER, HOSKIN &
BANK OF FLORIDA                                          HARCOURT LLP
1ST IN                FRANCHISE INFO MALL, INC.          OSNOE, NORMA
ENTERTAINMENT
1ST MONEY CENTER      FRANCHISE LIFE                     OSOYOOS TIMES LTD.
1ST MONEY CENTER      FRANCHISE MARKET MAGAZINE          OSPREY CORP
ESCROW
1STPAGE.COM           FRANCHISE OPPORTUNITIES            OTERO COUNTY
                      NETWORK                            TREASURER
2 GUYS GLASS INC.     FRANCHISE RECRUITERS               OTIS SPUNKMEYER
200 EAST FRONT, LLC   FRANCHISE RELATIONSHIPS PTY.,      OTTAWA 67'S HOCKEY
ET AL                 LTD                                CLUB (1998)
201 EAST 116TH ST     FRANCHISE RESOURCE COMPANY         OTTAWA WATER &
REALTY CORP                                              SEWER BILL
201 EAST 116TH ST     FRANCHISE RESOURCE GROUP           OTTER, LINDA
REALTY CORP
201 MARKETING AND     FRANCHISE SEARCH, INC.             OTTO BEATTY JR.
MEDIA                                                    ASSOCIATES
2012 USP HOLDING,     FRANCHISE SEARCH, INC.             OTTO, GLENN C.
INC.
2013 FTA E-FILE       FRANCHISE SHOWCASE, INC.           OTTUMWA COURIER
SYMPOSIUM
2014 CHARLOTTE ST.    FRANCHISE SOLUTIONS, CORP.         OUR LADY OF THE
PATRICKS PARADE                                          VALLEY CATHOLIC
                                                         CHURCH
2020 ACHIEVEMENTS,    FRANCHISE SYSTEMS NETWORK          OUTFRONT MEDIA INC
INC (APOLLO
EMEKA)
2020585 ONTARIO       FRANCHISE TAX BOARD                OUTFRONT MEDIA
LTD.                                                     SPORTS, INC.
2030621 ONTARIO       FRANCHISE TAX BOARD                OUTLAW COUNTRY LTD.
LIMITED
2056938 ONTARIO       FRANCHISE TAX BOARD- CA            OVER AD MEDIA
LTD
210 RIVINGTON         FRANCHISE TIMES                    OVERHEAD DOOR CO. OF
REALTY HOLDINS                                           NORFOLK
LLC
2116782 ONTARIO       FRANCHISE UPDATE, INC              OVERTON MARKETS, INC.
INC.
2122999 ONTARIO INC   FRANCHISE USA, INC.                OVERTURE SERVICES
2123579 ONTARIO INC   FRANCHISE.COM                      OWEN RENTALS-808
                                                         CAUSEWAY LLC
21252549 ONTARIO      FRANCHISEBLAST                     OWEN SOUND ATTACK
LTD.                                                     HOCKEY CLUB
215 BANDERA           FRANCHISEBLAST (LAVABLAST          OWEN SOUND REGIONAL
ASSOCIATES LLC        SOFTWARE INC)                      HOSPITAL FOUNDATION
21ST CENTURY TAX      FRANCHISEFORSALE.COM               OWENS JR.,M. EDWARD
CONSULTANTS INC
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2201 CHARLES LLC      FRANCHISEHELP HOLDINGS LLC         OXFORD INTRUST FOR
                                                         CLARICA CENTRE
2207848 ONATARIO      FRANCHISEONLINE.COM                OXFORD PROPERTIES
INC                                                      GROUP
2212235 ONTARIO       FRANCHISEWORKS.COM LLC             OXFORD PROPERTIES
INC.                                                     GROUP INC.
222 CAMP WISDOM       FRANCHOICE INC.                    OXFORD REALTY
LP
2263264 ONTARIO,      FRANCINE SEQUIN                    OXFORD SHOPPING NEWS
INC
2300-2310 ACP         FRANCIS ANDERSON                   OXNARD CENTER
OWNER LLC                                                COMPANY
2355849 ONTARIO       FRANCIS CARRINGTON                 OXNARD CENTER
LIMITED                                                  COMPANY
2366667 ONTARIO INC   FRANCIS OFFICE SUPPLY, INC         OYINDAMOLA SOKABI
2390635 ONTARIO       FRANCIS P MCALEAVY, III            OYSTER POINT PLAZA II,
LIMITED                                                  LLC
24 OUTDOOR.COM        FRANCIS WEST                       OZARK COMMERCIAL
                                                         HOLDINGS
2404 SHR LLC-DO       FRANCISCO VALLE                    OZORAK, PAUL
NOT USE
247 LINKS             FRANCISCO'S TAX SERVICE            P & C KOLB CHILDRENS
CORPORATION                                              TRUST
2644 RIVER ROAD       FRANCISO BERILO F. JUNIOR          P & C KOLB CHILDREN'S
PROPERTIES LLC                                           TRUST
26685594 ONTARIO      FRANCONNECT, INC.                  P & C PROPERTIES
LIMITED
2945 DUNDAS STREET    FRANCOTYP-POSTALIA CANADA          P AND A
INC.                                                     ADMINISTRATIVE
                                                         SERVICES, INC
2M & 3D LTD DBA       FRANDATA CORPORATION               P&M PROPERTY, LLC
TWIN FOUNTAIN
PLAZA
3 LITTLE BIRDS 4      FRANFACTS, INC.                    P&W ENTERPRISES, INC
LIFE
300251 ALBERTA LTD.   FRANK & SHAPIRO REAL ESTATE,       P. A. PRAESEL, TAX
                      INC.                               ASSESSOR COLLECTOR
301 W BALTIMORE       FRANK BESSON                       P.A.U-STORE-IT (1994) LTD
PIKE, LLC
3188825 CANADA INC.   FRANK COLOMBINO                    P.I.B INVESTIGATIONS
320 EAST 204 LLC      FRANK DELEONARDIS                  PA DEPARTMENT OF
                                                         REVENUE
3201 GENTILLY, LLC    FRANK G. CANTY REALTY              PA DEPARTMENT OF
                                                         REVENUE
3202 CHURCH LLC       FRANK GESZTESI                     PA MARK IT SIGNS LTD.
3440 LLC              FRANK MCRAE                        PA SCDU
351 AUDOBON LLC       FRANK PUCCI                        PABLO JAVIER
                                                         HERNANDEZ CALDERON
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358909 ONTARIO        FRANK SARDINO                       PACIFIC COPY &
LIMITED                                                   PRINTING
369 PENINSULA BLVD    FRANK SCHAEFER                      PACIFIC ELECTRONIC
CORP                  CONSTRUCTION INC PENSION            SECURITY INC.
                      PLAN
3829 BROADWAY LLC     FRANK STRONGOLI                     PACIFIC INTERNATINAL
                                                          BANK
39495 YUKON INC       FRANK WHITESTONE                    PACIFIC NORTHERN GAS
3G TAX CORP           FRANK, JOSEPH                       PACIFIC NORTHERN GAS
                                                          LTD
3Q DIGITAL, INC.      FRANKLIN COUNTY                     PACIFIC NW HOTELS
                                                          MANAGEMENT, LLC
4 STATES              FRANKLIN COUNTY CHILD               PACIFIC POWER-26000
ADVERTISING           SUPPORT
401 MAIN LLC          FRANKLIN COUNTY SANITARY            PACIFIC PROPERTY
                      ENGIN                               MANAGEMENT INC
401BZ INC.            FRANKLIN COVEY                      PACIFIC SQUARE LLC
407ETR                FRANKLIN RENTAL ASSOCIATES          PACIFIC WORLD
                                                          INVESTMENT INC
4119 SYRACUSE         FRANKLIN SECURITY BANK              PAC-VAN, INC.
HOLDINGS LLC
416 ST. PAUL STREET   FRANKLIN SECURITY BANK, FSB         PADGETT-THOMPSON
INC.
4187415 CANADA INC    FRANKLIN SECURITY SYSTEMS,          PADO, JOHN
                      INC
4187415 CANADA INC.   FRANNET                             PAETEC
                                                          COMMUNICATIONS
4310-4328 MAIN        FRANTJESKOS CUSTOM PAINTING         PAGADORA
STREET, LLC
4343 N RANCHO DR,     FRANZ LEEK                          PAGAN, CARLOS
LLC
4344 MAIN STREET      FRATERNAL FIVE                      PAGAS MAILING
BRIDGEPORT CORP       ORGANIZATIONS                       SERVICES
4344 MAIN STREET      FRD MANSELL SQUARE LLC              PAGE MASTER
BRIDGEPORT                                                CORPORATION
CORPORATION
4353 LLC              FRED C DAWSON                       PAGE PLAZA
                                                          ACQUISITION L.P.
44 MANAGEMENT,        FRED CADA                           PAGE, SCRANTOM,
INC.                                                      SPROUSE, TUCKER &
                                                          FORD, P.C.
446342 ONTARIO        FRED GASTON, JR.                    PAGE, SEBASTIEN
LIMITED
4761 BROADWAY         FRED JOHNSON                        PAGECO INC
ASSOCIATES LLC
4ALLPROMOS            FRED KANOS                          PAIGE COLONY LTD.
4IMPRINT, INC.        FRED LEE COMPANY, INC.              PAIGE COLONY, LTD.
5 TALENTS, INC.DBA    FRED LLOYD                          PAINT-4-LESS
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5-0 AIRPORT           FRED PRYOR SEMINARS                  PAINTED LADY TEA
EXPRESS AND                                                ROOM
LIMOUSINE SERVICE
501-B BOURBON, LLC    FRED PRYOR SEMINARS-DO NOT           PAISANO, THE
                      USE
502 E. JED REALTY     FRED TIM COOK                        PAK N POST
CORP.
530360 ONTARIO        FREDDY GEORGE                        PAK-N-STOR, INC
LIMITED
531968 ONTARIO LTD.   FREDERICK EWING                      PAL, TANYA
(OSHAWA)
56 EXPRESSWAY LLC     FREDERICK H LEEDS INTERVIVOS         PALACE
                      TRUST                                ENTERTAINMENT
565 WEST SIDE LLC     FREDERICK M MCCALLUM                 PALANA, JOHN
58 MISSISSAUGA        FREDERICKSBURG GENERAL               PALM BEACH COUNTY
STREET INC            DISTRICT COURT                       WATER UTILITIES
                                                           DEPARTMENT
585562 BC LTD.        FREDERICO L. VICK                    PALM BEACH COUNTY-
                                                           BUSINESS TAX
5909 15TH NW ASSOC.   FREDRICK BUTLER                      PALM GLEN INVESTORS,
LLP                                                        LLC
5TH AVENUE LEADS      FREDRICK CADA                        PALMDALE SHOPPING
                                                           CENTER INC
615 MUSIC             FREE FILE ALLIANCE, LLC.             PAM COTTON
615636                FREE FILE, INC.                      PAM MASSE
SASKATCHEWAN
LTD.
651047 BC LTD         FREE LANCE INVESTIGATIONS            PAMAL BROADCASTING
651047-BC LTD         FREE SPIRIT TOURS                    PAMELA BLACKMORE
(WESTWOOD PLAZA)
651407 BC LTD         FREECAUSE, INC.                      PAMELA E MOONEYHAN
6603310 MANITOBA      FREEDOM COMPANY, INC                 PAMELA HEIN
LTD
665741 N.B. INC.      FREEDOM FINANCIAL, INC               PAMELA I. PERRY, PA
674658 ONTARIO        FREEDOM STAFFING                     PAMELA J WILLIAMS-
LIMITED                                                    COUNTY COLLECTOR
676 GRAND STREET      FREELAND SHULL                       PAMELA JOHNSTON
LLC
687830 BC LTD         FREELAND SHULL TRUST                 PAMELA MCKINNEY
69TH STREET, LTD      FREELYN CLARKE                       PAMELA MICHIE
705 ELECTRIC          FREEMAN DIXON FAMILY LP              PAMELA MUNJAL
720 CHURCH STREET,    FREEMAN ENTERPRISES, LP              PAMELA ROETTGER
LLC
7506473 CANADA INC.   FREEMAN, ELIZABETH T.                PAMELA WOOD
7775 BAYMEADOWS       FREMONT WEST L. L. C.                PANAYIOTIS
WAY                                                        ELEFTHERIOU
786458 ALBERTA INC.   FRENCHMAN'S CREEK SHOPPING           PANELING FACTORY OF
                      CENTER                               VA, INC.
796 GRAND ST LLC      FRESHDESK, INC.                      PANERA BREAD
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798 TREMONT           FRIAUF, ROBERT W.                    PANOLTIA, INC.
HOLDING LLC
804 SIGNS LLC         FRIEDMAN LAW FIRM, P.C.              PANORAMIC
                                                           HOSPITALITY
823981 ONTARIO LTD.   FRIENDS OF VIRGINIA BEACH            PANTIRER, PHYLLIS
                      ANIMAL CONTROL
8312 BURNET ROAD,     FRISCO MANAGEMENT, LLCPRO            PAOLA PROANO
LLC                   SILVER STAR, LTD.
8400 BEECHMONT        FRONTIER                             PAPA CARD
AVE LLC, KFM
PROPERTIES, LLC &
MIDWAY CENTER,
LLC
9238-6606 QUEBEC,     FRONTIER CAPITAL GROUP, LTD.         PAPA JOHN'S PIZZA
INC.
9269-5147 QUEBEC      FRONTIER CAPITAL GROUP, LTD.         PAPA JOHN'S PIZZA
INC.
93 OCTANE             FRONTIER COMMUNICATIONS              PAPAZEKOS, WILLIAM
                      SERV.
94.7 STAR FM/Q        FRONTIER FC III                      PARADISE MECHANICAL
COUNTRY 91.5FM
984355 ONTARIO        FRONTRUNNER FOOTWEAR                 PARAG GANDHI
LIMITED
A & B PROPERTIES      FROST NATIONAL BANK                  PARAMOUNT SIGNS
INC
A & R ENTERPRISES,    FS FOOD EQUIPMENT &                  PARAMOUNT
LLC                   OPERATING INC                        TECHNOLOGIES, INC.
A BOOK'S MIND, LLC    FS MANAGEMENT, LLC                   PARAMOUNT
                                                           TECHNOLOGIES, INC.
A CHANCE TO LEARN     FT LAW FIRM                          PARCELS, INC.
A CLEAN BAY           FTA                                  PARDEEP KAUR
PLUMBING & DRAIN
CLEANING, INC
A COUNTING + INC.     FUENTES PROPERTIES                   PARDOT, LLC
A DRIECT              FUHRMAN, DON T.                      PARHAM SHOPPING
CONNECTION                                                 CENTER LLC
A KID AGAIN, INC.     FULL MEI INC.                        PARICHKOV, JOANNA
A MAGIC MOVER         FULLER CONSTRUCTION                  PARIVEDA SOLUTIONS
                      CORPORATION                          INC
A MILLION THANKS      FULLER, ANNIE                        PARK AVENUE
                                                           LIMOUSINES
A PLUS PERSONNEL      FULLER, ANNIE (GM ACCT)              PARK CENTRE PLAZA LLC
A PROFESSIONAL        FULLER'S PHOTOGRAPHY                 PARK PLAZA HOTEL
PROCESS SERVICE       STUDIOS, LLC
A ROY L. TRIBUTE      FULLVIEW CONSULTING                  PARK RIDGE BUSINESS
PRODUCTIONS                                                CENTER, INC.
A SMITH PLUMBING      FULTZ, MADONNA                       PARK SIGN
COMPANY
A TAX, INC            FUN HOUSE                            PARKER ALLEN
                                                           INVESTMENTS LLC
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A THRU Z SUMMONS,    FUN TOURS INC.                       PARKER EXCHANGE LLC
INC.
A&A CONTRACT         FUND/CGR LYNNHAVEN,SPE               PARKER STEVENSON
CUSTOMS BROKERS                                           BROKERAGE CORP
LTD.
A&B MARKET, LLC      FUND-CGR LYNNHAVEN LLC               PARKER, CARY
A&E SIGNS AND        FUTERAL & BROOKSHIRE                 PARKER. KIM
LIGHTING LLC
A&J SPECIALTY        FUTRELL, BOBBY                       PARKINSON COACH
SERVICES, LLC                                             LINES 2000 INC.
A&M GREEN FAMILY     FUTURE SIGNS AND GRAPHICS            PARKINSON, LYNDA
PTNR
A&M TAX SERVICES     FWCJUA, INC.                         PARKS AND RECREATION
CORP
A&N ELECTRIC         G & H DEVELOPERS INC                 PARKS, BEN
COOPERATIVE
A. L. HOFAKER INC.   G A C TAXPRO INC.                    PARKVIEW 2001 BOYS
INSURANCE                                                 SOCCER
A.& M TAX SERVICES   G CALVIN GLOVER & SONS               PARROTT, PAT
CORP
A.B.                 G STRAUSS & COMPANY INC              PARS INTERNATIONAL
INVESTIGATIONS,                                           CORP.
INC.
A.D. SLATER          G&M COURT REPORTERS, LTD.            PARTNER FOR CARE
A.D. SOLUTIONS       G&S FIRE EXTINGUISHER                PARTNERS IN
                     SERVICE, INC.                        LEADERSHIP,LLC
A.D.S.               G. E. MATTHEWS, INC REALTORS         PARTNERS IN MEDIA,
INTERNATIONAL,                                            LTD-DO NOT USE
INC.
A.G.E. GRAPHICS      G. NEIL COMPANY                      PARTNERS IN MISSSION
                                                          FOOD BANK
A.J.J.M.D REALTY     G.T. CONCEPTS                        PARTY CITY
CORPORATION
A.T.C.S.             GABE BAKOS                           PARTY TIME
                                                          ENTERTAINMENT
A.W.E. HOLDINGS      GABLE, COLEMAN                       PAS PROPERTIES LLC
LTD.
A.Y. STRAUSS LLC     GABRIEL BENOIT                       PASADENA WATER AND
                                                          POWER
A+ FINANCIAL         GABRIEL BRANESCU                     PASCO COUNTY TAX
SERVICES                                                  COLECTOR
A+ PAINTING          GABRIEL HENRY BARNES                 PASIFICO CORPUZ
A+ PRO               GABRIEL MALINIS                      PASQUALE MIRABELLI
A+ STUDENT           GABRIELLA SNEAD                      PASQUALE, MIKE
STAFFING INC.
A-1 BACKFLOW LLC     GAETANO RUGGIERO                     PASSALACQUA REAL
                                                          ESTATE
A-1 BROADCAST, LLC   GAGEN, ED                            PAT GILBERT
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A-1 NATIONAL LOCK    GAIL HOUGH                          PAT KELLY
& ALARM
A-1 PLUMBING OF      GAIL PROCOPIS                       PAT MCBRIDE
BALTIMORE, INC
A1 SHREDDING AND     GAIL TROKE                          PATH IQ
RECYCLING
A-1 SIGNS            GAINES BUS SEVICES, INC.            PATHFINDER
                                                         COMMUNICATIONS, INC
A4D, LLC             GALEN MITCHELL                      PATHWARD, NATIONAL
                                                         ASSOCIATION
AA OPTIMAL TAX       GALILEO CONYERS PHASE II            PATIENT FIRST
                     OWNER LLC
AAA                  GALLAGHER BASSETT SERVICES          PATRECE S SCOTT
                     INC
AAA INTEGRITY        GALLARDO, RUDY Q.                   PATRICA LEADBEATER
PROPERTY
MANAGEMENT, LLC
AARON ADAM           GALLEGOS SAITATION                  PATRICIA BAILO
HOLDINGS INC         INCORPORATED
AARON C. GARRETT     GALLIVAN , WHITE & BOYD, P.A.       PATRICIA BLAU
AARON DIXON          GALVIN PROCESS SERVING              PATRICIA EDWARD
AARON                GAMMON, JEANIE                      PATRICIA FIORE
INVESTIGATIONS &
RESEARCH
AARON JACKSON        GANDHI KHAMIS                       PATRICIA HARMON
AARON JOHNSON        GANG FINANCIAL, LLC                 PATRICIA K HEISS
AARON KIOUS          GANYO SOH                           PATRICIA MATUS
AARON LAPENNA        GAP BROADCASTING, LLC               PATRICIA MCBRIDE
AARON LETAWSKI       GAPPA HOLDINGS                      PATRICIA RAHNEMA
                                                         LIVING TRUST
AARON MOSS           GAPPA, BOB-MANAGEMENT 2000          PATRICIA SCOTT
AARON Y. STRAUSS     GARAGE GIRLS, LLC                   PATRICIA WHYNACHT
AARON'S LOCK &       GARBARINI, KATHLEEN                 PATRICK A COZZA
KEY, INC.
AARONS RENTS- VA     GARCIA & LOVE                       PATRICK BURGESS
AARROW               GARDEN CITY CUSTOMS                 PATRICK FUKUSHIMA
ADVERTISING
AARSHAW ELECTIRC     GARDEN STATE CHECK CASHING          PATRICK HANDYMAN
                                                         LLC
AASEN PUBLISHING     GARDNER & MENDOZA, PC               PATRICK HULLER
(DBA QUICK
QUARTER)
AB CONTRACTING       GARDNER, RUSSELL                    PATRICK KILDUFF
ABA JAX              GARLAND NOSEWORTHY                  PATRICK MCMAHON
ABACUS I.T.          GARLYNN GROUP LLC                   PATRICK MOUSSEAU
ABACUS OF            GARNER & GINSBURG, PA               PATRICK RENAUD
HAMPTON ROADS
MANAGE
ABBAS, HUZEFA        GARRETT REPORTING SERVICES          PATRICK SWEENEY
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ABC FIRE & SAFETY    GARRETT, NATHAN T.                 PATRICK TASCONA
EQUIPMENT LTD.
ABC FIRE & SAFETY,   GARRY MCDOUGALL ELECTRIC           PATRICK W.Y. TAM
INC                  INC.                               TRUST
ABC FIRE SAFETY      GARRY STEVENSON                    PATRICK WALSH
ABC GLOBAL           GARRY USHER                        PATRICK WHITE
SERVICES, LLC
ABC LEGAL            GARTNER, INC.                      PATRICK'S DJ SOUND &
SERVICES                                                LIGHTING
ABC PLUMBING INC     GARTNER, WENDY                     PATRIOT TAX SERVICE
                                                        LLC
ABCO                 GARY B GRISER                      PATRIOTIC FESTIVAL II
ABDIGHANI ISMAIL     GARY BIRON                         PATRON PROPERTIES,
                                                        LLC
ABDON HORTA     GARY BROWN                              PATSY IRENE GILLIAM
ABDU ABDURAHMAN GARY CHARLES                            PATTI D. HARTLE
ABDUL GHANI     GARY COPELAND                           PATTISON OUTDOOR
                                                        ADVERTISING
ABDULAZEEZ AL        GARY COSTELLO                      PATTISON OUTDOOR
AMAIR                                                   GROUP
ABDULQAWI ABBADI     GARY DAVIS                         PATTISON SIGN GROUP
ABE                  GARY DOUCET                        PATTY WHITE
INVESTIGATIONS
ABE MACKAY           GARY EVANS                         PAUL A. MARTIN
ABEL VARGAS          GARY GIBBS                         PAUL ALLEN
ABELL PEST           GARY L FEWER                       PAUL AND RUTH
CONTROL                                                 MORRISON
ABHIMANYA            GARY L HOLMES                      PAUL ARVANITIDIS
DAHIYA
ABINGDON             GARY L RICHARDS                    PAUL BAAL
VIRGINIAN
ABINGDON,            GARY MARKS                         PAUL BELAIR
LARAMIE
ABISTAR GROUP, LLC   GARY RICHARDS                      PAUL BENJAMIN
                                                        TICHENOR
ABLER                GARY UNDERWOOD II                  PAUL CHESTERTON
COMMUNICATIONS
ABOINGO SERVICESS    GARY W CASE AND CO INC             PAUL CROSBY TRUST
ABRAHAM MISSION      GARY WENTZ                         PAUL D & CONNIE F
STREET, LLC                                             SIMMONS
ABRAHAM, ROBERT      GARY WESSEL                        PAUL DAVID STEEVES
ABRAMS & BAYLISS     GAS CITY FUELS LLC                 PAUL DESCHAM PS
LLP
ABS SCHOOL OF        GASLAMP INVESTMENTS LLC            PAUL ECKERT
REAL ESTATE LLC
ABSOLUTE             GASLIGHT FESTIVAL                  PAUL EDWARD SIMS JR
SOLUTIONS
ABSOPURE WATER       GASTECH SOLUTIONS INC              PAUL FARRELL
COMPANY
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AC3 REAL ESTATE,     GASTON BEAUCHAMP                   PAUL FIDLER
INC
ACAC INC             GASTON COUNTY TAX                  PAUL FINANCIAL GROUP
                     DEPARTMENT                         INC.
ACADEMAP, LLC        GASTON P SCHULER                   PAUL GARRY MCKIRDY,
                                                        JR
ACADEMY MOVING       GATEHOUSE MEDIA NEW YORK           PAUL GLUCK
SERVICES             HOLDING INC
ACADIA MCB           GATEHOUSE MEDIA NEW YORK           PAUL HASTINGS LLP
HOLDING COMPANY      HOLDINGS INC
II LLC
ACB ELECTRICAL &     GATESTONE & CO. INC                PAUL HOFFMAN
WELDING
ACC BUSINESS         GATEWAY OUTDOOR                    PAUL JOSE MOOLAN
                     ADVERTISING
ACCE                 GATEWAY REALTY                     PAUL KEMSKE
ACCELERATION         GATEWAY SIGNS & SERVICE            PAUL KERNOHAN
SHREDDING
ACCENT GRAPHICS      GAVASKAR SINGH                     PAUL KRIZAN
ACCESS               GAVIN LEE                          PAUL LANGDON
DEVELOPMENT
ACCESSIBLE360, LLC   GAY, WILLIAM L. & BETTY L.         PAUL MCLARTY
ACCOUNTABILIT LLC    GAYON RUTHERFORD                   PAUL MOLINA
ACCOUNTANTS          GAZETTE COMMUNICATIONS             PAUL OZORAK
MEDIA GROUP
ACCOUNTANTS ON       GBS MOBILITY                       PAUL PENNY
CALL
ACCOUNTEMPS          GC SERVICES                        PAUL PEWS
ACCOUNTEMPS          GC TRUSTED AGENTS INC              PAUL R ST LOUIS
(CAROL STREAM)
ACCOUNTING STORE,    GCG FINANCIAL, LLC                 PAUL RIGGLE & SONS
THE                                                     INC.
ACCOUNTING TODAY     GCG RISK MANAGEMENT                PAUL ROSARIO
                     CONSULTANTS LLC
ACCOUNTWARE          GCI                                PAUL SAVOIE
ACCRA LOCK & SAFE    GCI TRANSCRIPTION SERVICE          PAUL SHONELL
CO. LTD.                                                MOHAMMED
ACCRESCENT           GCI TRANSCRIPTION SERVICES         PAUL SOULARD
FINANCIAL LTD.
ACCS MAKETING LLC    GDT BAR1 VENTURES LTD              PAUL W. HERRELL
ACCURATE CONTROL     GE CANADA EQUIPMENT                PAULA HART
EQUIPMENT, INC.      FINANCING
ACCURATE             GE CAPITAL CREDIT                  PAULA HART
DOCUMENT
DESTRUCTION
ACCURATE             GE VFS CANADA LIMITED              PAULA JEAN GRIFFIN 2015
INSTALLATIONS &      PARTNERSHIP                        TRUST
MOVING SERVICES
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ACCURATE             GECHT, LEO                         PAULA LAMONTAGNE
INVESTIGATIONS
SERVICES
ACCUSTAFF            GEICO                              PAULA PERRY
ACE CASH EXPRESS     GEIER WASTE SERVICE LTD            PAULA SMITH
ACE CASH EXPRESS     GEIGER, JEREMY & ALLISON           PAULETTE DEMELO
ACE CASH EXPRESS     GEISTOWN BOROUGH                   PAULETTE LAROCQUE
ACE CHAIR RENTAL     GELDERMAN, HARRY                   PAULETTE RYDER
& SALES LTD.
ACE FIRE SYSTEMS,    GEN3 MARKETING, LLC                PAULITO ERSANDO
INC.
ACE OFFICE           GENE LUCIW                         PAULK & PAULK DBA
SOLUTIONS INC                                           SNELLING STAFFING
                                                        SERVICES
ACE SIGN & SERVICE   GENERAL DISTRIBUTING CO            PAWS ANIMAL WILDLIFE
LTD                                                     SANCTUARY, INC
ACERRA,              GENERAL ELECTRIC CAPITAL           PAXSON
FERDINANDO           CORP.                              COMMUNICATIONS
ACF PROPERTITY       GENERAL TREASURER OF RI            PAYDAY BROKERS
MANAGMENT INC.
ACHIEVE YOUR         GENERAL TREASURER, STATE OF        PAYDAY LOAN, LLC
DREAMS FRANCHISE     RHODE ISLAND (UCP)
CONSULTING
ACHILLES GUARD,      GENE'S LTD.                        PAYDAY PERX
INC.
ACKERLEY MEDIA       GENESEE BROOKS LLC                 PAYIE TYLER
GROUP, INC.
ACM MANAGEMENT       GENESIS CORP                       PAYNE, GATES,
SERVICES LTD.                                           FARTHING & RADD,
ACME SIGN            GENESIS PUBLICATION INC.           PAYNTER, REED
COMPANY
ACORN                GENESIS SQUARE PROPERTY LLC        PBCC - 856460 - DO NOT
                                                        USE
ACORN NOTARY         GENESYS CLOUD SERVICES, INC.       PBCC - DO NOT USE
SUPPLY
ACQUIRE CROWD        GENEVA PROPERTIES PTNSHP           PCCHL
ACQUIRED             GENNUSO, JOSEPH                    PCIP CREDIT IV, LLC
INFORMATION
ACT COMPUTER         GENUENT GLOBAL, LLC                PCS
CONSULTING CO.
ACT DEVELOPMENT      GEOFFREY HOESCH                    PCS USA
ACT! CERTIFIED       GEOFFREY PRIDEAUX                  PCS, INC
CONSULTANTS OF
VIRGINIA, INC.
ACT-1 TEMPORARIES,   GEORGANA CEPEDA                    PDQ ISRAEL FAMILY
INC.                                                    FORREST OAKS LLC
ACTION               GEORGE A TOMA                      PEACE, RUBY
INVESTIGATORS
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ACTION LOCK         GEORGE BOLAND                      PEACH FUZZ
                                                       ENTERTAINMENT, LLC.
ACTION PAVING AND   GEORGE CARO                        PEACOCK, W. H.
CONSTRUCTION INC
ACTION PLUS SIGN    GEORGE EGAN                        PEAK DESIGN
CO.
ACTION PROCESS      GEORGE FRANKLIN                    PEARCE, KEITH
SERVICE LLC
ACTION              GEORGE GARRON                      PEARCE, R. KEITH
REMODELING
ACTIVECAMPAIGN,     GEORGE GIBSON                      PEARL MEYER &
LLC                                                    PARTNERS, LLC
ACT-ON SOFTWARE,    GEORGE GIBSON                      PEARL MEYER &
INC.                                                   PARTNERS, LLC
ACUMEN DATA         GEORGE KALB                        PEARLHARBOR HARVEST
SYSTEMS, INC.                                          LAKESHORE, L.L.C.
AD ELECTRIC         GEORGE KANNON                      PEARS, DANIEL
AD NATIONAL         GEORGE L. COOPER                   PECK, LINDA
AD SAVE, INC.       GEORGE LIEBMAN, TRUSTEE FOR        PECO ENERGY-8699
                    MEDICUS
ADA COUNTY          GEORGE MARCOS & SONS L.P.          PECO-37629
TREASURER (BOISE,
ID)
ADAIR, BILL         GEORGE MASON UNIVERSITY            PECO-ARC
                                                       INSTITUTIONAL REIT LLC
ADALBERTO ALBA      GEORGE MIREAU                      PEEKSKILL PROPERTIES
ADAM BOLTON         GEORGE MITCHELL                    PEEL PRODUCTIONS
ADAM BROADHURST     GEORGE NOVAK                       PEGASUS CONSULTING
ADAM BURCHILL       GEORGE PALACIOS DBA BRANDED        PEGGY NOBES
                    T'S
ADAM I FORD         GEORGE RALF                        PEGGY OLIVE
ADAM MACDONALD      GEORGE W. MINNER, JR.              PELLER ESTATES
ADAM MARTIN         GEORGE WILLIAM MINNER JR.          PELMOREX CANADA
ADAM MYERS          GEORGE, EMIL                       PEMBROKE PINES MEDIA
PLUMBING, INC.
ADAM N. ROBINSON    GEORGEIT M. YOUNAN                 PEMBROKE SQUARE
                                                       ASSOCIATES
ADAM ST. JEAN       GEORGETOWN, DAVID                  PEMBROKE SQUARE
                                                       ASSOCIATES
ADAM WILLIAMS       GEORGETOWN, MORGAN                 PENA, MICHAEL
ADAMOS, EDWARD      GEORGIA ALEXANDER                  PENA, VICTORIA
ADAMS OUTDOOR       GEORGIA CROWN DISTRIBUTING         PENCOR INSTALLATIONS
ADVERTISING         CO
ADAMS OUTDOOR       GEORGIA DEPARTMENT OF              PENDER & COWARD
ADVERTISING, LP     REVENUE
ADAMS SERVICES      GEORGIA DEPARTMENT OF              PENGUIN PROPERTIES
                    REVENUE                            LLC
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ADAMS SIGN          GEORGIA DEPARTMENT OF              PENGUIN PUTNAM INC
SERVICE AND         REVENUE
REPAIR, LLC
ADAMS STORAGE       GEORGIA DEPARTMENT OF              PENNER INTERNATIONAL
VILLAGE             REVENUE, UNCLAIMED PROPERTY        INC.
                    PROGRAM
ADAMS, HARRIS       GEORGIA DEPT OF REVENUE            PENNER SIGNS
REPORTING INC.      PROCESSING CENTER
ADAMS, KRISTINE     GEORGIA INCOME TAX DIVISION        PENNSYLVANIA SCDU-
                                                       0661000240
ADAMS, RANDON       GEORGIA NATURAL GAS                PENNSYLVANIA SCDU-
                                                       2235100157
ADAMS. KATHY        GEORGIA POWER                      PENNSYLVANIA
                                                       TURNPIKE COMMISSION
ADCO ADVERTISING    GEORGIA POWER                      PENNY FORBES
LTD
ADCO SIGNS INC.     GEORGIA SECRETARY OF STATE         PENNY GOLLEN
ADD                 GEORGIAN MOBILE SIGNS, INC.        PENNY OLSEN
COMMUNICATIONS
INC.
ADDLEASE (MCAP)     GEORGIAN SPORTS AND                PENNY TRENHOLM
                    ENTERTAINMENT
ADECCO              GEORGIE SUSOEFF                    PENNYSAVER
EMPLOYEMENT
SERVICE LIMITED
ADEJIMI             GEORGINA SWITZER                   PENNYSAVER
ADEMUYIWA
ADELE               GERAKARIS, THOMAS                  PENNYSAVER GROUP INC.
PITAWANAKWAT
ADELPHIA BUSINESS   GERALD B CRAWFORD II               PENSACOLA HANDYMAN,
SOLUTIONS                                              LLC
ADELPHIA MEDIA      GERALD BACH                        PENSKE TRUCK LEASING
SERVICES                                               CO.,L.P.
ADENYO USA INC.     GERALD D.R. AND SHARON M           PENTAD PROPERTIES,
                    HETTICH                            INC.
ADESEGUN MUSIWA     GERALD E FUERST CLERK OF           PENTON MEDIA
                    COURTS
ADGEO, INC          GERALD GINTER                      PENTON TECHNOLOGY
                                                       MEDIA, INC.
ADGOOROO, LLC       GERALD H PRYOR                     PENTRY, JAMES
ADIL BARRA          GERALD M. MOORE & SON, INC.        PEOPLE SOFT, INC.
ADISA SELIMOVIC     GERALD N. COWEY                    PEOPLEREADY INC
ADIVISE CAPITAL     GERALD NEWMAN                      PEOPLES
LLC
ADMIIN INC          GERALD PILON                       PEOPLE'S GAS
ADOBE SYSTEMS,      GERALD PRYOR ACCOUNTS              PEOPLES INCOME TAX
INC.
ADP                 GERALDINE SAUNDERS                 PEOPLE'S REALTY, INC.
ADP HOLDINGS INC    GERALDO INENEO                     PEOPLES, LARRY
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ADP PAYROLL          GERARD BLACK                        PEPCO POWER
ADP SCREENING &      GERARD CHAMBO                       PEPE LEPEW
SELECTION
SERVICES
ADP SCREENING AND    GERARD JEAN                         PEPPERWEED
SELECTION                                                CONSULTING, LLC
SERVICES,INC
ADP, INC. - 842875   GERMAINE RONDEAU                    PER MAR SECURITY
                                                         SERVICES
ADRAGNA, PETER       GERON, DAVID                        PERCONTE, SALVATORE
ADRIAN ILEA          GERRALD MIGWANS                     PERCY GADD
ADRIAN MIZZI         GERRITY RETAIL FUND 2, INC          PEREZ, OLGA COLLAZO
ADRIAN SIMMS         GERRITY RETAIL FUND 2, INC.         PEREZ-LEPKOWSKI,
                                                         MARIA
ADRINE MORSE         GERRITY RETAIL FUND 2, INC.-DO      PEREZ-LOPEZ, RENE
                     NOT USE
ADROLL, INC          GERRY CAMPBELL                      PEREZ-LOPEZ, RENE
ADT SECURITY         GERRY SLIPCHUK                      PERFECT COPY & PRINT
SERVICES CANADA,
INC.
ADT SECURITY         GES EXPOSITOIN SERVICES             PERFECT EVENT
SERVICES CANADA,                                         RENTALS
INC-8481
ADT SECURITY         GESCHICKTER-SMITH                   PERFECT PEN &
SERVICES, INC.-      ENTERPRISES, LLC                    STATIONERY
371956
ADT SECURITY         GET MOTIVATED SEMINARS, INC.        PERFECT PROCESS
SERVICES-371878
ADT SECURITY         GETBUSY USA CORPORATION             PERFECT PROMOS
SYSTEMS              (SMARTVAULT)
ADVANCE BUSINESS     GETTY IMAGES                        PERFECT VISION MEDIA
SYSTEMS (WINDSOR)
INC.
ADVANCE DESIGNS      GEUS/CITY OF GREENVILLE             PERFECTION LAWNS INC
ADVANCE              GFC ATLANTIC ASSOCIATES, LLC        PERIMETER ASSOCAITES,
DISTRIBUTION/HERE'                                       LLC
S THE SCOOP
ADVANCE ELECTRIC     GGP LIMITED PARTNERSHIP-            PERISCOPEIQ, INC
                     APACHE
ADVANCE SOLAR        GGP LIMITED PARTNERSHIP-            PERKAL, ALBERT &
SOLUTIONS            COLUMBIA BUSINESS                   FRANK FITZPATRICK
ADVANCE              GGP LIMITED PARTNERSHIP-            PERKINS COIE
SURVEILLANCE         GOVERNORS SQ
GROUP, INC.
ADVANCED             GGP LIMITED PARTNERSHIP-THE         PERKS CARD
DELIVERY SERVICE,    WOODLANDS
INC.
ADVANCED             GGP NATICK TRUST                    PERKS UNLIMITED INC
DISPOSAL
STATELINE-PD
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ADVANCED           GGPL PRIME, LLC-COASTLAND           PERO SEO INC
DOCUMENT           CENTER
DESTRUCTION, LLC
ADVANCED           GGPLP LLC-LYNNHAVEN MALL            PERRY BROADCASTING
INVESTIGATIVE                                          COMPANY
SOLUTIONS INC.
ADVANCED LOCK &    GGPLP REAL ESTATE, INC.             PERRY DEWEY
SECURITY LTD.
ADVANCED MOVING    GGPLP REIT SERVICES, LLC            PERRY REID
AND TRANSPORT
LTD.
ADVANCED TELCOM    GGPLP, LLC-MAINE MALL               PERRY, JOHNSON,
GROUP, INC.                                            ANDERSON, MILLER &
                                                       MOSKOWITZ LLP TRUST
ADVANTAGE          GHADIALY, MAJEED                    PERSONAL CONCEPTS
BUSINESS SYSTEMS
ADVANTAGE          GHILAINE MATHIEU                    PERSONAL
CONFERENCE &                                           MANAGEMENT SERVICES,
EXPO                                                   LLC
ADVANTAGE          GHP HOLDINGS LLC                    PERSONIFIED LLC
CONFERENCE &
EXPO, LLC
ADVANTAGE          GIACOMO GRECO                       PERSONNEL DATA
RELOCATION                                             SYSTEMS, INC
SYSTEMS
ADVANTAGE SIGNS    GIBBY & BRINSON LAND                PERTH AMBOY CHECK
LTD.               DEVELOPMENT INC.                    CASHING SERVICE
ADVANTAX, INC      GIBRALTAR MANAGEMENT CO.,           PETER BARANOV
                   INC
ADVANTAX-DO NOT    GIBSON BUILDING SUPPLIES            PETER BLACKMERE
USE
ADVENTNET          GIBSON, RHONDA DESSELLES            PETER CHIN PROPERTY
                                                       MANAGER, LLC
ADVENTURE 54.5     GIBSON, RUSSELL & MEIERJOHAN,       PETER DEN HOLLANDER
                   BERNIE
ADVERTISING        GIDEON OFISI                        PETER E DAVIS
BALLOON COMPANY
LLC
ADVERTISING ETC.   GIESBRECHT, BECKY                   PETER JULES
ADVERTISING        GIG KYRIACOU                        PETER KANG
VISUALS, INC.
ADVERTISING, INC   GIGMASTERS.COM, INC.                PETER KASANDRINOS &
                                                       GEORGE KASANDRINOS
ADVO, INC.         GILBERT CHAO                        PETER LUPTON
ADVOCATE           GILBERT E COPELAND, SR              PETER MCMAHON
SERVICES
ADVOCATES LLP      GILBERTO JOSE ESPINOZA              PETER OSTROWSKY
AEEMRO BELAYNEH    GILLEN, STICKLE & ASSOCIATES        PETER PITOSCIA
AEGIS LOCKSMITHS   GILLES AND MARILYN PICARD           PETER ROMAIN
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AEROTEK             GILMAN & CIOCIA, INC.               PETER SCOTT
PROFESSIONAL
SERVICES-DO NOT
USE
AEROTEK             GILSTRAP GREG                       PETER ST. DENIS
PROFESSIONAL
SERVICES-DO NOT
USE
AEROTEK             GIMA, MARIAN                        PETER SUCHOWER
PROFESSIONAL
SERVICES-IL-DONT
USE
AEROTEK, INC.       GINA BERNSTEIN                      PETER VASILIADIS
AFCO CREDIT CORP    GINA P WILLIAMS                     PETER VON KANEL
AFCO CREDIT         GINETTE ANDRE                       PETER WINTER
CORPORATION
AFFORDABLE          GINGERICH, SUSAN                    PETERBOROUGH
ADVERTISING                                             CURLING CLUB
AFFORDABLE BRICK    GINNY DOORNEKAMP                    PETERBOROUGH
REPAIR, LLC                                             HUMANE SOCIETY
AFFORDABLE          GINO DILEONARDO                     PETERBOROUGH PETES
FLOORS SALES &                                          HOCKEY CLUB LTD.
SERVICE, INC.
AFFORDABLE          GIOVANNI'S SIGNS                    PETEREIT INVESTMENTS,
FLOORS, INC.                                            INC
AFFORDABLE OFFICE   GISELE BRASSARD                     PETERS, DONNA
& HOME SERVICES
AFFORDABLE SEPTIC   GIUSEPPE SPADAFORA                  PETERS, EDGAR
SOLUTIONS, INC.
AFL DISPLAY GROUP   GIVITI HALL                         PETERS, ESQ., ALEXIA E.
AFMK HOLDINGS,      GIVORG SIMON                        PETERS, STEVE
INC.
AFNI, INC.          GLADES COURT PROPERTIES, LP         PETERSBURG GENERAL
                                                        DISTRICT COURT
AFOAKWA, RICHARD    GLAPO CORP                          PETERSBURG GENERAL
                                                        DISTRICT COURT
AFTON ASSOCIATES    GLASSDOOR, INC                      PETTIGREW, CHARLES R.
LLC
AFTON ASSOCIATES,   GLASSICAL CREATIONS                 PETTINARO ENTERPRISES
LLC                                                     HOLDINGS LLC
AGARI DATA, INC.    GLEIM PUBLICATIONS                  PETZ ENTERPRISES, INC.
AGENT MEDIA         GLEN ALEXANDER                      PETZA, DONALD
CORPORATION
AGENT PINPOINT      GLEN DALTON                         PEVIN, RANDALL
AGM-NEVADA LLC      GLEN HUBERT                         PFAM-TRAN, TONI
AGNES               GLEN R.NELSON/STEVEN A.             PFI - PROCESS
SILVERTHORN         NELSON PTR.                         FORWARDING
                                                        INTERNATIONAL
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AGORA LEASING       GLEN SMITH                         PFM MARKETING, LLC
AND MANAGEMENT,
LLC
AHLUWALIA           GLEN VAN DE KERCKHOVE              PG FLOOR FASHIONS LTD.
BROTHERS HOLDING
INC
AHMED ELSIUFI       GLENDA JAMES REAL ESTATE           PG LASER GRAPHICS LTD
                    BROKERAGE INC
AHR                 GLENDA KENNEDY                     PG&E
COMMUNICATIONS,
INC.
AHR PROPERTIES LP   GLENN CASSIDY                      PHAROS HOLDINGS, LLC
AHS SECURITY        GLENN HEALY                        PHILADELPHIA GAS
SYSTEMS INC                                            WORKS
AI MEDIA GROUP      GLENN, SALLIE                      PHILBIN & ASSOCIATES,
                                                       INC.
AIA SERVICES, LLC   GLENWOOD NORTH DUKE CO LLC         PHILIP A SHEELY
AIA SERVICES, LLC   GLENWOOD PLAZA LLC                 PHILIP A. LYNCH
AIDAN HAWLEY        GLOBAL ADJUSTMENT SERVICE          PHILIP BALL
AIDER KADDER        GLOBAL COMMUNICATIONS-EFAX         PHILIP BALL
                    CORPORATE
AIELLO GENERAL      GLOBAL COMPUTER SUPPLIES           PHILIP GARFORTH
CONTRACTING
AIG SPECIALITY      GLOBAL CROSSING TELECOMM           PHILIP JOHNSON
INSURANCE
COMPANY
AILEEN DUFFY        GLOBAL FINANCIAL SERVICES          PHILIP P GARFORTH
AIM MEDIA TEXAS     GLOBAL INVESTIGATIVE &             PHILIP SPAGNOLO, JR
OPERATING, LLC      MANAGEMENT SOLUTIONS
AIMEE FRANKHOUSE    GLOBAL PROFESSIONAL SERVICES       PHILIPPINE NURSES
TRUST                                                  ASSOCIATION
AINEEAMO INC.       GLOBAL SECURITY SERVICES           PHILLIP CHALLIFOUX
AINOR SIGNS, INC.   GLOBAL TALK RADIO                  PHILLIP MACDONALD
AINSWORTH           GLOBAL WIDE MEDIA, INC.            PHILLIPS LYTLE LLP
MURRAY
AIR AD PROMOTIONS   GLOBALINX DATA CENTERS LLC         PHILLIPS MCFALL
                                                       MCCAFFREY MCVAY &
                                                       MURRAH P.C.
AIR ADVANTAGE       GLOBE CORP. STAY                   PHILLIPS TOURS
                    INTERNATIONAL
AIRBORNE EXPRESS    GLOBRITE ELECTRIC CO LTD.          PHILLIPS, EDWIN
AIRDRIE ECHO        GLOBUS EDITION S.L.                PHILLIPS, JOSEPH
AIRGAS RETAIL       GLORIA BARNHART                    PHILLIPS, LYTLE,
SOLUTIONS                                              HITCHCOCK, BLAINE &
                                                       HUBER LLP
AIRGAS USA, LLC     GLORIA BOWERS                      PHILLIPS, TODD
AIRLINE SHOPPING    GLORIA CHOUDHRI                    PHILLY.COM
CENTER
PARTNERSHIP
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AIRPORT EXPRESS     GLORIA MACKENZIE                   PHOENIX HEATING AND
                                                       AIR
AIRQUIP, INC.       GLORIA PLASCENCIA                  PHOENIX PAPER
                                                       SHREDDING
AIRTIME MEDIA       GLOUCESTER COUNTY                  PHOENIX PROMOTIONAL
                                                       PRODUCTS
AJ CONNECTION       GLOUCESTER-MATTHEWS                PHOENIX SPEEDWAY LLC
                    GAZETTE-JOURNAL
AJD DATA SERVICES   GLOUSESTER ARTS ON MAIN INC        PHOENIX THEATRE
INC.
AJMD MACON LLC      GLOW THE EVENT STORE               PHONE BOOK COMPANY
AJMD MACON LLC      GM REALTY OF BANGOR LLC            PHYLLIS LATIMER
AKERMAN             GMA CONCRETE DESIGN                PICUS/ATLANTIC
SENTERFITT                                             TELECOM
AKITA OFFICE        GO CONTRACTING LLC                 PIEDMONT NATURAL GAS
FURNITURE
AKL LIMITED         GOAL COMMERCIAL INC                PIEDMONT SERVICE
PARTNERSHIP                                            GROUP
AKOLISA UFODIKE     GODADDY.COM                        PIER COMMUNICATION,
                                                       INC.
AKSYS               GODDARD, DARRELL                   PIERCE & THORNTON
AL AZHAR SHRINE     GODFREY GROUP (THE)                PIERCE COUNTY BUDGET
CIRCUS                                                 & FINANCE
ALABAMA             GODIN JOSE                         PIER-LUCE DOBBS
DEPARTMENT OF
REVENUE
ALABAMA             GOD'S PANTRY FOOD BANK, INC        PIER-LUCE GALLIEN-
DEPARTMENT OF                                          DOBBS
REVENUE
ALABAMA             GODSEY LAND AND                    PIERRE ERIC BALL
DEPARTMENT OF       DEVELOPMENT
REVENUE
ALABAMA POWER       GODWIN LISA                        PIERRE FREIS
ALAINA SPEC         GOIN' POSTAL                       PIERRE-LUC BLANCHARD
ALAN BOIS           GOLD COAST LIMOUSINES              PIGEON, LLC
ALAN HALLIDAY       GOLD, BRIAN                        PIGNATARO, LAWRENCE
                                                       F.
ALAN TELFORD        GOLDBERG, RANDI                    PIGNATARO, LAWRENCE
                                                       F., JR.
ALAN TROSKO         GOLDEN EAGLE MGMT SVCS             PIKE PEAK PL
ALAN WATSON         GOLDEN PHOENIX SOLUTIONS           PILLAR DEVELOPMENT
ALANA BUSH          GOLDEN WEST INVESTMENT             PILLAR TO POST
                    PROPERTIES, LLC
ALANA FEBBRINI      GOLDING, GARY                      PILOT MEDIA-826526
ALANA MCLENNON      GOLDMAN, DANIEL                    PILOT ONLINE
ALANNA OLISOFF      GOLDSTEIN & PECK                   PIMCO
ALANNAH WELCH       GOLDSTEIN FAIRCHILD, LLC           PIN MINISTRY C/O P4P
ALARM MASTERS       GOLDSTEIN, IVAN                    PINAR CENTER LLC
MONITORING GROUP
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ALARMFORCE          GOLDSTON, WILLIAM                  PINE GROVE LLC
ALASKA ACES, LLC    GOLF SHORE ASSOCIATES, LLC         PINE TREE INN
ALASKA              GOLOMB & HONIK, P.C.               PING NU TECHNOLOGIES,
COMMUNICATIONS                                         INC.
ALASKA              GOMEZ                              PINKERTON CONSULTING
DEPARTMENT OF                                          & INVESTIGATIONS
LABOR AND
WORKFORCE
DEVELOPMENT
ALASKA              GOMEZ, GABRIEL                     PINPOINT IT SERVICES
DEPARTMENT OF
REVENUE-UCP
ALASKA DEPT. OF     GONG.IO INC                        PINTO, OLIVIA
REVENUE, TAX
DIVISION
ALASKA              GONZALES, ALBERTO                  PIOLIN PRODUCTIONS,
INVESTIGATION                                          INC.
AGENCY
ALASKA WASTE-       GONZO COMMUNICATIONS               PIONEER VILLAGE
ANCHORAGE                                              SHOPPING CENTER
ALAYNE LEIGHTON     GOOD GROUND FAMILY CHURCH          PIPELINE ELECTRIC INC
ALBA PARMENTOLA     GOOD GROUND FAMILY CHURCH          PIPER MARBURY
                                                       RUDNICK & WOLFE
ALBA SPECTRUM       GOOD MORNING SUNSHINE              PIPER PEST CONTROL
CORPORATION
ALBANO CLEANERS     GOOD TIMES BUS SERVICE, LLC.       PIPER RUDNICK LLP
ALBANY              GOOD, LORRAINE                     PIPKINS INVESTIGATION,
BROADCASTING CO.                                       INC
ALBANY TIMES        GOODERHAM TAX SERVICE              PIQUA AREA CHAMBER
UNION                                                  OF COMMERCE
ALBANY UTILITIES    GOODMAN & COMPANY, LLP             PITCAIRN ADVISORY, INC.
ALBERT AND          GOODWILL OF THE COASTAL            PITCHENGINE
DEBORAH ROWE        EMPIRE INC
ALBERT FISHER, SR   GOODWIN PROCTER LLP                PITNEY BOWES -
                                                       223648/RESERVE ACCT.
ALBERT HILLIER      GOOGLE ADWORDS                     PITNEY BOWES - 371874 -
                                                       PURCHASE POWER
ALBERT R. CORDERY   GOOGLE INC                         PITNEY BOWES - 371896
ALBERTA COUNCIL     GOOGLE, INC.                       PITNEY BOWES - 856460
OF WOMEN'S
SHELTERS
ALBERTA RADIO       GOOSE REAL ESTATE                  PITNEY BOWES- 190
GROUP                                                  (LEASE)
ALBERTA TREASURY    GORD TANNER                        PITNEY BOWES BANK-
BOARD AND                                              PURCHASE POWER
FINANCE
ALBERTA WEEKLY      GORDEN ESFORD                      PITNEY BOWES DANKA
NEWSPAPERS                                             B9226
ASSOCIATION
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ALBERTH, CHRIS      GORDON & REES                      PITNEY BOWES, INC.
                                                       856390
ALBIN               GORDON & REES CLIENT TRUST         PITNEY BOWES-278
KIZHAKKOODAN        ACCT.-NJ
RAPPAI
ALBINA GEREMONTE    GORDON & REES, LLP                 PITNEY BOWES-371887
ALBRANSCO LLC       GORDON & REES, LLP                 PITNEY WORKS
ALCIDES SERRANO     GORDON ALLENSEN                    PITNEYWORKS
ALD HOPE LLC        GORDON DOERKSEN                    PITT NEWS, THE
ALDEN SERVICES,     GORDON DOUGLAS                     PITTA & DREIER, LLP
LLC
ALDO CONSTANTINO    GORDON FORD                        PITTSBURGH POST
                                                       GAZETTE
ALDRIDGE, ELVIRA    GORDON FORRESTER                   PJR PROPERTIES, LLC
M.
ALECTRA UTILITIES   GORDON OLIVER                      PKF MUELLER, LLP
CORPORATION
ALEJANDRA           GORDON REES SCULLY                 PLAIN & SIMPLE SPORTS
ROMERO              MANSUKHANI, LLP                    AND PROMOWEAR
ALEKANDAR           GORDON SCHILDE                     PLANET CENTRAL
TEMELKOVSKI
ALEKS MOVING CO.    GORDON WILLIAMS                    PLANET DEPOS, LLC
ALERT LOGIC, INC    GORDON, JACK                       PLANIT TECHNOLOGY
                                                       GROUP
ALESCO              GORDON, JOHN & JEAN                PLANK CROSSING
                                                       SHOPPING CENTER
ALESIA PRYOR        GORDON, STEPHEN                    PLANO MOLDING
                                                       COMPANY
ALEX CRAVEN         GORWAY GROUP INCORPORATED          PLATER, SHANTYA
ALEX MICHOS         GOUTAM YOGI                        PLATFORM
                                                       ADVERTISING, INC.
ALEXANDER           GOVERNMENT OF ALBERTA              PLATINUM ASSOCIATES,
JOHNSTON                                               LLC
ALEXANDER           GOVERNMENT OF                      PLATINUM FINANCIAL
JOZEFACKI           SASKATCHEWAN                       SERVICES
ALEXANDER, KAY      GOWLING WLG(CANADA) LLP(IN         PLATINUM LITIGATION
                    TRUST)                             SOLUTIONS, LLC
ALEXANDER, POOLE    GP STRATEGIES CORPORATION          PLATINUM SIGNS
& COMPANY, INC.
ALEXANDER'S ON      GPATZ, LLC                         PLAVE KOCH PLC
THE BAY
ALEXANDRA &         GP-BURLINGTON, LLC                 PLAYBACK NOW
SAMANTHA ILIFFE
ALEXANDRA WOODS     GR FINANCIAL AND TAX               PLAZA 5, INC.
                    SERVICES LTD.
ALEXIS GADDISHAW    GRACE BURTON                       PLAZA MANAGEMENT
                                                       TRUST
ALEXIS HOUSTON      GRACE CABRAL                       PLAZA NORTH STATION
                                                       LLC
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ALEXIS               GRACE FRAPPIER                    PLAZA PROPERTIES
LAGIMODIERE-GRISE
ALEXIS WHITE         GRACE LARSON                      PLAZAQ, LLC
ALEYA EL RASSI-      GRACE MILNE                       PLIMUS
WIGHT
ALFRED & FABRIS      GRACE STEWART                     PLIXER, LLC
STUDIOS INC
ALFRED BERNARD III   GRADCO LIMITED PARTNERSHIP        PLOMBERIE CHAUFFAGE
                                                       D. BROCHU, INC.
ALFRED HANNAH        GRADCO LTD                        PLUM CREEK CENTRE,
                                                       LLC
ALI AHMED            GRADE A+ AIR COOLING &            PLUMBING NOW INC.
                     HEATING
ALI BAHAR            GRAFTON BUFFA GROUP, LLC          PLURALSIGHT, LLC
ALIANZA POR          GRAHAM BROOKS                     PLUSHLAND, INC.
AMISTAD DE SAN
ANTONIO
ALIBABA              GRAHAM DATA SUPPLIES, LLC         PM GROUP GULF COAST,
INVESTMENTS LLC                                        INC
ALICE BAAL           GRAHAM GP                         PNC BANK-856177
ALICE CULLEN         GRAHAM LIMITED PARTNERSHIP        PNE INVESTMENTS LLC
ALICE DYCK           GRAHAM PLAZA LLC                  PNM
ALICE JOSEPH         GRANBY THEATHER                   POBIAK, KEVIN
ALICE KUBEK          GRAND & TOY (CALGARY)             POCKET SOFT, INC.
ALICE MAGIERSKI,     GRAND & TOY (DON MILLS)           PODOBNIKAR, MICHAEL
RECEIVER OF TAXES
ALICE MEDIGEE        GRAND AFFAIRS                     POE, CANDY MORRIS
ALICE P              GRAND AVENUE CENTER INC           POINTBREAK
QUARTERMAN                                             MANAGEMENT LLC
ALICIA BRUCE         GRAND FALLS REALTY CO. LTD.       POINTER & ASSOCIATES
                                                       INC.
ALICIA EVANS         GRAND FURNITURE DISCOUNT          POINTER & ASSOCIATES
                     STORES                            INC.
ALICIA MORGA         GRAND OAKS INVESTMENTS LLC        POINTER, LARRY &
                                                       JANICE
ALICIA SUTHERLAND    GRAND PRICE SUPERMARKET           POINTS EAGLE RADIO,
                                                       INC.
ALICIA               GRAND RIVER & WYOMING, LLC        POLAK CONSULTING INC.
TYMOSZEWKZ
ALICKSMITH           GRAND RIVER MUSTANGS              POLARIS LEASING
GENERAL
CONTRACTING
ALIEN VAULT, INC     GRANDVIEW VILLAGE SHOPS 888,      POLICE SAFETY
                     LLC                               MAGAZINE
ALISA THIBEAU        GRANGER, PAMELA L.                POLK
ALISON LOVEMAN       GRANITE STATE MECHANICAL          POLK COUNTY
                     SERVICES, LLC                     PUBLISHING CO., INC.
ALISON PETRIE &      GRANNIS, JOHN                     POLLARD & BAGBY, INC.
ZANA GALINA
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ALITHYA FINANCIAL    GRANT & EISENHOFER PA                  POLLARD'S CHICKEN
SOLUTIONS, INC
ALIXPARTNERS, LLP    GRANT D. HACKETT                       POLO PARK SHOPPING
                                                            CENTRE
ALL AMERICAN         GRANT DENNIS                           POLY MAIL MEDIA
CALENDARS LLC                                               GROUP
ALL BRITE SIGNS      GRANT THORNTON LLP                     POMEGRANATE RE LLC
(2003) LTD.
ALL BUSINESS.COM     GRANT THORNTON LLP                     POMPLUN, DONNA
ALL GLASS &          GRANT THORNTON, LLP                    PONTE, ANDRES
MIRROR SERVICES
LTD
ALL LANGUAGES        GRANT-MURRAY PROPERTY                  PONTE, KATHY
LTD.                 MANAGEMENT LLC
ALL OUT SPORTS       GRANVILLE HOLDINGS INC.                POONAM KOTAK
ACADEMY II
ALL PRO PLUMBING     GRASSROOTS NEWS                        POP @ YOUR NEEDS
& HEATING
ALL SOUTH            GRAVES & PALMERTREE, PLLC              POPE, DARREN
ELECTRICAL
CONSTRUCTORS, INC.
ALL STAR FIRE        GRAVES, FRED                           POPE, DEBRA
SAFETY LLC
ALL STAR SIGNS       GRAY, CATHY                            POQUOSON SEAFOOD
                                                            FESTIVAL
ALL THAT IS          GRAY, D.B., CPA, PC                    PORT CHARLOTTE MALL,
CERTAIN LLC                                                 LLC
ALLAN ARMSTRONG      GRAY, ENOLA                            PORTABLECOMPUTER.CO
                                                            M
ALLAN ARMSTRONG      GRAY, PLANT, MOOTY, MOOTY &            PORTAGE PLACE
                     BENNETT, P.A.                          SHOPPING CENTRE
ALLAN BORESS         GRAY, VALERIE                          PORTER REALTY
                                                            COMPANY, INC.
ALLAN BOYNTON        GRAYCON GROUP LTD.                     PORTER, BENJAMIN
MARKETING GROUP
ALLAN EDMONDSON      GREALAND CORPORATION                   PORTER, ERIC
ALLAN GREEN          GREAT AMERICA FINANCIAL                PORTFOLIO RECOVERY
                     SERVICES CORPORATION                   ASSOCIATES LLC
ALLAN HATTIE         GREAT AMERICAN FRANCHISE               PORTFOLIO WEEKLY
                     EXPO, INC
ALLAN KURIK          GREAT LAKES COMPUTER                   PORTLAND GENERAL
                                                            ELECTRIC
ALLAN L. MCKAY       GREAT LAKES DEVELOPMENT INC            PORTS EVENTS
ALLAN MCLENNON       GREAT LAKES TAX SERVICE INC.           PORTSMOUTH CITY
                                                            TREASURER
ALLAN POWERS         GREAT SCOTT BROADCASTING               POSTAGE BY PHONE
ALLAN SMITH          GREAT SOUTHERN OWNER, LLC              POSTCARD PORTABLES
                                                            GRANDE PRAIRIE
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ALL-AROUND SIGN     GREAT SOUTHERN SC-                POSTCARD PORTABLES
CO.                 HOLLYWOOD VIDEO                   LTD.
ALL-COMFORT         GREAT SOUTHERN SHOPPERS           POSTCARD PORTABLES
HEATING & COOLING   CITY, INC.                        REGINA
ALLEGHENY POWER     GREATER INDIANAPOLIS              POSTMASTER
                    CHAMBER OF COMMERCE, INC
ALLEGIS GROUP       GREATER MEDIA                     POSTMASTER
HOLDING, INC
ALLEGIS GROUP       GREATER PHILADELPHIA              POSTMEDIA CANADA
HOLDINGS, INC.      MINORITY BUSINESS STRATEGIC
ALLEIN BEALS        GREATER ROCHESTER CHAMBER         POST-TRIBUNE
                    OF COMMERCE                       PUBLISHING, INC.
ALLEN AME           GREATER SUDBURY POLICE            POTATOHEAD SIGNS
HOUSING             ALARM PROGRAM
CORPORATION
ALLEN HYMAN         GREATER SUDBURY UTILITIES         POTATOHEAD SIGNS
ALLEN               GREATER TALENT NETWORK, INC.      POTOMAC ELECTRIC
INVESTIGATIVE                                         POWER CO.
SERVICES
ALLEN STACEY        GREATER TAMPA BAY CHAMBER         POTOMAC
                    OF COMM.                          INVESTIGATIONS, INC.
ALLEN, APRIL        GREATER WASHINGTON C. OF C.       POTTER, DARREN
ALLEN, RYAN         GREATER YORK CHAMBER              POTTS, JASON & ALLISON
ALLIANCE BENEFIT    GREATLAND CORPORATION             POTVIN, WILLIAM
GROUP
ALLIANCE            GREEN CANE PROPERTY, LLC          POURBAIX, JEREMY
COMMUNICATIONS,
INC.
ALLIANCE FOR        GREEN, CLYDE                      POWER DIRECT
LUPUS RESEARCH
ALLIANCE            GREEN, JEFFREY                    POWER MANAGEMENT
WORLDWIDE
INVESTIGATIVE
GROUP, INC.
ALLIED NATIONAL,    GREENBERGTRAURIG                  POWER MARKETING, INC
INC.
ALLINSON            GREENBRIER AUDIO & VIDEO          POWER PLAY
CONSULTING                                            MARKETING
ALLLIANCE           GREENGATE PROPERTY                POWER SATELLITE
AVIATION GROUP      MANAGEMENT, INC.                  SERVICES
LLC
ALLMOVE MOBILE      GREENSHADES SOFTWARE              POWER STREAM
SHREDDING
ALLOWAY             GREENSPOON MARDER, LLP            POWNALL SPORTS
INNOVATIONS                                           STADIUM
ALLPOINTS FIRE      GREENSPOON MARDER, LLP            POWWOW CONSULTING,
PROTECTION LTD                                        INC.
ALLPOINTS, INC      GREENVILLE NEWS                   PPL ELECTRIC UTILITIES
ALLPRO              GREENWOOD ARCHER                  PR NEWSWIRE
ASSOCIATES, LLC.    INCORPORATED                      ASSOCIATION, LLC
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ALL-SEASON          GREER, HUGH R. & BRENDA           PRACTICAL LAW
WINDOW CLEANING                                       COMPANY
ALL-STAR GLASS &    GREG BARON                        PRADNYA MAHADIK
MIRROR, INC .
ALLSTATE BENEFITS   GREG BARON                        PRAGMATIC WORKS, INC.
ALLSTATE            GREG DANIEL                       PRAIRIE SIGNS
FINANCIAL
COMPANY
ALLSTREAM CORP.     GREG GOUTHREAU                    PRASCUS, LARRY
ALLTEL              GREG KIRYLUIK                     PRATE PROPERTIES, LLC
ALLTEL - 9001908    GREG LESNICK                      PRATER, BRUCE
ALLTEL              GREG MCHALE                       PRATT, GEORGE T.
COMMUNICATIONS
RACE
ALLTEX STAFFING &   GREG MILLER                       PRATTS CATERING
CONSULTING LLC
DBA ABBA STAFFING
& CONSULTING
ALLURING            GREG MONTEGOMERY                  PRECISION
ADVERTISING                                           INVESTIGATIONS &
                                                      CONSULTING
ALLYSA ROBERTS      GREG MONTEYNE                     PRECISION PLACEMENTS,
                                                      INC.
ALLYSON HICKS       GREG SECORD                       PREDATOR OR VICTIM
                                                      INVESTIGATIONS, INC.
ALLYSON             GREGG, THEODORE A.                PREFERRED APARTMENT
WOODRUFF                                              COMMUNITIES
                                                      OPERATING
                                                      PARTNERSHIP, L.P.
ALM MEDIA, LLC      GREGORY A. BIANCO                 PREFERRED DIRECT
                                                      MARKETING SERVICES,
                                                      INC.
ALM MEDIA, LLC      GREGORY M SKANNAL DBA JUNK        PREFERRED GROUP
                    OUT HAULING
ALMA DERRICK        GREGORY PHILLIPS                  PREFERRED TITLE
                                                      INSURANCE AGENCY
ALMADEN NW LLC      GREGORY S ABBOTT                  PREIT ASSOCIATES LP-
                                                      PALMER MALL
ALMOHAJER           GREGORY SPRINGER                  PREIT ASSOCIATES LP-
ALJADEED                                              VALLEY MALL
NEWSPAPER
ALPAUGH PLUMBING    GREGORY W. WHEELER AS             PREIT ASSOCIATES, LP-
& SUPPLY INC.       ATTORNEY FOR MATTHEW BALL         CHERRY HILL CENTER
ALPHA & OMEGA       GRESHAM, KNIGHT & HOOPER          PREIT ASSOCIATES, LP-
BUILDING                                              JACKSONVILLE MALL
MAINTENANCE INC.
ALPHA BUSINESS      GREWAL, DALBIR                    PREIT-RUBIN, INC.
SERVICES LLC
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ALPHA BUSINESS      GREYHOUND COURIER EXPRESS          PREMATIC SERVICE
SERVICES LLC-                                          CORPORATION
AMERICAN COUR
ALPHA GRAPHICS &    GREYSTONE LEGAL ASSOCIATES,        PREMIER COMFORT
SIGNS               P.C.                               SERVICES
ALPHA PRODUCTION    GRIFFIN NORMAN                     PREMIER COMMERCIAL
INC
ALPHA SYSTEMS       GRIFFIN VALLEY RANCH               PREMIER PACIFIC COACH
INTERNATIONAL                                          LINES
ALPHAKOR            GRIFFITH REAL ESTATE SERVICES      PREMIER PAINTING &
COMPUTERS INC.                                         SERVICES LLC
ALPINE PROPERTIES   GRISHAM KNIGHT HOOPER &            PREMIERE
                    JAMES                              CONFERENCING
AL'S BIN RENTALS    GROEN WASTE SERVICES               PREMIERE SPEAKERS
LTD.                                                   BUREAU
ALSOP, LAMAR        GRONSBELL, CHARLIE                 PREMIUM FINANCING
                                                       SPECIALISTS
ALSUP, TIM          GROOT, RECYCLING & WASTE           PREMIUM PUBLISHING
                    SERVICES, INC.                     CORP.
ALTAR LLC           GROSS MENDELSOHN &                 PREMNATH KUNCHAM
                    ASSOCIATES, PA                     LOKANA
ALTERNA TEK         GROUCHO PRODUCTIONS                PRENSA LATINA
COMPUTER
SERVICES INC.
ALTERNATIVE         GROUP PICCIONI                     PREPETIT, SIDNEY
DELIVERY
SOLUTIONS, INC.
ALTEXELECTRONICS,   GROUPE SOLUTIONS COLLECT           PRESBYTERIAN
LTD                                                    COMMUNITY CENTER INC
ALTHERR, DOUGLAS    GROWTHCIRCLE, LLC                  PRESCOTT INTEREST LTD
H.
ALTITUDE MEDIA,     GRUBB PRINTING & STAMP CO.         PRESCOTT, TINA
INC.
ALTOBELLI, KEITH    GS MORTGAGE SECURITIES CORP-       PRESIDIO
                    PACIFIC QKC
ALTOVA, INC.        GSD VERMILYEA                      PRESIDIO HOLDINGS INC
ALUM CLIFF          GSH RELOCATION SERVICES            PRESIDIO HOLDINGS INC
INDUSTRIES
ALUM CLIFF          GSM MECHANICAL                     PRESLEY PUBLIC
INDUSTRIES LLC                                         RELATIONS &
                                                       MARKETING, LLC DBA
                                                       PRESLEY MEDIA
ALVA BAUTISTA       GSU EMPOWEING COMMUNITIES          PRESTIGE FLOORS, INC.
ALVAREZ & MARSAL    GT SIGN COMPANY, LLC               PRESTIGE HEATING & AIR
VALUATION                                              CONDITIONING INC
SERVICES, LLC
ALVAREZ, LINO       GTE FLORIDA                        PRESTIGE
                                                       INVESTIGATIONS
                                                       INCORPORATED
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ALVESAMI             GTT AMERICAS LLC                    PRESTO DIRECT INC.
HOLDINGS, INC. AND
1288844 ONTARIO,
INC.
ALVEY'S SIGN CO      GUADALUPE RUBIO                     PRICE DEVELOPMENT
INC.                                                     COMPANY INC
ALVIN DAVIS          GUANACO'S RADIO GROUP               PRICE'S ALARM SYSTEMS
                                                         LTD.
ALVIN RAMSEY         GUARANTEED SUBPOENA                 PRICEWATERHOUSECOOP
                     SERVICE, INC.                       ERS LLP
ALVIN TRUE           GUARANTY STUDENT TUITION            PRIDE OF WINDSOR
                     FUND                                CRUISES
ALVIN TRUE           GUARD INSURANCE GROUP               PRIMAL WEAR, INC
ALWAN PRINTING       GUARDIAN / WYANDOTTE CTR            PRIME CONCEPTS GROUP,
                                                         INC.
ALYSHIA WEST         GUARDIAN ALARM                      PRIME POINT MEDIA
ALYSIA               GUBRUD, THERESA                     PRIME TIME
BROADHURST                                               INVESTMENTS LLC
ALYSSA BREWER        GUERRERO, LLC                       PRIME TIME PUBLISHING
                                                         CO
ALYSSA MANNELLA      GUI0 MELO                           PRIME WEST
AMADOR, MAURO        GUIDEBOOK, INC.                     PRIMEPAY, LLC
AMANDA BANNON        GUILDFORD TOWN CENTRE               PRIMEX PROPERTIES INC
                     LIMITED PARTNERSHIP
AMANDA BEER          GUILLERMO CABALLERO                 PRIMSTOR UTAH-SPARKS
                                                         LLC
AMANDA CRAIG         GUITA GABOR                         PRINCE DONKOR
AMANDA DEAKIN        GUL NAZ BHATTI                      PRINCE GEORGE
                                                         COUNTY, MD
AMANDA DECKER        GULF COAST EXPO                     PRINCIPAL FINANCIAL
                                                         GROUP
AMANDA DISOTELL      GULF INVESTIGATIONS LTD., CO.       PRINCIPAL LIFE-AUTO
                                                         PAY
AMANDA ERICHSEN      GULF POWER                          PRINCIPAL RETIREMENT
                                                         & INCOME SOLUTIONS
AMANDA KERR          GULF SHORE ASSOCIATES               PRINTED PROMOTIONS,
                                                         INC.
AMANDA LABERGE       GUN MI KIM                          PRINTERS' ASSOCIATES
AMANDA LOGAN         GUNTER RUDIGER                      PRINTING & FINISHING
AMANDA MALONEY       GUNTER-CRABB                        PRINT-MATE GRAPHICS
                                                         LTD.
AMANDA MEDAHBIE      GUNTER-CRABB                        PRIORITIES
AMANDA MORRISON      GUNTHER RUDIGER                     PRIORITY HEALTH CARE
                                                         INC
AMANDA N JOHNSON     GUPTE, PRAMOD                       PRIORITY LEASING,
                                                         RECOVERING DIVISION
AMANDA PLACIDO       GURSKARNJIT HANSRA                  PRIORITY STAFFING
                                                         SERVICES INC
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AMANDA             GURWINDER SINGH                       PRIORITY STAFFING USA,
REDDEKOPP                                                INC.
AMANDA REID        GUS & ZOE SARAVANOS LIVING            PRIVATE
                   TRUST                                 INVESTIGATIONS OF
                                                         VIRGINIA
AMANDA SPURGEON    GUS' MARINER RESTAURANT               PRIVATE INVESTIGATIVE
                                                         SERVICES
AMANDA STIBER      GUTTER WORKS, LLC                     PRIYANKA PATEL
AMANDA TREVORS     GWEN GUZINSKI                         PRO CLEAN
AMANDEEP           H & B ASSOCIATES, INC.                PRO TAX, LLC
BOPERRAI
AMAR INTERIORS,    H & G LLC                             PRO WINDOW INC.
INC.
AMAZON CAPITAL     H & H HOLDINGS                        PROCALC,INC
SERVICES, INC
AMAZON.COM         H & J KAZEMAINI, LLC                  PROCESS FORWARDING
HEADQUARTERS                                             INTERNATIONAL
AMBASSADOR         H & K PROPERTIES LLC                  PROCOM INSURANCE
COFFEE SERVICE                                           BROKERS
AMBER ANDERSON     H&H PROPERTIES LLC                    PROFESSIONAL
                                                         CONSULTING GROUP
AMBER BRADLEY      H&N CORPORATION                       PROFESSIONAL GLASS
                                                         SERVICE, LLC
AMBER HENDERSON    H&R BLOCK EASTERN                     PROFESSIONAL GROUNDS
                   ENTERPRISES, INC.                     MANAGEMENT-DONT USE
AMBER M. O'RORK    H&T PROPERTIES LLC                    PROFESSIONAL
                                                         INSTALLATION
                                                         NETWORK, INC
AMBERLIGHT PLAZA   H. B. PRICE, III CHAPTER 7            PROFESSIONAL
LLC                TRUSTEE                               INVESTIGATIONS, INC.
AMBERMAN,          H. M. A. ENTERPRISES-SEATAC           PROFESSIONAL
BEATRIZ                                                  PLUMBING SOLUTIONS
                                                         OF FISHERS
AMBERMAN,          H. NACHBAR                            PROFESSIONAL PRINTING
GEORGE H.                                                CENTER
AMBROGI, TIM       H. RAY BAKER                          PROFESSIONAL
                                                         SOFTWARE & SERVICES
AMBROSE PLUMBING   H. SHEPHERD & ASSOCIATES, INC         PROGRESS ENERGY
& HEATING LTD                                            CAROLINAS, INC.
AMC DELANCEY       H.R. COMMUNICATIONS                   PROGRESS PUBLISHING
HAMILTON
PARTNERS, LP
AMEDIUS LLC        H17D ENTERPRISES LLC                  PROGRESS-INDEX
AMEGY BANK OF      HA BRUNO LLC                          PROGRESSIVE
TEXAS
AMEREN ILLINOIS    HAB-BPT                               PROGRESSIVE BUSINESS -
                                                         COMPLIANCE
AMEREN MISSOURI    HAB-DLT                               PROGRESSIVE BUSINESS
                                                         PUBLICATIONS
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AMERICA WEST        HABITAT FOR HUMANITY OF               PROGRESSIVE GRAPHICS
AIRLINES, INC.      GREATER GARLAND, INC
AMERICAN            HACHETTE BOOK GROUP                   PROGRESSIVE
ARBITRATION                                               INSURANCE
ASSOCIATION
AMERICAN            HADDAD, MUFEED                        PROJECT SHARE
ARBITRATION
ASSOCIATION
AMERICAN BANK       HADI ST DENIS                         PROMAX PUBLICATIONS
NOTE COMPANY
AMERICAN BAR        HAGEDORN, MARK                        PROMEDIA
ASSOCIATION
AMERICAN BUSINESS   HAHN HURONIA HOLDINGS                 PROMEDIA INC
WOMEN'S
ASSOCIATION
AMERICAN CANCER     HAILEY RAMKARAN                       PROMENADE NORTH
SOCIETY
AMERICAN            HAILEY WHITCOMB                       PROMISES, INC. &
CLASSIFIEDS-TYLER                                         SLARITSKAS, S
AMERICAN            HAIR 2000                             PROMO COSTUMES, INC
COALITION FOR
TAXPAYER RIGHTS
AMERICAN            HAIRSTON INVESTORS, LLC               PROMO DIRECT
DETECTIVE BUREAU,
INC
AMERICAN            HAIRSTON, RENEE                       PROMO DIRECT
DIABETES
ASSOCIATION
AMERICAN EAGLE/     HAJJAR, MIKE                          PROMOCALL, LLC
ATU LOCAL #1702
AMERICAN ELECTRIC   HAKEEM INGRAM                         PROMOTE A BOOK, INC
POWER
AMERICAN ELECTRIC   HAL BELCHER                           PROMOTION
POWER-371496
AMERICAN EXPRESS    HALBERSTADT, GREGG                    PROMOTION MARKETING
                                                          & DESIGN INC.
AMERICAN EXPRESS    HALEY, GENE - ACH                     PROPERT MANAGEMENT
                                                          GROUP, LLC
AMERICAN EXPRESS    HALFZ LLC                             PROPERTIES UNLIMITED
- BRIGITTE                                                REALTY LTD
AMERICAN EXPRESS    HALIFAX MARRIOT                       PROPERTY
- MARTHA            HARBOURFRONT                          MANAGEMENT
                                                          UNLIMITED, LLC
AMERICAN EXPRESS    HALL & ASSOCIATES                     PROSHRED SECURITY
- RORY
AMERICAN EXPRESS    HALL AUTOMOTIVE                       PROTECH SAFE AND
- STEVEN                                                  SECURITY
AMERICAN EXPRESS-   HALL COUNTY TAX                       PROTECTION ONE ALARM
MASTER              COMMISSIONER                          SERVICE
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AMERICAN EXPRESS-   HALL EQUITIES GROUP                 PROTECTIVE LIFE
JOHNS                                                   INSURANCE COMPANY
AMERICAN FAMILY     HALL FAMILY PARTNERSHIP             PROTELEC
INSURANCE
AMERICAN FREIGHT    HALL GRAPHIC DESIGN                 PROTEMPS
OUTLET STORES LLC
AMERICAN            HALL NANCY                          PROTHONOTARY
FREIGHTWAYS                                             SUPERIOR COURT OF PA
AMERICAN FUNDS      HALL OF FAME REPORTING, LLC         PROTSENKO, GALINA
AMERICAN GENERAL    HALL REALTY SERVICE, INC            PROVENTURE
FIN SERVICES                                            COMMERCIAL
AMERICAN HEART      HALL, BEN                           PROVGAS
ASSOCIATION
AMERICAN            HALL, MIRIAM                        PROVIDE PLAZA, INC
HERITAGE LIFE
INSURANCE
COMPANY
AMERICAN            HALLIGAN, TERRY                     PROVINCE LLC DBA
INDUSTRIES INC                                          PROVINCE FIDUCIARY
                                                        SERVICES
AMERICAN            HALLMARK BUSINESS                   PROVINCE, LLC
INSTITUTE OF        EXPRESSIONS
CERTIFIED PUBLIC
ACCOUNTANTS
AMERICAN LAND       HALS, JOHN                          PROVINCIAL LOCKSMITH
COMPANY, LTD                                            INC.
AMERICAN LIGHTING   HAM MIDVALE, LLC                    PROVINCIAL MAT
& SIGN SERVICE                                          SERVICE LTD
AMERICAN            HAMADAY MS, KEN                     PROVVIDENZA & WRIGHT
MANAGEMENT                                              CPA'S LLC
ASSOCIATION
AMERICAN OFFICE     HAMID ASSADI                        PROXIMITY PARTNERS,
                                                        L.P.
AMERICAN PAYROLL    HAMILTON BULLDOGS HOCKEY            PRSA NATIONAL
ASSOCIATION         CLUB LP
AMERICAN RED        HAMILTON COUNTY TRUSTEE             PRSA TREASURER
CROSS
AMERICAN            HAMILTON DWYER & CO, P.C.           PRUCO LIFE INSURANCE
REGISTRY FOR                                            CO.
INTERNET NUMBERS
AMERICAN            HAMILTON PLACE MALL                 PRUDENTIAL
REGISTRY, LLC
AMERICAN RETAIL     HAMILTON UTILITIES                  PRUDENTIAL TOWNE
MANAGMENT, LLC      CORPORATION                         REALTY
AMERICAN SHEET      HAMILTON, ANGELA                    PRUDENTIAL VARIABLE
METAL CORP.                                             CONTRACT REAL
                                                        PROPERTU PARTNERSHIP
AMERICAN SIGN       HAMILTON, KARISSA R.                PRUDENTIAL VARIABLE
                                                        CONTRACT REAL
                                                        PROPERTY PARTNERSHIP
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AMERICAN STAFFING   HAMILTON-ARCHER, NICHOLAS           PRYSTUPA, JOHN
GROUP
AMERICAN STORAGE    HAMMETT, HEATH                      PS BUSINESS PARKS
AMERICAN TAX        HAMNER DEVELOPMENT                  PS BUSINESS PARKS LP
SERVICES, INC       COMPANY
AMERICAN            HAMNER REALTY CORP                  PSE&G CO
TELESALES
AMERICAN WATER &    HAMOUNT INVESTMENTS LTD.            PSEGLI
ENERGY SAVERS
AMERICA'S BEST      HAMPTON BAY DAYS                    PSI FULFILLMENT
FRANCHISES
AMERICA'S CASH      HAMPTON CITY TREASURER              PSNC ENERGY
EXPRESS
AMERICA'S           HAMPTON CUP REGATTA                 PTI MARKETING
COMPUTER                                                TECHNOLOGIES
TRAINING SOURCE,
INC.
AMERICAS            HAMPTON EVENT MAKERS                PUBLIC AFFAIRS
GENERATOR, INC                                          INTERNATIONAL,
AMERI-DREAM         HAMPTON INN                         PUBLIC COMPANY
REALTY LLC                                              ACCOUNTING
                                                        OVERSIGHT BOARD
AMERITAS LIFE       HAMPTON INN - CORYDON               PUBLIC RELATIONS
INSURANCE CORP                                          SOCIETY OF
                                                        AMERICA/HAMPTON RDS
                                                        CHAPTER
AMERITAS LIFE       HAMPTON INN EXECUTIVE               PUBLIC STORAGE
INSURANCE CORP      CENTER-BOSTON NATICK
AMERITECH-CAROL     HAMPTON PARKS & RECREATION          PUBLIC STORAGE
STREAM
AMERITECH-          HAMPTON ROADS CHAMBER OF            PUBLIC STORAGE
CHICAGO             COMME
AMERITECH-          HAMPTON ROADS CHAPTER               PUBLIC STORAGE
SAGINAW             AMERICAN PAYROLL
                    ASSOCIATION
AMETHYST WRIGHT     HAMPTON ROADS CHAPTER IMA &         PUBLIC STORAGE, INC
                    GOODMAN LLP
AMEX CC             HAMPTON ROADS HISPANIC              PUBLIC WORKS &
                    CHAMBER OF COMMERCE                 UTILLITIES
AMFM RADIO          HAMPTON ROADS HVAC SERVICE,         PUGET SOUND ENERGY
LICENSES, L.L.C.    INC.
(CLEAR CHANNEL)
AMIE GORLUIK        HAMPTON ROADS SOCCER                PUGET SOUND RETAIL
                    COUNCIL                             LLC
AMIGO PROMOTIONS    HAMPTON ROADS TRANSIT               PUNGO STRAWBERRY
                                                        FESTIVAL
AMIGOS EN CRISTO,   HAMPTON ROADS UTILITY               PURCHASE POWER -
INC.                BILLING SYSTEM                      856042
AMIN CHARANIA       HANCOCK & PALMER, LLC               PURCHASE POWER-371874
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AMIN MOHAMMED      HANCOCK, DANIEL & JOHNSON,          PURDY PROFESSIONAL
                   PC                                  SERVICES, LLC
AMIR RAZA          HANCOCK, DEMPSEY & EVERETT,         PURE MARKETING GROUP
                   LLP
AMITA              HANDY ELECTRIC OF FLORIDA           PURE VU WINDOW
MANAGEMENT         INC.                                CLEANING
AMITY LOCK &       HANDYMAN CONNECTION                 PUROCLEAN
SAVE, INC.                                             RESTORATION CLEANING
AMJ CAMPBELL       HANOVER GENERAL DISTRICT            PUROLATOR COURIER
                   COURT                               LTD.
AMJ SHREDDING      HANOVER INSURANCE CO.               PUROLATOR-PO BOX
                                                       7006-DO NOT USE
AMMAR DISOGI       HANRAHAN INVESTIGATIONS,            PVA REALTY TRUST
                   INC.
AMR DEVELOPMENT,   HANSON SIGN COMPANY, INC            PYLES, MARK
LLC
AMRITPAL KAUR      HANSON, NORMAN                      PYRAMID COMPANY OF
                                                       BUFFALO
AMSAN              HAO XU                              Q4 INC.
AMY E PIPE         HAPPY CORNER CHURCH OF THE          QBKS CONSULTING, LLC
                   BRETHREN
AMY HOLMES         HAQHI, LINDA LANE                   QKC MAUI MZB LLC
AMY M ANDREWS      HARBOR SIGNS, INC.                  Q-PONZ INC.
AMY ROMANOVIPCH    HARBOUR LAND INVESTMENTS,           QS&L, INC.
                   LLC
AMY WELLS          HARDEES                             QSIGNS LLC
AN ELEGANT TOUCH   HARDWARE BROS, LLC                  QUAD CORP
ANA ABEJON         HARESH PATHAK                       QUAD DIRECT
ANA LETICIA        HARKNESS, GEORGENE                  QUAD LOGISTICS
HERRERA                                                HOLDING, LLC
ANA PAULA P.       HARMIN SERVICES NO. 1, INC.         QUADEXPRESS
CONSUL
ANA SZAWRONSKI     HARMON HOLDINGS                     QUADIENT FINANCE USA,
                                                       INC
ANAND              HARMON, KENNETH & DEBRA             QUADIENT LEASING USA,
JUDISTIR/SAVITA                                        INC
JUDISTIR
ANASTACIA LEBEL    HARMONY UNLIMITED                   QUAGGA
ANAXA, LLC         HARNIK MANAGEMENT LLC               QUALITY
                                                       ENTERTAINMENT
ANCHOR / CANTEEN   HAROLD BELCHER                      QUALITY FOODS OF
REFRESHEMENT                                           ANDERSON REALTY, LLC
SERVICES
ANCHOR DAYTON      HAROLD CARR                         QUALITY PROCESS
LLC                                                    SERVICES, INC.
ANCHOR EQUITIES    HAROUTIOUN HAYRABEDIAN              QUALITY PROCESS
                                                       SERVICES, INC.
ANCHOR             HARPER LAW, PLC TRUST               QUALYS, INC.
MANAGEMENT         ACCOUNT
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ANCHOR MEDIA        HARPOOTLIAN, P.A. RICHARD A.        QUATRUS GROUP
ANCHORAGE MEDIA     HARRAH'S LAS VEGAS                  QUATRUS GROUP - THE
GROUP                                                   FRANCHISE MALL
ANDERS COMPANY      HARRELSON, HAYES AND                QUATTLEBAUM,
                    GUYTON LLC                          GROOMS, TULL &
                                                        BURROWS, PLLC
ANDERSON WINDOW     HARRIET ANN DOAK                    QUE PASA
& GUTTER CLEANING
ANDERSON, RHONDA    HARRINGTON GRAPHICS                 QUEBEC AUTOPAY
ANDRE CAMPBELL      HARRINGTON, HOPPE & MITCHELL        QUEBRACHO PROPERTIES
                                                        LLC
ANDRE DE SOUSA      HARRIS BEACH PLLC                   QUEDITION INC.
ANDRE GORRY         HARRIS III, JOSEPH H.               QUEENEY ENTERPRISES
                                                        INC
ANDREA BURGERS      HARRIS INTERACTIVE                  QUEENS CENTER REIT
                                                        LLC
ANDREA CHETRAM      HARRIS ORIGINALS OF NORFOLK         QUENTIN LARSON
ANDREA HOFFMAN      HARRIS PUBLICATIONS, INC.           QUEST ASSOCIATES OF
                                                        OHIO, INC.
ANDREA MACK         HARRIS TEETER                       QUEST SOFTWARE INC
ANDREA MATTHEWS     HARRIS, ANNIE                       QUEST SOFTWARE, INC.
ANDREA MCCANN-      HARRIS, JIM AND JULIE               QUESTIONMARK
SUCHOWER                                                CORPORATION
ANDREA ZANK         HARRISON & BATES                    QUICKFINDER
                    INCORPORATED
ANDRES AYMAT        HARRISON, EUGENIA                   QUICKFINDER INC
ANDRESEN PLAZA      HARRY C MATTHEWS                    QUICKSIE - WQXE FM 98.3
SPE. LLC
ANDREW F. BANKER    HARRY DAGLAS                        QUIK LOANS
ANDREW FRANCIS      HARRY GUTHRIE                       QUILL
ANDREW GOURLAY      HARRY WANG                          QUILL CORPORATION-
                                                        37600
ANDREW HAINER       HARSCH INVESTMENT                   QUIMBY ENTERPRISES
                    PROPERTIES, LLC
ANDREW HAISER       HARSH INVESTMENT PROPERTIES         QUIMBY SIGNS, INC
ANDREW HALL         HART ENTERTAINMENT                  QUINCY HOOGLAND
ANDREW HANLIN       HART, EMILY                         QUINN EMANUEL
                                                        URQUHART OLIVER &
                                                        HEDGES, LLP
ANDREW LAURENCE     HARTE-HANKS SHOPPERS, INC.          QUINN, SHAWN
ANDREW              HARTLEY, VANESSA                    QUINSTREET
NEUBERGER
ANDREW SMITH        HARTMAN MANAGEMENT                  QUY TRAN & HENGYU
                                                        QIN
ANDREW SNOW         HARTMAN TAX SERVICE INC.            QW EXPRESS-PA
ANDREW SUOZZI       HARVEY G ERSHIG                     QWEST
                                                        COMMUNICATIONS-
                                                        856169
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ANDREW SUOZZI       HARVEY LINDSAY COMMERCIAL          QWEST DEX-DENVER-
                    REAL ESTATE                        MARKETING
ANDREW W JACKSON    HARVEY MARTENS                     QWEST- PHOENIX, AZ-
                                                       52187
ANDRIJANA DRMIC     HARVEY TEMPLE                      QWEST-DENVER CO
ANDY DOLLMAIER      HARVEY, DONALD R. INC.             QWEST-SEATTLE
ANGELA CURTIS       HARVIN, DAVID                      QWEXPRESS
ANGELA DAVIS        HASHIM VARDAR                      QWIK DELIVERIES
COLLINS
ANGELA DEHAAS       HASIBE BOZIC                       R & A CONTRACTING
ANGELA HOLLAND      HASSAN ADEYEMI SALAKO              R & B FURNITURE +
                                                       APPLIANCES
ANGELA HORSMAN      HATHAWAY, DEBBIE                   R & C GLASS SERVICE
ANGELA JACKSON      HATHORIAN INC                      R & D 110 LLC
ANGELA LOVELADY     HAUSER HOLDINGS INC                R & D STATE STREET LLC
ANGELA MACLEOD      HAVEL FLOOR COVERING, INC.         R & J PUBLIC RELATIONS,
                                                       INC.
ANGELA MORRISON     HAVKINS, ROSENFELD, RITZERT &      R & L CARRIERS
                    VARRIALE, LLP
ANGELA THERRIEN     HAWAII COMMISSIONER OF             R & R SHREDDDING
                    SECURITIES
ANGELS MOVING       HAWAII DEPARTMENT OF               R & Z ENTERPRISES, INC
AUTOS               TAXATION-DO NOT USE
ANGIE ECONOMU       HAWAII DEPT. OF COMMERCE &         R AND R ASSET
                    CON
ANGIE WISSEL        HAWAII STATE DEPT OF               R R ROBERTSON, LLC
                    TAXATION
ANGOTTI, JOE        HAWAIIAN GARDENS LAKEWOOD          R&L CARRIERS
                    RETAIL VIII,LLC
ANGSTREICH, STEVE   HAWAIIAN PRO AC LLC                R&R SMITH ENTERPRISES,
                                                       INC
ANH HUE NGUYEN      HAYDEN CORPORATION                 R. A. HEALES &
                                                       ASSOCIATES
ANH TUYET THI VO    HAYGOOD CENTER LLC                 R. BRANCH, LLC
ANH VIET NGUYEN     HAYGOOD STORAGE CO LLC             R. CLINTON
                                                       STACKHOUSE, JR.
ANICOM              HAYLEY WYRICK & LUCAS WARD         R. E. L. ROOF SYSTEMS
ANIMAL WELFARE      HAYNES & BOONE, LLP                R. FISHER
LEAGUE OF
TRUMBULL COUNTY,
INC
ANISE               HAYNES, CHRIS                      R. MILLER & ASSOCIATES,
PINSONNEAULT                                           LLC
ANITA KISS          HAYZLETT GROUP, INC                R. MILLER & ASSOCIATES,
                                                       LLC
ANN ALLWOOD         HBF SHERWOOD, LLC                  R. R. DONNELLY
                                                       RECEIVABLES
ANN HARRIS          HBPA                               R.A GRAHAM
BENNETT TAX                                            CONTRACTORS LTD
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ASSESSOR-
COLLECTOR
ANN LAURIN          HCCM                               R.A.M. PRIVATE PROCESS
                                                       SERVERS, LLC
ANN LAURIN          HCD DALLAS CORPORATION -           R.E.B. ENTERPRISES IV,
                    OMNI LAS COLINAS HOTEL             LLC
ANN MARGARET        HCH LAZERMAN INC.                  R.H. JONES & SON
LAURIN                                                 MECHANICAL LTD
ANN MARIE KILMER    HCH LAZERMAN, INC.                 R.J.S. MARINE INC
ANN MARIE WRIGHT    HDF INVESTMENTS, INC.              R.K. BUICK, INC.
ANN OF NC, INC.     HDI                                RABIA MALIK
ANN QUESNELLE       HE MEI REAL ESTATE                 RABIN D GUHA
ANN W FOERSTER      HEADS UP SPRINKER SYSTEMS,         RACHAEL GOODMAN
                    INC.
ANNA BUBAR          HEADSETS.COM, INC.                 RACHEL BECHARD
ANNA CARRICATO      HEADWAY CORPORATE STAFFING         RACHEL CHRAPKO
                    SERVICES
ANNA PETE STATHOS   HEALTH ADVOCATE SOLUTIONS,         RACHEL EBEL
                    INC
ANNA VATALARO       HEALTH NET                         RACHEL YAKUBOV DBA
                                                       CREDIT LIFT LLC
ANNA ZUCCALA        HEALTHKEEPERS - HMO                RACHELLE RABBE
ANNE ARUNDEL        HEALTHKEEPERS INC. - COBRA         RACING TOWARD
COMMUNITY           HMO                                DIVERSITY
COLLEGE
ANNE CAMPBELL       HEATHER CUMMINGS                   RACING TOWARDS
                                                       DIVERSITY MAGAZINE
ANNE MARIE          HEATHER DICK                       RADIAN6 TECHNOLOGIES
AYROSO
ANNE RESTELL        HEATHER FRASER                     RADIO MEDFORD
ANNE-TISDALE &      HEATHER I MCINTYRE                 RADIO ONE
ASSOC., INC.
ANNETTE SHRADER     HEATHER M STONE                    RADIO ONE -
                                                       INDIANAPOLIS
ANNIE GRENIER       HEATHER MARINACCIO                 RADIO ONE INC.
ANNUNZIATA          HEATHER MCCORMACK                  RADIO ONE INC., WQOK-
CHININEA                                               FM
ANSLEIGH GARLIN     HEATHER MELBOURN                   RADIO ONE OF TEXAS, LP
ANSON RECORD, THE   HEATHER N. PRUDER                  RADIO ONE- RICHMOND
ANTAR KERI          HEATHER PARKER                     RADIO ONE, INC WFXC/K
ANTAR KORI          HEB GROCERY COMPANY, LP            RADIO SERVICES
ANTHEM - COBRA      HEB HOUSTON CHILDREN'S             RADISLAV ZELJIC
HRA                 FESTIVAL
ANTHEM - COBRA      H-E-B, LP                          RADISSON HOTEL AND
PPO                                                    SUITES FALLSVIEW
ANTHEM BLUE         HEBERT ASSOCIATES                  RADISSON HOTEL
CROSS AND BLUE                                         NORFOLK
SHIELD
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ANTHEM BLUE         HEBERT, SCOTTY                      RADLYN MENDOZA,
CROSS BLUE SHIELD                                       ESQUIRE
ANTHEM DENTAL -     HECKERT, DEBORAH                    RAECHEL OBRIEN
A000
ANTHEM DENTAL -     HECTOR BERMUDEZ CAINS               RAFAEL BUSTILLO
T000
ANTHEM DENTAL -     HECTOR BLACK                        RAFAEL SILVA
T001
ANTHEM EAP          HECTOR BROWN                        RAGAN
                                                        COMMUNICATIONS, INC.
ANTHEM           HECTOR JOHNSON                         RAGEAS, PETER
HEALTHKEEPERS-
HMO
ANTHEM SOUTHEAST HECTOR MONTALVO                        RAHIMI, A. FARID
DENTAL - A001
ANTHEM-HRA       HEDEEN, LISA                           RAHUL
                                                        KUNNUMPURATHU
                                                        CHANDRA
ANTHEM-PPO          HEDEEN, MARK                        RAIMOND HOLMES
ANTHONY BLOCKER     HEDEEN, PATRICIA                    RAINBOW
                                                        CINEMA/MAGIC LANTERN
                                                        THEATRES
ANTHONY CASSAR      HEDRICK, TONY                       RAINBOW NEAR &
                                                        PLASTIC SIGNS LTD.
ANTHONY D POWELL    HEENAN BLAIKIE                      RAINBOW SIGN
                                                        MANUFACTURING INC.
ANTHONY DINATALE    HEER, KULBIR                        RAJESH DAKUA
ANTHONY MARCO       HEIBERG GARBAGE & RECYCLING         RAJESH SAPKOTA
ANTHONY P GENTRY    HEIDI DOUCETTE                      RAJNEESH SHARMA
ANTHONY             HEIDI JEFFREYS, RDR, CRR            RAJPUT, NOREEN
PATTERSON DBA
PATTERSON
ELECTRIC
ANTHONY SABOURIN    HEIMERL LAW FIRM ATTORNEY           RAJVINDER SANDHU
                    TRUST ACCOUNT
ANTHONY WHITE       HELEN AITKENS                       RALLKA LLC
ANTOINETTE          HELEN GORDON                        RALLS, SUSAN
BONADIO
ANTONIO             HELEN LALOGIANNIS                   RALPH & SON'S PEST
DOMINGUEZ                                               CONTROL-DO NOT USE!!!!
ANTONIO             HELEN PAQUETTE                      RALPH & SON'S PEST
FERNANDES                                               CONTROL-DO NOT USE!!!!
ANTONIO VANN        HELEN THOMPSON MEDIA                RALPH D GENUA, JR
ANYWHERE IN         HELENE BURROWS                      RALPH ROSENBERG
AMERICA                                                 COURT REPORTERS, INC.
AOL TIME WARNER     HELICOPTER TRANSPORT                RALPH TURNER
BOOK GROUP          SERVICES, INC.
AON RISK SERVICES   HELP DESK CHAPTER SOUTHERN          RALSTON PLAZA
NORTHEAST, INC      VIRGINIA INC.                       SHOPPING CENTER LLC
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APEX DEVELOPMENT     HELP/SYSTEMS, LLC                    RAM ATTORNEY
INC.                                                      INVESTIGATIONS
APEX GLASS &         HELPING HANDS                        RAM CLEANING
MIRROR                                                    SERVICES
APEX INSURANCE       HELP'S HERE! PREMIUM                 RAMADA INN AT NAGS
                     PUBLISHING CORP.                     HEAD BEACH
APEX SYSTEMS, INC.   HEMMERT PLUMBING, INC.               RAMADHAR DOOKHIE
APEX                 HENDERSON COUNTY REGISTER            RAMAN GROVER
TECHNOLOGIES         OF DEEDS
APEX, LLC            HENDERSON SHOPPING CENTER            RAMAZAN TAS
                     LLLP
API VIRGINIA BEACH   HENDERSON SHOPPING VILLAGE,          RAMBONE DISPOSAL SVC.
                     LLLP                                 INC.
A-PLUS SERVICES      HENDERSON TAX                        RAMESES SHRINE CIRCUS
                     ADMINISTRATOR
APPALACHIAN FAIR     HENDON PROPERTIES LLC                RAMESES SHRINERS
ASSOCIATION INC.
APPALACHIAN          HENGER, CARL                         RAMESH KRISHNAN
POWER
APPALACHIAN          HENNESSY, THOMAS                     RAMIREZ, VERONICA
POWER
APPDYNAMICS, INC.    HENRY BROWN                          RAMUNDO, MICHAEL
APPLE VALLEY         HENRY DERUELLE                       RANCHO REALTY (1975)
TRANSFER &                                                LTD.
STORAGE INC
APPLE VALLEY         HENRY MARSDEN                        RAND E WADDINGHAM
TRANSFER &                                                TRUSTEE
STORAGE, INC.
APPLIED MIND, INC.   HENRY SCHEIDER                       RANDAL WHYNOT
APR POPERTIES, LP    HENRY STAUDER                        RANDALL (MATHEW)
                                                          MILLER
APR PROPERTIES LP    HENRY WASTE DISPOSAL, INC            RANDALL FABER
APRIL J. ALLEN       HENRY WIENS                          RANDALL HAMILTON
APRIL MCCULLOUGH     HENRY, SANDRA                        RANDALL PARK
                                                          RENTALS, LLC
APURAV KURRA         HENSON ROBINSON COMPANY              RANDOLPH
                                                          BHAGWANDIN
AQEEL AHMED          HERALD & TRIBUNE                     RANDOLPH SCOTT
AQUA COOL-           HERALD SUN - DURHAM                  RANDOM HOUSE, INC.
VIRGINIA BEACH
AQUATAINA ELLA       HERE'S THE SCOOP                     RANDSTAD
LLC
AQUENT LLC           HERITAGE GROWTH FUND LA              RANDSTAD NORTH
                     COUNTY, LLC                          AMERICA, INC
AR ANDERSON          HERITAGE SIGN COMPANY, INC           RANDSTAD
SOUTHWAY                                                  TECHNOLOGIES
CORPORATION
ARABELLA             HERITAGE SPE LLC                     RANDY CUNNINGHAM
ENTERPRISES
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ARACELI BRENEZ      HERMAN, BILLIE                RANDY FELIX
ARAM SKC            HERMITAGE RECEIVER OF TAXES   RANDY FOLDESI
CORPORATION
ARAMARK CAMPUS      HERNAN REIMEL                 RANDY JOWERS DBA
SERVICES                                          JOWERS SING CO
ARAMARK             HERNDON, FELICIA              RANDY LAFAVE
CORPORATION @
THE VA. AQUARIUM
ARAMARK             HERO WASHING                  RANDY MYERS
REFRESHMENT
SERVICES
ARAMARK             HERON RIDGE GOLF CLUB         RANDY PETERSON
REFRESHMENT
SERVICES
ARANOV REALTY       HEROUX, RAYMOND               RANDY ROWLAND
MANAGEMENT INC.
ARAPAHOE COUNTY     HERRING, LESLIE               RANDY ULCH
TREASURER
ARCADIA REAL        HESTER PROCESS SERVICE        RANFURLY
ESTATE LLC                                        DEVELOPMENTS INC
AR-CAPE HORN        HETEM HASSAN                  RANTS BALLROOM
SQUARE, LLC
ARCE, LUIS          HEWITT JOHN                   RAPAICH, GEORGE
ARCENEAUX, DAVID    HEWITT, JAMES & RACHAEL       RAPID CITY JOURNAL &
                                                  BLACK HILLS WEEKLY
                                                  GROUP
ARCET EQUIPMENT     HEWITT, SR. DANIEL J.         RAPID CITY
COMPANY                                           PROFESSIONAL HOCKEY,
                                                  LLC
ARCHANA NAIK        HEWLETT - PACKARD COMPANY     RAPIDES PARISH SALES &
                                                  USE TAX DEPARTMENT
ARCHBELL SIGNS,     HEWLETT-PACKARD-              RAPIDES PARISH
INC.                COMMERICAL REPAIRS            SHERIFFS OFFICE
ARCHER, HEATHER     HEYU ZHANG                    RAPIDSCALE, INC.
ARCHINAL, ERIC      HEYWARD WHETSELL              RAQUEL T. PEREZ-LOPEZ
                    ASSOCIATES
ARCHOS, TELLY       HFX BROADCASTING INC.         RASSIER PROPERTIES-
                                                  GREENLAWN CROSSING
                                                  I,LLC
ARCITERRA           HGI VIRGINIA BEACH TOWN       RASTCO LLC
MICHIGAN RD         CENTER
INDIANAPOLIS, LLC
ARCOM-CULPEPPER     HH TAX SERVICES INC           RATNER & PRESTIA, P. C.
CITIZEN
ARCSPRING           HHFS, LLC                     RATTANDEEP SINGH
MANAGEMENT
PARTNERS, LLC
ARCTIC SIGNS        HI TECH CONSTRUCTION & HOME   RAVENELL, KAREN
                    IMPROVEMENTS
ARCTURUS REALTY     HI TECH CONSTRUCTION (CA)     RAVINDER SIDHU
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ARCTURUS REALTY     HI TECH ELECTRIC               RAVING FANS, INC
CORPORATION
ARDENT INC.         HI THERE MEDIA, INC.           RAWLCO RADIO LTD.
AREA WIDE 147TH &   HIAM YASSINE                   RAWLCO TRANSIT
CICERO, INC
AREIA INC           HIBU INC                       RAWLS, DIANE
ARGO WOODBURN       HIBU, INC.-DO NOT USE          RAY ABEL RENTALS
LLC
ARGUS LEADER        HICKMAN, PAULA                 RAY HARTLIEB
ARIANE HOHMANN      HICKORY PROPERTY, INC.         RAY KILLORAN
ARIANNA             HIDDEN VALLEY PROMOTIONS       RAY LAUZON
PITAWANAKWAT        LLC
ARILEX TROPICANA    HIGH CLASS CLEANING SERVICES   RAY MAAGERO
ASSOCIATES, LLC
ARIZONA             HIGH DESERT AIR DUCTOR, INC    RAY MORIER-
CORPORATION                                        RAYNOVATIONS
COMMISSION
ARIZONA CREATIVE    HIGH JUMP FUN ZONE             RAY NOLMAN
EVENTS
ARIZONA             HIGH LIFE LIMOUSINE            RAY RODGERS
DEPARTMENT OF
REVENUE
ARIZONA             HIGH PLACES SERVICES           RAY STONE INC.
DEPARTMENT OF
REVENUE,
UNCLAIMED
PROPERTY UNIT
ARIZONA DEPT. OF    HIGHER EDUCATION               RAYFORD, SELENA A.
REVENUE             COORDINATING COMMISSION
ARIZONA LOTUS       HIGHLAND CAPITAL               RAYL INVESTMENTS, LLC
COMMUNICATIONS      MANAGEMENT SERVICES
ARJIT BRAR          HIGHRIZE ENT INC.              RAYMOND A DUNN II
ARKANSAS            HIGHRIZE ENT INC.              RAYMOND BEASLEY
DEMOCRAT-
GAZETTE, INC
ARKANSAS            HIGINIO FLORES IV              RAYMOND C WIESE
DEPARTMENT OF
REVENUE
ARKANSAS DEPT. OF   HILDA MILNER                   RAYMOND D. NATIONS
FINANCE &
ADMINISTRATION
ARKANSAS            HILL, CHRISTAN                 RAYMOND JAMES &
SECRETARY OF                                       ASSOCIATES,INC
STATE
ARKANSAS STATE      HILL, FRANK TRENT              RAYMOND JAMES AND
AUDITOR OFFICE                                     ASSOCIATES INC
ARLA WARREN         HILL, JASON M.                 RAYMOND KEHLER
ARLENE DESCHAMPS    HILLCREST CORP.                RAYMOND KENNEDY
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ARLENE              HILLCREST PLAZA LIMITED PART   RAYMOND PARK
PITAWANKWAT
ARLINGTON SQUARE    HILLIX, LARRY                  RAYMOND RINGER
LP
ARMANDO ARRIETA     HILLSBOROUGH COUNTY TAX        RAYMOND VELLA
                    COLLECTOR
ARMBRUSTER &        HILLSBOROUGH COUNTY WATER      RAYMOND VITELLARO
ASSOCIATES          DEPARTMENT
ARMOND WHITE        HILLSIDE PLAZA                 RAYNE PLASTIC SIGNS,
                                                   INC.
ARMSTRONG           HILLSIDE PLAZA INVESTMENT      RAYNER ELECTRIC INC
BUSINESS
SOLUTIONS
ARMSTRONG           HILTON GARDEN INN              RAYNOVATIONS
TEASDALE, LLP
ARMSTRONG, CHAD     HILTON GARDEN INN / KITTY      RAYSACK HOLDING, LLC
                    HAWK
ARMSTRONG, SCOTT    HILTON NYAMAYARO               RAZ ENT, LLC
ARMY TIMES          HILTON QUEBEC                  RB LEASING
PUBLISHING
COMPANY
ARNOLD M. JONES     HILTON VIRGINIA BEACH          RBC BANK
DETECTIVE AGENCY    OCEANFRONT
ARNOT REALTY        HIMANSHI SHARMA                RBC CENTURA
CORPORATION
ARONSON LLC         HIMANSHU KHAMAR                RBC ROYAL BANK
ARROW               HIMELFARB PROSZANSKI LLP       RBS CITIZENS, N.A
ENTERPRISES INC
ARROW               HINCKLEY SPRING WATER          RBS INC.
EXTERMINATORS,      COMPANY
INC.
ARROW SIGNS &       HINDLIN BROADCASTING, LLC      RC FLOORING AND
OUTDOOR                                            GRANITE
ADVERTISING, INC.
ARROWASTE, INC      HINT CREATIVE                  RCAP LEASING
ARSENE ETOKABEKA    HIPS DON'T LIE DANCE COMPANY   RCC SHOPPES AT WEST
                                                   MARKET, LLC
ART CRAGGS          HIREN SHIMPI                   RCE PROPERTIES
ART NEWMAN          HIREOLOGY                      RCG VENTURES III, LP-DO
                                                   NOT USE
ART WALKER'S AUTO   HISPANIC CHAMBER METRO         RCL FINANCE, INC.
SERVICE             ORLANDO
ARTEMENKO,          HISPANIC COLLEGE FUND, INC.    RCN
GENNADI
ARTEN BOGACHUK      HISPANIC COMMUNICATIONS, LLC   RCP GROUP, LLC
ARTHUR HALL         HISPANIC LEADERSHIP FORUM      RDP REEL PROPERTIES
ARTISAN SIGN        HISPANIC PUBLISHING            RE RE COME INC
STUDIO              ASSOCIATES
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ARTLITE SIGN         HISPANIC TRENDS                RE TAX LLC
COMPANY, INC.
ARTS COLLECTIVE      HISPANIC WEALTH                RE/MAX CHATHAM-KENT
THEATRE                                             REALTY INC
ARTS ELECTRIC        HISPANOFEST, INC               RE/MAX ORILLIA (1996)
                                                    LTD BROKERAGE
ARTUR REALTY INC     HI-TECH INVESTMENTS            REA, JON
ARTURUS ITF          HLA SOLUTIONS GROUP, LLC       REACH FOUNDATION INC.
RETROCOM REIT-
ONTARIO
ARULSEELAN           HMSA                           REACT MOBILE SIGN
ANTONMARIYANAY                                      RENTALS INC.
AGAM
ARUN KUMAR           HNL BOCTOR HOLDINGS, INC.      READYREFRESH BY
                                                    NESTLE
ARVADA SQUARE        HO CHUNGMAN                    REAL CARE PROPERTIES
ASSOCIATES LP
ARYA INVESTMENTS     HO RETAIL PROPERTIES I, LP     REAL ESTATE
CORP.                                               ASSOCIATES
ARYNA BUSTILLO       HO, LONG                       REAL ESTATE
                                                    INVESTMENTS, INC.
ARZU SUREYYA         HO, LONG                       REAL ESTATE R US, INC.
TUZLACI
AS PROPERTIES INC.   HOBBS, DONNIE & ANNETTE        REAL GREENWOOD
ASCANDAR             HOBIE'S SPORTS LTD.            REAL IT CARE, LLC
BROTHERS LLC
ASCENDANT MEDIA,     HOFFMANN BROTHERS HEATING      REALNET AMERICAN
INC.                 & AIR CONDITIONING,IN          WAY ACQUISTIONS LLC
ASH & PHARR          HOK SHI CHAN                   REALSTAR REALTORS
INVESTIGATIONS,                                     LLC
LLC
ASH                  HOKE COUNTY REGISTER OF        REBECA TORRES
INVESTIGATIONS       DEEDS
ASH, SUSANNE V.      HOKE COUNTY TAX COLLECTOR      REBECCA AQUASH
ASHCREST, LLC        HOLDEN, DENISE                 REBECCA DOE
ASHLAND PLACE        HOLDSWORTH, FREDERIC G.        REBECCA M LEE
PLAZA LLC
ASHLEY COMEAU        HOLECHECK, BRIAN               REBECCA O'SULLIVAN
ASHLEY CORDES        HOLIDAY INN                    REBECCA WIGLE
ASHLEY CUDNEY        HOLIDAY INN (WINNIPEG)         RECEIVABLE
                                                    MANAGEMENT SERVICES
ASHLEY DEVONE        HOLIDAY INN AT THE PLAZA       RECEIVER GENERAL
                     KANSAS CITY
ASHLEY GOODINE       HOLIDAY INN EXECUTIVE CENTER   RECEIVER GENERAL
ASHLEY HIGGINS       HOLIDAY INN SEATAC AIRPORT     RECEIVER GENERAL
ASHLEY KELLY         HOLIDAY INN SELECT             RECEIVER GENERAL -
                     MISSISSAUGA                    OTTAWA
ASHLEY MURILLO       HOLIDAY INN TORONTO-           RECOLOGY VALLEJO
                     MARKHAM
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ASHLEY SCHOOT         HOLIDAY TRAV-L-PARK          RECORD (THE)
ASHLEY SQUARE         HOLLAND & HART LLP           RECORD MANAGEMENT
PROPERTIES, LLC
ASHLEY SQUARE         HOLLAND & KNIGHT             RECORDER OF
PROPERTIES, LLC -DO                                MORTGAGES
NOT USE
ASHLEY VOLKERINK      HOLLAND BOARD OF PUBLIC      RECRUIT MILITARY
                      WORKS
ASHLYNNE JONES        HOLLAND, DESHONNA            RECYCLE SERVICES
                                                   NORTHWEST DBA BIG
                                                   HAUL JUNK BUSTERS
ASIF FERDOUS          HOLLAND, TROY                RED LOCK LLC-DAVID
                                                   WINIARCZYK
ASIM FEHMI            HOLLIDAY RENTALS             RED RIVER BROADCAST
                                                   GROUP
ASK.COM               HOLLINGER, MIKE              RED ROCK SHOPPING
                                                   CENTER, LLC
ASOCIACION DE         HOLLOMAN, SETH               RED ROOF #610
EMPRESARIOS                                        TROUTVILLE
MEXICANOS
ASPEN PUBLISHERS      HOLLY CENTER LLC             RED ROOF INN - DALLAS -
INC                                                849800
ASSOCIATED            HOLLY JANVIER                RED ROOF INN #220
INVESTIGATIONS,
LTD
ASSOCIATION FOR       HOLLY M. LACA                RED ROOF INN #506
FINANCIAL
PROFESSIONALS
ASSOCIATION OF        HOLLY MYERS                  RED ROOF INN 511-
CHINESE CANADIAN                                   BRUNSWICK GA
ENT.
ASSURANCE             HOLLY NEWFELD                RED ROOF INN 547-
RETIREMENT GROUP,                                  LINCOLN NE
LLC
ASTD                  HOLLY RICHARD                RED ROOF INN 570
                                                   WILLIAMSPORT MD
ASTRAL RADIO          HOLLY WADEMAN                RED ROOF INN 584
                                                   FAYETTEVILLE AR
ASTRAL RADIO          HOLMAN, ANNETTE              RED ROOF INN 593
ASTRID J AMAZAN       HOLMAN, DALE                 RED ROOF INN 628 DOVER
                                                   DE
ASTRO                 HOLMAN, NANCY                RED ROOF INN 629
ENTERTAINMENT                                      MISHAWKA IN
INC
ASTRO MARKETING       HOLMAN'S PHOTOGRAPHY         RED ROOF INN 636
                      STUDIO                       PHOENIX AZ
ASTROCON              HOLMES, BRETT LYNN           RED ROOF INN AND
CONSTRUCTION                                       SUITES NO. 569
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ASUNCION VILORIA     HOLMES, JESSICA LORENE          RED ROOF INN AT
                                                     UNIVERSAL STUD
ASURE SOFTWARE,      HOLMES, SHANNON                 RED ROOF INN- BEDFORD
INC.                                                 HEIGHTS
AT&T                 HOLT RUN CENTER LLC             RED ROOF INN- BUENA
                                                     PARK CA
AT&T - 105262        HOLYFIELD, CURTIS               RED ROOF INN-
                                                     BURLINGTON NC
AT&T - 5014          HOLYOKE MALL COMPANY, LP        RED ROOF INN- CEDAR
                                                     RAPIDS IA
AT&T - 630047        HOME PAINTERS TORONTO           RED ROOF INN- CORPUS
DALLAS                                               CHRISTI TX
AT&T - 8100          HOME POWER SYSTEMS LLC          RED ROOF INN-
                                                     FLORENCE KY
AT&T AURORA IL       HOME TOWN PROFIT, INC.          RED ROOF INN- GA 30341
AT&T CORP            HOMESITE INSURANCE COMPANY      RED ROOF INN
                                                     SAVANNAH GATEWAY
AT&T MEDIA           HOMETOWN REFERRALS LLC          RED ROOF INN- SOUTH
SERVICES                                             UNIVERSITY
AT&T MOBILITY        HONEYWELL LIMITED               RED ROOF INN
                                                     STOCKBRIDGE GA
AT&T                 HONGWEN SHE                     RED ROOF INN TROY IL
TELECONFERENCE
SERVICES
AT&T-105068-         HONIGMAN LLP                    RED ROOF INN- WEST
ATLANTA                                              MEMPHIS AR
AT&T-5001            HONOR AND REMEMBER INC          RED ROOF INN-
                                                     ALBUQUERQUE
AT&T-5025            HOPCO LTD                       RED ROOF INN-BUENA
                                                     PARK
AT&T-5080            HOPE HOUSE MINISTRIES           RED ROOF INN-
                                                     CLARKSVILLE
AT&T-LOUISVILE       HOPPE, MICHAEL                  RED ROOF INN-DENVER
9001310                                              CO
AT&T-LOUISVILLE      HORIZON BACKGROUND              RED ROOF INN-
9001309              SCREENING                       FAYETTEVILLE, NC
AT&T-NEWARK 10226    HORIZON HAMPTON ROADS, INC.     RED ROOF INN-FRESNO
AT&T-PHOENIX 78152   HORIZON INVESTMENT GROUP        RED ROOF INN-
                     LLC                             HUNTERSVILLE NC
AT&T-PHOENIX 78225   HORIZON UTILITIES               RED ROOF INN-
                     CORPORATION                     INDIANAPOLIS IN
AT&T-PHOENIX 78522   HORNER, NATASHA                 RED ROOF INN-NLITTLE
                                                     ROCK AR
ATANASOV, IVAN       HORNTHAL, RILEY, ELLIS &        RED ROOF INN-RALEIGH
                     MALAND, L.L.P.                  NC
ATARZA/CD            HOSPICE OF ALAMANCE             RED ROOF INN-
DIMENSIONS                                           RICHMOND VA
ATASCOCITA           HOT SAUCE HEATING & AIR, LTD.   RED ROOF INNS - 219
CENTER LP                                            HOUSTON
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ATCO ENERGY          HOT SPRINGS VILLAGE VOICE       RED ROOF INNS - 46530-
                                                     GRANGER
ATCO GAS             HOTCHKISS, MICHELLE             RED ROOF INNS - 93967
ATD AUTO TRIM        HOTCHSTEIN, BRANDON             RED ROOF INNS - AUSTIN
DESIGN OF
CHILLIWACK LTD
ATHT, INC.           HOULE ELECTRIC LIMITED          RED ROOF INNS -
                                                     CARROLLTON, TX
ATIEH, MURAD         HOULE ELECTRIC LIMITED          RED ROOF INNS - FRESNO
                                                     CA 93722
ATKINS JAMES         HOULE, BILL                     RED ROOF INNS -
                                                     HOUSTON, TX
ATKINSON - BAKER,    HOULIHAN LOKEY FINANCIAL        RED ROOF INNS - MOBILE
INC.                 ADVISORS, INC.
ATKINSON, JOHN T.    HOUPT, RAEANN                   RED ROOF INNS - PLANO,
                                                     TX
ATLANTA GAS LIGHT    HOUSEHOLD CREDIT SERVICES       RED ROOF INNS 520-
COMPANY                                              SACRAMENTO
ATLANTA GROUP        HOUSING COMMISION OF ANNE       RED ROOF INNS 576 DES
SYSTEMS INC          ARUNDEL COUNTY                  MOINES IA
ATLANTA LEGAL        HOUSTON CHILDREN'S FESTIVAL     RED ROOF INNS 579
SERVICES, INC.                                       MUSIC VALLEY
ATLANTIC AUDIO       HOUSTON HISPANIC CHAMBER OF     RED ROOF INNS
VISUAL               COMMERCE                        SOUTHERN CA
ATLANTIC             HOUSTON HISPANIC FORUM          RED ROOF INNS-
BLUERIDGE                                            ATLANTA AIRPORT
ELEVATOR                                             NORTH
COMPANY
ATLANTIC GLASS &     HOWARD & SHIRLEY FRENCH V220    RED ROOF INNS-
MIRROR CO.                                           CHATTANOOGA TN
ATLANTIC GLASS       HOWARD ALEXANDER DAVIS          RED ROOF INN-SEATTLE
AND MIRROR CO.                                       WA
INC.
ATLANTIC HEATING     HOWARD COUNTY DIRECTOR OF       RED ROOF INNS-GARDEN
& COOLING SERVICE,   FINANCE                         GROVE
INC.
ATLANTIC             HOWARD GRAY                     RED ROOF INNS-LINCOLN,
LIMOUSINE SERVICE,                                   NE
INC.
ATLANTIC MOVING      HOWARD HORNE                    RED ROOF INNS-
& STORAGE INC.                                       OKLAHOMA
ATLANTIC NEON CO.,   HOWARD REYNOLDS                 RED ROOF INNS-
INC.                                                 SOUTHAVEN MS
ATLANTIC             HOWARD, KEISHA & HUTSON, JEFF   RED ROOF INNS-
RELOCATION                                           STOCKTON
SYSTEMS
ATLANTIS REALTY      HOWAT, COLIN                    RED ROOF INNS-
SERVICES INC. /                                      WOODLAND HILLS
BROKERAGE
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ATLAS PRO SERVICE   HOWREY, SIMON, ARNOLD &              RED SKYE WIRELESS, LLC
& ASSOCIATES        WHITE
ATLAS ROOFING       HOWROYD-WRIGHT                       RED WING OFFICE
                    EMPLOYMENT AGENCY,INC                ENVIRONMENTS &
                                                         SERVICES
ATLAS SAVINGS LP    HOY                                  RED ZEBRA
                                                         BROADCASTING
ATLAS VAN LINES,    HOY CONSTRUCTION, INC.               RED ZEBRA
INC.                                                     BROADCASTING, LLC
ATMOS ENERGY        HOY EN DELAWARE, LLC                 REDBACK DECALS
ATMOS ENERGY-       HR DOWNLOADS                         REDCLIF REALTY
740353                                                   MANAGEMENT INC.
ATOMIC FI, INC      HR DOWNLOADS, INC.                   REDCLIFF REALTY
                                                         MANAGEMENT INC. ITF
                                                         E.P. CATALOUGE
                                                         HOLDINGS INC.
ATOMIC PLUMBING,    HRA PROPERTY MANAGEMENT              REDGATE SOFTWARE
HEATING &           INC
ELECTRICAL CORP
ATRIUS              HRC INVESTORS                        REDSTONE ADVERTISING
ATRIUS              HRE 500 GRAPEVINE HWY LLC            REDWOOD FIRE AND
                                                         CASUALTY INSURANCE
                                                         COMPANY
ATS NORTHGATE,      HRE FUND III LP                      REDWOOD PLAZA
LLC                                                      INVESTMENTS, LP
ATT PROPERTY        HRI / EASTON COMMONS, LP             REED PREVATTE
MAINTENANCE
ATTENDED EVENTS,    HRSD                                 REED SMITH LLP
LLC
ATTORNEY GENERAL    HRSD - 37097                         REED, JEROME
OF THE STATE OF
CALIFORNIA
ATTORNEY SERVICES   HRSD WASTEWATER TREATMENT            REELIO, INC.
INT'L, INC.
ATX                 HRUBS                                REES, SCOTT
ATX II LLC          HS BRANDS INTERNATIONAL              REFE, MICHAEL
AUDIO FIDELITY      HSBC BUSINESS SOLUTIONS              REFINITIV US LLC
COMMUNICATIONS
CORP.
AUDIO FIDELITY      HSBC BUSINESS SOLUTIONS              REFUSE SPECIALISTS,
COMMUNICATIONS      (OFFICEMAX)                          LLC.
CORPORATION
AUDIO VISUAL        HSP EPI ACQUISITION LLC              REGAL ELECTRIC (2003)
VENTURES INC.                                            LTD.
AUDIT DETECTIVE,    HTH INC.                             REGAL FLOORS, INC.
LLC
AUDREE WILKERSON    HU, RONG                             REGAL TOURS, INC.
AUGONE, MIKE        HUANGS INVESTMENT LLC                REGAN STRAND
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AUGUST               HUB CITY RADIO                     REGENCY CENTERS, L.P.
COMMUNICATIONS
AUM SAI SHIV LLC     HUBBARD ROOFING, INC.              REGENCY CENTERS, LP
RACINE
AURELITA GARNACE     HUBERT POLLARD                     REGENCY CENTERS, LP
AURNOU, MICHAEL      HUBERT R DUCHARME                  REGENT BROADCASTING
                                                        OF ST. CLOUD
AURORE GLAUDE        HUDGINS REAL ESTATE                REGENT
                                                        COMMUNICATIONS
AURORIS MEDIA INC.   HUDSON COOK, LLP                   REGENT
                                                        COMMUNICATIONS
AURORIS SOFT INC.    HUDSON COOK, LLP                   REGENT
                                                        COMMUNICATIONS
AUSTIN AMERICAN-     HUDSON COOK, LLP-USE HUDS10        REGENT LAW OFFICE OF
STATESMAN                                               CAREER & ALUMNI
                                                        SERVICES
AUSTIN BURNETTE      HUDSON, ROCKY                      REGENT THEATER
AUSTIN VENTURES,     HUDSON'S BAY COMPANY               REGENT UNIVERSITY
LLC
AUSTRING,            HUETHER, ROBERT                    REGINA FOOD BANK
FENDRICK, FAIRMAN
& PARKKARI
AUTHIER PLUMBING     HUGGLER IV, PETER                  REGINA MEANEY
INC.
AUTO BODY            HUGH C MCLACHLAN                   REGINALD LANDRIAULT
SPECIALTY
AUTODEMO             HUGH WEST                          REGINALD MACPHEE
AUTOMATED FILING     HUGHES & SON INC.                  REGINALD WALKER
SERVICES INC.
AUTOMATED FILING     HUGHES ESQ, MICHAEL C.             REGIONAL CABLE
SERVICES, INC                                           NETWORK
AUTOMATED TAX        HUGHES IV, WALTER L.               REGIONAL
OFFICE MANAGER,                                         DEVELOPMENT
LLC                                                     PARTNER-MCKNIGHT
                                                        SEIBERT L.P.
AUTOMATED TAX        HUGHES, STEVE                      REGIONAL
OFFICE MANAGER,                                         DEVELOPMENT
LLC                                                     PARTNERS-MCKNIGHT
                                                        ROAD LP
AUTOMATED            HUGHES, TRAVIS                     REGIONAL FOOD BANK
TECHNOLOGY                                              OF OKLAHOMA, INC
COMPUTER
SERVICES, LLC
AUTOMATIC DATA       HUGO A DERAS                       REGIONAL INCOME TAX
PROCESSING INC                                          AGENCY
AUTOMATIC DATA       HUGO GASCA                         REGIONAL MAPLE LEAF
PROCESSING, INC.-                                       COMMUNICATIONS INC.
INACTIVE
AUTOMATIC FIRE       HUGO MARTINEZ                      REGISTER TAPE
CONTROL, INC                                            NETWORK
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AUTUMN JACKSON     HUHT PROPERTIES LIMITED             REGISTERED AGENT
                                                       SOLUTIONS, INC.
AV TAXES &         HUHT PROPERTIES LTD                 REGISTERED AGENT
ACCOUNTING                                             SOLUTIONS, INC.
SERVICE INC.
AVA DEE KENNGOTT   HUMAN DESIGN                        REICH LAW FIRM
AVALON HOTEL &     HUMBLE I.S.D                        REICHARDT, ALEX
CONFERENCE CENT
AVANZA             HUMBLE INVESTIGATIONS, LLC          REID PROPERTY
COMMUNITY                                              MANAGEMENT, LLC
CENTER, LLC
AVATAR GA LLC      HUME SMITH GEDDES GREEN &           REILLY, KEVIN
                   SIMMONS, LLP
AVELINO            HUME, MARTIN S.                     REIN, INC.
GUIDORIAGAO
AVI MANOHAR        HUMPHREY, RICH                      REJEAN DESJARDINS
AVIATECH           HUNT, LESLIE RAE                    REK TRAVEL CHICAGO
                                                       CHARTER EXPRESS
AVID WASTE         HUNT, PRISCILLA                     RELAY FOR LIFE
SYSTEMS, INC.
AVIGDOR LANDMAN    HUNTER II ENTERPRISE                RELIABLE BUSINESS
                                                       COMMUNICATIONS INC
AVISON YOUNG       HUNTING CREEK RETAIL, LLC.          RELIABLE DISTRIBUTION
COMMERCIAL REAL                                        NETWORK
ESTATE
AVISTA             HUNTON & WILLIAMS                   RELIANCE HOME
                                                       COMFORT
AVIVA RENTAL       HUNTON ANDREWS KURTH LLP            RELIANCE PROTECTRON,
SYSTEMS, LLC                                           INC.
AW BILLING         HUNTSTA SHOPS LLC                   RELIANCE STAFFING &
SERVICES LLC                                           RECRUITING
AWD LLP - DO NOT   HUNTSVILLE HOCKEY ASSIST            RELIANT
USE                CLUB
AYDA CARMONA       HUNTSVILLE HOCKEY ASSIST            RELONG LLC
                   CLUB
AYUL ALOCK         HURLEY AND ASSOCIATES               REM AND SON LICENSED
                                                       ELECTRICAL
                                                       CONTRACTORS CORP
A-Z SUMMONS        HURT, MIKE                          REM DIRECT, INC.
BILLING
AZAZ AHMED         HUSCH & EPPENBERGER, LLC            REMAX PREFERRED
KHAKU                                                  REALTY
B & D PROPERTIES   HUSCH BLACKWELL SANDERS,            REMOTESITE TRAINING,
                   LLP                                 INC.
B & J SPY          HUSEN, MIQDAS                       RENE BERGERON
ASSOCIATES
B&B CASH GROCERY   HUTCHINS, ERWIN L.                  RENE PLANTE
STORES, INC
B&B CONSULTING     HUTSON TALENT AGENCY                RENEE BAILEY
SERVICES INC
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B&H PHOTO VIDEO        HVAC, INC                          RENEE M. SCHWERDT
B&L INVESTMENTS,       HYATT KEY WEST RESORT &            RENEE WILKERSON
INC.                   MARINA
B&S ACCOUNTING         HYBRID MEDIA SERVICES, LLC         RENI PUBLISHING
SERVICES INC
B. F. CHESAPEAKE, L.   HYDE, DEBBIE                       RENO GAZETTE-JOURNAL
P.
B. RILEY PRINCIPAL     HYDRO ONE BRAMPTON                 RENO MEDIA GROUP
INVESTMENTS, LLC
B. RILEY SECURITIES,   HYDRO ONE NETWORKS, INC            RENO NEWSPAPER, INC.
INC.
B2B ACQUISITIONS,      HYDRO OTTAWA                       RENO-SPARKS INDIAN
INC                                                       COLONY
B2B ACQUISITIONS,      HYDRO QUEBEC                       RENT-A-CENTER
INC.
B92.1 FM WBTR          HYLAND CARPET ONE                  RENTOKIL
BABICK, STEVE          HYPERSPACE COMMUNICATIONS          REPRINT MANAGEMENT
                       INC                                SERVICES
BABYSITTERS OF         I MARK EVENTS, INC.                REPUBLIC BANK & TRUST
TIDEWATER                                                 CO.
BACCHUS, MICHAEL       IAIN BUCHANAN                      REPUBLIC BANK & TRUST
                                                          COMPANY
BACK BAY CENTER        IAN DAVEY                          REPUBLIC BANK & TRUST
LLC                                                       COMPANY
BACKER, NATASHA        IAN HAJPEL                         REPUBLIC LEASING
                                                          COMPANY
BACKTOWN               IAN MARTIN WHITE                   REPUBLIC SERVICES #352
DEVELOPMENT                                               - 9001154
BACKYARD               IAN WILSON LARMORE                 REPUBLIC SERVICES-
BROADCASTING           FOUNDATION                         9001099
BACM 2005-3 RITCHIE    IAN'S SIGNS AND SERVICES           REPUBLIC WASTE
HWY, LLC                                                  SERVICES
BADGER PLAZA LLC       IBBOTSON, STEVE                    REPUBLIC WASTE
                                                          SERVICES-KY
BAI RIVERGATE LLC      IBERIA PARISH TAX COLLECTOR        RESHIFT MEDIA
BAILEY & FULLER        IBEY, KAREN                        RESHIFT MEDIA, INC.
PROPERTIES, LLC
BAILEY & WYANT,        IBM COPORATION                     RESOLUTION CANADA
PLLC                                                      INC.
BAILEY, BETH A.        IBRAGIMOV IRINA                    RESOLUTION INC.
BAILEY, DEBBIE         IBRAHIM ABUZIND                    RESOURCE ASSOCIATES
                                                          GRANT WRITING &
BAILEY, REGINA L       IBTISAM ATTISHA                    RESTORATION SERVICES
                                                          INC
BAILLIO SAND           ICBC BROADCAST HOLDINGS, INC.      RESULT RADIO
COMPANY, INC
BAKER BROTHERS         ICBC BROADCAST HOLDINGS, INC.      RETAIL ALLIANCE
RENTAL PROP, LLC       - WJMI-FM
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BAKER, DONELSON,       ICC ENTERPRISES                    RETAIL OPPORTUNITY
BEARMAN & CAL                                             INVESTMENTS
                                                          PARTNERSHIP, LP
BAKER, H. RAY          ICE ART INC.                       RETAIL PLANNING
                                                          CORPORATION
BAKERSFIELD LEGAL      ICE CREAM TRUCKS.COM               RETAIL SERVICES WIS
PROCESS SERVICE                                           CORPORATION
BAKKOM, DENIS L.       ICE MILLER & JOHN W. JOHNSON,      RETIRECO SOLUTIONS,
                       SR.                                LLC
BALIHOO INC.           ICE SYSTEMS, INC.                  RETS TECH CENTER, INC.
BALKAN SIGNS           ICLE                               RETURN ON MEDIA, INC
BALL & PAIGEN, LLC     ICR, LLC                           RETURN PATH, INC
BALL FOUR              ICS COURIER                        REVENU QUEBEC
HOLDINGS, INC.-DO
NOT USE
BALL FOUR              ICU INVESTIGATIONS                 REVENUE QUEBEC
HOLDINGS, INC-DO
NOT USE
BALL, KIM              IDAHO DEPARTMENT OF REVENUE        REVIEW
BALLANTYNE             IDAHO DEPT. OF LABOR               REVISTA COMPRA MIAMI
STEPHEN
BALLARD SPAHR          IDAHO POWER                        REVOLUTION FINANCIAL,
ANDREWS &                                                 LP
INGERSOLL, LLP
BALLARD SPAHR LLP      IDAHO POWER                        REX DE JAAGER
BALLARD,               IDAHO SECRETARY OF STATE           REX FILBRUN FARMS, INC
THEODORE
BALLOON                IDAHO STATE TAX COMMISSION         REX LEYTE
FANTASIES
BALTIMORE COUNTY       IDAHO STATE TAX COMMISSION         REXER, NICOLE
GOVERNMENT
BALTIMORE              IDAHO STATE TREASURER'S            REXPERT SOUNDS
COUNTY, MD.            OFFICE                             ENTERTAINMENT
BALZOUT                IDAX.COM                           REZA A AMSARI
BANDURA, MARVIN        IDEA MARKETING CORP.               REZA ANSARI
BANGMI YU SUL          IDEAL FLOORING, INC.               RGFT INVESTMENT LP
BANK OF AMERICA        IDEAL JANITORIAL SERVICES          RHINES, WILLIAM
BANK OF AMERICA        IDEAL NETWORK SOLUTIONS, INC       RHODE ISLAND DEPT. OF
MERRILL LYNCH                                             BUSINESS REGULATION
BANK OF AMERICA        IDEAL PURE WATER                   RHODE ISLAND DIVISION
NA (USA) # 105442347                                      OF TAXATION
BANK OF HAMPTON        IDEAWORKS ADVERTISING              RHODE ISLAND DIVISION
ROADS                                                     OF TAXATION
BANK OF NOVA           IDENT MARKETING, LLC               RHODE ISLAND STATE
SCOTIA                                                    TREASURER
BARANOV,               IDENTITY SOLUTIONS, LLC            RHONDA HOFFERT
KATHERINE
BARB PATRICK-          IDERA                              RHONDA TIPTON
BROADBENT
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BARBARA ANNE       IDOLOGY, INC                       RHONI CYR
BOIS
BARBARA FERNE      IFLOODED SERVICES, INC             RI SECRETARY OF STATE
AIDE
BARBARA FICZERE    IGNACIO SANDOVAL JIMENEZ           RIA GROUP
BARBARA GULASH     IGS ENERGY                         RIBBLE, STEPHAN
BARBARA HOYLE      IIA-TIDEWATER CHAPTER              RIBBON EXCHANGE
BARBARA KEHZIERS   IIS INVESTIGATIONS                 RICARDO A GARCIA
BARBARA L.         IKON - DO NOT USE                  RICARDO FEARON
KENDALL
BARBARA            IKON CAPITAL                       RICHARD A MARTIN AND
MINNINGHAM                                            JUNE E MARTIN
BARBARA PAULSON    IKON DOCUMENT SERVICES - DO        RICHARD ALEXANDER
                   NOT USE
BARBARA            IKON OFFICE SOLUTIONS              RICHARD AUTHIER
TOANELLIER
BARBARA WEBB,      IKON OFFICE SOLUTIONS              RICHARD BEAUDRY
CLERK & MASTER
BARBER SIGN        IKON OFFICE SOLUTIONS              RICHARD BIGRAS
BARBER, NANCY B.   ILC & SWELL REALTY LLC             RICHARD BLAIKIE
BARBI MILES        ILIRIJANA MEHMETI                  RICHARD COLE
BARBOUR REALTY,    ILLINOIS AMERICAN WATER            RICHARD COONEY
INC.
BARBRA WATSON      ILLINOIS DEPARTMENT OF             RICHARD DIONNE
                   REVENUE
BARCLAY STATION    ILLINOIS DEPARTMENT OF             RICHARD E. JACOBS
LLC                REVENUE                            GROUP, INC.
BARE ASSOCIATES    ILLINOIS DEPARTMENT OF             RICHARD EITZEN
INTERNATIONAL      REVENUE - CHECK
BAREMETAL.COM      ILLINOIS SECRETARY OF STATE        RICHARD ERNST
INC.
BARGAIN FOOD       ILLINOIS SHOPPING CENTER           RICHARD G. YOUNGER,
STORE                                                 JR.
BARGAIN HUNTER     ILLINOIS STATE                     RICHARD GODDEN
PUBLISHING LTD.    TREASURER(UNCLAIMED
                   PROPERTY)
BARGETTO WINERY    IMA CALUSA, LLC                    RICHARD INVESTMENT
                                                      CO.
BARK.COM GLOBAL    IMAGE & COLOR - AM DE              RICHARD J. DONZELL, JR.
LIMITED            AMARILLO                           DBA ABIGAIL'S ATTIC
BARNES, STACEY     IMAGES BY RICHARD                  RICHARD J. ROBERTS
BARON INVESTMENT   IMAGITAS, INC.                     RICHARD L STRICKLIN
PROPERTIES, LLC
BARON SERVICES,    IMAN PROMOTIONS &                  RICHARD L WEAVER
INC.               SPECIALISTS
BARON, GREG        IME-INSTITUTO DE LOS               RICHARD MAJKA
                   MEXICANOS
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BARR & LACAVA AS    IMMEUBLES ROA REALITIES INC.-      RICHARD MILLS
TRUSTEE FOR PLUM    2010
TREE CAPITAL, LLC
BARR FRANCHISE      IMMIGRATION & NATRALIZATION        RICHARD MITCHELL
ENTERPRISES, LP     SE
BARR, TRUDI         IMMPRENEUR                         RICHARD R ALDERMAN
BARR, WILLIAM       IMPACT DATASOURCE,LLC              RICHARD RAIMONDO
BARRIE FOOD BANK    IMPACT MAGAZINE                    RICHARD SHAPIRO
                                                       HOLDINGS LIMITED
BARRIE HYDRO        IMPACT MOBILE SIGNS                RICHARD SMYTHE
BARRIE POLICE       IMPACT PLANNING GROUP LLC          RICHARD TRAHAN
SERVICE
BARRIE WOMEN'S      IMPACT SIGN WORKS                  RICHARD TUCKER
HOCKEY
ASSOCIATION
BARRS, CHAD         IMPACT VIRGINIA,LLC                RICHARD W EICHHORN
BARRY CAPLAN        IMPERIAL COFFEE AND SERVICES       RICHARD W. COLTON
                    INC.
BARRY CORMIER       IMPERIAL DATA SUPPLY CORP          RICHARD, MATTHEW
BARRY LOCKOM        IMPRESSIONS IN PRINT               RICHARDS, CORETTA
BARRY PEARSON       IMPRESSIONS IN PRINT INC.          RICHARDS, LAYTON &
                                                       FINGER, P.A.
BARRY RUST          IMPRESSIONS IN PRINT, INC. - GM    RICHARDSON,
                    ACCOUNT                            GERALDINE
BARRY RUST &        IMUS RADIOTHON 2009                RICHELLE HART
SANDERS WAYNE
BARRY RUST &        IN FOCUS INVESTIGATIONS            RICHES, MCKENZIE &
WAYNE SANDERS       AGENCY                             HERBERT LLP
BARRY, FELICIA      INA SERVICES COMPANY               RICHLAND COUNTY
                                                       CIRCUIT COURT
BARRY'S OFFICE      INA SURDU                          RICHLAND COUNTY
FURNITURE INC.                                         REGISTER OF DEEDS
BARTA, JAROSLAV     INARI LILADRIE                     RICHMOND GLOBE
BARTKO, ZANKEL,     INC MAGAZINE                       RICHMOND POST
TARRANT, MILLER
BARTLETT, BARB      INCENTIVE MARKETING, LLC           RICHMOND TIMES
                                                       DISPATCH
BARTLETT, JAMES     INCENTIVE MARKETING, LLC           RICHMOND'S
                                                       EXCAVATING
BARTON              INCHECK, INC.                      RICK HAMILTON
LYNNHAVEN, LLC
BARTS, TIM          INCORP SERVICES, INC.              RICK J. TREMBLAY
BAS BROADCASTING    INCORPORATED VILLAGE OF            RICK ORTON
INC.                FREEPORT
BASE POINT          INCYCLE SOFTWARE INC.              RICK PEARCE
CAPITAL, LLC
BASEPOINT CAPITAL   INDEPENDENT LIGHTING CORP.         RICK PERRY
BASHIST, BARRY      INDEPENDENT NEWSPAPER INC.         RICKIE DEEMS
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BASIN RADIO         INDIANA DEPARTMENT OF                RICKIE WEST
NETWORK             REVENUE
BASNET, ANJANA      INDIANA DEPARTMENT OF                RICKY DAVIS
                    REVENUE
BASS HOME           INDIANA DEPT OF REVENUE-             RICOH USA, INC.
INSPECTIONS, INC.   WITHHOLDING
BASS, DAVID         INDIANA HERALD                       RIDDLE EQUIPMENT
                                                         COMPANY INC
BASS, EMILY, ESQ.   INDIANA NEWSPAPERS INC.              RIDDLE, RIC
BASTE FINANCIAL     INDIANA SECRETARY OF STATE           RIDENOUR, STEVEN
SERVICES INC.
BATTLEFIELD         INDIANA SECURITIES DIVISION          RIDGEWAY'S JANITORIAL
FREEDOM WASH, LLC                                        SERVICE
BATTLEFIELD         INDIANAPOLIS EMPLOYMENT              RIDGEWAY'S- VIRGINIA
MARKETPLACE         GUIDE                                BEACH
ASSOC.
BAUDER, LISSA       INDIANAPOLIS POWER & LIGHT           RIDGWAY'S IMAGING &
                    CO.                                  SCANNING
BAUSCH, DONNA       INDIANAPOLIS WATER COMPANY           RIESBECK CONTRACTING
BAWN MEDIA, LLC     INDIO CHAMBER                        RIESCO FLOORING
BAY DIESEL &        INDUSTRIAL CHEMICAL CARRIERS         RIEXINGER AUTOMOTIVE
GENERATOR           LTD                                  LTD
BAY DISPOSAL, LLC   INFINET COMPANY                      RIEZMAN BERGER, P.C.
BAYBROOK MALL       INFINET COMPANY-COBRA                RIGGINS, VICKEY
LLC                 PAYMENTS
BAYLESS, JEFFREY    INFINISOURCE                         RIGHTNOW
                                                         TECHNOLOGIES, INC
BAYNES & SHIREY     INFINITY PRINTING                    RIGHTWAY FLOORING
INC.
BAY'S ELECTRONICS   INFINITY RADIO HOLDINGS, INC.        RIKER DANZIG
BAYS PROPERTIES     INFINITY RADIO, INC.                 RILLON, SARAH
BAYSHORE            INFINITY RADIO, INC.                 RIMA HANNA
BEVERAGES, INC
BAYSHORE BROAD      INFO FRANCHISE NEWS INC.             RIMM-KAUFMAN GROUP,
CASTING                                                  LLC
BAYSHORE            INFO TE MULTIMEDIA                   RINCON ASSOCIATES,
BROADCASTING                                             LLC
BAYSIDE             INFO USA MARKETING, INC.             RINGWOOD, KATHLEEN
INVESTMENTS
LIMITED
BAYVIEW             INFOEDGE                             RINI REALTY COMPANY
COMMUNITY
SCHOOL
BAYVIEW STEAM &     INFORMATION SERVICES                 RIOS, HILANO
POWER WASH          CORPORATION
BB&T                INFOSOFT GROUP,INC                   RISE BROADBAND
BB&T                INFOSYSTEMS, INC.                    RISE MANAGEMENT
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BB&T EQUIPMENT       INFOTEC, LLC.                       RITA BEAUDIN
FINANCE
CORPORATION
BB&T INSURANCE       INGHAM COUNTY FRIEND OF THE         RITA DUNCAN
SERVICES DBA         COURT
BRIDGE TRUST TITLE
GROUP
BB&T SIGN SERVICES   INGLES SIMPLY CLEAN LLC             RITCHIE HENSON
BB&T-401K            INGRAM AUTO PARTS                   RIVER CITY BANK
BBB                  INK & TONER REFILL FACTORY          RIVER CITY MOVING &
                                                         DELIVERY
BBB OF MID-          INKCORPORATE INC                    RIVER CROSSING OWNER
WESTERN AND                                              LLC
CENTRAL ONTARIO
BBB-AUTO PAY         INLAND AMERICAN RETAIL              RIVER OAKS PROPERTIES,
                     MANAGEMENT LLC                      LTD.
BBM CANADA           INMAGINE CORPORATION LLC            RIVERBAY PLAZA BH LLC
BBS TECHNOLOGIES,    INNERWORKINGS, INC.                 RIVERDALE EQUITIES,
INC.                                                     LTD
BC HYDRO             INNISFIL AIR CONDITIONING LTD.      RIVERFORK
                                                         DEVELOPMENT LLC
BC SPCA-KELOWNA      INNISFIL WINTERHAWKS MAJOR          RIVERO, ROBERT E.
                     BANTAM
BCE EMERGIS INC.     INNISFIL WINTERHAWKS MIDGET         RIVERSIDE COUNTY
                     A HOCKEY TEAM                       CLERK
BCE NEXXIA           INNOPURE                            RIVERTOWNE PROPERTY
CORPORATION                                              CO., L.C.
BCFTF CASE# 24061    INNOVATIVE DATABASE                 RJ FAFARD
                     SOLUTIONS
BCIMC REALTY         INNOVATIVE STRATEGIES               RJP HOME SERVICES, LLC
CORP.                INCORPORATED
BCTZ, LTD            INNOVATIVE SYSTEMS &                RK CHEVROLET
                     SOLUTIONS, INC
BDC AMERICAN         INNPOWER CORPORATION                RM TAXES LLC
CANYON LP
BDO SEIDMAN, LLP     INQUISITOR, INC.                    RME LLC
BDO USA LLP          INSIDE BUSINESS                     RMG MANAGEMENT,
                                                         INC./GELB ENTERPRISES
BEACH                INSIGHT MEDIA ADVERTISING           RNC HOLDINGS, LLC
AMBASSADORS
BEACH BULLY          INSIGHT SECURITY &                  RNJ MANAGEMENT
CATERING             INVESTIGATIONS
BEACH ENGRAVING      INSPIRED CREATIVE                   RNS HANDYMAN, LLC
BEACH EVENTS         INSTANT FURNITURE RENTAL,           ROA REALTIES INC.
                     INC.
BEACH                INSTITUTE FOR PARALEGAL             ROADWAY EXPRESS
IMPROVEMENTS, LLC    EDUCATION
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BEACH VIDEO          INSTITUTE OF INTERNAL             ROANOKE COUNTY
PRODUCTIONS, INC.    AUDITORS                          CLERK OF THE CIRCUIT
                                                       COURT
BEACON               INSTORAGE                         ROANOKE GAS COMPANY
ELECTRICAL
TECHNOLOGIES, INC.
BEAGLE FINANCIAL     INSURANCE OFFICE OF AMERICA,      ROARK SPECIAL
SERVICES, INC        INC.                              PROJECTS
BEARCREEK            INSURANCENEWSNET.COM, INC         ROB JOHNSON
VENTURES
BEARD, SAM           INTACT INSURANCE                  ROBBINS, KAREN
BEASLEY FM           INTECH SERVICES                   ROBBY JOE GOSS JR.
ACQUISITION
BEASLEY, TIM         INTEGRA BUSINESS SYSTEMS, INC     ROBERGE & ROBERGE
BEATA STACHOWICZ     INTEGRA INVESTIGATIONS            ROBERT & VERLIE
                                                       MCGILLIS
BEAUDIN, ROBERT      INTEGRATED LOGISTICS 2000, LLC    ROBERT A SCHNEIDER
BEAUFORT ORELL       INTEGRATED MANAGEMENT             ROBERT A. WEIDNER
MARTIN               GROUP, LLC
BECKER CPA REVIEW    INTEGRITY INVESTIGATIONS LLC      ROBERT AND NATALIE
                                                       WHITE LLP
BECKER               INTELEPEER                        ROBERT ANDERSON
INVESTMENT CO.
BECKER, LANCE        INTELLESALE.COM                   ROBERT ARGENT
BECKLER, TIM &       INTELLIGENT DIRECT, INC.          ROBERT ARNOLD
CARRIE
BECKY ELDER          INTERACTIVE MEDIA (A              ROBERT BEUDIN
                     SUBSIDARY OF THE VIRGINIAN
                     PILOT)
BECKY GIESBRECHT     INTERACTYX AMERICAS, INC          ROBERT BLYTHE
BECKY HENNEKER       INTERACTYX AMERICAS, INC.         ROBERT BOOTH
BEDARD, MARK D.      INTERLAKE PUBLISHING              ROBERT BOULET
BEDERSON LLP         INTERLINK INVESTMENTS             ROBERT BRADLEY
BEDINGFIELD, BRIAN   INTERNAL REVENUE SERVICE          ROBERT BRANT
BEE KEEPERS GUILD    INTERNAL REVENUE SERVICE          ROBERT C. MATHWIG
BEE SEEN             INTERNAL REVENUE SERVICE -        ROBERT CHALLAND
                     POBOX 7604
BEEHLER BROTHERS     INTERNAL REVENUE SERVICE-         ROBERT COLLINGWOOD
LTD.                 EFTPS
BEELER               INTERNAL REVENUE SERVICE-NY       ROBERT COULTON
IMPRESSIONS
PRODUCTS
BEGGS, JUDITH        INTERNATIONAL CARIBBEAN           ROBERT CROMIER
                     FESTIVAL
BELCARO GROUP,       INTERNATIONAL COUNCIL OF          ROBERT D CRAMER
INC.                 SHOPPING CENTERS
BELINDA CLARK        INTERNATIONAL                     ROBERT D MORGAN III
                     ENVIRONMENTAL MANAGEMENT
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BELL ATLANTIC        INTERNATIONAL FRANCHISE           ROBERT D. BUTLER
                     ASSOCIATION
BELL ATLANTIC        INTERNATIONAL FRANCHISE           ROBERT DAVIS
                     PROFESSIONALS GROUP INC.
BELL ATLANTIC        INTERNATIONAL REAL ESTATE         ROBERT DAWSON
                     DEVELOPMENT, LLC
BELL ATLANTIC        INTERNET ESCROW SERVICE, INC      ROBERT DEMPSTER
BELL CANADA (P.O.    INTERNET MARKETING GROUP          ROBERT E. BAUMANN
BOX 8712)
BELL CANADA          INTERNET.COM CORPORATION          ROBERT EDWARDS
(P.O.BOX 1550)
BELL CANADA          INTER-STATE INVESTIGATIVE         ROBERT FISHER
(P.O.BOX 3650)       SERVICES
BELL CANADA          INTRADO DIGITAL MEDIA, LLC        ROBERT FRANCOEUR
(P.O.BOX 9000)
BELL CANADA (PO      INTRADO ENTERPRISE                ROBERT G. SMITH
BOX 3650)            COLLABORATION, INC.
BELL CANADA CP       INTRIG MANAGEMENT CO              ROBERT GAVER
11490)
BELL FUND II, LLC    INTUIT CANADA                     ROBERT HALF FINANCE &
                                                       ACCOUNTING
BELL FUND II, LLC    INTUIT CANADA PARTNERSHIP         ROBERT HALF
                                                       INTERNATIONAL, INC
BELL MDIA            INTUIT CANADA ULC                 ROBERT HALF
BATHURST                                               INTERNATIONAL, INC.-
                                                       TECHNOLOGY
BELL MEDIA INC       INTUIT INC                        ROBERT HICKS
BELL MEDIA RADIO     INVERNESS ASSOCIATES, LTD.        ROBERT HOWARD
ATLANTIC INC
BELL MEDIA RADIO     INVESHARE, INC                    ROBERT J OLSON
GP
BELL MEDIA RADIO     INVESTIGATIVE SERVICES INC.       ROBERT J. LOUGEN, JR.
GP-102.9K-LITEFM
BELL MEDIA -VIRGIN   INVESTIGATORS GROUP INC., THE     ROBERT JAKOVICH
RADIO
BELL MEDIA-CTV2      INVESTOR'S BUSINESS DAILY         ROBERT KAY
BELL MOBILITY-5102   INVESTORS GROUP TRUST CO LTD      ROBERT KEIR
BELL MOUNTAIN        INVOCA, INC.                      ROBERT KOEHLER
ENTERPRISES
BELL MTS INC.        IOLANDA DORSOGNA                  ROBERT L CUMMINS
                                                       REVOCABLE TRUST
BELL PRINTING        IOWA AMERICAN WATER               ROBERT LAFRANCE
COMPANY
BELL, CHRIS          IOWA CITY PRESS-CITIZEN           ROBERT LAU
BELL-3250            IOWA DEPARTMENT OF REVENUE        ROBERT LOCK
BELLEVILLE SPORTS    IOWA WORKFORCE                    ROBERT LOGAN
AND                  DEVELOPMENT
ENTERTAINMENT
CORP
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BELLEVUE RADIO,       IPMG INC                             ROBERT MADAHBEE
INC KLSY- FM
BELLIVISO, INC.       IPS INVESTIGATIONS                   ROBERT MARTEL
BELLSOUTH -1262       IRA-KEOGH SERVICES CO                ROBERT MCLAUGHLIN
BELLSOUTH             IREK OPALA                           ROBERT MUIR
ADVERTISING &
PUBLIS
BELLSOUTH             IRENE GRAFE                          ROBERT N. KOLTERMAN
INTELLIVENTURES
BELLSOUTH-105262      IRENEUSZ OPALA                       ROBERT NIXON
ATLANTA
BELLSOUTH-33009-      IRINA SCOTT                          ROBERT OLIVER
CHARLOTTE, NC
BELLSOUTH-70529       IRINA TYRINA                         ROBERT P. ARNDT
BELLSOUTH-70529       IRIS DATA SERVICES, INC.             ROBERT PARKER
CHARLOTTE
BELLSOUTH-70807       IRISTEL                              ROBERT R. HUETHER
BELLSOUTH-70807       IRITA LAUERMAN                       ROBERT RHOADES
BELLSOUTH-740144      IRON MOUNTAIN CANADA                 ROBERT ROBELLO
                      OPERATIONS ULC
BELLSOUTH-ANNEX       IRON MOUNTAIN INTELLECTUAL           ROBERT ROSENBURG
                      PROPERTY MGT
BELMONT AND           IRON MOUNTAIN, INC                   ROBERT RYCZAK
CRYSTAL SPRINGS
BELZ INVESTCO         IRONWORKS CONSULTING, LLC            ROBERT SANCHEZ
CORP
BEN EATON             IRS                                  ROBERT SAWYER
BEN LINDSAY           IRS FOIA REQUEST                     ROBERT SCHATZMAN
BENANCIO              IRS NATIONAL TAX FORUMS              ROBERT SCOTT
LINANARES             CONFERENCE OFFICE
BENCH MARK            IRS NATIONWIDE TAX FORUMS            ROBERT SOPHA
ADVERTISING
BENCHMARK TRUST       IRS.COM                              ROBERT STERN
CORP.
BENCLIFF              IRYNA BUSTILLO                       ROBERT T JOHNSON
PROPERTIES, LP
BENCO ELECTRIC        ISABEL RODRIGUEZ                     ROBERT T SEYMOUR
LTD.
BEND BULLETIN         ISABELLE BOUCHER                     ROBERT TODD MCINNIS
(THE)
BENDER REALTY LLC     ISABELLE GERVAIS                     ROBERT W LINKONIS
BENEDICT, ALESIA G.   ISELA CAMACHO-MARTINEZ               ROBERTO AYALA
BENEFICIAL BANK       ISLA MCINTOSH                        ROBERTS AND ROBERTS
                                                           SYNERGY CONSULTANT
BENEFIT               ISLAND COUNTY TREASURER              ROBERTS RESTRETCH
ADVANTAGE
BENESCH,              ISLAND PROPERTY LLC, A               ROBERTS SHARYL
FRIEDLANDER,          CALIFORNIA LIMITED LIABILITY
                      COMPANY
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COPLAN & ARONOFF,
LLP
BENIS ASLANI         ISLAND RADIO-THE WAVE 102.3FM     ROBERTS, TAMMY
ALIABADI
BENJAMIN D YOUSIF    ISMA LLC                          ROBERTSON & FUTERAL
BENJAMIN GEORGE      ISMAEL ALVAREZ                    ROBERTSON DENNIS
BENJAMIN J           ISMAL SUTANKAYO                   ROBIN BOOMHOWER
HAMRICK
BENJAMIN MEDINA      ISOBEL MCEWAN                     ROBIN COMMANDA
BENJAMIN P           ISOMER GROUP, INC                 ROBIN GOUDREAU
LANCASTER
BENJAMIN VINCENT     ISPOTOWER                         ROBIN GOUDREAU T450
BENNEGARD TAXES,     ISRAEL FAMILY REALTY CO.,LLC      ROBIN KEETCH
LLC
BENNETT E. & ANNA    ISREYALE HARMON                   ROBIN MANESS
C. BAKER
BENNETT JONES LLP    ISTOCKPHOTO LP                    ROBINSON ACCOUNTING
                                                       AND TAX
BENSON BUFFETT,      ISTVAN MAJZAK                     ROBINSON CURLEY &
PLC                                                    CLAYTON, P. C.
BENSON HEATING &     ISYNERGY WEBDESIGN                ROBINSON JR., WILLIAM
AIR CONDITIONING                                       B.
BENSON MYLES, PLC    IT MANAGEMENT SOLUTIONS           ROBINSON, KAREN
BENSON, SHARON       ITEXT SOFTWARE CORP.              ROBINSON, WILLIAM B.
BENTALL KENNEDAY     ITS INC                           ROBMOR INVESTMENTS
(CANADA) LP                                            DBA NORTH POINTE
                                                       SHOPPING CENTER`
BENTALLGREENOAK      ITSM ACADEMY, INC.                ROBSON, GEORGE T.
(CANADA) LP
BENTIN, JOSE         IUKA MINI-STORAGE                 ROBY GOODWIN
BERA LEASING CO.     IV4, INC                          ROBYN PROMOTIONS &
                                                       PRINTING
BERG, ROBERT         IVAN MOLINA                       ROCCO AMICO
BERGAN, ALICE R. &   IVANESSE LOPEZ RAMOS              ROCCO PALAZZOLO
PAUL A.
BERGGREN             IVANHOE BROWN                     ROCCO PALAZZOLO
PROPERTIES LLC
BERKELEY PAYMENT     IVANHOE CAMBRIDGE II INC.         ROCHELLE CHEONG
SOLUTIONS
BERKSHIRE            IVANHOE CAMBRIDGE II INC.         ROCHESTER WABASH
HATHAWAY                                               LLC
HOMESTATE
COMPANIES
BERLIND, LEONARD     IVANHOE CAMBRIDGE II INC.         ROCK COUNTY
                                                       TREASURER
BERMUDEZ SOCIETY     IVANHOE CAMBRIDGE INC.            ROCK GROVE
INC                                                    ASSOCIATES LP
BERNADETTE LEE       IVERSON, JAY                      ROCK HILL PARTNERS
                                                       LLC
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BERNADETTE          IWONA FEDOROWSKI                   ROCK SOLID LP
MARCOS
BERNARD             IZHAK SUYONOV                      ROCK, SARAH
COUCHMAN
BERNARD DE VIENNE   J E LEANOS & COMPANY               ROCK/NEWTON CITIZEN
INC.
BERNARD             J F WHITLOW, JR. & SONS, INC       ROCKET MEDIA INC.
EMBERLEY
BERNARD SARFO       J HUGHES PAINTING LLC              ROCKET SIGNS
BERNICA, EDWARD     J R CONTRACTORS, INC               ROCKHURST UNIV.
                                                       CONTINUING EDUCATION
                                                       CENTER
BERNICE ST          J THOMAS MCCALLUM                  ROCKY VIEW
MICHEAL FERNIE                                         PUBLISHING, LTD.
BERTHA ALICIA       J& M TAX SERVICE, LLC              ROD GARRICK
FLORES SANCHEZ
BERTRAM             J&L YANKEE INC.                    ROD SCOTT
PROPERTIES
BERTUCCI,           J&M COMMERCIAL CLEANING            RODATUS, JAMES
CHRISTOPHER         SERVICES, INC.
BERY HERNANDEZ      J. A. OSTER & COMPANY, INC.        RODERICK WELBURN
BERYAN P BELARDO    J. AUSTIN HEATING & COOLING        RODERICK, BENJAMIN
MARTINEZ            INC.
BERYL CHRISTMAS     J. CHRISTIAN DE LA VERGNE          RODES PHOTOGRAPHY
BEST BUY            J. ELLIOT DORE                     RODGERS, ROSALIND
BEST COMPANY, LLC   J. ERIC KING                       RODNEY KEITH RICHEY
BEST FRANCHISE      J. HAROLD, JR. & SONS MOVERS       RODNEY LIZOTTE
OPPORTUNITIES
BEST STRATEGIES     J. SIMKO PLAZA                     RODNEY ROBERTSON
BEST WAY FLYERS     J.A.M. ASSOCIATES LLC              RODOLFO LIZARDO
BEST WESTERN        J.A.M. ASSOCIATES LLC              RODRIGUEZ, ZSANDOR
(CALGARY)                                              ALEX
BEST WESTERN        J.F.T TYPEWRITERS & OFFICE         ROETZEL & ANDRESS
(RICHMOND)          EQUIPMENT
BEST WESTERN        J.H.J. INC                         ROGER L. VON
BARONS HOTEL                                           AMELUNXEN
(OTTAWA)                                               FOUNDATION, INC.
BEST WESTERN        J.M. RICHARDS INVESTIGATIONS       ROGER N. DUPONT
BRAMPTON
BESTCOMPANY.COM,    J.P. STROM, JR.,P.A. DBA STROM     ROGER VERNON
LLC                 LAWN FIRM, LLC
BETCO REALTY        J.P. YANCEY REALTY CO, INC.        ROGERS CABLE
CORPORATION                                            COMMUNICATIONS INC.-
                                                       4100
BETH ELDER          J.R. FAIRFIELD                     ROGERS MEDIA
BETHEBOSS CANADA    J.S. JACOBS, INC.                  ROGERS MEDIA INC.
BETHEBOSS EXPO      JAB PROMOTIONS INC                 ROGERS MEDIA, INC.
BETHEBOSS.CA        JACEY ANN BEDORE                   ROGERS TELECOM -
                                                       BUSINESS
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BETHEBOSS.CA          JACK & MILDRED FELLERS             ROGERS, EDWARD
BETHEL-RUBEN          JACK CHUNG                         ROGERS-9100
LIMITED
PARTNERSHIP
BETTER BUSINESS       JACK DEMPSEY                       ROLAND BELANGER
BUREAU
BETTER BUSINESS       JACK HARTMAN                       ROLAND'S NEON SIGNS
BUREAU OF
GREATER HAMPTON
ROADS
BETTER                JACK IBBOTSON                      ROLEG INC.
LOCKSMITHS
BETTY CALVERLEY       JACK IVEY SIGNS INC.               ROLLINS INC
BETTY H KISSOCK       JACK NGUYEN                        ROMAIOS TSIANIS
BETTY PANCHYSHYN      JACK RABBIT STORAGE                ROMAN CICCIARELLI
BETTY SMITH           JACK STUMPF & ASSOCIATES INC       ROMAN MASYK
BEVERLEY              JACKIE EASLEY                      ROMERO, CARLOS
ALEXANDER
BEVERLY ANDERSON      JACKIE IRELAND                     ROMERO, ENRIQUE
                                                         MORENO
BEVERLY HILLS         JACKIE PARKER                      ROMISCO SIGN SYSTEMS
SUITES LLC
BEVERLY MIX           JACKIE READ                        ROMSTAR TRANSPORT
BEVERLY WALKER        JACK'S CASH LTD.                   RON HOLLA
BFI                   JACKSON BROADCASTING               RON HORST
                      COMPANY
BGE                   JACKSON COUNTY PUBLIC WATER        RON LANCASTER
                      SUPPLY DISTRICT #1
BGE ELECTRIC          JACKSON EMC                        RON MCLEAN
BGM RED ROCK, INC.    JACKSON ENTERPRISES, LTD.          RON ROMANKO
BHAKTA, JIGAR         JACKSON HOLDINGS GROUP, LLC        RON SCHROEDER
BHATIA, GUL           JACKSON KELLY PLLC                 RON WESTON
BHAUDEEP              JACKSON LEWIS LLP                  RON WRIGHT
CHOTALIYA
BHAVDEEP              JACKSON LEWIS P.C                  RON WRIGHT, TAX
CHOTALIYA                                                ASSESSOR-COLLECTOR
BHOSTED.NET           JACKSON MCCLELLAND                 RONALD A NATION
BIA FINANCIAL         JACKSON, CHRISTINA                 RONALD BURK
NETWORK, INC.
BIANCA OPALA          JACKY ALVAREZ                      RONALD CAMPBELL
BICKLE PROPERTY       JACLYN CHRISTIE                    RONALD COPE
MAINTENANCE &
LANDSCAPING
BIEHL & BIEHL, INC.   JACLYN MCGILVRAY                   RONALD ENDRES
BIG CITY              JACLYN OVERMEYER                   RONALD G PARSONS
PRODUCTIONS
BIG COUNTRY 93.1      JACOB BRETT                        RONALD
FM                                                       HUEBSCHWERIEN
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BIG KAHUNA SPORTS     JACOB CORION                      RONALD LACHAPELLE
COMPANY
BIGGS & FLEET, LTD.   JACOB DEWEY                       RONALD LEVESQUE
BILL AND SHIRLEY      JACOB GIESBRECHT                  RONALD LEVINE,
MAIER                                                   ATTORNEY AT LAW
BILL BOLTON           JACOB PAYNE                       RONALD LUBIN II
BILL BURSE            JACOB STEWART                     RONALD MCDONALD
                                                        HOUSE CHARITIES'
                                                        ALBERTA
BILL CHANG            JACQUELINE BRANDES                RONALD MCLESTER
BILL FROVICH          JACQUELINE CARLISTO               RONALD MILLIGAN
ELECTRIC
BILL RHINES           JACQUELINE CHAMBO                 RONALD PUTMAN
BILL SIMONS           JACQUELINE DORION                 RONALD SCHWEITZER
PLUMBING &
HEATING
BILLIE SARKES         JACQUELINE M. PARKER              RONALD THIEBEN
BILL'S HOME           JACQUELINE MENDZABAL              RONDA VAN HEMMEN
IMPROVEMENTS
BILLY MURPHY          JACQUES PICARD                    RONEY COMPANY
                                                        HOLDINGS, LLC DBA
                                                        SOLVERE ONE,
                                                        LLCSOON01
BILOXI SUN HERALD     JADE KINGDOM                      RONNING LAND
                                                        CORPORATION
BILU ASSOCIATION      JADE PEARCE                       ROOD, DONNY
LLC
BINNS, DENESE         JADE WEST CEDARVIEW LLC           ROOK, SUZI
BINSWANGER GLASS      JAFFE WEBSTER PROPERTIES INC      ROOSEVELT SK
# 026                                                   PROPERTY CORP
BINU KIDANGEN         JAG GENERAL CONTRACTOR, INC.      ROOTER-MAN PLUMBING
                                                        AND DRAIN SERVICE
BIRCH TELECOM         JAHCO OKLAHOMA PROPERTIES I,      ROSALEE A. MOWATT
                      LLC
BIRCHSTONE            JAIGOBIN, LEONARD                 ROSALLIN DAIGS
DEVELOPMENTS INC.
BIRD, RICHARD         JAIME-LYNN WALKER                 ROSARIO ACQUAVIVA
BIRDSIDE CENTRE       JAIRUS PRYOR                      ROSE ALI
CORP
BIRMINGHAM NEWS       JAKE MARSHALL SERVICE, INC.       ROSE ANNE ANTOINE
& PST HERALD
BIRSCH                JAKE NICHOLSON                    ROSE CARTIER
BISCHOFF              JAMAICA REALTY NYC, LLC           ROSE CITY RADIO - KXJM
MARTINGAYLE PC
BISCHOFF              JAMAICA REALTY NYC, LLC           ROSE ISLAND
MARTINGAYLE PC                                          LIGHTHOUSE
                                                        FOUNDATION
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BISHOP SULLIVAN     JAMAICA TWINS REALTY INC.         ROSE MARIE CHARLIE
CATHOLIC HIGH
SCHOOL
BISON ADVERTISING   JAMAICA TWINS REALTY INC.         ROSE SCIPIONE
INC
BITKOO, LLC         JAMAL ESFAHANI                    ROSE, SCOTT
BITLY, INC.         JAMAN SALES COMPANY               ROSE-ANN KENNEDY
BIZ X MAGAZINE      JAMES & LINDA WRIGHT FAMILY       ROSEMARY CONDO
                    LP
BIZPORT, LTD.       JAMES A DICKOVER                  ROSEMARY RUGGIER
BIZQUEST.COM        JAMES AND TAYLA ASHMORE           ROSEMONT
                                                      ELEMENTARY SCHOOL
BIZSALE.COM         JAMES BOARMAN                     ROSENTHAL INSURANCE
                                                      CONSULTING
BJC REAL ESTATE     JAMES CALDWELL                    ROSETTE MCCANN
PARTNERSHIP
BJ'S WHOLESALE      JAMES CHISHOLM                    ROSEWORKS, LLC
CLUB
BK CORE & MORE      JAMES CITY COUNTY TREASURER       ROSLYN GREGORY
BKJ PROPERTY        JAMES CLARK                       ROSLYN SAUL
MANAGEMENT, LLC.
BLACK ANGUS         JAMES CLARK                       ROSS DECKER
CATERNG
BLACK BEAR DOOR     JAMES COLLINS                     ROSS HOWARD-JONES
TO DOOR
ADVERTISING
BLACK BOX RESALE    JAMES CULTON                      ROSS WALKER
SERVICES
BLACK ENTERPRISE    JAMES DAME                        ROSS, JANELL
BLACK HILLS         JAMES E DOSCHADIS                 ROSS, RICHARD &
ENERGY                                                REBECCA
BLACK HILLS         JAMES F. WHITMER PRIVATE          ROTARY INTERNATIONAL
PIONEER /WEEKLY     INVESTIGATIONS                    - NORTHMONT ROTARY
PROSPECTOR
BLACK PRESS GROUP   JAMES GIBSON                      ROTARY INTERNATIONA-
LTD.                                                  ROTARY CLUB OF THE
                                                      HIGH DESERT-HESPERIA
BLACK PROPERTY      JAMES GLENN SMITH                 ROUGHTON, SCOTT
MANGEMENT LLC-
DO NOT USE
BLACK, SR., JOEL    JAMES GORDON                      ROUND ROCK
                                                      INDEPENDENT SCHOOL
                                                      DISTRICT
BLACKBURN RADIO     JAMES HAGERTY                     ROUND ROCK LEADER
INC.                                                  (THE)
BLACKBURN RADIO,    JAMES HEATING AND COOLING         ROUNDREE LLC
INC.                CORP
BLACKSBERG,         JAMES IOANNOU                     ROUNDTREE, LLC
MICHELLE
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BLACKSTONE SELF     JAMES K ERICKSON                   ROUSE PROPERTIES INC
STORAGE
BLACKSTONE          JAMES L DICKERSON                  ROUSE PROPERTIES INC
VALLEY BOYS &
GIRLS CLUB
BLACKWELL,          JAMES LAFRANCE                     ROUSE PROPERTIES INC
JACQUELINE
BLACKWELL,          JAMES LANNING                      ROUSE PROPERTIES INC
SANDERS, PEPER,
MARTIN
BLAIR COMMERICAL    JAMES LAWSON                       ROUSE PROPERTIES, INC.
MANAGEMENT
BLAIR MACRAE        JAMES LEPARD                       ROUSE-SIRINE
                                                       ASSOCIATES, LTD
BLAIR MILLAR        JAMES M. SWEENEY &                 ROVER MARINE
                    ASSOCIATES, INC.
BLAIS               JAMES MADISON UNIVERSITY           ROVERS PROCESS
INVESTIGATING                                          SERVICE
AGENCY
BLAKE BATES         JAMES MARION                       ROWAN COUNTY
                                                       REGISTER OF DEEDS
BLAKE JARRETT &     JAMES MARR                         ROWE, JOHN
COMPANY
BLAKE WEAVER        JAMES MCINTYRE                     ROXANNE CAMERON
BLAKE, CASSELS &    JAMES MORRIS                       ROXANNE DECKER
GRAYDON LLP
BLANCA MOLINA       JAMES MORROW                       ROXANNE HADDRELL
BLANDING OAKS       JAMES P LOMBARD                    ROXANNE HADDRELL
INC.
BLAZING SADDLE      JAMES PATTEN                       ROXANNE LEFEVER
WESTERN DISPLAY
LTD.
BLEDSOE, YVONNE     JAMES PEACH                        ROXANNE WOODS
BLEU WATER OF       JAMES PERRY                        ROY BAILEY
VIRGINIA BEACH
BLEVINS ELECTRIC,   JAMES POULIN                       ROY COUCH
INC.
BLISSCO             JAMES R HUESING                    ROY SANDERS SALES
BLM ROSAMOND A      JAMES REINTALER                    ROYAL BANK OF
CALIFORNIA                                             CANADA
LIMITED
PARTNERSHIP
BLOHM, TROY J.      JAMES RIVER SIGNS, INC.            ROYAL HOST HOTELS
                                                       AND RESORTS
BLONG, MANTANA      JAMES ROE                          ROYAL IMPORTS GROUP,
                                                       INC.
BLT-TULSA I LLC     JAMES ROGERS                       ROYAL LEPAGE BINDER
                                                       REAL ESTATE 640
BLUE ALERT          JAMES RYAN SHELKEY                 ROYAL MANITOBA
INVESTIGATIONS                                         THEATRE CENTRE
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BLUE CHIP           JAMES SAM                            ROYAL MOTAL, INC.
BROADCASTING
BLUE CHIP LEASING   JAMES SAUNDERS                       ROYAL PLUMBING &
CORPORATION                                              HEATING, INC.
BLUE CRAB REAL      JAMES SHORT                          ROYAL SONESTA HOTEL
ESTATE LLC
BLUE CROSS AND      JAMES TAX SERVICE, INC               ROYAL'S OK LUNCH INC.
BLUE SHIELD
BLUE EAGLE          JAMES WILSON                         ROYER COOPER COHEN
INVESTIGATIONS,                                          BRAUNFELD LLC
INC.
BLUE LINE           JAMES WILSON                         ROYNAT INC
SECURITY, INC
BLUE MARBLE &       JAMES, DAVID & CYNTHIA               RPF CONSULTING, LLC
SUN, LLC
BLUE MOON           JAMES, MATT                          RPI SKILLMAN ABRAMS
INVESTIGATIONS                                           S.C.. LTD
BLUE MOUNTAIN       JAMESTOWN MUSEUM GIFT SHOP           RPM MANAGEMENT
LOCK, KEY & SAFE                                         COMPANY, INC
LTD.
BLUE PICKUPS        JAMESTOWN SETTLEMENT CAFE            RPM PRODUCTIONS, INC.
MUSIC
PRODUCTIONS LLC
BLUE SKY            JAMESTOWN-YORKTOWN                   RPP PM LLC DBA REMAX
INSURANCE           FOUNDATION                           PRESTIGE PROPERTIES
BROKERS
BLUE TITAN HOMES    JAMI RING                            RRI MANAGEMENT, LLC
BLUEBEAM            JAMIE AND ROXANNE JEFFREY            RRSP
SOFTWARE, INC.
BLUEFIELD DAILY     JAMIE BOND                           RRTC TECHNOLOGY
TELEGRAPH
BLUEHORNET          JAMIE DREW                           RS RIZZARDI
NETWORKS, INC.                                           INVESTIGATION
                                                         SERVICES
BLUEHUB             JAMIE GODDEN                         RS SIGNS
SOLUTIONS LTD.
BLUEMONT            JAMIE HAWES                          RS WATER HOLDINGS,
PARTNERS, LLC                                            LLC
BLUESHIELD          JAMIE SHEAR                          RSM US, LLP
SECURITY &
INVESTIGATIONS,
LLC
BLUESNAP, INC.      JAMIE SHEAR                          RSRP AKRON LLC
BLUESTONE &         JAMISON, RONALD                      RT FIFTEENTH PENSION
HOCKLEY REALTY,                                          PROPERTIES
INC
BLUETIE, INC.       JAM'N 94.5 - WJMN                    RT GOLDEN HILLS, LP
BLUPRINT            JAMS, INC.                           RT GOLDIN HILLS, LP
ADVANCED LTD
BMO MASTERCARD      JAMSHID JAWED                        RTB TOURS
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BMP RADIO             JAMWOOD DEVELOPMENTS, INC.         RUBEN DREWERY
BOARD OF              JAN BROWN & ASSOCIATES             RUBEN RAMIREZ DBA
EQUALIZATION                                             CABLES AND MORE
BOARDVIEW             JAN J MAURICE                      RUBENSTEIN, WILLIAM
ADVERTISING, INC.
BOB CASTLE-ALL        JAN J MAURICE                      RUCAREAL LTD.
TRADES
BOB EVANS FARMS,      JANA ANDRADE                       RUCIO NIEVES
INC.
BOB MARSHALL          JANA GOOD                          RUDDENS BOSSE
BOBBITT SIGNS, INC.   JANA KIM MEDLIN                    RUDEE OPERATIONS LLC
BODO, P.I.            JANAF SHOPPING CENTER LLC          RUDOLPH, DAVID
BODYFELT MOUNT        JANE LI                            RUDOLPHI, ELAINE
LLP
BOEFLY, LLC           JANE LYONS AND SYLVIA PEEL         RUG WORKS
BOERGER PRIVATE       JANEESE HOLBIN                     RUGGIERO, SAMANTHA
INVESTIGATIONS
BOISE CASCADE         JANELLE QUIGLEY                    RUGG'S OFFICE
OFFICE PRODUCTS                                          FURNITURE WHOLESALE,
                                                         INC
BOLANZ & MILLER       JANELLE SNYDER                     RUMPKE OF OHIO INC
REALTORS, INC.
BOLD GOLD MEDIA       JANET A WINN                       RUSH LEGAL TABS, INC.
BOLD SIGN RENTALS     JANET EBEL                         RUSHMORE RADIO
LTD.
BOLD SOFTWARE,        JANET GATES                        RUSSELL BYRUM SIGNS,
LLC                                                      INC.
BOLTER & CARR         JANET GINGRAS                      RUSSELL DE VERT
INVESTIGATIONS,
INC.
BOMBET &              JANET MACDONALD                    RUSSELL GENNO
ASSOCIATES
BOMBET, CASHIO &      JANET PROVINCIAL-KILLEEN           RUSSELL L. RINER
ASSOCIATES
BOMBET, CASHIO &      JANET SWIRES                       RUSSELL MACEJAK
VARA
BON-ACCORD            JANET WALL                         RUSSELL RUDOLPH
HOLDINGS LTD.
BOND PARADE           JANG, YEOJIN                       RUSSELL, JERRY
FLOATS
BONFIRELA             JANICE D. RUSSELL, TRUSTEE OF      RUTH COLLETTE
PRODUCTIONS           FARM HILL TRUST
BONNEVILLE            JANICE S. BAKER & ASSOCIATES,      RUTH CROSS
INTERMOUNTAIN         INC.
RADIO GROUP
BONNEVILLE            JANIE CADIEUX                      RUTH GUERRA
INTERNATIONAL,
INC.-KFTZ
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BONNIE AND ROY       JANIE KENNEDY                     RUTH LEISCHNER
ROBERTS
BONNIE BASSO         JANI-KING                         RUTH TOWTON
BONNIE BOYD &        JANINE LAUZON                     RUTHERFORD COUNTY
COMPANY
BONNIE BURKE         JANN CALLAGHAN CULLEN             RVS REALTY LLC
BONNIE J. BUCKLEY,   JAPANESE AUTO MASTERS             RYALS, TERESA
RPR, CRR
BONNIE JANSEN        JAQUELINE NICHOLLS                RYAN BEAR
BONSAI MEDIA         JARDCO, INC                       RYAN DODSON
BONSOO WINTER        JARED & AMANDA HAFEMANN           RYAN GREENWOOD
CARNIVAL
BOONE COUNTY         JARED LOEWEN                      RYAN M. DAUM
FISCAL COURT
BOONE, SAM           JARED M WAGONER                   RYAN MCQUARRIE
BOOTH, STEPHANIE     JARED PENTON                      RYAN NICOL
BOOZER, SHANE        JARLAND LLC                       RYAN PERSAUD
BORDEN, SHARON       JARRETT F GOLD                    RYAN RACCIO
BOREALIS CRUISES     JASEN CATCHPOLE                   RYAN THOMPSON
BOROUGH OF           JASON ALLARD                      RYAN ZAWADZKI
BELLEVUE
BOROUGH OF           JASON BARNES                      RYC PROPERTIES LLC
NAUGATUCK (PPT)
BOROUGH OF           JASON BROWN                       RYON GORDON
OXFORD
BOROWIDE PROCESS     JASON D.MATTES                    RYZE BEYOND LTD
SERVICE
BORTHAYRE, ALAIN     JASON HAINES                      RZ & SAJ ENTERPRISE
BORTHAYRE, BLAIRE    JASON HILL                        S & T BANK
BOSHK AGUONIA        JASON J. TAN                      S CARLISLE CO.
SMITH
BOTANICUS, INC.      JASON KOENIG                      S J MEYER &
                                                       ASSOCIATES, INC
BOUNCE HOUSE         JASON MORGAN                      S M INVESTIGATIONS &
LONDON                                                 SECURITY, LLC.
BOURBON VIEUX        JASON NEMETH                      S SQUARED BUSINESS
                                                       SOLUTIONS, INC
BOURQUIN PRINTERS    JASON OGLE                        S&F INVESTMENTS INC.
& SIGNS LTD
BOWDITCH FORD        JASON REEVES                      S&H RISNER, INC
BOWENARO             JASON SQUIRES                     S&P RENTAL
HANDYMAN
SERVICES, LLC
BOWERS, ERIKA        JASON STALLKNECHT                 S. BUCKNER
                                                       INVESTMENTS, INC.
BOWLES,RICE,MCDA     JASON STALLKNECHT                 S. L. K. INVESTIGATIONS
VID,GRAFF & LOVE,
LLP
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BOWMAN CURVE I &     JASON TRAFFORD                    S.D. VICTORIEN
II, LLC                                                RONDEAU
BOX AMERICA INC.     JASON W. JU                       S.E.C.R. TELECOM, INC.
BOXX                 JASON YOUNG                       S.L. NUSBAUM REALTY
TECHNOLOGIES, INC.                                     COMPANY
BOYD, CHERON         JAVARIA IQTEDAR                   S.O.S TONERS INC.
BOYD, TRACY          JAVIER MORGAN                     S.W. CONCEPTS.LLC
BOYER, CATHERINE     JAY CHARLES HAMMOND-              SAAD SHEBEYER
LEE                  HAMMOND BUSINESS FORMS
BOYKIN               JAY MBAINJEWEL                    SABASTIAN
ENTERPRISES                                            CAMPANELLA
BP COMMERCIAL        JAYNE BRADLEY                     SABER PROPERTY
FUNDING TRUST-                                         MANAGEMENT
SERIES SPL-X
BPU                  JBSP TAX SERVICES OF OHIO INC.    SABERLINK IMAGING
BRACKEN, JAMES P.    JC+1                              SABRE REALTY
                                                       MANAGEMENT
BRAD DUBNER          JCP SERVICES                      SABRINA CARTER
BRAD FEELEY          JC'S STORAGE COMPANY              SABRINA GREER
BRAD FITZSIMMONS     JCY MANAGEMENT                    SABRINA SIMMONS
BRAD MAURER          JDRF INTERNATIONAL                SABRINA WHITFIELD
BRAD VAN NESTE       JD'S RIDC                         SACCO SCHOOLS LIMITED
BRAD WEATHERUP       JEA                               SACRAMENTO
                                                       MUNICIPAL UTILITY
                                                       DISTRICT
BRAD WHITE           JEAN CARON                        SADDLEBACK VALLEY
                                                       UNIFIED SCHOOL
                                                       DISTRICT
BRADLEY              JEAN GUY BRAZEAU                  SADICK KESHAVJEE
COMMUNICATIONS
CORP
BRADLEY MORRIS,      JEAN JACKSON                      SAEPIO TECHNOLOGIES
LLC DBA
CIVILIANJOBS.COM
BRADLEY NEWS         JEAN M. BIRCH                     SAFARI MAIL HOUS
WEEKLY, THE
BRADLEY SCRIVER      JEAN MARIE JOHNSON                SAFE AND GREEN INC
BRADLEY SINCLAIR     JEAN MINDLE                       SAFEMASTERS CO., INC
BRAEDEN THOMS        JEAN PAUL DECHAMPS                SAFE-TECH ALARM
                                                       SYSTEMS
BRAFTON INC.         JEAN PIERRE ITURRALDLE            SAGAR AUTKAR
BRAGG SHOPS PLAZA    JEAN POWER                        SAGE SOFTWARE INC.
LLC
BRAIN BARRINGER      JEANETTE BRITZ                    SAGE THREE, LLC
BRAINSTORM           JEANETTE SMYTH                    SAGEO-WILLIAMS
CONSULTING, INC.                                       COMMUNICATION
BRAMPTON &           JEAN-MARIE ATITSO                 SAGEWORKS, INC.
MISSISSAUGA LOCK
SERVICES
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BRAMPTON           JEANNETTE BOONE                    SAIA MOTOR FREIGHT
BATTALION                                             INC.
BRANCHE            JEETY DHALIWAL                     SAIYED INVESTMENT
INDUSTRIES INC                                        PROPERTIES, LLC
BRAND MY STUFF     JEFF BAGGS                         SAJE COMM. INC.
BRANDAU, MARK      JEFF BEDDOME                       SALAZAR CONNECT, INC
BRANDEX            JEFF BORSCHOWA PROFESSIONAL        SALEM CHRISTIAN
ENTERPRISES LTD    CORP.                              ACADEMY
                                                      DEVELOPMENT
                                                      COMPANY
BRANDMUSCLE, INC   JEFF CROCKETT                      SALEM HIGH SCHOOL
BRANDON BRELAND    JEFF DOSSETT/CIA, LLC              SALES & USE TAX
BRANDON            JEFF GRANTER                       SALES TAX RESOURCE
BRETHOUR                                              GROUP
BRANDON BRITT      JEFF HAMPEL                        SALESFORCE.COM
BRANDON BUSINESS   JEFF HILLIER                       SALIH SULEYMANOF
INTERIORS
BRANDON SHOPPING   JEFF NUSSLER                       SALINA MEDIA GROUP
CENTER PARTNERS,
LTD
BRANDON SUN        JEFF PARSONS                       SALMA EL MAHDI
BRANDWEEK          JEFF PRITCHER                      SAL'S AUTO SERVICE,
                                                      LTD.
BRANDXADS INC      JEFF REED INVESTIGATIONS           SALT LAKE PRIVATE
                                                      DETECTIVES
BRANDYN HURT       JEFF ROSINA                        SALTED SERVICES, INC.
BRANFORD JR. B     JEFF WELLCOME                      SALVATORE BRUZZESE
HOCKEY CLUB
BRANT NEWS         JEFF WILSON                        SAM & JOSEI SAIA
BRAYSIDE           JEFFERSON COUNTY TREASURER         SAM HILL
INVESTMENTS                                           ENTERTAINMENT, INC.
BREANNA KITTSON    JEFFERSON COUNTY TREASURER         SAM MANHAS
BREEN, JOE         JEFFERY A. BRYNING                 SAMANTHA BESNER
BREEN, LORI L.     JEFFERY, SCOTT                     SAMANTHA LAFERRIERE
BREEZE             JEFFREY A. STEHLIN                 SAMANTHA PETERS
CORPORATION DBA
BREEZE NEWSPAPER
BREIT OPERATING    JEFFREY BAIRD                      SAMANTHA PINTO
PARTHERSHIP L.P.
BRENDA BERRY       JEFFREY C. NIELSEN                 SAMANTHA TAYLOR
BRENDA BIRCH       JEFFREY CORBETT                    SAMANTHA WALLACE
BRENDA BRERETON    JEFFREY D SCHUBERT                 SAMBROOK MEDIA CORP
BRENDA DULYK       JEFFREY EUGENE WILKERSON           SAMEER FINO FLP NO.
                                                      ONE
BRENDA FENDLEY     JEFFREY G. WILSON                  SAMENEH NAEIMI
BRENDA HOPKINS     JEFFREY HIRSHBERG CPA              SAMER KAMEL
BRENDA JUDD        JEFFREY L JAMIESON                 SAMER KAMEL
BRENDA LESAGE &    JEFFREY L RIDDLE                   SAMI ABDUL RAH IBARI
LEONARD KLASSEN
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BRENDA OTTER       JEFFREY LAKE                        SAMI KANIFA
BRENDA PAYNE       JEFFREY LEON DENNY                  SAMMY ORTIZ
BRENDA RALF        JEFFREY STADELBAUER                 SAM'S CLUB #8222
BRENDA REGISTE     JEFFREY T STIMPSON                  SAM'S CLUB CANADA
BRENDA SPENCER     JEFFRIES, JACQUELINE                SAMUEL MARKUM
BRENDA THURSTON    JELLYFISH ONLINE MARKETING          SAMUEL RETAIL LTD
                   US LTD
BRENDAN EVANS-     JEMD REALTY LLC                     SAMUEL, BENNY &
PROPERTY                                               LALITHA
MANAGER
BRENDAN            JEMEZ MOUNTAINS ELECTRIC            SAN ANTONIO EXPRESS-
HOCHSTEIN          COOP INC                            NEWS
BRENNAN BOYD       JENIFER HUDSON                      SAN ANTONIO SOCCER
                                                       ACADEMY
BRENNEMAN,         JENKENS & GILCHRIST                 SAN ANTONIO SPURS
STEPHANIE
BRENONS SOCIAL     JENKINS BUSINESS EQUIPMENT          SAN BENE PROPERTIES,
MEDIA/VICTORIA                                         LLC
BUZZ
BRENT DAVIS        JENN CAYEN                          SAN DIEGO GAS &
                                                       ELECTRIC- 25111
BRENT W CLAIR      JENNA OIKLE                         SAN FRANCISCO
BRENTWOOD          JENNIFER ANDERSON                   SAN JOAQUIN COUNTY
SCREENPRINT INC.                                       CLERK
BRETMOR            JENNIFER ANDERSON                   SAN JUAN ASSOCIATES
HEADWEAR
BRETT COLLEY       JENNIFER BELLEGARDE                 SAN JUAN SIGNS, INC.
BREVARD COUNTY     JENNIFER CASE                       SAN MARCOS PLAZA, LLC
BREWER             JENNIFER CLARK                      SAN PABLO PARTNERS II
BROADCASTING                                           LLC
BREWER DETECTIVE   JENNIFER D DENNY                    SAN PABLO RETAIL
SERVICE, INC.                                          PARTNERS, LLC
BRIAN ARSENAULT    JENNIFER ESPINEL                    SAND SHARK LIMOS
BRIAN BELTZ        JENNIFER FICUCIELLO                 SANDER, NORBERT
BRIAN BOWBRICK     JENNIFER GAUDETTE                   SANDERS
                                                       INVESTIGATION SERVICE
BRIAN BUSKE        JENNIFER HUDSON                     SANDERS SERVICE
                                                       COMPANY
BRIAN FLATLEY      JENNIFER HUTTON                     SANDERS, GALE &
                                                       RUSSELL, INC.
BRIAN H            JENNIFER JOHNSON                    SANDERS, LEE
WINTERSTEIN-DO
NOT USE
BRIAN HOLMES       JENNIFER LARCH                      SANDHILL MEDIA- KADQ
BRIAN J.           JENNIFER LAVIGNE                    SANDHU, DAMAN
MCLAUGHLIN
BRIAN KAHN         JENNIFER M. BROWN                   SANDIA VISTA CENTER,
                                                       LLC
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BRIAN LUDWIG         JENNIFER M. FATH                    SANDIEGO PROCESS
                                                         SERVING
BRIAN MULLER         JENNIFER MCCONNELL                  SANDRA AHMED
BRIAN OUELLETTE      JENNIFER NORONHA                    SANDRA COMPHER
BRIAN SCARLETT       JENNIFER PRIESTMON                  SANDRA COOK
BRIAN SMITH          JENNIFER SARGEANT                   SANDRA ESQUIVEL
BRIANNA JAUCH        JENNIFER SPOONER                    SANDRA GIGNAC
BRIANNE TREMBLAY     JENNIFER TOMPKINS                   SANDRA HENRY
BRICE RICHARDS       JENNIFER TRUDELL                    SANDRA HOLLOWAY
BRICK GENTRY, P.C.   JENNIFER VEINOTTE                   SANDRA KERR
BRIDGEBORN, LLC      JENNIFER WEIL                       SANDRA L ESQUEDA INC
BRIDGEBUILDER        JENNIFER WOLAK                      SANDRA LEGGETT
COMPANY
BRIDGES, KENNETH     JENNIFER WRIGHT                     SANDRA LEONCE
AND ELIZABETH
BRIDGET BRICKLES-    JENNIFER ZAMMIT                     SANDRA LOEHNDORF
COUSINEAU
BRIDGET MISENER      JENNY & SONS HOME IDEAS &           SANDRA MAY
AND WENDY SHORT      IMPROVEMENT INC
BRIDGET TINDALL      JENNY CLOW                          SANDRA NICKERSON
BRIDGETT             JENNY GREEN                         SANDRA RODRIGUEZ
SUTHERLAND
BRIELMAIER,          JENNY LEITCH                        SANDRA SHATFORD (#
CARMEN                                                   9081)
BRIGHT HOUSE         JENNY WAUGH                         SANDRA STOLICH
BRIGHT HOUSE         JENNYLYN GABANA                     SANDRA V. ANDRADE
NETWORKS                                                 MOLINA
BRIGHT HOUSE         JERALD K LEESCH TRUST               SANDRA WESLEY
NETWORKS
BRIGHTCOVE, INC.     JEREL TOMASELLO                     SANDRA WILLIAMS
BRIGHT-MEYERS        JEREMY DUGAS                        SANDSTONE PROPERTIES,
CLEVELAND ASSOC.                                         INC
L.P.
BRIGHT-MEYERS        JEREMY EIGNER                       SANDY COVERDALE
CLEVELAND
ASSOCIATES, LP
BRIGITTE             JEREMY J. GEORGE                    SANDY HARVEY
GUILLEMETTE
BRIMHALL AND         JEREMY TOWNSEND & STEPHENIE         SANFORD HERALD
RHOTON               TOWNSEND
INVESTMENTS LLC
BRING ME A BOOK      JEREMY VARIAS                       SANGAMON COUNTY
                                                         RECORDER
BRING ME A BOOK      JEROMY DAVIS                        SANGAMON DIRKSEN LLC
FOUNDATION
BRING ME A BOOK      JERRICA MITCHELL                    SANKET PATEL
FOUNDATION
BRISARD, SONJA       JERRY LEE WOODLIEF, JR. DBA         SANSONE GROUP
                     JMS SERVICES
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BRISTOL              JERRY ROZENEK'S PAINTING           SANTA BARBARA TAX
BROADCASTING         SERVICE                            PRODUCTS GROUP
BRISTOL              JERRY STARKWEATHER                 SANTA RITA GARDENS, A
BROADCASTING                                            CALIFORNIA GENERAL
COMPANY, INC.                                           PARTNERSHIP
BRISTOL              JESSE THIBAULT                     SANTAL CORPORATION
BROADCASTING
COMPANY, INC.
BRISTOL HERALD       JESSICA BALDI-LUCIER               SANTANA, JESSICA
COURIER
BRISTOL LOCK &       JESSICA BENGEN                     SANTARO SIGNS
SAFE
BRISTOL SIGN CO.     JESSICA BYRON                      SANTA'S LITTLE
INC.                                                    HELPERS, LLC
BRISTOL SIGN         JESSICA DHILLON                    SANTA'S PARADE OF
COMPANY WALDEN,                                         LIGHTS OSHAWA
LLC
BRISTOL VIRGINIA     JESSICA DIXON                      SAP AMERICA, INC.
UTILITIES
BRITE SIGNS INC.     JESSICA EDGELL                     SAPPHIRE
                                                        TECHNOLOGIES
BRITTANY DELISLE     JESSICA ELSON                      SARA BACCHUS
BRITTANY             JESSICA FIELDS                     SARA BRONN
THURSTON
BRITTANY VIVIAN      JESSICA RHEAUME                    SARA J RAMIREZ
BRITTEN BANNERS,     JESSICA SANGELAIS                  SARA LOMAS
INC.
BRIXMOR              JESSICA STANELL                    SARA MUSCHWECK
OPERATING
PARTNERSHIP LP
BRIXMOR              JESSICA WEIMER                     SARA PATANIA
OPERATING
PARTNERSHIP LP
BRIXMOR              JESSIE CASIANO                     SARA PRESTON
OPERATING
PARTNERSHIP LP-DO
NOT USE
BRIXMOR              JESSIE GILES                       SARA WILLSON
OPERATING
PARTNERSHIP LP-
NC13848
BRIXMOR              JESSIE HAYDEN                      SARAC LTD
STOCKBRIDGE
VILLAGE LLC
BRIXMORE             JESSIE LAFRANCE                    SARAH CRAFTS
OPERATING
PARTNERSHIP LP
BROAD CREEK PH. I,   JESSIE MCMAHON                     SARAH DALZIEL
LLC
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BROAD STREET        JESSIE YU                            SARAH DEIERLEIN
COMMUNITY                                                NIESCHALK
NEWSPAPERS
BROADCAST NEWS      JESSTALK SPEAKNG SERVICES            SARAH HEDLEY
CORP., INC.         LLC
BROADCAST           JEWEL F. YAUGHN INC.                 SARAH MCLEAN
RECOVERY, INC.
BROADPOINT          JFK HOLDINGS INC                     SARAH MORRIS
TECHNOLOGIES -
BETHESDA
BROADPOINT          JFRCO, LLC                           SARAH SORENSEN
TECHNOLOGIES-
CHESAPEAKE
BROADRIDGE ICS      JG NORTH RALEIGH LLC                 SARAH WILIE
BROADRIDGE ICS      JIE WEI                              SARATEK TECHNOLOGY
                                                         LTD.
BROADRIDGE          JIE YAN                              SARCOM
INVESTOR
COMMUNICATION
SOLUTIONS, INC
BROADWAY CENTER     JIGSAW. COM/SALESFORCE.COM           SARKAUSKAS
PARTNERSHIP                                              PROPERTIES, LLC
BROADWAY            JILL FRIEDMAN                        SARKAUSKAS, BRAD
FLOORING INC
BROADWAY            JILL RYAN ANGLIN                     SARRI IBRAHAM
MESSENGER &
COURIER LTD.
BROADWAY PHOTO      JILLIANS                             SAS INSTITUTE INC.
STUDIO INC
BROADWAY PLACE,     JILOR LLC                            SASHA FOSTER
LLC
BROADWAY            JIM & DONALDA SHORT                  SASK POWER
WIRELESS STORE
BROCK, CLAY,        JIM & JOHN REALTY III, LLC           SASKATCHEWAN
CALHOUN & ROGERS,                                        WORKER'S
LLC                                                      COMPENSATION BOARD
BROCKMONT           JIM MITCHELL                         SASKATOON MEDIA
LIMITED                                                  GROUP
PARTNERSHIP
BRODIE LUNDQUIST    JIM MORIN                            SASKENERGY
BRODNAX PRINTING    JIM PATTISON BROADCAST               SASKTEL SERVICES
COMPANY I,LLC       GROUP-CJXX-FM
BRODSKY, KARYN      JIM ROBERTSON                        SATHIYASEELAN
                                                         KATHIRKAMU
BRODY-MCFATE        JIM SIDDALL                          SATURDAY PROPETIES,
REAL ESTATE                                              INC.
BROGIN              JIM STUBBS-MIAMI COUNTRY             SAUL KOOTOOK
INVESTMENTS LLC     TREASURER
BROOKE E            JIM SULLIVAN                         SAUNDERS BARLOW
JANOUSEK                                                 RIDDICK BABINEAU
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                                                        FARMER & BREWBAKER,
                                                        P.C.
BROOKHOLLOW         JIM ZHANG                           SAUNDERS, DANNALIE
ASSOCIATES, LLC
BROOKS BULLETIN     JIMI MITCHELL                       SAUNDERS, LINDA
BROOKS CROSSING     JIMMY H SMITH                       SAUNDERS, TODD
SC, LTD
BROOKS CROSSING     JIN GUN SUH                         SAUNDERS,LINDA
SHOPPING CENTER,
LTD
BROOKS ELECTRIC     JINESH TALSANIA                     SAVANT LIVING
COMPANY, INC.
BROOKS              JITENDRA SINGH                      SAVANT, LTD.
MOORESVILLE, LLC-
DO NOT USE
BROOKS TRANSFER     JIVE COMMUNICATIONS INC.            SAWYER, ANTHONY
& STORAGE
BROOKS, DEKARLO     JJ & J CONSTRUCTION                 SBB LLC
BROOKS, RON         JJ BARNICKE MANAGEMENT              SBC - 630047 - DALLAS
BROOKSVILLE         JJM PARTNERS                        SBC - 930170 - DALLAS
SQUARE PLAZA, LLC
BROOKVIEW           JJM PARTNERS LLC                    SBC- BILL PAYMENT
SHOPPING CENTER                                         CENTER
LLC
BROSTROM,           JJT CMPUTING                        SBC- SAGINAW
RICHARD
BROTHER             JK HARRIS & COMPANY, LLC            SBC SMARTPAGES.COM
INTERNATIONAL
CORPORATION
BROTHERS LOCK &     JKS HOLDING COMPANY                 SBC TAX COLLECTOR
SAFE
BROWARD COUNTY      JLB SYSTEMS                         SBC-DALLAS
TREASURY
BROWN GREG          JLT ASSOCIATES                      SBC-SACRAMENTO
BROWN RUDNICK       JM RECONSTRUCTION SERVICES          SBP ENTERPRISES LLC
                    INC
BROWN RUDNICK       J-MACK AGENCY, LLC                  SBSA INVESTMENTS LLC
LLP
BROWN, BLANE        JMJ PRINTING PARTNERS, LLC          SC DEPARTMENT OF
                                                        REVENUE
BROWN, DUSTIN       JMS TAX, INC.                       SC DEPT OF REVENUE
BROWN, HAY &        JNB TEK, LLC                        SC INC.
STEPHENS, LLP
BROWN, MICHAEL      JOAN E. DUDEK                       SC PASSANISI
                                                        INVESTIGATIONS
BROWN, MITCH        JOAN E. LORING ESQ.                 SC STATE TREASURER'S
                                                        OFFICE-UPP
BROWNING, DAVID     JOAN FLOWERS                        SCAN SOUND, INC
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BROWN'S PAINT       JOAN MCKNIGHT                      SCANA ENERGY
STORE
BROWSERSTACK INC    JOANN HOSAING                      SCANDAGLIA & RYAN
BRUCE               JO-ANN VANHUISSTEDE                SCARBOROUGH MIRROR
GREENHALGH
BRUCE HOUSE         JOANNA P CHOI                      SCAROLA, TONY
BRUCE LYNCH         JOANNA ROSARIO ROCHA               SCAVONE JOHN
BRUCE               JOANNE CHELLIAH                    SCC1
MANAGEMENT
SERVICES, INC.
BRUCE R. VANCE,     JOANNE E VETTER                    SCE&G
CPA., CHARTERED
BRUCE STANSBERRY    JOANNE JONES                       SCG PINOLE VALLEY
                                                       SHOPPING CENTER, LLC
BRUCE THOMPSON      JOANNE MARIE                       SCHEIDERICH, MICHAEL
BRUCE WOODS         JOANNE MORTENSON                   SCHERBA INDUSTRIES
                                                       INC.
BRUNO, MATT         JOANNE SHOEMAKER                   SCHINDLER ELEVATOR
                                                       CORPORATION
BRUSCHINSKY'S       JOANNE VETTER                      SCHMID SUZANNE
JASON
BRYAN CAVE LLP      JOAO A FERREIRA                    SCHOENBERG FINKEL
                                                       NEWMAN & ROSENBERG,
                                                       LLC
BRYAN COLE          JOAQUIM MESQUITA                   SCHOENEBECK, MIKE
BRYAN DAVIES        JOBE A. FLOWERS                    SCHOSTAK BROTHERS &
                                                       CO INC
BRYAN TOWNSON       JOBETE MUSIC CO., INC.             SCHOTTENSTEIN
                                                       PROPERTIES LLC
BRYAN WIZNIAK       JOBPOSTINGS                        SCHULTZ, HEIDI
BRYANT &            JOBS & CAREERS                     SCHWABE WILLIAMSON
STRATTON COLLEGE                                       AND WYATT PC
BRYANT R. RILEY     JOBY GEORGE                        SCHWARTZ, HARVEY
BRYANT, RAYMOND     JOCELYN DUNN                       SCOOP REPRINTSOURCE
BRYANT, TIMOTHY     JODIE AKERLEY                      SCOOTER SOFTWARE
BRYANT'S CHILD      JODIE'S MOBILE AUTO DETAILING      SCORE FOUNDATION-DO
CARE DEVELOPMEN                                        NOT USE DUP
BSD LLC             JODI-LEIGH STEWART                 SCOTLAND COUNTY
                                                       REGISTER OF DEEDS
B-SOURCE, INC.      JODY FRANCOEUR                     SCOTSMAN PRESS
BSP 2300-2310 ACP   JODY L. ELLIOTT, CPA               SCOTT & ASSOCIATES
LLC                                                    INVESTIGATIONS, INC.
BSREP UA RIVER      JODY LUCAS                         SCOTT BERNETT
CROSSING, LLC
BTB INNOVATIONS     JODY RIVETTE                       SCOTT C. GRAY
BTES                JODY STEWART, CRR, RMR             SCOTT CRAIG
BTM MEDICAL         JOE & DEVI CORSI                   SCOTT CURTIS
PROPERTIES, LLC
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BTTG VA BEACH-      JOE ASTURI                          SCOTT F. BRADY
COMMERICAL
BUCHANAN            JOE CAVANAGH                        SCOTT HARRIS
INGERSOLL &
ROONEY PC
BUCHANAN            JOE H. WOODS SR.                    SCOTT MACFARLANE
INGERSOLL P.C.
BUCK, MICK          JOE JASMA                           SCOTT MURDOCH
BUCKLEY SQUARE      JOE JOHN MARTINEZ                   SCOTT MYERS
BUCKLEYSANDLER      JOE SCHMITT & SONS PLBG & HGT       SCOTT O'REILLY
LLP                 LLC
BUCK'S INC.         JOEL BELLEGARDE                     SCOTT PETRIE LLP
BUD EDGAR           JOEL ELIE                           SCOTT WHITE
BUDGET BLINDS       JOEL GAUTHIER                       SCOTT ZMUDZINSKI
BUDGET SELF         JOEL GODDEN                         SCOTT, JANETTE
STORAGE
BUFFALO WATER       JOEL GREENBERG, TAX                 SCOTT, PETRIE,
                    COLLECTOR - LICENSE                 BRANDER, WALTERS &
                                                        WRIGHT LLP
BUIE, MELISA        JOEL P. KERSTETTER                  SCOTTCORP, INC
BUILDERS, INC       JOELLE MOREHOUSE                    SCOUT VENTURES, LLC
BUILDING BRIDGES    JOEY STONEYPOINT                    SCUGOG MECHANICAL
FOR BUSINESS
BUIST ENTERPRISES   JOEY YOUNG PROPERTIES, LLC          SD HOUSING 1, LLC
BULL PEN SPORTS     JOHN & KALLY SKAGOS                 SDA MIDWEST
COLLECTABLES                                            MANAGEMENT LLC
BULLSEYE SERVICES   JOHN A WEBB                         SDCTTC-PPT
BUREAU OF FIRE      JOHN AITKEN                         SEA GREEN CUSTOMS
SAFETY
BUREAU OF           JOHN ALBARRAN                       SEABOARD PROPERTIES
REVENUE &                                               LLC
FINANCIAL
SERVICES-OREGON
BUREAU OF           JOHN ALDRIDGE WEBB                  SEAL ENTERPRISES, LLC
REVENUE AND
TAXATION
BUREAU OF           JOHN ALDRIDGE WEBB TRUST            SEAL, CHARLES
WORKERS'
COMPENSATION
BURGESS             JOHN BALKHI                         SEAMAN RAYMOND
INVESTIGATIONS
BURGESS& NIPLE      JOHN BARCLAY                        SEAN ALAN OLARTE
BURGESS, KRISTY     JOHN BIRNIE                         SEAN MILLS
BURKE COSTANZA      JOHN BOITO                          SEAN-RYAN KIRKWOOD
AND CARBERRY, LLP
BURKS, JOHN         JOHN BOSSIO                         SEARCHLIGHT EXPRESS
                                                        OF VA
BURLINGTON LLC      JOHN BOUDREAULT                     SEARS CANADA
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BURMASTER, BRIAN      JOHN BUCKLEY                        SEARS CARPET &
                                                          UPHOLSTERY CLEANING
BURNHAM REAL          JOHN CORRADO                        SEARS NATIONAL BANK
ESTATE
BURNS FAMILY          JOHN CRAWFORD                       SEASCAPE CONSULTING
TRUST                                                     GROUP, INC
BURRELLE'S            JOHN DAVIDSON                       SEASIDE AUDIO
INFORMATION
SERVICE
BURSON-               JOHN DIMARCO                        SEATTLE CITY LIGHT
MARSTELLER
BURT HOUGH JR         JOHN DOBBS                          SEBATIEN PEREIRA
BURTON REALTY CO.     JOHN DUCEY                          SECOND CITY WORKS,
                                                          INC.
BURTRONICS            JOHN DUVAL                          SECOND HALF
BUSINESS SYSTEMS                                          SOLUTIONS, INC.
BUSCA                 JOHN E REGISTER                     SECRETARY OF
TUFRANQUICIA.COM                                          COMMONWEALTH -
                                                          MASSACHUSETTS
BUSINESS              JOHN E. CONNOR & ASSOCIATES,        SECRETARY OF STATE
CONSULTANTS, LLC      INC.
BUSINESS              JOHN E. SIRINE AND ASSOCIATES,      SECRETARY OF STATE
DEVELOPMENT           LTD
CENTERS
BUSINESS              JOHN EVERETT P.I SERVICES, INC      SECRETARY OF STATE -
EXCHANGE CORP                                             MAINE
BUSINESS FOR SALE.    JOHN GAREL                          SECRETARY OF STATE -
NET                                                       OH
BUSINESS INTERIORS    JOHN GRAEFSER DBA GRAEFSER          SECRETARY OF STATE-
& MOVING SERVICES,    ELECTRIC                            GA
LLC
BUSINESS OBJECTS      JOHN H FOUST                        SECRETARY OF STATE IN
AMERICAS
BUSINESS              JOHN HARBURN                        SECRETARY OF STATE-
OPPORTUNITIES                                             LA
HANDBK
BUSINESS              JOHN HARDY JONES                    SECRETARY OF STATE-
REGISTRATION                                              MN
DIVISION
BUSINESS RESOURCE     JOHN KATIS                          SECRETARY OF STATE-
SERVICES, INC.                                            MT
BUSINESS REVIEW       JOHN KEHRLOTIS                      SECRETARY OF STATE OF
                                                          TEXAS
BUSINESS WIRE, INC.   JOHN KI                             SECRETARY OF STATE OF
                                                          THE STATE OF NH
BUSINESSBROKER.NE JOHN KIM                                SECRETARY OF STATE-
T                                                         OR
BUSINESSPLANS, INC. JOHN KLASSEN                          SECRETARY OF STATE- RI
BUSINESSWEEK        JOHN KOSZTYA                          SECRETARY OF STATE -
                                                          TEXAS
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BUSINESSWEEK        JOHN L CRANDELL                     SECRETARY OF STATE-
                                                        VT
BUSY BEE SIGNS &    JOHN LEDERER                        SECRETARY OF STATE WI
GRAPHICS
BUTCH JOHNSON'S     JOHN LEE BROWN                      SECRETARY OF STATE-
CHATTANOOGA EYE                                         WY
IN THE SKY TR
BUTLER LAWN         JOHN M. BOWEN & ASSOCIATES          SECRETARY OF STATE,
SERVICE                                                 AR
BUTLER PAPER        JOHN MATT SMITH                     SECRETARY OF STATE,
RECYCLING, INC.                                         DELAWARE
BUTLER, DENNISON    JOHN MOORE                          SECRETARY OF STATE,
                                                        IOWA
BUTLER, INC,        JOHN NUGENT                         SECRETARY OF STATE,
                                                        MO
BUTTERBALL          JOHN PACKO                          SECRETARY OF STATE,
TURKEY GIFT                                             NEBRASKA
PROGRAM
BUTTERBAUGH,        JOHN PARKER                         SECRETARY OF STATE, SD
JERRY
BUTTERCMS, LLC      JOHN PEREA                          SECRETARY OF STATE,IL
BUXTON COMPANY      JOHN PUGH                           SECRETARY OF STATE-
                                                        ALABAMA
BVA FIRST TUESDAY   JOHN R NERAD AND THERESE            SECRETARY OF STATE-CA
LLC                 NERAD AS CO-TUSTEES
BVU OPTINET         JOHN R. CHAITE                      SECRETARY OF STATE-
                                                        CONNECTICUT
BWC STATE           JOHN RECOLLET                       SECRETARY OF STATE-CT
INSURANCE FUND
BWM GROUP, INC.     JOHN REILLY                  SECRETARY OF STATE-IA
BWRI HOLDING INC.   JOHN ROBERSON INVESTIGATIONS SECRETARY OF STATE-ID
BY GEORGE, INC.     JOHN SEAL                    SECRETARY OF STATE-IL
BYELAS & NEIGHER    JOHN SPENCER                 SECRETARY OF STATE-
                                                 IOWA
BYERS & HARVEY,     JOHN SWAIN                   SECRETARY OF STATE-KS
INC
BYERS, RICHARD      JOHN T BURKE, JR                    SECRETARY OF STATE-KY
BYLER PLUMBING &    JOHN T HARKINS                      SECRETARY OF STATE-
HEATING CO., INC                                        MO
BYRD, ROD           JOHN TESTAWICH                      SECRETARY OF STATE-MS
BYRNE, CATHERINE    JOHN TROYER                         SECRETARY OF STATE-MS
BYRNES & KELLER     JOHN VAN AMERONGEN                  SECRETARY OF STATE-NC
LLP
BYRON ALLEN         JOHN VAN AMERONGEN/R HICKS          SECRETARY OF STATE-ND
C & C SERVICES OF   JOHN VAN DYCK                       SECRETARY OF STATE-NE
TAMPA, INC.
C & G LIMITED, LP   JOHN VLECK                          SECRETARY OF STATE-
                                                        NM
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C & V ENTERPRISES,   JOHN W MORIARTY LIVING TRUST       SECRETARY OF STATE-NV
LLC
C JAKUBO             JOHN WILEY & SONS, INC             SECRETARY OF STATE-OK
INVESTMENTS
C&C                  JOHN YOO                           SECRETARY OF STATE-SC
INVESTIGATIONS &
SECURITY, INC.
C&C WEST 130TH       JOHN YOUNG                         SECRETARY OF STATE-TN
STREET LLC
C&E LOCKSMITHS       JOHNATHAN COPEGOG                  SECRETARY OF STATE-W.
                                                        VIRGINIA
C&L ENTERPRISES,     JOHNNY A RUEDA PEREZ               SECRETARY OF STATE-
INC                                                     WASHINGTON
C*TECH               JOHNNY E RUEDA                     SECRETARY OF THE
INVESTAGATIONS                                          COMMONWEALTH
C*TECH               JOHNNY THANGBAL                    SECURCARE VALUE
INVESTIGATIONS                                          PROPERTIES
C. EDWIN WALKER      JOHNS BROTHERS SECURITY, INC.      SECURE MOBILE
TRUST ACCOUNT                                           SHREDDING
C. KENNETH STILL,    JOHNSON, ERIC                      SECURITIES AND
TRUSTEE                                                 EXCHANGE COMMISSION
C. WILLIARD          JOHNSON, POPE, BOKOR, RUPPEL       SECURITY ANALYSIS
NORWOOD              & BURNS, LLP                       ASSOC., INC.
C.G.C INC.           JOHNSON, SMITH, HIBBARD $          SECURITY AND
                     WILDMAN LAW FIRM, LLP              INVESTIGATIVE SUPPORT
                                                        SERVICES, INC
C.M. FUSCO LAW       JOHNSON, TORY                      SECURTEK MONITORING
GROUP, P.C.                                             SOLUTIONS
C.S.M. CABINETS      JOLARON IV INVESTMENTS, LLC        SEDRAK PARTNERS
C/O LARCHE           JOLENE GRENIER                     SEETO, PAULINE
COMMUNICATION
C2 IMAGING DBA       JON BROOKS                         SEFFNER GROUP LLC
ELK GROVE
GRAPHICS
C2CSMARTCOMPLIA      JON C. SCHIEFER                    SEGRA
NCE LLC
C3 DATA LLC          JONAH CABRAL                       SELECTA 1050AM WVXX
CA DEPARTMENT OF     JONATHAN BOYA CLIENT               SELECTCOM INC.
JUSTICE              SUPPORT GROUP SOCIETY
CABLE MART           JONATHAN BREEDLOVE                 SELENA BENSON
CABLE95 LLC          JONATHAN MUSSER                    SELF STORAGE
                                                        SOLUTIONS, LLC
CABLEREP             JONATHAN RAGUINDIN CAROLINO        SELFIE MIRROR INC.
ADVERTISING
NORTH
CABLEREP OF          JONATHAN STEFFENS                  SELLINGER, KEN
HAMPTON ROADS
CACHE BANK &         JONATHAN STRONGOLI                 SELVAGGI, WILLIAM
TRUST
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CACHE COUNTY        JONATHAN TAYLOR                     SEMCASTING, INC.
ASSESSOR
CACTUS              JONATHIN COUSE                      SEMCO ENERGY
INVESTIGATION
CADDELL, THOMAS     JONATHON LAFFERTY                   SEMIH CIRIT
WAYNE
CADWALADER,         JONES 95, LLC                       SEMINOLE HERALD
WICKERSHAM &
TAFT LLP
CAERELS MARYANN     JONES DAY                           SEMPER DETECTIVE
                                                        AGENCY
CAFER, JIM          JONES LANG LASALLE AMERICAS         SENATOR, NICKEY
CAICEDO, ERICA A.   JONES, CHARLIE                      SENDERO BUSINESS
                                                        SERVICES LP
CAIN VILLAGE        JONES, COCHENOUR & CO.              SENDERO BUSINESS
ASSOCIATES                                              SERVICES, L.P.
CAK INC             JONES, JR., GEORGE I.               SENDGRID
CAL INFO            JONES, JR., JOHNNIE F.              SENECA CENTER, LLC
CALDWELL AND        JONES, TERESA M.                    SENIOR CONNECTOR
ASSOCIATES, LLC
CALEB J WATSON      JONES, TONY                         SENIOR EXPO
CALENDARS           JONES-ONSLOW EMC                    SENIOR LIFESTYLES INC.
CALGARY HERALD      JORDAN HARVEY                       SENIOR SOURCE
CALGARY PC.NET      JORDAN JENKINS                      SENIORITY MAGAZINE
CALHOUN PLACE,      JORDAN RODGERSON                    SENTARA EXECUTIVE
LLC                                                     EVALUATION CENTER
CALIFORNIA BOARD    JORDAN, FONDA                       SENTARA HEALTHCARE
OF EQUILIZATION
CALIFORNIA          JORDEX MANAGEMENT, INC              SENTARA MEDICAL
COMMISSIONER OF                                         GROUP
CORPORATION
CALIFORNIA          JORDON WIILLIAMS                    SENTINEL RECORD
DEPARTMENT OF
REVENUE
CALIFORNIA          JORGE CRUZ                          SEOMOZ
DEPARTMENT OF
REVENUE
CALIFORNIA          JOSCELYNE FARAH                     SERAFIN CONSTRUCTION
DEPARTMENT OF
TAX & FEE ADMIN
CALIFORNIA DEPT.    JOSE AYALA                          SERGEI VASILUK
OF CORP.
CALIFORNIA          JOSE B AYALA                        SERGIO CHUC BELIZE
FRANCHISE TAX                                           CENTER
BOARD
CALIFORNIA          JOSE BAPTISTA                       SERGIO JEAN-LOUIS
SECRETARY OF
STATE
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CALIFORNIA         JOSE CHONG                          SERGIO ROD DESIGNS
SECRETARY OF
STATE
CALIFORNIA         JOSE L GRANADOS                     SERPE RYAN LLP
SOCIETY OF CPA'S
CALIFORNIA STATE   JOSE LEON                           SERVE ONE, INC
CONTROLLERS
OFFICE-UNCLAIMED
CALIFORNIA TAX     JOSE R. MARTINEZ DBA MISSION        SERVICE EXPERTS
EDUCATIONAL        CITY YOUTH SOCCER
COUNCIL            ORGANIZATION
CALL TRADER LLC    JOSE SANTIAGO                       SERVICE EXPERTS
                                                       HEATING AND AIR
                                                       CONDITIONING LLC
CALMA CONSULTING   JOSEE MCMILLAN                      SERVICE GLASS
INC.
CALN VILLAGE       JOSEPH A ISADORE                    SERVICE UP, LLC
ASSOCIATES
CALUMO, INC        JOSEPH A. BARKELY III               SERVICEMASTER CLEAN
                                                       OF BARRIE/ORILLIA
CALVARY REVIVAL    JOSEPH A. WELLS                     SERVING BY IRVING, INC.
CHUCH
CALVERT            JOSEPH AND SARA MCCULLOUGH          SERVITOR TRAINING
COMMERCIAL REAL                                        SERVICES
ESTATE, INC.
CALVIN BURSEY      JOSEPH BROWN                        SERVOR, INC.
CALVIN TOMPKINS    JOSEPH BROWN                        SERVPRO OF SOUTH
                                                       CHATTANOOGA
CALVIN WILLIS      JOSEPH CRILLEY                      SERYUS PROPERTY
                                                       GROUP LLC
CAMA               JOSEPH GENERAL                      SEVAA
CAMARILLO          JOSEPH J KORONA                     SEVEN ELEVEN (HAWAII)
BUSINESS ENT INC                                       INC
CAMBRIDGE AND      JOSEPH LEMIEUX                      SEVERAL BRANDS, LLC
NORTH DUMFRIES
HYDRO INC
CAMBRIDGE COUPON   JOSEPH LTD BAKER, LLC               SEVERSON & WERSON
CLIPPER
CAMDEN COUNTY      JOSEPH LUMLEY                       SEVERSON & WERSON, A
TAX COMMISSIONER                                       PROFESSIONAL
                                                       CORPORATION
CAMDEN PRINTING    JOSEPH M. ARACICH                   SEVEY, GARY
COMPANY
CAMELBACK          JOSEPH PILHUN                       SEYFARTH SHAW LLP
DISPLAYS, INC.
CAMERON JOHNSON    JOSEPH PIMENTAL                     SEYMOUR DALEY
CAMERON SIEMENS    JOSEPH SPEIRAN                      SEYMOUR, WILDA
DBA CAMERON'S
TECH WORK
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CAMILLE             JOSEPH T. FITZPATRICK                 SFP/BVT PORTFOLIO LP
TOUCHSTONE
CAMINO VILLAGE      JOSEPH VOORHEES                       SGS BOULEVARD, LLC
PLAZA
CAMMIE ENGLISH      JOSEPH, ROBERT & COLLEEN              SGS CONSUMER FINANCE,
                                                          INC.
CAMP INVESTMENTS    JOSEPHINE SIMMONS                     SGS CREDIT SERVICES,
LTD.                                                      INC.
CAMP WASHINGTON     JOSH MCRAE                            SGS FUNDING, INC.
REALTY LLC
CAMPAIGN MEDIA      JOSHUA BATES                          SGS WA, INC.
CAMPAIGN            JOSHUA BURSE                          SHADI SHALABI
PROCESSING CENTRE
CAMPAIGN TO ELECT   JOSHUA DALE PHELPS                    SHADINA CARROLL
ALEJANDRA BRAVO
CAMPBELL, DONNA     JOSHUA FERGUSON                       SHAFER & ASSOCIATES,
                                                          P.C.
CAMPBELL.           JOSHUA M. YUDIN DBA SEEKPEEK,         SHAH, PAUL
MARSHALL D.         LLC
CAMPER, CLAUDINE    JOSHUA PRIEBE                         SHAHANI, RAVI
S.
CAMPOSTELLA         JOSHUA SMITH                          SHAHRAM
SOUTHSIDE REUNION                                         SABBAGHZADEH
CAMPUS WEST         JOSHUA WINKLER                        SHAILENDRA PATEL
SERVICES
CAMROSE &           JOSHUA WOODCOCK                       SHAKE IT UP
DISTRICT CHAMBER                                          BARTENDING
OF COMMERCE
CAN DO WINDOW       JOSIAS GONZALEZ                       SHAKED LAW GROUP, P.C.
CLEANING
CAN WEST MALL       JOSIE HUNT                            SHAKER MZL LLC
CANADA CARTRIDGE    JOSPEH HARROZ                         SHAMIEH, ELIAS
INC.
CANADA' CHOICE      JOURNAL BROADCAST GROUP               SHAMROCK
CANADA DAMAGE       JOURNAL MULTIMEDIA                    SHAMROCK SPORTSFEST
RECOVERY            CORPORATION
CANADA LAW BOOK     JOY WARNER                            SHAMUS MULLIN
CANADA LAW BOOK     JOYCE ELLIS                           SHANA CAMERON
CANADA LIGHTING     JOYCE JORDAN                          SHANE & MARY BETH
AND SIGN SERVICES                                         BASCOE
CANADA              JOYCE JR., JOHN J.                    SHANE BEATTIE
MORTGAGE(BRAD &
MICHELLE
CROMPTON
CANADA POST         JOYNER'S MECHANICAL, INC              SHANE DINESEN
CORPORATION
CANADA REVENUE      JOYWALLET LLC                         SHANE HAVERVOLD
AGENCY
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CANADA REVENUE     JP ELECTRICAL INC.                    SHANE MANESS
AGENCY
CANADIAN           JP HOME MANAGEMENT                    SHANNON AVERY
COMMERCIAL
DEVELOPMENT
CANADIAN           JPDL QUEBEC                           SHANNON CARRIGAN
CONTROLLED MEDIA
COMMUNICATIONS
CANADIAN           JPMORGAN CHASE (CITIGATE)             SHANNON KAY
CONTROLLED MEDIA
COMMUNICATIONS
CANADIAN           JR PROPERTY MAINTENANCE               SHANNON MCGIBBON
FEDERATION OF
INDEPENDENT
BUSINESS
CANADIAN           JRC, LLC                              SHANNON MORRISON
FEDERATION OF
INDEPENDENT
BUSINESS
CANADIAN           JSI WOODRUFF, LLC                     SHANNON ROSSITER
FRANCHISE
ASSOCIATION
CANADIAN           JTH FINANCIAL                         SHANNON SQUARE LLC
FRANCHISE
ASSOCIATION
CANADIAN           JTH FINANCIAL-SUNTRUST                SHANTORIA CLARK
FRANCHISE
DIRECTORY
CANADIAN           JTH TAX ESCROW CA 20149               SHARED INSIGHTS
INDUSTRIAL
SERVICES
CANADIAN LINENS    JTH TAX INC                           SHARED TECHNOLOGIES,
AND UNIFORM                                              INC.
SERVICE
CANADIAN           JTH TAX INC ESCROW ACCOUNT            SHAREIT! INC.
NETWORK
BROADCASTING
CANADIAN NIAGARA   JTH TAX INC. (BANK OF AMERICA         SHARMELIE STANTON
HOTELS             MASTER ACCT)
CANADIAN PHONE     JTH TAX INC. 401K PLAN                SHARON DAVIES
DIRECTORIES INC.
CANADIAN POLICE    JTH TAX, LLC                          SHARON GARNER
ASSOCIATION
CANADIAN SPRINGS   JTI, INC.                             SHARON PEARSON
WATER COMPANY
CANADIANA          JUAN ARREOLA GALLEGOS                 SHARON SANDERS
FLOWERS KRD
CANADIANFRANCHIS   JUAN CARDONA-VELEZ                    SHARON THURSTON
ES.COM
CANARY, LLC        JUAN PEREZ                            SHARP ENTERPRISES, INC.
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CANDICE GUAY          JUAN SANTANA                        SHARP ENTERPRISES, INC.
CANDICE MORGAN        JUANITA & ROMEO PERALTA             SHARP ENTERPRISES, INC.
CANDIDA SANCHEZ       JUANITA FIRS ASSOCIAES, LP          SHARP PROCESS &
                                                          INVESTIGATIVE
                                                          SERVICES
CANDY GREENBIRD       JUANITA JANE WESTBROOK              SHARP'S AUDIO-VISUAL
                                                          LTD.
CANON FINANCIAL       JUANITA REDMOND                     SHARRON MARIER
SERVICES - INACTIVE
CANON FINANCIAL       JUBILATIONS                         SHARRON MORIER
SERVICES INC
CANON SOLUTIONS       JUDI KRUMM                          SHARRON NOLMAN
AMERICA INC
CANPAGES              JUDITH BAISIE                       SHATKOWSKI, EMMA
CANSTAR               JUDITH LYNN REDINGTON               SHATTUCK, CHARLES
COMMUNITY NEWS
LIMITED
CANTU, MARLYCIA       JUDY GAFFNEY                        SHAUN HOWELL
CANYON MEDIA          JUDY L VISCA                        SHAUN WALLACE
GROUP
CANYON PLAZA LLC      JULES M. HAMILTON                   SHAUN WRIGHT
CANYON PLAZA LLC-     JULIANO DINARDO                     SHAUNTELLE JOHNSON
DO NOT USE
CAPE FEAR PRO         JULIE A. FINK                       SHAW CABLE
HOCKEY, LLC
CAPE FEAR PUBLIC      JULIE CHU                           SHAW CABLESYSTEMS,
UTILITY AUTHORITY                                         G.P.
CAPE GAZETTE          JULIE DELARONDE                     SHAW, RYAN D.
CAPERSONS             JULIE HAVILAND                      SHAWN BROWN
INTERNATIONAL
BUSINESS
CONSULTING LLC
CAPITAL CITY          JULIE MCINTOSH                      SHAWN CULL
GYMNASTICS CLUB
CAPITAL               JULIE NOWE                          SHAWN HAY
DISTRICT/SENIORSPO
TLIGHT
CAPITAL GROUP RPS     JULIE R. TOMBERG                    SHAWN M. TOWNSEND
CAPITAL GROUP-        JULIE SAUDER                        SHAWN PERRY
AUTO PAY
CAPITAL INTELLECT     JULIE SMITH                         SHAWN RACZ
INC
CAPITAL PRINTING      JULIE TOUSHAN                       SHAWN SCOTT
AND FORMS
CAPITAL PROCESS       JULIEANN DERBY KRANS                SHAWN TYE
SERVICE - TOM
CASSISA
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CAPITOL            JULIETA FRANCO                     SHAWN VADNAIS
CORPORATE
SERVICES, INC.
CAPITOL PROCESS    JULIWU INVESTMENTS, LLC            SHAYNA'S CORNER LLC
SERVICES, INC.
CAPITOL SQUARE     JUMP FOR JOY                       SHDR
LTD
CAPLIN &           JUNE FANNON                        SHEA BROS. DRAINAGE
DRYSDALE,
CHARTERED
CAPLIN &           JUNE MACKAY                        SHEARD, JR., AL
DRYSDALE,
CHARTERED
CAPRI STEAK &      JUNE STAGG                         SHECKELS LAWN
PIZZA HOUSE                                           SERVICES &
                                                      LANDSCAPING LLC
CAPSTAR TX         JUNEID POONJA AND GREG             SHEDRAK KORIL DBA
LIMITED            BARON                              ALL SYSTEMS HVAC
PARTNERSHIP
(CLEAR CHANNEL
GROUP)
CAPTAIN'S GALLEY   JUNETEENTH FESTIVAL CO.            SHEENA NATASHA
CAPTARE TRAINING   JUNIOR ACHIEVEMENT                 SHEETS, GENE
CAPTURED           JUNIPER CENTRE INC.                SHEIKA KEEN
TECHNOLOGIES
CARA SAWCHUK       JUNK OUTPOST HAULING AND           SHEILA BENNETT
                   JUNK REMOVAL
CARANNANTE LLC     JUST JUNK GRAND RIVER              SHEILA HAUGAN
CARDER, JAMES C.   JUST SOLUTIONS, INC                SHEILA L KENESKY
CARDINAL COACH     JUSTICE, BRYAN                     SHEILA PARDY
LINES LIMITED
CARDINAL           JUSTIN A THORNTON, ATTORNEY        SHEINA ALLEN
COMMUNICATION      AT LAW
LTD.
CARDINAL           JUSTIN CARLO                       SHEIRICA LOXLEY
PROPERTY
MANAGEMENT LLC
CARDINAL SIGN      JUSTIN DOYLE                       SHELBURNE MINOR
CORPORATION                                           HOCKEY ASSOCIATION
CARDINAL SIGNS     JUSTIN GOULDING                    SHELBY COUNTY
LTD
CARDLYTICS, INC    JUSTIN NATHANIEL HIRSCH            SHELBY JONES
CARDWELL SIGN      JUSTIN ROBINSON                    SHELBY NELSON
COMPANY
CAREER CONCEPTS,   JUSTIN STRICKLAND                  SHELBY PARKINSON
USA
CAREER             JUSTINA DOELL                      SHELDON & MARK
MANAGEMENT
CENTER
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CAREER SERVICES,   JVC HOLDINGS LLC                    SHELDON, MATTHEW
NORFOLK STATE
UNIVERSITY
CAREERBUILDER      JVO ENTERPRISES, INC                SHELDON, MATTHEW
CAREERBUILDER,     JW ASSOCIATES, INC.                 SHELDON, SADA
LLC
CAREINGTONMD,LLC   JWJ INVESTMENTS                     SHELEY MAHONEY
CAREY/VIP &        JY 332 LLC                          SHELINA PYARALI
CELEBRITY
LIMOSINE
CARL CURRY         K & K LOCKSMITHS                    SHELL ENERGY SERVICES
                                                       CO. L.L.C.
CARL E. LEVI,      K & M PEBBLE CREEK, LLC             SHELLEY BRIDEN
TRUSTEE
CARL SWANSON       K PROMOTIONS LTD                    SHELLEY KENDALL
CARL VOLLBRECHT    K&M ELECTRIC INC                    SHELLEY KEWLEY
CARLIE CARTER      K&P ENTERPRISES OF                  SHELLEY PEEBLES
                   HENDERSONVILLE, LLC
CARLO JURADO       K&R DISTRIBUTORS                    SHELLEY TYMOSHCHUK
                                                       LAROSE
CARLOS A           K.O. FAMILY SQUARE                  SHELLY F NIESEN
GALLEGOS
CARLOS FELIPE      K-9 KAR WASH                        SHELLY ROSE
GRANADOS
CARLOS GALVEZ      KA ELIE, LLC                        SHELTON, SHIRLEY
CARLOS UGARTE      KAISER PERMANENTE                   SHENANDOAH AREA
                                                       AGENCY ON AGING
CARLOS WILKEY      KALEY LAWRENCE                      SHENANDOAH LEGAL
                                                       GROUP PC
CARLSTON           KALISTA O'GRADY                     SHENEYSE CHERNELCI
MARKETING GROUP
CARLTON E. SEAY    KALMON PRODUCTIONS, LLC             SHEPARD HYKEN
RENT ACCOUNT
CARLTON SELL LLC   KALOCI, MARY JANE                   SHEPPARD MULLINS
                                                       RICHTER & HAMPTON
                                                       LLP
CARMA D. MATHIS    KAM KOTNIK                          SHEPPARD, BRETT,
                                                       STEWART, HERSCH &
                                                       KINSEY
CARMACK, JEFF      KAM OGATA                           SHEPPARD, JONATHAN
CARMELITA          KAMEHAMEHA SCHOOLS BISHOP           SHERATON LABELS INC.
OBRADOVIC          ESTATE
CARMINE CARRETTO   KAMLA LAMBERT                       SHERATON NORFOLK
                                                       WATERSIDE
CAROL ANN OKEKE    KAMLOOPS DAILY NEWS                 SHERATON OCEANFRONT
CAROL CROSBY       KAMLOOPS OFFICE SYSTEMS             SHERATON SAN DIEGO
                                                       HOTEL & MARINA
CAROL D. SETSER    KAMPO HOLDINGS                      SHERFIELD, WAYNE
CAROL DROUILLARD   KANDELA, EDDIE                      SHERI BERND
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CAROL FLEMING       KANDELA, RICHARD                  SHERI ORGAN
CAROL GRUBER        KANDIAH VAAGEESAN                 SHERI PARI
CAROL HOUSE         KANE, JAMES                       SHERI SAIEVA
CAROL L.            KANSAS CITY POWER AND LIGHT       SHERIDAN ROSS, PC
NAUGHTON
CAROL NORGROVE      KANSAS CITY STAR                  SHERIN BADAWI
CAROL SCOTT         KANSAS CORPORATE TAX              SHERINIAN & HASSO LAW
                                                      FIRM-KRISTIN PETERSON
CAROLE A            KANSAS CORPORATE TAX,             SHERLOCK
SCHNEIDERAT         KANSAS DEPARTMENT OF              INVESTIGATIONS
                    REVENUE
CAROLE MOUSSEAU     KANSAS DEPARTMENT OF              SHERRA ZAGRODNEY
                    REVENUE
CAROLE TELMAN       KANSAS DEPARTMENT OF              SHERRI MCGEAN
                    REVENUE
CAROLENE TESSIER    KANSAS GAS SERVICE                SHERRIE-ANN MARIE
                                                      GUNN
CAROLINA DUNES      KANSAS SECRETARY OF STATE         SHERRI-LYNN PROSPERO
REAL ESTATE
CAROLINA MONEY      KANSAS UNCLAIMED PROPERTY         SHERRON HILLS
SAVER
CAROLINA            KANSASA CITY ST. PAT PARADE       SHERRY BROWN
PROPERTY RENTAL
LLC
CAROLINA            KANWALJEET DHANJU                 SHERRY HARRIS
TRAILWAYS
CAROLINE ALDECOA    KAPTAN SINGH                      SHERWIN BROWN
CAROLINE            KARABELAS &                       SHERWOOD DIGITAL
SCHWARTZ            PAPAGIANOPOULOS, LLP              COPY CENTRE
CAROLINO, GIL       KAREN CAMERON                     SHE'S THE BOSS
                                                      PAINTING COMPANY
CAROLYN             KAREN CAPPELLO                    SHEZANA BJEDOV
L.CAMARDO,
TRUSTEE
CAROLYN             KAREN DOBBIN                      SHIEKH ELLAHI
LAWRENCE
CAROLYN             KAREN FLARO                       SHIFT UP LLC
MADAHBEE
CAROLYN MCTAVISH    KAREN GILHULY                     SHINE FM CKRD
CAROLYN SOULIERE    KAREN HELEN PECK                  SHINY WINDOWS, INC.
CAROLYN STUART-     KAREN KISHI                       SHIP IT
IRELAND
CARON D. GETFIELD   KAREN KRANJAC                     SHIRLEY BRAYBROOK
CARON, INC          KAREN MCCARTNEY                   SHIRLEY GYURKO
CAROSULL, INC       KAREN OCHAL                       SHIRLEY J MITCHELL
CARPE DIEM          KAREN QUANZ                       SHIRLEY LANDRIAULT
CARPENTER, STELLA   KAREN REDDING LLC                 SHIRLEY PLAZA REALTY
                                                      CORP
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CARPET                KAREN RENNOLDS-SILVA               SHIRLEY YEE
CONTRACTORS
CARPET CONTRACTS      KAREN ROBBINS                      SHIRMEL WILLIAMS
INC.
CARPET CREATIONS      KAREN SILVERGOLD                   SHON SCOTT
FLOOR & WALL
DESIGN
CARR MALONEY PC       KAREN STRONGOLI                    SHOP TUTORS
CARR, JACK & HELEN    KAREN THOMPSON                     SHOPAYGO, LLC
CARRIAGES             KAREN WILLIAMS                     SHOPPER
ETC./PARADE
CARRIE CROOKS         KAREY CAMPBELL SMITH               SHOPPER COUPONS
CARRIE GLASSEY        KARI E. SUMMERS                    SHOPPERS REALTY INC.
CARRIE JEANNE         KARINA CABALLERO                   SHOPPES AT TELEGRAPH
TULLY                                                    SQUARE, LLC
CARRIE L CUTTER       KARINA WILLIAMS                    SHOPS AT HAMPTON
                                                         TOWNE CENTRE, LLC
CARRIE NICHOLLS       KARKI, RABINDRA                    SHOPS AT TANFORAN
                                                         REIT, INC
CARRIE S BAREIS       KARLA ALEJANDRA ALFARO             SHORE DRIVE PLAZA, LLC
                      FIGUEROA
CARRIE WALTERS        KARNAGE ASADA                      SHORE INVESTIGATIONS,
                                                         INC
CARROLL COUNTY        KARNES, TAMI                       SHOREWORX
TAX COMMISSIONER                                         COMMUNICATIONS INC
CARROLL EMC           KAROLINA GAVILAN                   SHOUTLET, INC.
CARROLL HEYD          KARTHIGA RAMACHANTHRAN             SHOWTIME EXPRESS
CHOWN
CARROLL'S MOVING      KASHOO CLOUD ACCOUNTING,           SHRADER, SCOTT
& STORAGE CO., INC.   INC.
CARROLLWOD            KASI BREWER                        SHRED IT
PARTNERS
CARSCALLEN, LLP       KASKADE, SATYA GRACE               SHRED-IT - ALUMINUM
CARSON -              KASOWITZ BENSON TORRES LLP         SHRED-IT C/O
NORMANDIE PLAZA                                          STERICYCLE ULC
LLC
CARSON ATTORNEY       KAST REALTY ENTERPRISES            SHRED-IT
SERVICES                                                 CANADA/WINNIPEG
CARSON CITY           KATELIN MICHALUK                   SHRED-IT
NEVADA                                                   INTERNATIONAL INC.
CARSON J WOODS        KATELYN TURNER                     SHRED-IT NEW ORLEANS
CARSON PROPERTIES     KATELYNN TATCHELL                  SHRED-IT OMAHA
CARSON, PHILLIP       KATHERINE BARANOV                  SHRED-IT PRIVIDENCE
CARSON, ROBERT &      KATHERINE CROUTER                  SHRED-IT US HOLDCO,
SUSAN                                                    INC.
CARSON-               KATHERINE CUNNINGHAM               SHRED-IT USA-28883
NORMANDIE PLAZA,                                         NETWORK PLACE
LLC
CARSWELL              KATHERINE SERAZIN-QUEVILLON        SHRED-IT USJV LLC
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CARTER BROADCAST   KATHERINE VANDER BYL               SHREWSBURY SELF
GROUP, INC.                                           STORAGE
CARTER             KATHERINE VILLEMAIRE               SHRM
BROADCASTING
GROUP, INC
CARTER             KATHERINE VONESSA CARDENAS         SHRUTI KIDBILE
DISTRIBUTION
CARTER LEDYARD &   KATHLEEN CAMERON                   SHUGERT, MELANIE
MILBURN LLP
CARTER, CONBOY,    KATHLEEN DONOVAN                   SHURGARD OF QUEEN
CASE, BLACKMORE,                                      ANNE
MALONEY & LAIRD,
P.C.
CARTRIDGE          KATHLEEN KAPUSTA                   SHUTTER COMPANY
SPECIALTIES
CARTRIDGE WORLD    KATHLEEN SNIDER                    SHWAB FINANCIAL
                                                      SERVICES, INC
CARUSO, BILL       KATHRYN MCCANN                     SHYLENDRAN
                                                      JEYENDRAN
CARY CROWTHER      KATHY BASS                         SHYWORDS TRAFFIC
                                                      NETWORK
CASCADE NATURAL    KATHY KENNEDY                      SIANA MILLS
GAS
CASCADE OLYMPIC    KATHY LITTLE                       SIDDALL, JAMES
CORP.
CASCADE TRANSIT    KATHY M JACKSON                    SIDDIQI, BILAL A.
ADVERTISING
CASEY KUJAWSKI     KATIE LOVELACE                     SIDE MACK & SONS
CASEY R CONNER     KATIE PALMER                       SIDEM LLC
CASH               KATIE POTTER                       SIDLEY AUSTIN LLP
CASH               KATIE SPENCER                      SIDNEY NORTON
CASH MONEY         KATRINA REYNOLDS                   SIEGFRIED KROLLZIK
CHEQUE CASHING
INC-WHITBY
CASH MONEY         KATTEN MUCHIN ROSENMAN, LLP        SIEMENS BUILDING
CHEQUE CASHING,                                       TECHNOLOGIES LTD.
INC-EDMONTON
CASHEW AND CLIVE   KATTY NGUYEN                       SIERRA RADIO NETWORK
CATERING
CORPORATION
CASINO             KATZ RADIO - NEW YORK              SIERRA, JOSHUA J.
CONNECTION
INTERNATIONAL
CASON, AARON       KAUFMAN & CANOLES                  SIFEN DEVELOPMENT INC
CASPER WESTERN     KAUFMAN P.A.                       SIGN & AWNING
REAL ESTATE LLC-                                      SYSTEMS, INC
DO NOT USE
CASSANDRA          KAY, ELENA                         SIGN A RAMA
HODDER
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CASSANDRA            KAYLA BAKER                       SIGN A RAMA-CO
HOPKINS
CASSANO, DESTINEY    KAYLA FERRE                       SIGN A RAMA-NC
M.
CASTANET MEDIA,      KAYLA MARIER                      SIGN CITY
LTD.
CASTILLO &           KAYLA RENEE BRANSCUM              SIGN DEPOT
SCHULER
CASTLE HILL NY LLC   KAYLA TRAVIS                      SIGN DISTRIBUTION
                                                       WAREHOUSE
CASTLEBERRY          KAZR- FM                          SIGN EXPERTS LTD
COMMUNICATIONS
CASTLEROCK II, LP    KCAL-FM                           SIGN FX INC.
CASTRA               KCAP COBOURG INC                  SIGN MASTER
CONSULTING, LLC
CASTRO, MARINA       KCOM CORPORATION                  SIGN NOW
CATALYST GLOBAL      KCP&L                             SIGN SERVICE & MFG. CO
LLC
CATALYST             K-D MOVING & STORAGE INC          SIGN-A- RAMA PR
INTELLIGENCE, INC
CATARAQUI TOWN       KDI PANAMA MALL LLC               SIGNAGE
CENTRE
CATAWBA COUNTY       KDLO                              SIGNARAMA BURNABY
REGISTER OF DEEDS
CATERING             KDVA-TV60                         SIGNARAMA MARKHAM
CONCEPTS
CATHARINE            KEANE, INC.                       SIGNARAMA TAMPA BAY
ZAMPALON
CATHERINE            KEANE, INC.-COBRA BILLING         SIGNATURE BANK OF
CHARBONNEAU                                            ARKANSAS
CATHERINE HAIG       KECHELLE HADLEY                   SIGNATURE
                                                       MANAGEMENT COMPANY
CATHERINE LOGIE      KEEL & COMPANY, LLC               SIGNATURE PRINTING &
                                                       GRAPHICS
CATHERINE M.         KEEPSAFE PROTECTION SERVICES      SIGNATURE SIGNS
SCHWARZ, TRUST
CATHERINE MARRIN     KEITER, STEPHENS, HURST, GARY     SIGNET SIGNS
                     & SHREAVES PC
CATHERINE MICHOS     KEITH BERGER                      SIGNHYPE
CATHERINE            KEITH BOUSQUET                    SIGNIFICO!
MINNETTE CLEPPER
CATHERINE TAYLOR     KEITH DE BRAGANCA                 SIGNMASTERS
CATHRYN VAN DE       KEITH GORDON                      SIGNS CAD CORP DBA
KERCKHOVE                                              CAD SIGNS
CATHY ANDERSON       KEITH LEROY                       SIGNS FOR THE TIMES
CATHY AUTRIACO       KEITH N YUNG, ATTORNEY AT         SIGNS GALORE INC
                     LAW
CATHY CHARLTON       KEITH ROUSSEAU                    SIGNS MAGIC
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CATHY CORDEIRO       KEKST & COMPANY, INC. DBA          SIGNS OF LIFE, LLC
                     KEKST CNC
CATHY CORRADETTI     KELEIGH KEOLANI MILLIORN           SIGNS ON TIME
CATHY RONG PENG      KELLAM MECHANICAL                  SIGNS, PLAQUES & MORE
CATHY WARD           KELLAM, PHILIP J.                  SIGNSCAPES, INC
CAUTION FIRE         KELLER & HECKMAN LLP               SIGNSHARKS SIGN
PREVENTION, LLC                                         SERVICE
CAVALIER MANOR       KELLER ELECTRIC LIMITED            SIGNWORK BY CHUCK
SHOPS, LLC                                              KISH
CAVALIER PATIO &     KELLY & PICERNE, INC               SIGRID RAUDALES
LANDSCAPE
CAVALIER             KELLY ANNE HOGUE                   SILEMIN, MIKE
TELEPHONE
CAWTHON-HOLLUMS      KELLY JOHNSTONE                    SILK FM BROADCASTING
PROPERTIES INC                                          LTD
CB RICHARD ELLIS     KELLY PAISLEY                      SILVA SAKRAN
OF VA INC.
CBDA                 KELLY PHANGURA                     SILVER HORN II LLC
CBI                  KELLY SERVICES, INC.               SILVER SAGE SHOPPING
                                                        CENTER
CBL & ASSOCIATES     KELLY STACEY                       SILVERCREST
                                                        ADVERTISING, INC
CBL & ASSOCIATES     KELLY THIESSEU                     SILVERHAWK
LIMITED                                                 INVESTIGATIONS
PARTNERSHIP-OLD
HICKORY
CBL & ASSOCIATES     KELLY UMPHREY                      SILVERLAND
LIMITED                                                 INVESTMENT LLC
PATNERSHIP
CBL & ASSOCIATES     KELLY YOUNG                        SILVERMAN AND
MANAGEMENT                                              COMPANY, INC
CBL & ASSOCIATES     KELOWNA BCSPCA                     SILVERPOP SYSTEMS INC
PROP., INC.
CBRE LIMITED - IN    KELSEY ROBINSON                    SILVERSCAPES INC
TRUST
CBS OUTDOOR          KELSON DEVELOPMENT                 SILVERTIP PROMOTIONS
CANADA                                                  & SIGNS
CBS RADIO - KSFM -   KELSWOOD PROPERTIES INC.           SILVIA BURGER
SACRAMENTO
CBS RADIO - WMBX     KELVIN FELLNER                     SILVIA ERJAVAC
CBS RADIO - WPEG-    KELVINGTON, ESQ., M. JOANNA        SIMAS PROPERTIES 1, LLC
FM
CBS RADIO - WPGC     KEMET, ANU                         SIMMONS MEDIA GROUP -
                                                        KXRK
CBS RADIO - WZMX     KEMPSITY, PHIL                     SIMMONS, DAVID
CBS RADIO DBA        KEMPSVILLE HIGH SCHOOL BAND        SIMMONS, SHANE
WJHM-FM              PARENTS ASSOCIATION, INC.
CBV COLLECTION       KEMPSVILLE LION'S CLUB             SIMON CAPITAL GP
SERVICES
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CCA - DIVISION OF     KEMPSVILLE ROOFING INC.              SIMON PARISIEN
TAXATION
CCH CANADIAN          KEN HANCHER                          SIMON PHILIPPE
LIMITED
CCH INCORPORATED      KEN JOURNAGAN                        SIMON PROPERTY GROUP
CCH INCORPORATED      KEN MACVICAR                         SIMON PROPERTY GROUP
                                                           LP
CCH PROSYSTEMS        KEN MACVICAR                         SIMON SPOONER
FX- WOLTERS
KLUWER
CCH SMALL FIRM        KEN MATTINSON                        SIMON W. HENDERSHOT,
SERVICES                                                   III
CD DIMENSIONS, INC.   KEN NAGATA                           SIMONS, WILLIAM
CD VENTURES II, LLC   KEN REID INC.                        SIMPLIFY COMPLIANCE
                                                           LLC
CDC MEDIA             KEN SIRKIS                           SIMPLY COMP
CDDVKING LLC          KENAI PENINSULA BOROUGH              SIMPOVA WEB
                                                           COMMERCE
CDE LIGHTBAND         KENAI PLAZA GENERATIONS LLC          SIMPSON WIGLE
CDS CLEARING AND      KENDALL CENTER MANAGEMENT,           SIMPSON, CHASITY
DEPOSITORY            LLC
SERVICES INC.
CDS INNOVATIONS       KENDALL ROBINSON                     SIMRAN INC
INC.
CDW CANADA INC.       KENDALL SIGN INC                     SIMS, CARVER
CDW COMPUTER          KENDALLVILLE PUBLISHING CO -         SIMTRAX COURIER
CENTERS, INC.         EVENING STAR
CDW DIRECT            KENDRICK PROPERTIES, INC.            SINCLAIR TELEVISION
                                                           GROUP
CDYNE                 KENILWORTH MEDIA INC.                SINGH, JAIDEEP
CORPORATION
CECIL, JOHN           KENILWORTH MEDIA INC.                SINTAY, RYAN
CEDAR ELMHURST,       KENNEDY, BOBBY                       SIOUX FALLS SHOPPING
LLC                                                        NEWS
CEDAR LONG REACH,     KENNEDY, RON                         SIOUX FALLS STAMPEDE
LLC
CEDAR REALTY          KENNER PC III LLC                    SIR-RAMIK,INC
TRUST PARTNERSHIP
LP
CEDAR SPRINGS         KENNETH ALLEN                        SISKIND, CROMARTY,
                                                           IVEY & DOWLER LLP
CEDRIC                KENNETH HEALY                        SISKINDS THE LAW FIRM
RICHARDSON
CEF ENTERPRISES       KENNETH HORNER                       SISKINDS THE LAW FIRM
CELEBRITY SIGN        KENNETH L MAUN, TAX                  SISSON WARREN
RENTALS               ACCESSOR/COLLECTOR                   SINCLAIR
CELINA GALLEGOS       KENNETH MARK YOUNG                   SISSON WARREN
                                                           SINCLAIR
CELL GROUP, INC.      KENNETH MCGILL                       SITNYKOVA, LILIIA
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CELL PHONES FOR      KENNETH OLSEN                       SIX C/D ASSOCIATES
SOLIDERS
CENLAR               KENNETH PIERRE-LOUIS                SKADDEN, ARPS, SLATE -
                                                         INACTIVE
CENTER FOR           KENNETH R BRYAN                     SKADDEN, ARPS, SLATE,
COMMUNITY                                                MEAGHER & FLOM LLP
DEVELOPMENT, INC.
CENTERPLATE, INC     KENNETH R. KRING                    SKADDEN, ARPS, SLATE,
                                                         MEAGHER & FLOM LLP
CENTERPOINT          KENNETH WOODS                       SKAGGS FAUCETTE LLP
ENERGY
CENTIMARK            KENNETH YOUNG                       SKAGGS, BONNIE
CORPORATION
CENTRAL CANADA       KENRO INC                           SKAGIT COUNTY
PROPERTY                                                 TREASURER
MANAGEMENT
CENTRAL CAROLINA     KENSLOW, LOUISE                     SKIAVO, LANA
COMMUNITY
FOUNDATION
CENTRAL CAROLINA     KENT MC CONACHIE                    SKILLPATH SEMINARS
WINDOW CLEANING
CENTRAL CO. FIRE &   KENT POWELL                         SKINNER BROS
RESCUE                                                   TRANSPORT LTD
CENTRAL COAST        KENTON COUNTY                       SKIP TO LINE 71 LLC
BROKERAGE &
MANAGEMENT, INC
CENTRAL COUNTY       KENTUCKY DEPARTMENT OF              SKLARIN
FIRE & RESCUE        REVENUE                             COMMUNICATIONS LLC
CENTRAL INDIANA      KENTUCKY DEPARTMENT OF              SKOOTER HOME
PARALEGAL SERV       REVENUE                             IMPROVEMENT
CENTRAL LOCK &       KENTUCKY INTELLIGENCE               SKYLAR, ZORIK
KEY, INC.            SERVICE
CENTRAL OHIO         KENTUCKY REVENUE CABINET            SKYWAY JACKS
TRANSIT AUTHORITY
CENTRAL SIGNS LLC    KENTUCKY STATE TREASURER            SL BEACH LLC
CENTRE 800 LLC       KENTUCKY STATE TREASURER            SL NUSBAUM
CENTRE FOR           KENTUCKY STATE TREASURER            SL NUSBAUM INSURANCE
APPLIED              (UNCLAIMED PROPERTY)                AGENCY, INC.
CRYPTOGRAPHIC
RESEARCH
CENTRE PLACE         KENTUCKY UTILITIES                  SL NUSBAUM REALTY CO.
WALNUT CREEK LLC
CENTRE               KENTWOOD SPRINGS                    SLAIT CONSULTING
WELLINGTON
COMMUNITY RADIO,
INC.
CENTRE               KEQ PROPERTIES LLC                  SLAPNIK, MARTIN
WELLINGTON MINOR
HOCKEY
ASSOCIATION
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CENTRE               KERI LOXTON                        SLH ENTERPRISE, LLC
WELLINGTON MINOR
SOFTBALL
ASSOCIATION, INC.
CENTRE               KERRI LOCKREY                      SMA COMMUNICATIONS,
WELLINGTON PARKS                                        LLC
& RECREATION
CENTRIC              KERRI WILSON                       SMALLBUSINESSOPPORT
COMMUNICATIONS,                                         UNITY.COM
LLC
CENTRO               KERRVILLE DAILY TIMES              SMART CITY NETWORKS,
BINANCIONAL PARA                                        LP
EL DESARROLLO
CENTRO MEXICANO      KERRY ANN ROBITAILLE               SMART CITY NETWORKS-
                                                        VA BEACH
CENTRO NP EAST       KERRY ANNE GIBBINS                 SMART DM
LAKE PAVILLIONS
CENTRO NP            KERRY LEDGER                       SMART TRADING
HOLDINGS                                                COMPANY
CENTRYLINK-2961      KETTLER USA                        SMART, JOHN
CENTURION REALTY     KEVAN ROSSITER                     SMARTMONEY.COM
CENTURY 21           KEVIN AYER                         SMARTREMINDERS.COM,
PRESTIGE REAL                                           INC.
ESTATE
CENTURY LINK-4300    KEVIN BARROW                       SMARTSOURCE RENTALS
CENTURY PANTHER      KEVIN BOIVIN                       SMC SQUARED, LLC.
LLC
CENTURY SHOPPES      KEVIN C. REILLY                    SMG
OF GAINESVILLE INC
CENTURY SIGNS        KEVIN DUSZA                        SMITH INDUSTRIES
CENTURY-             KEVIN HAMILTON                     SMITH INDUSTRIES -
HAWTHORNE CO                                            INACTIVE
CENTURYLINK          KEVIN HAMMOND                      SMITH, CARROAD, LEVY
                                                        & FINKEL, LLP
CENTURYLINK QCC-     KEVIN JAMES FINNERAN               SMITH, CATHY
52187
CENTURYLINK-1319     KEVIN JOHNSTON                     SMITH, GAMBRELL &
                                                        RUSSELL, LLP
CENTURYLINK-1319     KEVIN LEISCHNER                    SMITH, GLEN AND BETTY
CENTURYLINK-29040    KEVIN M. ROSS                      SMITH, GLORIA S.
CENTURYLINK-4300     KEVIN MANN                         SMITH, JASON
CENTURYLINK-91154    KEVIN MCKAGUE                      SMITH, KAREN
CERCA                KEVIN MCKAY                        SMITH, KENNETH E.
CERCA                KEVIN MCKAY                        SMITH, LISA
CERIDIAN EMPLOYEE    KEVIN MCNEILL STATE                SMITH, STEVE
SERVICES-10989       MARSHALL
CERTEGY CHECK        KEVIN PARENT                       SMITHBOWER, DANIEL
SERVICES, INC
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CERTIFIED          KEVIN REED                         SMITH-FULCHER,
PROPERTY                                              VALERIE M
MANAGEMENT, INC.
CERTIFIED          KEVIN RICHARD                      SMITTY'S BICYCLE SHOP
REPORTING                                             AND LOCKSMITH
SERVICES                                              SERVICE, LLC
CESAR CACERES      KEVIN STEINMETZ                    SMOKING GUN
                                                      ENTERTAINMENT
CESAR CHACON       KEVIN SUMMERS                      SMOM GOLF
LOARCA
C'EST-A-DIRE       KEVIN SUPPES                       SMS MEDIA GROUP, INNC.
COMMUNICATION
SERVICES
CF. ENTERPRISES    KEVIN T & VALERIE A BYRNE          SMULLEN, WILLIAM
CORP
CFAI               KEVIN THOMPSON                     SNAGAJOB, INC.
CFIC               KEVIN TIGHE                        SNAPPING SHOALS EMC
CFNR/NORTHERN      KEVIN TRUCHON                      SNELL & WILMER, LLP
NATIVE BROADCAST
CFQX-FM/CHIQ-FM    KEVIN W AND NANCY M WHITE          SNELLING 10291
CFS2               KEY BUSINESS SOLUTIONS             SNELLING PERSONEL
                                                      SERVICES
CGB PUBLISHING     KEY LEASE CANADA LTD.              SNI COMPANIES
LTD.
CGC CONCESSIONS    KEY WEST LOCK & SAFE               SNIPES, DALE & HEATHER
GROUP CANADA
CGLIC/EQUITY       KEYSER AVE PROPERTIES, LLC         SNOHOMISH COUNTY
WESTLAND MALL                                         TREASURER
CHAB 800           KEYWEST LOCK & SAFE                SNO-KING SIGNS
CHAD FITZPATRIC    KFDX-TV                            SNOWBALL
                                                      ENTERPRISES, LLC
CHAD WATSON        KFG-WVC INVESTMENTS LTD.           SNOWSHOE PROPERTIES
                                                      MANAGEMENT
CHAINWAVE          KG ENTERPRISES                     SNVC
SYSTEMS, INC.
CHAMBER OF         KG VENTURES                        SNYDER SIGN
COMMERCE GROUP
INSURANCE PLAN
CHAMBER OF         KH FOOD INDUSTRY LTD               SNYDER, AARON
COMMERCE OF
SOUTHWESTERN
AUGLAIZE COUNTY,
INC.
CHAMBER OF         KHALID SAFARI                      SNYDER, HARLEY
COMMERCE-CLOVIS
CHAMBER OF         KHALIDA ZAHEER                     SOASTA, INC.
COMMERCE-FRESNO
CHAMBER OF         KHAMIS BAKU GANDHI                 SOBRO 2535 LLC
COMMERCE-FRESNO
METRO BLACK
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CHAMBER OF         KHAN, FARAS                         SOCAL SUBPOENA
COMMERCE-LOS
BANOS
CHAMBER OF         KHAN, RAHAT                         SOCALGAS
COMMERCE-
MADERA
CHAMBER OF         KHTT - FM                           SOCI, INC.
COMMERCE-MERCED
COUNTY HISPANIC
CHAMBER OF         KIDD, CHARLIE                       SOCIAL 123, LLC
COMMERCE-
PORTERVILLE
CHAMBER OF         KIDS IN MOTION                      SOCIETY FOR HUMAN
COMMERCE-THE                                           RESOURCE
GREATER MERCED                                         MANAGEMENT
CHAMBER OF         KIDS SAFE                           SOCK PUPPET, LLC
COMMERCE-TULARE
CHAMBER OF         KIERA AUSTIN                        SODEXO INC.
COMMERCE-VISALIA
CHAMPMAN,          KIFI-TV                             SOFTCHOICE CORP.
MICHAEL R.
CHAMPS SPORTS      KILDON PLACE PROMOTION FUND         SOFTWARE DIMENSIONS
#14480
CHAN, ANDREW       KILDONAN PLACE                      SOJO BASKETBALL
                                                       EXTRAVAGANZA
CHANCERY COURT     KILDONAN VILLAGE LIMITED            SOLANO COUNTY
OF HAMILTON                                            TREASURER
COUNTY
CHANDKY LANGHU     KILDONAN VILLAGE LTD                SOLANO GLASS
                                                       COMPANY, INC.
CHANDRAKANTH S P   KILLEEN MALL MEMBERS, LLC           SOLANO HEATING & AIR
                                                       CONDITIONING
CHANEL SAVER       KILLINGSWORTH, DONNA                SOLANO MALL LP
CHANNA COCHRANE    KIM & DENNIS KEEFE                  SOLANO STORAGE
                                                       CENTER, LLC
CHANNEL LUMBER     KIM B PETERSON                      SOLARIS BY DESIGN
CO, INC.
CHANTAL JAMES      KIM BROWN                           SOLARWINDS, INC.
CHANTEL BEECROFT   KIM CAMARATA                        SOLEDAD CENTER LLC
CHANTEL BROWN      KIM CASSINO                         SOLES4SOULS, INC.
CHANTEL PEREIRA-   KIM CLARK                           SOLIMY DECIUS
VALENTINO
CHANTELLE AND      KIM HOAN, LLC                       SOLIUM TRANSCENTIVE
MERLE LETANDRE                                         LLC
CHANTILLY HEALTH   KIM MACNEARNEY                      SOLOMON & SOLOMAN,
& WELLNESS                                             PC
CHANT-O-FETES      KIM MCDOWELL                        SOLVABLE, LLC
CHAPDELAINE        KIM MCPHARLAND                      SOMAYA MACMILLAN
INVESTIGATIONS,
INC.
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CHAPEL HILLS MALL KIM R ROSSITER                        SOMMARI MUWWAKKIL
CHAPMAN AND        KIM WELLER                           SONITROL OF
CUTLER LLP                                              TIDEWATER
CHAPMAN SIGNS INC. KIMBALL OFFICE SUPPLY                SONNENBERG
                                                        INSURANCE INC
CHAPTER TOWNSHIP     KIMBALL, THOMAS R.                 SONNY COSTANTINI
OF MT. MORRIS
CHARANTE             KIMBERLEY JAMES                    SONWELL NEON
HOLDINGS                                                SYSTEMS
CHARIS WEBB          KIMBERLEY MCGREGOR                 SONYA HOLLINGS
CHARLENE DURAND      KIMBERLY ASHBY                     SONYA RYKERS
CHARLENE HANSON      KIMBERLY FEDICK                    SONYA SAIJA
CHARLENE MOORES      KIMBERLY GAUDET                    SOO CURLERS
CHARLENE P PERRY     KIMBERLY HAFFORD                   SOOJIN AVALON PLAZA,
                                                        LLC
CHARLENNE            KIMBERLY JONES                     SOONER CAPITAL, LLC
ASSELSTINE
CHARLES              KIMBERLY PINEDA                    SOONER TWO LLC DBA
CARRICATO                                               MIDWEST PROPERTIES
                                                        AND MANAGEMENT
CHARLES CHADWICK     KIMBERLY PUFFER                    SOPHIA JOHNSON
CHARLES              KIMBERLY S PIERCE                  SOPHIE CLARK
CHAMBERLAIN
CHARLES D. HOLM      KIMBERLY STONE                     SORSHER, ALEKSANDER
CHARLES DUNN RES,    KIMBLE DEVELOPMENT OF BAKER        SORSHER, ALEX & YANA
INC.                 LLC-DO NOT USE
CHARLES I FILL       KIMCO REALTY CORP 3333             SOS CHILDREN'S SAFETY
                                                        MAGAZINE
CHARLES L PAYSON     KIMCO REALTY CORPORATION           SOS COMMUNICATIONS
REALTY CORP                                             LTD.
CHARLES LOMELI,      KIMS MANAGEMENT, INC               SOS MARKETING
TAX COLLECTOR
CHARLES MOORE        KINETO VAN LINES                   SOS TOYS
CHARLES N COOPER     KING COUNTY TREASURER              SOUND EXPRESSIONS,
                                                        LLC
CHARLES R WOLFE II   KING OF SIGNS, LLC                 SOUND INVESTMENTS
                                                        LTD
CHARLES SABBAH       KING RESTORATION LLC               SOUNDS GOOD, INC.
CHARLES SCHWAB       KING, BILL                         SOURCE BOOK
AND CO. INC.                                            PUBLICATIONS
CHARLES SCHWAB       KING, CHRIS                        SOURCE MEDIA
TRUST CO.
CHARLES W            KING, PRESTON                      SOURCE OFFICE
FRANKENS                                                FURNISHINGS
CHARLES WOODS        KINGDOM WORK                       SOURCEGAS ARKANSAS,
                                                        INC
CHARLESON            KINGS MOVING, LLC                  SOUTH BAY
HARBOR TOURS                                            COMMUNICATIONS, INC.
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CHARLESTON JOINT    KING'S VICTORIAN INN                   SOUTH BEND TRIBUNE
VENTURE                                                    CORPORATION
CHARLOTTE CHECK     KINGSPORT TIMES-NEWS                   SOUTH BROADWAY
CASHERS                                                    INVESTMENTS, INC
CHARLOTTE           KINGSTON FRONTENAC HOCKEY              SOUTH CAROLINA DEPT
CHECKERS HOCKEY     CLUB                                   OF REVENUE
TEAM
CHARLOTTE           KINKO'S-GA-PO BOX 105522               SOUTH CAROLINA DEPT.
QUINLAN                                                    OF REVENUE
CHARLOTTE SMITH     KINKO'S-TX - 672085                    SOUTH CAROLINA DEPT.
                                                           OF TAXATION
CHARLYE NUNEZ       KIPLING REALTY MANAGEMENT              SOUTH CENTRAL
                    INC.                                   INDUSTRIAL PROPERTIES
                                                           XIV, LP
CHARLYN FISCHER     KIPLINGER TAX LETTER                   SOUTH COAST GROUP,
                                                           LLC
CHARLYNNE           KIPLINGER TAX LETTER                   SOUTH DAKOTA
LOUCKS                                                     DEPARTMENT OF
                                                           REVENUE
CHARMAINE           KIRBY MARKETING SOLUTIONS,             SOUTH DAKOTA DEPT OF
REDDICK             INC                                    LABOR
CHARMIE JOHNSON     KIRIT MAHARAJ                          SOUTH DAKOTA
                                                           SECURITIES DIVISION
CHART MARKETING,    KIRK DARKING                           SOUTH DAKOTA
INC.                                                       SECURITIES DIVISION
CHARTER BUS         KIRKE SZAWRONSKI                       SOUTH DAKOTA
SERVICE CO INC.                                            SECURITY OF STATE
CHARTER CAPITAL     KIRKLAND & ELLIS LLP                   SOUTH DAKOTA STATE
                                                           TREASURER
CHARTER             KIRKPATRICK, KEVIN                     SOUTH TRUST BANK
COMMUNICATION                                              ESCROW ACCOUNT
CHARTER             KIRSTEN NESS                           SOUTH WESTGATE LLC
COMMUNICATIONS-
60229
CHARTER             KIS COMPUTERS                          SOUTHEASTERN
COMMUNICATIONS-                                            COMPUTER CENTER, INC
7173
CHARTER             KISHOR GAREWAL                         SOUTHERN
COMMUNICATIONS-                                            BROADCASTING
742614                                                     COMPANIES, INC.
CHARTER MEDIA- WI   KISS 102.7                             SOUTHERN CALIFORNIA
                                                           EDISON
CHARTER MEDIA-TN    KISSIMMEE UTILITY AUTHORITY            SOUTHERN CALIFORNIA
                                                           EDISON-PO 300
CHARTER TOWNSHIP    KISTOPHER SIREN                        SOUTHERN CALIFORNIA
OF GARFIELD-PPT                                            SHREDDING, INC.
CHARTER TOWNSHIP    KITCH DRUTCHAS WAGNER                  SOUTHERN COAST
OF MT MORRIS        VALITUTTI                              PROPERTIES, LLC
CHASE & POWERS,     KITCHENER MEMORIAL                     SOUTHERN COMMERICAL
LLC.                AUDITORIUM COMPLEX                     CORPORATION
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CHASE CC           KITCHENER RANGERS JR A                SOUTHERN COMPANY
                   HOCKEY CLUB                           GAS
CHASE INSURANCE    KITCHENER UTILITIES                   SOUTHERN
COMPANY                                                  ENTERTAINMENT
CHASE ORDERS AND   KITCHENER VICTORIA HOLDINGS           SOUTHERN INSTITUTE OF
LEVIES             INC                                   TECHNOLOGY
CHATEAU LACOMBE    KITCHENER WILMOT HYDRO INC            SOUTHERN NATIONAL
HOTEL                                                    INC.
CHATHAM COUNTY     KITCHENERCLEAN                        SOUTHERN
TAX COMMISSIONER                                         PROFESSIONAL
                                                         INVESTIGATIONS
CHATHAM            KITCHENS, SUZANNE                     SOUTHERN RHODE
OUTREACH FOR                                             ISLAND NEWSPAPERS
HUNGER
CHATHAM-KENT       KITRINA LUCUK                         SOUTHERN UNIVERSITY
UTILITY SERVICES                                         @ NEW ORLEANS
CHATISE THOMAS     KITSAP COUNTY                         SOUTHERN WISCONSIN
                                                         BROADCASTING, LLC
CHATTANOOGA CITY   KIZZ                                  SOUTHGATE PROPERTIES
TREASURER                                                LTD
CHATTANOOGA        KJE COMPUTER SOLUTIONS, LLC           SOUTHPOINTE ON HIGH
COCA-COLA                                                LLC
BOTTLING
CHATTANOOGA GAS-   KJJY-FM                               SOUTHRING SC COMPANY
5408                                                     LTD
CHATTANOOGA        KJMZ                                  SOUTHSIDE CHAPTER OF
TIMES                                                    MADD
CHATURVEDI,        KJTL-FOX 18                           SOUTHSIDE SOCCER
SHILESH                                                  LEAGUE
CHAVES, TRACEY     KKFR                                  SOUTHTRUST BANK
CHAWLA, MARY       KLAK, TJ MR.                          SOUTHWARD &
                                                         ASSOCIATES, INC
CHEAP MOBILE       KLCT-FM                               SOUTHWEST GAS
SIGNS
CHEATHAM,          KLDISCOVERY ONTRACK, LLC              SOUTHWEST GAS
DINETTA                                                  CORPORATION
CHECK CASHING      KLEIN, HALEY                          SOUTHWESTERN BELL
PLUS, INC.
CHECKLIST          KLEIN, HALEY                          SOUTHWESTERN
                                                         MANAGEMENT & REALTY
                                                         TEAM
CHELSEA MINATSIS   KLINE, PATRICIA A.                    SOUTHWIND
                                                         ACQUISITION, LLC
CHELSEA POSTMAN    KLM WINDOW CLEANERS                   SOVOS COMPLIANCE, LLC
CHEN XU            KLONDIKE BROADCASTING                 SOWDER, SANDY
CHEN XU            KLPR                                  SPANISH NEWS, INC.
CHEN, LI           KLQL RADIO                            SPARK
                                                         COMMUNICATIONS
                                                         GROUP, LLC
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CHEN, SHUAI          KLS DIRECT MARKETING                 SPARKFLY PERKS
CHERILYN             KLS MEDIA GROUP                      SPARKLE
PANAMICK                                                  INTERNATIONAL INC.
CHEROKEE SIGNS &     KLSL REALTY LLC                      SPARTAN DETECTIVE
LIGHTING                                                  AGENCY
CHERRY BEKAERT &     KLTI- FM                             SPARTAN MARKETING,
HOLLAND                                                   INC.
CHERRY BEKAERT &     KLUR/ CUMULUS BROADCASTING           SPATIAL DATA, INC.
HOLLAND - DO NOT
USE
CHERRY BEKAERT       KM REALTY MANAGEMENT, LLC            SPATIAL INSIGHTS, INC.
LLP
CHERRY BEKAERT       K-MART (RESOURCE CENTER)             SPCA-GRANDE PRAIRIE &
LLP                                                       DISTRICT SPCA CHARITY
CHERRY BEKAERT       KMART CORPORATION                    SPEAK, INC.
LLP-DO NOT USE
CHERRY CARPET, INC   K-MART MANAGEMENT                    SPEAK, INC-CO
                     CORPORATION
CHERRY, LYN          KM-EQYPT CROSSING, LP                SPEAKER AGENCY
CHERYHL L HILL       KMITCHELL, INC. DBA SPEAK!           SPEAKERS BUREAU OF
                                                          CANADA INC.
CHERYL COUCH         KMXA                                 SPEAKERS GROUP INC.
CHERYL FLINN         KMXV FM                              SPEAKERS' SPOTLIGHT
CHERYL FRANKLIN      KNIFFEN FAMILY FINANCIAL             SPEAKERS' SPOTLIGHT
                     SERVICE LLC
CHERYL MANUEL        KNIGHTS OF COLUMBUS COUNCIL          SPECIAL COUNSEL II
                     #3548
CHERYL MCKAY         KNILA TECHNOLOGIES, LLC              SPECIAL OLYMPICS
                                                          VIRGINIA
CHERYL PROSSER       KNOWBE4, INC                         SPECIAL$ DELIVERY
CHERYL REID          KNOWLEDGE BUREAU INC                 SPECIALITY SERVICES &
                                                          INSTALLATIONS
CHERYL SCHARMAN      KNOWLEDGE FRONT                      SPECIALIZED
                                                          INVESTIGATIONS
CHERYL TUINDER       KNOWLES, JOSEPH                      SPECIALIZED LEGAL
                                                          SERVICES
CHERYLE              KNOWLES, W. F. (BILL)                SPECIALTY TECHNICAL
BRATHWAITE                                                PUBLISHERS
CHESAPEAKE BANK      KNOX COUNTY CLERK                    SPECK, ALYSA
CHESAPEAKE           KNOXVILLE MAYNARDVILLE, LLC          SPECTRUM BUSINESS -
INDUSTRIAL                                                4617
LEASING
CHESAPEAKE OFFICE    KOEHLER & COMPANY                    SPECTRUM BUSINESS -
SUPPLY                                                    6030
CHESAPEAKE           KOETH, RAYMOND                       SPECTRUM BUSINESS -
OUTDOOR                                                   7195
ADVERTISING, INC.
CHESAPEAKE           KOFI AKOSAH-SARPONG                  SPECTRUM BUSINESS-
TREASURER                                                 7186
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CHESAPEAKE             KOGER, ANNETTE                     SPECTRUM BUSINESS-
TREASURER - SS#                                           TIME WARNER CABLE
570849089
CHESAPEAKE-JCP         KOHR ROYER GRIFFITH                SPECTRUM BUSINESS-
ASSOCIATES LLP                                            CHARTER 94188
CHESLEY MALL           KOHR ROYER GRIFFITH, INC.          SPECTRUM ENTERPRISE
CHESTER JABLONSKI      KOLBACH & ASSOICATES               SPECTRUM I MERCHANT,
                       INVESTIGATIONS INC.                LLC
CHESTNUT TAX           KOMARA, TODD                       SPECTRUM PROPERTY
GROUP, LLC                                                MANAGEMENT
CHEYENNE CHARD         KOMMOORI, SRINIVAS                 SPECTRUM-60074
CHEYENNE PLAZA         KOMUNIK DATAMARK                   SPEEDPRO
LLC
CHEZ BELLE LTD.        KONANZ, LOUISE & COLIN             SPEEDY DISPOSAL
CHIA CHUALAN           KONAT, PETER                       SPEEDY MONEY
                                                          NETWORK
CHIANNE BERGSMA        KONICA MINOLTA BUSINESS            SPENCER MCCLEARY
CHICAGO                KONICA MINOLTA BUSINESS            SPENCER SQUARE
PROFESSIONAL           SOLUTIONS (CANADA), LTD.           HOLDINGS*USE SPEN13*
SPORTS LIMITED
PARTNERSHIP
CHICAGO SUN-           KOONS, ROBERT                      SPENCER SQUARE
TIMES, INC.                                               HOLDINGS, INC
CHICAGO TITLE &        KOOTENAI COUNTY TREASURER          SPENCER, TAMMY
TRUST COMPANY
CHICAGO TRIBUNE        KOPY COPY                          SPIRE ENERGY
CHIEF IRRIGATION,      KORDAY, ARLYNN                     SPIRIT CRUISES LLC
LLC
CHIEF PARTY            KORDAY, J'NELLE                    SPLINTER FAMILY TRUST
RENTALS                                                   RENTALS CO
CHILD & FAMILY         KOREM CORPORATION                  SPOMER, TIM
SERVICES OF
WESTERN MANITOBA
FOUNDATION
CHILD SUPPORT -        KORINA TAYLOR                      SPOMER, TODD
040009175
CHILD SUPPORT -        KORN FERRY                         SPONSORSHIPS
050009997                                                 UNLIMITED
CHILD SUPPORT          KORONA, ALBERT                     SPORTAGA
ENFORCEMENT,
FAMILY SUPPORT
CHILD SUPPORT          KORRY BROWN                        SPRING SUITES
SERVICES - 518067429
CHLOE BENSON           KOTTKE, ISABELLE                   SPRINGCM,INC
CHLUMSKY, DALE E.      KOUROS HOLDINGS LTD                SPRINGDALE HEATING &
                                                          AIR CONDITIONING, LLC
CHO, HEE IL            KP AND SONS LLC-PRABIN             SPRINGDALE, LLC
                       SHRESTHA
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CHOATE, HALL &       KP REALTY SERVICES INC-SEE           SPRINGFIELD FALCONS
STEWART LLP          KPRE01
CHOICE PROPERTIES    KP REALTY SERVICES, INC              SPRINGS LEASING CORP.
REIT
CHOICES              KPB                                  SPRINT - 930331
NORTHWEST
CHON PRODUCTIONS     KPK PROPERTIES, LLC                  SPRINT - 96064
                                                          CHARLOTTE NC
CHOPPA, ANTHONY      KPK RENTALS LLC                      SPRINT (CELL PHONES)
CHOREY &             KPMG                                 SPRINT 79133
ASSOCIATES
CHRIS A LABARGE      KPMG (CANADA)                        SPRINT CANADA INC.
                                                          COMMERCIAL
CHRIS ALAGGIA        KPMG LLP - DOMINION TOWER            SPRINT CHICAGO-88026
CHRIS BAAL           KPMG LLP (DALLAS)                    SPRINT CONFERENCING
                                                          SERVICES
CHRIS BARTER         KPMG LLP (NJ)                        SPRINT- DALLAS
CHRIS BARTER         KPMG LLP (TX) - INACTIVE             SPRINT JACKSONVILLE FL
CHRIS GODFREY        KPMG LLP-416094                      SPRINT- KANSAS CITY
CHRIS GONNEVILLE     KQQQ 92.1 FM/ KQQT 106.3 FM          SPRINT PCS - 4181
CHRIS HAMMER         KQRC RADIO                           SPRINT YELLOW PAGES-
                                                          805056
CHRIS HITT           KRAMONT REALTY TRUST                 SPRINT YELLOW PAGES-
                                                          BRISTOL TN
CHRIS JOHNSON        KRANZ, W. PATRICK                    SPRINT-143489 IRVING TX
CHRIS JOHNSTON       KRATT COMMERCIAL PROPERTIES          SPRINT-219100-CANADA
CHRIS MCGILLIS       KRESSLY/PARTNERSHIP                  SPRINT-530503-ATLANTA
                                                          GA
CHRIS NORQUAY        KRF COMMERCE CITY, LLC               SPRINT-530504-ATLANTA,
                                                          GA
CHRIS PEDDLE         KRG INC.                             SPRINT-740503-ATLANTA
                                                          GA
CHRIS R BARRETT      KRIS COUGHLIN                        SPRINT-78931 PHOENIX AZ
CHRIS RANDEL         KRISLEN MANAGEMENT                   SPRINT-CELL PHONE
                     CORPORATION
CHRIS ROBERTSON      KRISPY KREME DONUTS                  SPRINT-CINCINNATI
CHRISSY RAMAGE       KRISPY KREME DOUGHNUT                SPROUSE FIRE & SAFETY
                     CORPORATION 465                      (1996) CORP.
CHRIST MICHELAKIS-   KRISTA KNEE                          SQUARECO PROPERTIES
TREASURER                                                 INC.
CHRISTA DICKSON      KRISTA MICHELIN                      SQUIRE ONE, PRESCOTT
                                                          SQUARE-WOODRUFF, LLC
CHRISTEL MAJOR       KRISTEL BURZEK                       SRC TENN LLC
CHRISTI WILSON       KRISTEN LAUGHLIN                     SRDS
CHRISTIAN CHUKWU     KRISTIAN MACDOUGALL                  SRIDEVI CHEEPURUPALLI
CHRISTIAN CORTEZ     KRISTI-JO SHERMAN                    SRP
CHRISTIAN EILER      KRISTIN HAYDEN                       SRW, INC.
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CHRISTIAN LABOUR    KRISTIN M PETERSON                 SRX PROPERTIES LLC
ASSOCIATES OF
CANADA
CHRISTIAN LABOUR    KRISTINA BONATO                    SS DEVELOPMENT LLC
ASSOCIATION OF
CANADA
CHRISTIAN LABOUR    KRISTINA ROY                       SS&G PROPERTIES OF NC,
ASSOCIATION OF                                         LLC
CANADA
CHRISTIAN O OLMOS   KRISTY FISHER                      SSG BRIAN FREEMAN
                                                       MEMORIAL
CHRISTIAN PEARSON   KRISTY WECKL                       ST JOE PLAZA INC
CHRISTIANA          KRLA                               ST. ALBERT 1996 GIRLS
ACQUISITION LLC                                        SOCCER
CHRISTIANSEN &      KROLOFF,BELCHER, SMART,            ST. ANDREW'S PLACE
ASSOCIATES          PERRY & CHRISTOPHERSON
CHRISTIE'S          KROMA PRINTING                     ST. CHARLES COUNTY
WAREHOUSE                                              COLLECTOR
CHRISTINA           KRUG AND SONS, INC.                ST. GERALD CATHOLIC
ALEXANDRA                                              SCHOOL
CHRISTINA           KRYS MCKEE                         ST. JOSEPH MEDIA
ATKINSON
CHRISTINA CONITS    KRYSSI CONTRERAS                   ST. JUDE CHILDREN'S
                                                       RESEARCH HOSPITAL
CHRISTINA DEARTH    KRYSTINA MCMILLAN                  ST. LOUIS POST-
JOHNSON                                                DISPATCH
CHRISTINA DUBOIS    KRYSTLE BERRY                      ST. PETERSBURG TIMES
CHRISTINA DUBOIS    KSAT 12                            ST. THOMAS ENERGY INC.
CHRISTINA HARTLEY   KSEY TEJANO 1230 AM                ST. VITAL CENTRE
CHRISTINA HILLIER   KSG DEVELOPMENT, LLP               STACEY GAUCI
CHRISTINA MILLAR    KSK ENTERPRISE, LLC                STACEY J BARNES
CHRISTINA SANDER    KTL SOLUTIONS, INC.                STACEY JAMES BARNES-
                                                       THE SOUNDSIDE
                                                       SMOKERS
CHRISTINA SCOTT     KTS                                STACEY MARTIN
CHRISTINA           KUJICHAGULIA ACADEMY               STACEY MINNIE
SWATMAN             AFRIKAN-AMER. FAMILY DAY
CHRISTINA TURNER    KULIJEET WALIA                     STACEY SHINER
CHRISTINE GREGORY   KULLMAN INDUSTRIES                 STACILYN SPENCER
CHRISTINE JOHNS     KULRAJ PLAZA                       STAFFMARK, INC.
CHRISTINE JOHNSON   KULT, JEFF                         STAGE RIGHT LIGHTING
CHRISTINE           KULVINDER MUKKAR                   STAGEVISION RENTALS
LAROCQUE                                               INC.
CHRISTINE RAMIREZ   KULWINDER & JASBIR RAI             STAHL, JENNIFER
CHRISTINE SHIRLEY   KUMAR NAGENTHIRAM                  STAHL, RICHARD
CHRISTINE WHITE     KUMAR, MONICA                      STALLINGS &
                                                       RICHARDSON, P.C.
CHRISTMAS IN ST.    KUNAL SONONE                       STALLINGS, HERRY
LOUIS
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CHRISTMAS MOUSE     KUNTESH STOREWALA                 STAN BEECH
CHRISTOPHER ASKIN   KURT PFLANZER                     STAN JACKSON
CHRISTOPHER D       KUTJIM EMRA                       STANDARD LIFE
TAYLOR
CHRISTOPHER D.      K-VA-T FOOD STORES, INC.          STANDARD LIFE
BUDKA                                                 INSURANCE
CHRISTOPHER         KVL AUDIO VISUAL SYSTEMSQ         STANDARD RADIO
ERSKINE
CHRISTOPHER FEHR    KWOA - FM                         STANDARD RADIO
                                                      (MIX999)
CHRISTOPHER J C     KXHT - RADIO                      STANDARD RADIO CHRE
PEACHEY                                               FM
CHRISTOPHER         KXPK-FM - LOTUS ENTRAVISION       STANDRIDGE, ADAM
JOHNSTON            REPS.
CHRISTOPHER JON     KYCK-FM                           STANDRIDGE, BETTY
LEZZI                                                 JANE
CHRISTOPHER         KYLA BUCKINGHAM                   STANGLAND, BILL
LADOUCEUR-
LACALLEE
CHRISTOPHER         KYLE ABEL                         STANLEY BUSH
MACLAREN
CHRISTOPHER         KYLE MACPHEE                      STANLEY CONVERGENT
MACNEILL                                              SECURITY SOLUTIONS
CHRISTOPHER         KYLE MARLEAU                      STANLEY FIENBERG
PARRIS
CHRISTOPHER         KYLE MILLS                        STANLEY G. PHELPS DBA
REALTY, INC                                           9 INCH MARKETING. LLC
CHRISTOPHER         KYLE PHILIP KIMBLE WINTER         STANLEY H GOLDSTEIN
RIELLY
CHRISTOPHER ROY     KYLE WALKER                       STANLEY PAUL
                                                      GALLANTRY
CHRISTOPHER S       KYLE ZAPF                         STANLEY STEEMER
CROSS
CHRISTOPHER         KYOKO M HAWKINS                   STANLEY, LANDE &
SHORTT                                                HUNTER
CHRISTOPHER         KYU SIK LEE                       STANSBURY, TOM
TECHNOLOGY
CONSULTING
CHRISTOPHER         KYYX                              STANTON CHASE
TSCHIRHAT
CHRISTOPHER         KZFM - MALKAN BROADCASTING        STANTON, ROSEMARY
VANDERWEIDE
CHRISTOPHER WOOD    KZPR                              STAPLES
                                                      COMMUNICATIONS
CHRISTOPHER         L&M MASTER FUND SERIES LLC-       STAPLES CONTRACT &
WRIGHT              SERIES WEST HARLEM                COMMERICAL, INC
CHRISTOPHER         L. E. BALLANCE ELECTRICAL         STAPLES INC
YOUNG               SERVICE
CHRISTY LI          L. LAYCOCK                        STAPLES-DO NOT USE
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CHRISTY SIGNS         L.A.D. REPORTING COMPANY, INC.      STAR FINANCE, LLC
CHRONAKIS SIACHOS     L.C. ORIGINAL BUILD                 STAR PEST CONTROL
CHSM                  L.H.LEVY INVESTIGATIONS, INC        STAR RADIO GROUP
CHU, ME               LA CROSSE CITY TREASURER            STAR SECURITY &
                                                          INVESTIGATION
CHU, YING             LA CUADRA LLC                       STARGELL, WILLENA
CHUCK'S LOCK          LA MEGA MEDIA, INC                  STARK EXTERMINATORS
SERVICE
CHUCKS REPAIR, INC    LA MOVIDITA                         STARKART CANADA
                                                          LIMITED
CHUGACH ELECTRIC      LA OLA LATINO AMERICANO             STARKS, ANDREW
ASSOCIATION
CHUM LIMITED          LA PRO, LLC                         STARLITE JANITORS
CHURCH STREET         LA QUINTA 0644 DENVER NORTH         STARPATHS INC.
CROSSING              GLENN
CIARA GILROY          LA QUINTA INN - #0647 SAN DIEGO     STARRCO GP
                      CHULA
CIBC                  LA QUINTA INN & SUITES              STARRCO GP - **DO NOT
                                                          USE**
CIBC                  LA QUINTA INN & SUITES              STAR-TELEGRAM
                      CHICAGO DOWNTOWN
CIBC BANK USA         LA QUINTA INN & SUITES NEW          STAR-WEST SOLANO, LLC
                      BRITAIN
CICC                  LA REINA PROPERTIES, LP             STATE BOARD OF
                                                          EQUALIZATION CA
CICW FM-THE           LA TREMENDA RADIO NETWORK           STATE CENTRAL
GRAND @ 101                                               COLLECTION UNIT
CICX FM               LA X DE MEXICO, LLC                 STATE COMPTROLLER TX
CIDC-FM Z103.5        LAB COM SYSTEM INC                  STATE CORPORATION
                                                          COMMISSION
CIGNA LIFE            LABA KARKI, ESQ.                    STATE CORPORATION
INSURANCE CO. OF                                          COMMISSION
NEW YORK
CIGNA LIFE            LABOR READY                         STATE CORPORATION
INSURANCE CO. OF                                          COMMISSION
NEW YORK
CILG COUNTRY 100      LABOR READY - 820145                STATE CORPORATION
                                                          COMMISSION
CIMG THE EAGLE 94.1   LABOR READY INC-SOUTHWEST           STATE CORPORATION
                                                          COMMISSION OF
                                                          VIRGINIA
CIMX-FM               LABOR READY MIDWEST, INC            STATE CORPORTATION
WINDSOR/DETROIT                                           COMMISSION
CINCINNATI BELL       LABOR READY-614034                  STATE CORPROATION
                                                          COMMISSION
CINCINNATI            LABOR READY-641034                  STATE DEPARTMENT OF
ENQUIRER                                                  ASSESSMENTS &
                                                          TAXATION
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CINCINNATI ST.      LABOUR READY                         STATE DISBURSEMENT
PATRICKS PARADE                                          UNIT
COMMITTEE
CINCO ESTRELLAS     LACEY TOWN SQUARE LLC                STATE FARM INSURANCE
INTERNACIONAL,
INC.
CINDY BATUSIC       LACKAWANNA COUNTY                    STATE FARM INSURANCE
                    COURTHOUSE
CINDY BOISMIER      LACKEY, THOMAS                       STATE INSURANCE FUND
                                                         CORPORATION
CINDY C. STEWART    LACROIX, GWENDA                      STATE MARSHAL
CINDY CLELAND       LADCO LEASING                        STATE OF ALABAMA
CINDY FALLIS        LA-DE, LLC                           STATE OF ALABAMA
                                                         OFFICE OF STATE
                                                         TREASURER UNCLAIMED
                                                         PROPERTY
CINDY JENNINGS &    LAE SHON WISE                        STATE OF ALASKA
ASSOCIATES
CINDY R. EDEN       LAFAYETTE CONSOLIDATED               STATE OF ARKANSAS
                    GOVERNMENT
CINDY SAUCIER       LAFAYETTE PARISH TAX                 STATE OF CALIFORNIA
                    COLLECTOR
CINDY THOMPSON      LAFRANCE & DECOEUR INC.              STATE OF CALIFORNIA
                                                         DEPARTMENT OF
                                                         CORPORATIONS
CINDY WEBB          LAJ, L.C                             STATE OF CALIFORNIA
                                                         FRAN. TAX BOARD
CINEBISTRO          LAKE ARBOR PLAZA LLC                 STATE OF CALIFORNIA-
                                                         CONTROLLER'S OFFICE
CINEPLEX MEDIA      LAKE ARBOR PLAZA, LLC, A             STATE OF CALIFORNIA-
                    DELAWARE LIMITED LIABILITY           DEPT OF BUSINESS
                    COMPANY                              OVERSIGHT
CINGULAR WIRELESS   LAKE CITIES BROADCASTING             STATE OF CONNECTICUT
                    CORP.-WLKI
CINTAS              LAKE FOREST BANK & TRUST             STATE OF CONNECTICUT-
                    COMPANY, N.A.                        DEPT. OF LABOR
CINTAS              LAKE GENEVA CITY TREASURER           STATE OF DELAWARE
CINTAS CANADA       LAKE HAVASU CITY-BUSINESS            STATE OF DELAWARE-
LIMITED             LICENSE                              UNCLAIMED
CINTAS              LAKE SIMCOE GLASS & MIRROR           STATE OF FLORIDA
CORPORATION -       SERVICES                             DISBURSEMENT UNIT
DAYTON NORTH 002                                         139500028287FC
CINTAS DOCUMENT     LAKE STREET HOLDINGS, LLC            STATE OF HAWAII
MANAGEMENT
CINTREX PROPERTY    LAKEEMA CRAWFORD                     STATE OF HAWAII
MANAGEMENT INC.                                          UNCLAIMED PROPERTY
                                                         PROGRAM
CINTREX PROPERTY    LAKEFOREST ASSOCIATES, LLC           STATE OF HAWAII-
MANAGEMENT, INC.                                         DEPARTMENT OF
                                                         TAXATION
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CIRCUIT COURT        LAKEFOREST OWNER LLC                STATE OF ILLINOIS
CLERK
CISCO CAPITAL        LAKEFRONT UTILITY SERVICES          STATE OF INDIANA
                     INC.                                (UNCLAIMED PROPERTY)
CISCO INC.           LAKELAND ASSOCIATES LP              STATE OF IOWA
CISCO SYSTEMS        LAKESHA COLLIER                     STATE OF LOUISIANA
CAPITAL CORP
CISCO WEBEX          LAKESHORE VILLAGE                   STATE OF MAINE
CISCO WEBEX, LLC     LAKESIDE CENTER ASSOCIATES,         STATE OF MARYLAND
                     LLC
CISION US INC        LAKOTA COUNTRY TIMES                STATE OF MICHIGAN
CIT FINANCIAL LTD.   LAKOTA MEDIA, INC.                  STATE OF MICHIGAN
CITADEL              LAKOTA, INC.                        STATE OF MICHIGAN
CITADEL ASSET        LAKY SC LLC                         STATE OF MICHIGAN
HOLDINGS, LLC                                            (UNCLAIMED PROPERTY)
CITADEL              LAMAR ASST. MGMT. RLTY/FOCUS        STATE OF MICHIGAN-
BROADCASTIG -                                            30113
WXTC/WWWZ/WMGL
CITADEL              LAMAR DUNN & ASSOCIATES, INC.       STATE OF MICHIGAN-
BROADCASTING                                             30702
CITADEL              LAMAR TRANSIT, LLC                  STATE OF MICHIGAN-
BROADCASTING                                             30804
CITADEL              LANA PHILLIPS                       STATE OF MISSISSIPPI
BROADCASTING
CITADEL              LANCASTER COUNTY TAX                STATE OF MISSOUR
BROADCASTING         COLLECTOR
CITADEL              LANCASTER COUNTY TREASURER          STATE OF MISSOURI
BROADCASTING
CITADEL              LANCASTER, BARBARA                  STATE OF NEBRASKA
BROADCASTING                                             (UNCLAIMED PROPERTY)
CITADEL              LANCE OCCHIPINTI                    STATE OF NEBRASKA,
BROADCASTING CO.                                         SECRETARY OF STATE
CITADEL              LANCE SURETY BOND                   STATE OF NEVADA
BROADCASTING         ASSOCIATES, INC.
COMPANY
CITADEL              LAND TREK PROPERTY                  STATE OF NEVADA
BROADCASTING OF      MANAGEMENT                          BUSINESS LICENSE
KNOXVILLE                                                RENEWAL
CITADEL              LANDLORD                            STATE OF NEW
COMMUNICATIONS                                           HAMPSHIRE
CORP.
CITADEL              LANDLORD CAMP INVESTMENTS           STATE OF NEW JERSEY
COMMUNICATIONS
KATT-FM
CITADEL MALL         LANDMARK CONTRACTING &              STATE OF NEW JERSEY
                     DEVELOPMENT                         SALES&USE
CITI CARDS CANADA,   LANDMARK MEDIA ENTERPRISES,         STATE OF NEW JERSEY-
INC. (STAPLES)       LLC                                 DIVISION OF TAXATION
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CITIBANK              LANDMARK MEDIA ENTERPRISES,         STATE OF NEW JERSEY-
                      LLC                                 LABOR & WORKFORCE
CITIBANK USA          LANDRITH & KULESZ LLP               STATE OF NEW YORK
CITICORP VENDOR       LANG INVESTIGATIONS, LLC            STATE OF NEW YORK
FINANCE LTD.                                              ATTORNEY GENERAL
CITICORP VENDOR       LANGE, NICOLE T.                    STATE OF NEW YORK
FINANCE LTD.                                              DEPT. OF LABOR
(STREETVILLE)
CITIGATE GLOBAL       LANGFORD, RICHARD                   STATE OF OKLAHOMA
INTELLIGENCE
CITIZENS BANK -       LANGLEY CHAPTER AIR FORCE           STATE OF R.I.- DEPT OF
CORP MASTERCARD       ASSOCIATION                         BUS. REG.
CITIZENS BANK, N.A.   LANHAM, ROBERT DENNIS               STATE OF RHODE ISLAND
CITIZENS GAS &        LANIER WORLDWIDE, INC               STATE OF TENNESSEE
COKE UTILITY
CITY GROUP            LANSING STATE JOURNAL               STATE OF TENNESSEE
PROPERTIES. LLC
CITY OF ABILENE       LANTA AKIEWA                        STATE OF UTAH
CITY OF AKRON         LANTAGNE LEGAL PRINTING             STATE OF UTAH
CITY OF               LANZA GROUP                         STATE OF WASHINGTON
ALBUQUERQUE
CITY OF               LAP LIEN PLAZA, LLC                 STATE OF WASHINGTON
ALEXANDRIA                                                UNCLAIMED PROPERTY
UTILITY CUSTOMER
SERVICE OFFICE
CITY OF               LAQUINTA INN & SUITES               STATE OF WEST VIRGINIA
ALEXANDRIA-PPT        LAKEWOOD
CITY OF               LAQUINTA INN VIDOR 6114             STATE OF WEST VIRGINIA
ALLENTOWN-                                                (REVENUE DIVISION)
BUSINESS LICENSE
CITY OF               LAQUINTA INNS & SUITES 0907         STATE OF WISCONSIN
ALLENTOWN-
BUSINESS PRIV TAX
CITY OF AMERICAN      LAQUINTA INNS 0103 TAMPA US         STATE OF WISCONSIN
CANYON                HWY 301                             EDUCATIONAL
                                                          APPROVAL
CITY OF ARVADA        LAQUINTA INNS 0167 COLISEUM         STATE OF WISCONSIN-
                                                          BUREAU OF TAX &
                                                          ACCTG
CITY OF ARVADA-       LAQUINTA INNS 0169 FREMONT          STATE PROCESS SERVERS
UTILTITY
CITY OF ASHEVILLE     LAQUINTA INNS 0170 ONTARIO          STATE TAX COMMISSION-
                      AIRPORT                             MS
CITY OF ATLANTA       LAQUINTA INNS 0171 ORLANDO          STATE TAX DEPARTMENT
CITY OF AURORA        LAQUINTA INNS 0172 HAYWOOD          STATE TREASURER OF
                                                          MISSISSIPPI (UNCLAIMED
                                                          PROPERTY)
CITY OF AURORA, IN    LAQUINTA INNS 0173 NORTHWEST        STATE TREASURER OF SC
                      TECH CENTER                         UCP
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CITY OF              LAQUINTA INNS 0175 PRIMACY        STATE TREASURER'S
BAKERSFIELD -        PKWY                              OFFICE-UPP
LICENSES
CITY OF              LAQUINTA INNS 0183 CHAPEL HILL    STATE TREASURER-WA
BARDSTOWN
CITY OF BARRIE       LAQUINTA INNS 0186 AUSTIN         STATESMEN JOURNAL
                     AIRPORT
CITY OF BATON        LAQUINTA INNS 0221 LAFAYETTE      STAUFFER & CAMERER
ROUGE                                                  INVESTMENTS
CITY OF BELOIT-      LAQUINTA INNS 0476 LONGVIEW       STAUNTON
LICENSE                                                INVESTMENTS INC -
                                                       PIQUA
CITY OF BENICIA      LAQUINTA INNS 0477 SOUTH          STAVE, LARRY
CITY OF              LAQUINTA INNS 0507 AIRPORT        STEEL SECURITY
BETHLEHEM-
BUSINESS PRIV TAX
CITY OF              LAQUINTA INNS 0516 WICHITA        STEELTIDE INC.
BLOOMINGTON(WAT      FALLS AIRPORT
ER PAYMENTS)
CITY OF BOUNTIFUL    LAQUINTA INNS 0532 TOWNE EAST     STEEPLE SQUARE LLC
                     MALL
CITY OF BOWLING      LAQUINTA INNS 0534 AIRPORT        STEFAN BELL
GREEN
CITY OF BREMERTON    LAQUINTA INNS 0541 ORANGE         STEFAN BUNEA
                     COUNTY DRIVE
CITY OF              LAQUINTA INNS 0544                STEFFES, TIM
BRIDGEPORT
CITY OF BRISTOL      LAQUINTA INNS 0545 RENO           STEINBERG, JESSE
                     AIRPORT
CITY OF BRISTOL,     LAQUINTA INNS 0549 COLUMBUS       STEINER CONSTRUCTION
TENNESSEE                                              SERVICES, INC.
CITY OF BUFORD       LAQUINTA INNS 0550 COLUMBUS       STEPAN HARUTYUNYAN
                     AIRPORT
CITY OF BULLHEAD     LAQUINTA INNS 0551 ORANGE         STEPHANIE DUBOIS
CITY-BUSINESS        PARK
LICENSE
CITY OF BURLEY       LAQUINTA INNS 0553 CHAMPAIGN      STEPHANIE GILES
CITY OF CALGARY      LAQUINTA INNS 0557 AURORA         STEPHANIE GONZALEZ
CITY OF CALGARY      LAQUINTA INNS 0562 CHICAGO/       STEPHANIE GRAY
FINANCE & SUPPLY     SCHAUMBURG
CITY OF CAMARILLO    LAQUINTA INNS 0566 SKY HARBOR     STEPHANIE JACKSON
                     AIRPORT
CITY OF CAMROS- RE   LAQUINTA INNS 0567 MARKET         STEPHANIE LAWLOR
TAX                  SQUARE
CITY OF CAMROSE      LAQUINTA INNS 0570 SAN            STEPHANIE MORRIS
                     BERNARDINO
CITY OF CARLSBAD -   LAQUINTA INNS 0574 BATON          STEPHANIE
LICENSES             ROUGE                             OSMACHENKO
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CITY OF              LAQUINTA INNS 0575 AIRPORT        STEPHANIE QUINT
CARROLLTON -
UTILITIES
CITY OF CASA         LAQUINTA INNS 0578 NORTH          STEPHANY CRUZ
GRANDE
CITY OF              LAQUINTA INNS 0579 NEW            STEPHEN & COLEEN
CHATTANOOGA          ORLEANS WEST BANK                 SAWYER
CITY OF              LAQUINTA INNS 0580 VETERANS       STEPHEN BRIGGS
CHATTANOOGA
WASTE RESOURCES
DIVISION
CITY OF              LAQUINTA INNS 0583 VIRGINIA       STEPHEN CHADWICK
CHESAPEAKE           BEACH
CITY OF              LAQUINTA INNS 0584                STEPHEN FERGUSON
CHESAPEAKE -         CHICAGO/OAKBROOK
LICENSES
CITY OF              LAQUINTA INNS 0594 AUGUSTA        STEPHEN G. BELL
CHESAPEAKE
TREASURER
CITY OF CHILIWACK    LAQUINTA INNS 0595 SOUTH          STEPHEN HOLT, JASPER
                                                       COUNTY COLLECTOR
CITY OF              LAQUINTA INNS 0597 AIRPORT        STEPHEN J. RUDOLPH
CLARKSVILLE-PPT
CITY OF COLORADO     LAQUINTA INNS 0598 PENSACOLA      STEPHEN KORNUTA
SPRINGS
CITY OF COLUMBUS     LAQUINTA INNS 0625 STOCKTON       STEPHEN M HOWELL
CITY OF COMMERCE     LAQUINTA INNS 0627 AIRPORT        STEPHEN MACLEAN
CITY
CITY OF COMPTON      LAQUINTA INNS 0630 GARDEN OF      STEPHEN MCMAHON
                     THE GODS
CITY OF              LAQUINTA INNS 0634                STEPHEN MULCAHY
COOKEVILLE           CHICAGO/O'HARE
CITY OF CORSICANA-   LAQUINTA INNS 0638 PINELLAS       STEPHEN PAQUETTE
UTILITY              PK/ CLEARWATER
CITY OF COURTENAY    LAQUINTA INNS 0646                STEPHEN RAPSON
                     BAKERSFIELD
CITY OF CUYAHOGA     LAQUINTA INNS 0648 WEST           STEPHEN SCOTT
FALLS
CITY OF DALLAS       LAQUINTA INNS 0650                STEPHEN SHAVE
                     FRESNO/YOSEMITE
CITY OF DANIA        LAQUINTA INNS 0651 SOUTH          STEPHEN SPENCER
BEACH
CITY OF DANIA        LAQUINTA INNS 0655 VENTURA        STEPHEN WARREN
BEACH - UTILITIES                                      RICHARD III
CITY OF DAVENPORT    LAQUINTA INNS 0658 DEERFIELD      STEPHEN WEBER
                     BEACH
CITY OF DAYTON       LAQUINTA INNS 0659 S. SAN         STEPHSON CARPET
                     FRANCISCO AIRPORT                 CLEANING
CITY OF DICKSON-     LAQUINTA INNS 0660 SANTA FE       STEPP, BENJAMIN
TAX COLLECTOR
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CITY OF DINUBA       LAQUINTA INNS 0667 AIRPORT        STERLING BALIFFS INC.
                     NORTH
CITY OF              LAQUINTA INNS 0674 WESTPORT       STERLING CHURCH ST
DOUGLASVILLE                                           FURNITURE - XXX-XX-XXXX
CITY OF DUBLIN       LAQUINTA INNS 0675 SEA-TAC        STERLING PROCESS
                     INTERNATIONAL                     SERVICES, INC.
CITY OF EAST POINT   LAQUINTA INNS 0676 KIRKLAND       STERLING SHOPPING
                                                       CENTER ASSOCIATES,
                                                       L.L.C.
CITY OF EDMONTON     LAQUINTA INNS 0679 ARLINGTON      STERLING, TOM
                     HEIGHTS/ CHICAGO
CITY OF              LAQUINTA INNS 0697 TULSA OK       STETZ, FRANK P
ENGLEWOOD -
SPONSORSHIP
CITY OF              LAQUINTA INNS 0700 I&SDENVER      STEVE BROWN
ENGLEWOOD            TECH CTR
UTILITIES
CITY OF              LAQUINTA INNS 0714 AIRPORT        STEVE COLES
ENGLEWOOD, OH
CITY OF ESCANABA     LAQUINTA INNS 0720 MARIETTA       STEVE FRACZEK
CITY OF FAIRFAX      LAQUINTA INNS 0722 RESEARCH       STEVE G RODRIGUEZ
                     PARK
CITY OF FAIRFIELD-   LAQUINTA INNS 0739 DETROIT        STEVE GADOMSKI
BUSINESS LICENSE     AIRPORT
CITY OF FINDLAY      LAQUINTA INNS 0784 CORPUR         STEVE KUIPER
                     CHRISTI AIRPORT
CITY OF FLAGSTAFF    LAQUINTA INNS 0785                STEVE LEPKOWSKI DO
(BUSINESS LICENSE    ORLANDO/WINTER PARK               NOT USE
DIVISION)
CITY OF FLORENCE     LAQUINTA INNS 0804 MOBILE         STEVE M BALLARD
CITY OF FLORENCE     LAQUINTA INNS 0806 LITTLE ROCK    STEVE NEWLIN
CITY OF FORT PAYNE   LAQUINTA INNS 0809 CHEYENNE       STEVE POLHAMUS
CITY OF FORT         LAQUINTA INNS 0811 OMAHA          STEVE REGAN
SASKATCHEWAN
CITY OF FRESNO       LAQUINTA INNS 0816                STEVE SMITH
                     ALBUQUERQUE NM
CITY OF FRUITLAND    LAQUINTA INNS 0819 FORT MYERS     STEVEN BADERTSCHER
CITY OF GRAND        LAQUINTA INNS 0856                STEVEN CORBETT
JUNCTION             WILSONVILLE
CITY OF GRANITE      LAQUINTA INNS 0859 CROWLEY        STEVEN DERA
CITY-UTILITY
CITY OF HAMILTON     LAQUINTA INNS 0866 COVINGTION     STEVEN EAST
CITY OF HARRISON-    LAQUINTA INNS 0881 - SALIDA       STEVEN GERBER
LICENSE
CITY OF HENDERSON    LAQUINTA INNS 0905 ROUND          STEVEN HALL &
                     ROCK                              PARTNERS
CITY OF HIALEAH-     LAQUINTA INNS 0908 NORTH          STEVEN J. ROTTMAN, PC
BUSINESS TAX
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CITY OF HICKORY       LAQUINTA INNS 0910 NEW            STEVEN JR JOHNSON
                      ORLEANS/SLIDELL
CITY OF HINESVILLE-   LAQUINTA INNS 0914                STEVEN KAREY
BUSINESS LICENSE      SACRAMENTO DOWNTOWN
CITY OF HUBBARD       LAQUINTA INNS 0918 AIRPORT        STEVEN KENNEY
CITY OF INGLEWOOD     LAQUINTA INNS 0924 AIRPORT        STEVEN KENNEY
- BUSINESS LICENSE
CITY OF               LAQUINTA INNS 0925 CORAL          STEVEN PERSONS
JACKSONVILLE -        SPRINGS
UTILITIES
CITY OF JOHNSON       LAQUINTA INNS 0929 SAN            STEVEN ROY
CITY                  MARCOS
CITY OF JOPLIN-       LAQUINTA INNS 0931                STEVEN S LITTLE
UTILITY               CHATTANOOGA
CITY OF KENNER        LAQUINTA INNS 0933 BRISTOL        STEVEN'S PAINTING
                                                        COMPANY
CITY OF KENOSHA       LAQUINTA INNS 0935 KINGSPORT      STEVEN'S PROPERTIES,
                                                        INC
CITY OF KINGMAN-      LAQUINTA INNS 0937 MOPAC          STEVENS, BONNIE
BUSINESS LICENSE      NORTH
CITY OF KITCHENER     LAQUINTA INNS 0938 GALLERIA       STEVERN M ZINZ
                      AREA
CITY OF LAFAYETTE     LAQUINTA INNS 0940 AIRPORT        STEWART ESTEN
CITY OF LANCASTER     LAQUINTA INNS 0942 CYPRESS        STEWART MITCHELL
                      CREEK/I-95
CITY OF LANCASTER     LAQUINTA INNS 0945 AIRPORT        STEWART
                                                        TECHNOLOGIES, INC.
CITY OF LAS VEGAS     LAQUINTA INNS 0946 DENVER         STEWART TRAVIS
SEWER SERVICES        TECH CTR
CITY OF LAS VEGAS-    LAQUINTA INNS 0946 TECH           STEWART, JODI-LEIGH
LICENSES              CENTER
CITY OF LAS VEGAS-    LAQUINTA INNS 0948 SCOTTSDALE     STIKEMAN ELLIOTT LLP
SEWER
CITY OF LEBANON       LAQUINTA INNS 0949                STILES, JONATHAN
                      BIRMINGHAM/HOMEWOOD
CITY OF LITTLE        LAQUINTA INNS 0951 MYRTLE         STILL HOPE
ROCK                  BEACH                             FOUNDATION, INC
CITY OF LODI          LAQUINTA INNS 0956 PARK 10        STILL HOPE
                                                        FOUNDATION, INC
CITY OF LONG          LAQUINTA INNS 0958 SALT LAKE      STINE, MARGARET A.
BRANCH                CITY AIRPORT
CITY OF LORAIN-       LAQUINTA INNS 0959 CRABTREE       STINGRAY
UTILITIES DEPT
CITY OF LOS           LAQUINTA INNS 0961                STINGRAY RADIO INC.
ANGELES               ALEXANDRIA
CITY OF LUMBERTON     LAQUINTA INNS 0963 GALLERIA       STINTSON, DOUGLAS
                      AREA
CITY OF LYNNVIEW      LAQUINTA INNS 0964                STITES & HARBISON,
                      ALPHARETTA                        PLLC
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CITY OF MADISON-     LAQUINTA INNS 0965                STIVRINS, SHERRY
PPT                  TAMPA/BRANDON
CITY OF MCHENRY      LAQUINTA INNS 0965                STOKES TIMMS BELL &
                     TAMPA/BRANDON                     VAIDEN, P.C.
CITY OF MELBOURNE    LAQUINTA INNS 0966 RALEIGH/       STOLL KEENON OGDEN,
UTILITIES            CARY                              PLLC
CITY OF MEMPHIS      LAQUINTA INNS 0968 DALLAS         STONE & ASSOCIATES,
                     PLANO WEST                        INC.
CITY OF MIAMI-       LAQUINTA INNS 0969 BUTLER         STONE, CYNTHIA
BUSINESS TAX         BLVD
CITY OF              LAQUINTA INNS 0971 CONYERS        STONE, STEVEN
MIDDLESBORO
CITY OF              LAQUINTA INNS 0972 PUEBLE         STOP HUNGER NOW
MILLEDGEVILLE
CITY OF              LAQUINTA INNS 0974 TAMPA/         STOR OFFICE FURNITURE
MILWAUKEE-           LAKELAND
LICENSES
CITY OF MOOSE JAW    LAQUINTA INNS 0977 U.S.F.         STORAGEMART
CITY OF NEW IBERIA   LAQUINTA INNS 0978 AIRPORT/       STORY, MIKE
                     DIA
CITY OF NEW          LAQUINTA INNS 0980 AIRPORT        STOSCH, DACEY &
ORLEANS              WEST                              GEORGE, P. C.
CITY OF NEWPORT      LAQUINTA INNS 0982 PLANTATION     STOUT, GARY
NEWS
CITY OF NEWPORT      LAQUINTA INNS 0983 CENTRAL        STRAIT, LAURAN
NEWS-PPT             BUSINESS DIST.
CITY OF NEWTON       LAQUINTA INNS 0985 FT             STRATEGIC ART
                     LAUDERDALE                        SOLUTIONS, LLC
CITY OF NORFOLK      LAQUINTA INNS 1027 SPRINGDALE     STRATEGIC MARKETING
                                                       SERVICES
CITY OF NORFOLK,     LAQUINTA INNS 1050 MIAMI-         STRATEGY WISE DIRECT
TREASURER            CUTLER RIDGE                      MARKETING
CITY OF NORTH LAS    LAQUINTA INNS 2005 LOS            STRATEGYTRAILS
VEGAS                ANGELES LAX
CITY OF NORTH        LAQUINTA INNS 4034 EL PASO        STRATFORD HOUSE OF
LITTLE ROCK          GATEWAY EAST                      BLESSING FOOD DRIVE
CITY OF NORWALK      LAQUINTA INNS 6062                STRATHMORE STANDARD
CITY OF OAK RIDGE    LAQUINTA INNS 6126 CARTER         STRAWBERRY PLAZA LLC
                     LAKE
CITY OF OCEANSIDE-   LAQUINTA INNS 771 WEST PALM       STRAYER UNIVERSITY
LICENSE              BEACH
CITY OF OLATHE-      LAQUINTA INNS 7710 NAPLES         STREAM ENERGY
ACT# 4220070007
CITY OF ORANGE-      LAQUINTA INNS ASHLAND             STREAMLOGICS INC.
LICENSES
CITY OF ORILLIA      LAQUINTA INNS CLEARWATER          STREET, MARY
CITY OF OSHAWA       LAQUINTA INNS COEUR D'ALENE       STREETSEEN MEDIA
CITY OF OXNARD,      LAQUINTA INNS EUGENE, OREGON      STRETTO INC
CITY TREASURER
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CITY OF PALM         LAQUINTA INNS INDIANAPOLIS N      STRICTLY NEON, INC.
COAST-PPT            @ PYRAMIDS
CITY OF PALMDALE     LAQUINTA INNS KISSIMMEE, FL       STRING FLAGS CANADA
CITY OF PEORIA-      LAQUINTA INNS LAFAYETTE           STROHACKER
TAXES                                                  INVESTIGATIONS
CITY OF              LAQUINTA INNS LAKESIDE            STROIA, MATTHEW
PETERBOROUGH
CITY OF              LAQUINTA INNS LAS VEGAS           STRONGMAN SERVICES
PETERBOROUGH         TROPICANA
CITY OF              LAQUINTA INNS LEXINGTON KY        STRUCTURAL EDGE
PHILADELPHIA                                           ENGINEERING INC
CITY OF PIQUA        LAQUINTA INNS LOUISVILLE          STRUCTURAL
                                                       PRESERVATION
                                                       CORPORATION
CITY OF PORTAGE      LAQUINTA INNS MUSIC CITY          STUART & ASSOCIATES
                     CENTRE                            P.C.
CITY OF PORTLAND     LAQUINTA INNS OAKLAND             STUART RHODES
CITY OF              LAQUINTA INNS RICHMOND KY         STUART TODD HAYNES
PORTSMOUTH
CITY OF POTOSI-      LAQUINTA INNS RICHMOND VA         STUBLEN & SONS
LICENSE                                                CONTRACTING SERVICES,
                                                       INC
CITY OF PRINCE       LAQUINTA INNS ROSWELL             STUDENTS IN FREE
ALBERT               HOLCOMB BRIDGE                    ENTERPRISE
CITY OF PRINCE       LAQUINTA INNS SAN ANTONIO         STUDIO CENTER
ALBERT- UTILITIES    AIRPORT
CITY OF PRINCE       LAQUINTA INNS SAN FRANSISCO       STURDIVANT'S
GEORGE               DOWNTOWN                          MECHANICAL, LLC.
CITY OF PUDUCAH-     LAQUINTA INNS SD OLD TOWN         STUVER, BRANDON
PPT
CITY OF RACINE       LAQUINTA INNS SPOKANE             STYLISTIC NEWS
TREASURER-PPT
CITY OF RAINSVILLE   LAQUINTA INNS SPRINGFIELD         SUBHASH SUCHIN
CITY OF RALEIGH      LAQUINTA INNS SUITES #505         SUBROGATION
                                                       MANAGEMENT TEAM LLC
CITY OF RICHMOND     LAQUINTA INNS TULSA CENTRAL       SUBURBAN BUILDING
                                                       SERVICES
CITY OF RICHMOND     LAQUINTA INNS WEST PALM           SUBURBAN JOURNALS
                     BEACH
CITY OF RINCON       LARA PASSMORE                     SUBURBAN LODGE
CITY OF ROCHESTER    LARACY TAX LTD.                   SUBURBAN NEWS
HILLS-PPT                                              PUBLICATIONS
CITY OF ROCK HILL-   LARAMIE ABINGDON, LP              SUCCESS IN MEDIA, INC
BUSINESS LICENSE
CITY OF ROCKY        LARAMIE COUNTY SCHOOL             SUCCESS MAGAZINE
MOUNT PARK &         DISTRICT #1
RECREATION
CITY OF ROME         LARCHE COMMUNICATIONS INC         SUCCESS PARTNERS
                                                       HOLDING CO
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CITY OF SALMON         LARISSA JANUSAS                    SUDBURY
ARM                                                       BROADCASTING GROUP
CITY OF SAN            LARKIN HOFFMAN DALY &              SUDBURY COFFEE NEWS
BERNARDINO -           LINDGREN LTD
BUSINESS LICENSE
CITY OF SAN DIEGO      LARRY BRANDY                       SUDBURY WOLVES
CITY OF SAN JOSE-      LARRY C MARTIN-DO NOT USE          SUDBURY WOLVES
BUSINESS TAX                                              HOCKEY CLUB LIMITED
CITY OF                LARRY C. MARTIN                    SUDDENLINK
SANDERSVILLE
CITY OF SANTA          LARRY DENTON                       SUDDENLINK BUSINESS-
ANNA                                                      70340
CITY OF SARATOGA       LARRY HICK                         SUE LYNN CAMERON
SPRINGS
CITY OF SEATTLE        LARRY KRAMER                       SUE POWERS
CITY OF SEATTLE        LARRY MILLER                       SUFFOLK BLOCK ASSOC
DEPT. OF FIN.                                             LLC
CITY OF SEATTLE-       LARRY PICKVANCE                    SUFFOLK BLOCK
LICENSING & TAX                                           ASSOCIATES LLC
ADMINISTRATION
CITY OF SENECA         LARRY STEEVES                      SUFFOLK FESTIVALS, INC.
CITY OF SHEBOYGAN      LARRY'S SUV                        SUFFOLK NEWS-HERALD
CITY OF SHERWOOD       LARS LARSON                        SUFFOLK TELEPHONE
                                                          BOOK
CITY OF                LARYSA KUZENKO                     SUGARCRM INC
SPRINGFIELD-OFFICE
OF TAX COLLECTOR
CITY OF ST             LAS VEGAS DETECTIVES               SUGARMAN, CARLA
PETERSBURG
CITY OF ST. FRANCIS-   LAS VEGAS EMPLOYMENT GUIDE         SUKHJINDER PARIHAR
LICENSES/PERMITS
CITY OF ST. MARY'S     LAS VEGAS REVIEW JOURNAL/LAS       SULAIMAN, AHMAD
                       VEGAS SUN
CITY OF ST. PETERS     LASALA DELOS SUENOS, INC.          SULEIMAN, MAMDOH
CITY OF STOCKTON       LASER CARTRIDGE SERVICES INC.      SULLIVAN COUNTY
                                                          CLERK
CITY OF                LASER DOCTOR                       SULLIVAN SQUARE INC
STOUGHTON-
TREASURER
CITY OF SUFFOLK -      LASER PLUS RECYCLING               SULLIVAN, DAN
SUFFOLK PARKS &
RECREATION
CITY OF SUISUN         LASER SOFT INFOSYSTEMS LTD         SULLIVAN, DANIEL
CITY-BUSINESS
LICENSE
CITY OF SUTHERLIN      LASERSPEED INC.                    SULO LEHTINEN
CITY OF SWIFT          LASTAND, INC                       SUMER FOX
CURRENT
CITY OF TACOMA         LASTAR                             SUMMER HARDY
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CITY OF TAMPA        LAT SPORTS                         SUMMIT 5, LLC
CITY OF TAYLOR       LATCHMIN MOHAN                     SUMMIT 5, LLC
CITY OF THOMPSON     LATHAN & WATKINS LLP               SUMMIT PROPERTY
                                                        MANAGEMENT, LLC
CITY OF TIFTON       LATIN VISION MEDIA, INC.           SUN BOWL ASSOCIATION
CITY OF              LATINO COMMUNICATIONS INC.         SUN CAPITAL CORP
TILLAMOOK-
LICENSES
CITY OF TORONTO      LATINO LEADERSHIP COUNCIL          SUN LIFE AND HEALTH
                                                        INSURANCE COMPANY
CITY OF TUCSON       LATINO TAX PROFESSIONALS           SUN LIFE AND HEALTH
                     ASSOCIATION                        INSURANCE COMPANY
CITY OF UNION        LA-TOYA MACLEOD                    SUN LIFE ASSURANCE
                                                        COMPANY OF CANADA
CITY OF UNION CITY   LATOYIA DENNIS & COMPANY           SUN MEDIA
CITY OF UTICA        LAU FU, LLC                        SUN SENTINEL
CITY OF VACAVILLE-   LAU, JOE                           SUN SOOK KIM
LICENSE
CITY OF VALDOSTA     LAUCKS & SPAULDING, INC.           SUN TRUST BANK
CITY OF VALLEJO      LAURA AVILES CARRO                 SUN WHEELERS, INC.
CITY OF VIRGINIA     LAURA AVILES CARRO                 SUN, LAI
BEACH
CITY OF VIRGINIA     LAURA BAILEY                       SUNBELT TEMPORARIES
BEACH - PAYROLL                                         AND CONTRACT
USE                                                     SERVICES
CITY OF VIRGINIA     LAURA CHASE                        SUNCOAST LOCK &
BEACH - UTILITIES                                       TROPHIES
CITY OF VIRGINIA     LAURA LEE LYONS                    SUNDANCE
BEACH                                                   INTERNATIONAL EVENTS
(CONVENTION                                             INC.
CENTER)
CITY OF VIRGINIA     LAURA R JEANNOTTE                  SUNDAY TIMES
BEACH ECONOMIC
DEVELOPMENT
CITY OF VIRGINIA     LAURA STEPHENSON                   SUNLAND, LLC
BEACH, TREASURER
CITY OF VIRGINIA     LAURASTEEN JONES                   SUNNY 101.9/ KBTO-FM
BEACH-LICENSES
CITY OF VIRGINIA     LAUREL ELECTRONICS                 SUNNY-LEA TINKLER-
BEACH-PASSPORT                                          STALFORD
CITY OF VIRGINIA     LAURELHURST APARTMENT              SUNRISE PLAZA
BEACH-PPT            COMPANY                            ASSOCIATES LP
CITY OF VISALIA-     LAURELHURST APARTMENT              SUNSET WEST
UTILITY              COMPANY-DO NOT USE                 INVESTIGATIONS
CITY OF VISTA -      LAUREN AUGER                       SUNSHINE COAST CREDIT
LICENSE                                                 UNION
CITY OF              LAUREN MARTIN                      SUNSHINE JUNK
WASHINGTON                                              REMOVAL LTD.
COURT HOUSE
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CITY OF WEIRTON      LAURETTE TREMBLAY                   SUNSHINE
                                                         MAINTENANCE AND
                                                         REMODELING
CITY OF WHEAT        LAURIE CALVERLEY                    SUNTRUST BANK
RIDGE-LICENSES                                           (CORPORATE CREDIT
                                                         CARD)
CITY OF WHITEVILLE   LAURIE COLLINS                      SUNTRUST BANK-
                                                         COMMERCIAL CREDIT
                                                         SVCS
CITY OF WINDER       LAURIE CORMIER                      SUNTRUST CAPITAL
                                                         MARKETS, INC.
CITY OF WINDSOR      LAURIE LASHBROOK                    SUNTRUST ROBINSON
                                                         HUMPHREY
CITY OF WINNIPEG     LAURINBURG SHOPS LLLP               SUPER SYSTEMS,
                                                         INCORPORATED
CITY OF WINSTON-     LAV, TY                             SUPERINTENDENT OF
SALEM REVENUE                                            FINANCIAL SERVICES
DIVISION
CITY OF WINTER       LAW OFFICE OF CHRISTINE N           SUPERIOR EXECUTIVE
GARDEN               FAILEY, P.A                         TRANSPORTATION
CITY OF WYOMING -    LAW OFFICE OF LAWERENCE A           SUPERIOR
UTILITIES            LEVINSON, P.C                       INVESTIGATIVE
                                                         SERVICES
CITY OF WYOMING-     LAW OFFICES OF ANDREW               SUPERIOR RECYCLE
PPT                  BECKER, P.L.C                       CENTRE INC.
CITY OF YUKON        LAW OFFICES OF CARL KHALIL          SUPERIOR SECURITY
                     AND SADA SHELTON
CITY PUBLIC          LAW OFFICES OF DUNN &               SUPERIOR SECURITY
SERVICES             PHILLIPS, P.C                       SERVICES
CITY TREASURER       LAW OFFICES OF KEVIN MURPHY         SUPERIOR SERVICES-
                                                         COLUMBUS
CITY TREASURER       LAW OFFICES OF NATALIE LUTZ         SUPERMEDIASTORE.COM
                     CARDIELLO
CITY TREASURER,      LAWANNA HASSAN                      SUPREME BASIC
SAN DIEGO-
BUSINESS TAX
CITY TREASURER-      LAWLINE.COM                         SUPREME COURT
COLUMBUS INCOME                                          APPELLATE DIV.
TAX
CITY WATER LIGHT     LAWRENCE CRAWFORD                   SUPREME COURT OF
& POWER                                                  FLORIDA
CITY-COUNTY TAX      LAWRENCE HANDYMAN SERVICE           SUPRIYA GOUR
COLLECTOR-
CHARLOTTE NC
CITYMARK             LAWRENCE MILLER (LARRY)             SURAJ JAGTAP
PROPERTIES, LLC
CITYTV               LAWRENCE RUBIN                      SUREN MAHARAJ
CJCD RADIO LTD.      LAWRENCE SIGN                       SURESITE
CJIJ RADIO/C99 FM    LAWTON WONG                         SUREWEST -ACCT# 104340
CJMX-FM              LAWYER'S STAFFING, INC.             SURFMYADS.COM
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CJMX-FM              LAWYERS TITLE INSURANCE            SURGENT MCCOY CPE,
                     CORPORATION                        LLC
CJRQ-FM              LAWYERS USA                        SURI
CKDK FM              LAWYERS WEEKLY INC.                SURPLUS LIQUIDATOR
CKDX FM (FOXY)       LAWYERS WEEKLY, INC. - DO NOT      SURROUND INTEGRATED
                     USE
CKDX-FM              LAZELLE MINI STORAGE LTD           SURRY COUNTY
                                                        REGISTER OF DEEDS
CKGY/CIZZ RADIO      LAZERSON, SCOTT                    SUSAN BOWEN
CKKN-FM              LB RADIO OF CHATTANOOGA            SUSAN BRUYERE
CKLQ-FM              LBC CAPITAL                        SUSAN CURTIN
CKOV & CKLZ FM       LBD PROPERTIES LLC                 SUSAN DOWAN
CKPC AM              LC DORTCH ENTERPRISES LLC          SUSAN E VERGADOS
CKPG TELEVISION      LC"S SIGN CREATIONS                SUSAN FERNER
LTD
CKRW                 LD LOWER HOLDINGS, INC             SUSAN FYKE
CKRW 96.1FM          LDC ENTERPRISES, LLC               SUSAN GERIGS
CKSW 570             LEAD SCIENTIST, LLC                SUSAN GULLIXSON
CKUE FM (95.1)       LEADER NEWS                        SUSAN K. WATERMAN
CLAIBORNE, JACKIE    LEADS2RESULTS, INC.                SUSAN KNOX
CLARA HELAL          LEADSRX, INC.                      SUSAN MCILVRIDE
CLARA STRONGOLI      LEAF CHRONICLE                     SUSAN MILNER
CLARENCE COPAN       LEAH JEWELL                        SUSAN PEPPER
CLARENCE HALLE       LEAH MCLAUGHLIN                    SUSAN STEVENS
CLARENCE HUGHES      LEAH TAYLOR                        SUSAN SWALES
CLARION HOTEL        LEAMON F. COUCH, JR.               SUSAN TANNER
CLARION HOTEL SAN    LEAMON F. COUCH, JR. FAMILY        SUSANA KLASSEN
FRANCISCO AIRPORT    LLC
CLARION SUITES-      LEANDRO FATTORI                    SUTHERLAND ASBILL &
COLLEGE PARK GA                                         BRENNAN LLP
CLARITY CREDIT       LEANNE GUDGEON                     SUTHERLIN REAL ESTATE
CORP. 98789                                             HOLDINGS LLC
CLARK COUNTY         LEAPFROG INTERACTIVE               SUTHERLIN SANITARY
                                                        SERVICE
CLARK COUNTY         LEARNING TREE INTERNATIONAL        SUVAM MAITY
ASSESSOR
CLARK COUNTY         LEASE FLORIDA HIALEAH LLC          SUZANNE CRITES
TREASURER
CLARK, DAN           LEASEFLORIDA LINDO LLC             SUZANNE GUITAR-FAJTA
CLARK, MARK          LEBCON ASSOCIATES                  SUZETTE RESENDES
CLARK, RON           LECLAIR RYAN                       SWADESH ENTERPRISES,
                                                        INC.
CLARKSVILLE          LEE & TRAN RE: JTH V               SWAIN BROS.
DEPARTMENT OF        TRAVELER'S
ELECTRICITY
CLARKSVILLE GAS &    LEE COUNTY REGISTER OF DEEDS       SWAN CITY HOCKEY
WATER                                                   ASSOCIATION
DEPARTMENT
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CLASSIC TRAVEL       LEE COUNTY TAX COLLECTOR            SWAN DUST CONTROL
CLAUDE ANTONELLI     LEE COUNTY TAX COLLECTOR            SWD, LLP
CLAUDE NEON          LEE COUNTY TAX COLLECTOR-           SWEENEY, TERESA
FEDERAL SIGNS, INC   PPT
CLAUDE ST GERMAN     LEE ENTERPRISES OF                  SWETHA ALLURI
                     MADISONVILLE
CLAUDETTE            LEE FAIN                            SWETSKY, ERIC
BOURGON
CLAVERIE-GUDINO,     LEE H LONGSTREET JR                 SWF INVESTMENTS, LLC
GRETA
CLAY A. HARTMANN     LEE HECHT HARRISON                  SWIFTPAGE ACT!, LLC
CLAY HEPBURN'S       LEE MECHANICAL, INC                 SWIFTPAGE E
ELECTRICAL
SERVICES
CLAY PLAZA           LEE SALTER                          SWIGART LAW GROUP
INVESTORS, LLC                                           APC
CLAYTON S.           LEE TRAN & LIANG                    SWISHMAIL.COM
MORROW, P.C.
CLEAN 4 ME           LEE WING YEE                        SWISS HAMILTON
CLEAN AIR CONCEPT,   LEE, RICK                           SYCOM TECHNOLOGIES,
LLC                                                      LLC
CLEAN AND CARE       LEEA SAWYER                         SYDNEY R STONE & CO.
SERVICES                                                 LTD
CLEAN STREAK         LEE-ANN EDWARDI                     SYDNEY R. MICHAEL
SERVICES                                                 INVESTIGATIONS
CLEANMAX             LEE-ANN ZBOYOVSKY                   SYDNEYSTONE
                                                         PRINTFINISHING
CLEAR CHANNEL        LEES TAX CITY                       SYED ZAIDI
CLEAR CHANNEL        LEGACY LIMOUSINE & LUXURY           SYKES, RICHARD
                     COACHES, LLC
CLEAR CHANNEL -      LEGAL ASSISTANT TODAY               SYKES,BOURDON,AHERN
ATLANTA                                                  & LEVY PC
CLEAR CHANNEL -      LEGAL DOC MGMT. INC.                SYLVAN ASSOCIATES
ATLANTA - POB
406066
CLEAR CHANNEL -      LEGAL EAGLE                         SYLVANA SHEWBRIDGE
BISMARCK ND
MARKET
CLEAR CHANNEL -      LEGAL LOCKSMITH                     SYLVIA CLARKE
DALLAS
CLEAR CHANNEL -      LEGAL PRIVATE DETECTIVES            SYLVIA MALLEY
DALLAS
CLEAR CHANNEL -      LEGAL SHIELD                        SYLVIA SN JACQUE
FARGO
CLEAR CHANNEL -      LEGENDS HOSPITALITY LLC             SYLVIA SOUSA
MANKATO
CLEAR CHANNEL -      LEGENDS MUSIC LLC                   SYLVIE BERTRAND
NORFOLK
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CLEAR CHANNEL -      LEIF DRUMMOND                       SYMANTEC
OKC                                                      CORPORATION
CLEAR CHANNEL -      LEIGH ANNE HUBLEY                   SYNC STREAM
RICHMOND                                                 SOLUTIONS, LLC
CLEAR CHANNEL -      LEIGHTON BROADCASTING               SYNDICUS LLC
ROCHESTER
CLEAR CHANNEL -      LEIGHTON ENTERPRISES INC.           SYNDICUS LLC
WHITEHALL PA
CLEAR CHANNEL        LEILA REYNOLDS                      SYNERFAC
BROADCASTING
CLEAR CHANNEL        LEISHA BROYDELL                     SYNERGY TECHNICAL
BROADCASTING
CLEAR CHANNEL        LEJEUNE, TINA B.                    SYNOVUS BANK
BROADCASTING
CLEAR CHANNEL        LELLAND PEASE                       SYSFOB
BROADCASTING
CLEAR CHANNEL        LEN NIGHSWANDER                     SYSTEMS C S SERVICES
BROADCASTING -                                           INC
CHICAGO
CLEAR CHANNEL        LENHART-FRAUENBERG                  SYX, ZACK
BROADCASTING -       PARTNERSHIP, LLP
KHTS
CLEAR CHANNEL        LENHART-FRAUENBERG                  T GORDON WYLLIE REAL
BROADCASTING         PARTNERSHIP, LLP                    ESTATE LIMITED
INC.- CHICAGO
CLEAR CHANNEL        LENORE WHITE                        T& C TAX SERVICES LLC
BROADCASTING, INC.
- PITTSBURGH
CLEAR CHANNEL        LENY ASHTON                         T&C TAX SERVICES LLC
BROADCASTING-
SPRINGFIELD MA
CLEAR CHANNEL        LEO CECANTI                         T&C TAX SERVICES, LLC
BROADCASTING-
WICHITA FALLS
CLEAR CHANNEL        LEO DEUBROUCK                       T&T COURIER AND
COLUMBUS                                                 TRUCKING
CLEAR CHANNEL        LEO DEURBROUCK                      T. STEPHENS JOHNSON &
COMMUNICATIONS -                                         ASSOC. INC.
847567
CLEAR CHANNEL        LEONA NICOLETTI                     TA/BANDERA II LTD
COMMUNICATIONS -
FRESNO
CLEAR CHANNEL        LEONA NIXON                         TA/BANDERA II, LTD
COMMUNICATIONS -
WUBT
CLEAR CHANNEL        LEONA WALLACE                       TABITHA SOLOMON
COMMUNICATIONS-
DETROIT
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CLEAR CHANNEL     LEONARD DYCK                       TACOMA PUBLIC
COMMUNICATIONS,                                      UTILITIES
INC. KSME
CLEAR CHANNEL-    LEONARD GRACEFFO                   TAD'S DELI
DALLAS
CLEAR CHANNEL-    LEONARD HENDERSON                  TAG-INK, INC.
DAVENPORT
CLEAR CHANNEL     LEONARDO LUCIER                    TAINA CONSULTING-
JACKSONVILLE                                         OLGA ROENA
CLEAR CHANNEL     LEONARDUS ARENDS                   TAKE 5 SOLUTIONS
MINNEAPOLIS
CLEAR CHANNEL     LEOPOLDO ROCHA                     TAKE A LEAP OF FAITH
OUTDOOR, INC.                                        INC.
CLEAR CHANNEL     LEPCO HOME IMPROVEMENTS            TALBOT MARKETING
OUTDOOR-MEMPHIS
CLEAR CHANNEL     LEPKOWSKI, MIKE                    TALENTWISE SOLUTIONS,
RADIO                                                LLC
CLEAR CHANNEL     LEPKOWSKI, STEVEN                  TALENTWISE, INC
RADIO
CLEAR CHANNEL     LERCO ELECTRIC, LLC                TALENTWISE-DONT USE
RADIO
CLEAR CHANNEL     LERMA ADVERTISING LLC              TALK BUSINESS START-
RADIO                                                UPS
CLEAR CHANNEL     LEROY SEBASTIAN SMIKLE-            TALK MEDIA
RADIO             MITCHELL
CLEAR CHANNEL     LES SERVICES, INC.                 TALKPOINT
RADIO                                                COMMUNICATIONS
CLEAR CHANNEL     LESKO, JOHN                        TALL GRASS PUBLIC
RADIO                                                RELATIONS INC
CLEAR CHANNEL     LESLEE DERRICK                     TALLEY SIGN COMPANY
RADIO -
CHATTANOOGA
CLEAR CHANNEL     LES-LEV CORP.                      TALLWOOD DRAMA
RADIO - GRAND                                        BOOSTER, INC.
FORKS
CLEAR CHANNEL     LESLEY BIDUKE                      TALLY- ANCHOR SIGN
RADIO - GRAND                                        CO.
RAPIDS
CLEAR CHANNEL     LESLIE BILLINGS                    TALLY-HO DISTRIBUTING
RADIO - JACKSON                                      CO LTD
CLEAR CHANNEL     LESLIE EDMONDS                     TALON DETECTIVE
RADIO - KIIS-FM                                      AGENCY INC.
CLEAR CHANNEL     LESLIE ELIEFF                      TALX CORPORATION
RADIO - WGCI-FM
CLEAR CHANNEL     LESLIE FOX                         TAM OSHANTER PLAZA
RADIO - WKQI
CLEAR CHANNEL     LESLIE GAIL TRENSHAW               TAM TRUST, PATRICK W.
RADIO                                                Y.
KIFS/KZZE/KRWQ
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CLEAR CHANNEL          LESLIE HICKEY                      TAMARA DICKISON
RADIO OF DES
MOINES
CLEAR CHANNEL          LESLIE LESSING                     TAMARA GAVRIS
RADIO-ANCHORAGE
CLEAR CHANNEL-         LESLIE O'BRIEN                     TAMAS PFEIFFER
RICHMOND
CLEAR CHANNEL-         LESLIE VASCONEZ                    TAMER CHRISTO DBA
ROCHESTER, MN                                             PCS, INC.
CLEAR CHANNEL          LESLIE WOODBECK                    TAMINA ARISEMS
SEATTLE
CLEAR CHANNEL-         LEUNG, MARGARITA                   TAMIRA ANSEMS
VICTORIA
CLEAR CHANNEL          LEVI SMITH                         TAMMIE CRONE
WORLDWIDE
CLEAR CHANNEL,         LEVINCENT SUTTON                   TAMMY BARDAWILL
NORFOLK 139
CLEAR COMMERCE         LEVINE & LEVINE                    TAMMY BATES
CORPORATION
CLEAR COMPANY,         LEVINE, ANDREA                     TAMMY DELOACH
LLC
CLEAR LAW              LEVINSKY ELECTRIC, INC.            TAMMY GERVAIS
INSTITUTE
CLEARFIELD CITY,       LEVITES REALTY MANAGEMENT,         TAMMY MAHONEY
UT                     LLC
CLEARFIELD TOWN        LEVY SHOW SERVICE                  TAMMY ROOTH
SQUARE LLC
CLEARINGHOUSE,         LEVY, PETER                        TAMMY SCHELL
ATLAS # 000648793900
CLEARVIEW              LEVY, ROBERT                       TAMMY THERIAULT
EXTERIOR CLEANING
SOLUTIONS, LLC
CLEBURNE NEWS          LEWIS BRISBOIS BISGAARD &          TAMMY VIGEN
                       SMITH LP
CLEMONS COURIER        LEWIS- HAYNE, BEVERLY              TAMMY WRIGHT
CLERK - SUPREME        LEWIS WEATHERL                     TAMPA BAY
COURT OF VIRGINIA                                         INTERCONNECT
CLERK AND MASTER       LEWIS, C. JAMES                    TAMPA BAY
                                                          INVESTIGATIONS
CLERK OF               LEWIS, DAN                         TAMPA EMPLOYMENT
CHANCERY                                                  GUIDE
CLERK OF SUPERIOR      LEWIS, KING, KRIEG & WALDROP.      TAMPA TRIBUNE
AND STATE COURTS       P.C.
CLERK OF SUPERIOR      LEWIS, SAM                         TAN, HSING
COURT HENRY
COUNTY
CLERK OF THE           LEWIS-BROADNAX, BEVERLY            TANCRETO, JOHN
CIRCUIT COURT
CLERK OF THE           LEXACOM                            TANDEM/SARASOTA
COURT
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CLERK OF THE           LEXADIGM SOLUTIONS, INC.           TANGUAY MAGILL
DISTRICT COURT                                            AMERICAN LEGION POST
                                                          80
CLERK OF THE STATE     LEXINGTON-FAYETTE URBAN            TANIA TECCHI
CORPORATION            COUNTY GOVERNMENT
CLERK, HAMILTON        LEXIS PUBLISHING                   TANIA TILLEY
COUNTY CIRCUIT
COURT
CLERK, U. S.           LEXISNEXIS DOCUMENT                TANISHA PHILLIPS
DISTRICT COURT         SOLUTIONS
CLERK, U.S. DISTRICT   LEXISNEXIS, INC                    TANQUE VERDE RANCH
COURT
CLERK, UNITED          LF2 COMMERCE CITY LP               TANVEE PAI
STATES COURT OF
APPEALS
CLERK, VA BEACH        LG&E01                             TANVENTURE, LLC
CIRCUIT COURT
CLERK,                 LGB PROPERTIES, LLC                TANYA MYERS
VANDERBURGH
SUPERIOR COURT
CLIFF PARKER AND       LH HOLDINGS ONTARIO LTD.           TANYA NEIL
ASSOCIATES, INC
CLIFFORD BELL          LI, LUYAN                          TANYA NICKLES
CLIFFORD               LIANNE M SMITH                     TANYA PANAMICK
BIRNBAUM - DO NOT
USE
CLIFFORD D. BELL       LIAO & ASSOCIATES                  TAP TITLE ABSTRACT CO.
CLIFF'S CHECK          LIB A&M LLC-ROBERT MELGAR          TAPASTATE LLC
CASHING STORES
INC
CLIFTON G. WHITT       LIBERTY ALARMS                     TAPES PLUS
                                                          ADVERTISING
CLIFTON G. WOOD        LIBERTY BOWL FESTIVAL              TAPIS RICHARD RANGER
                       ASSOCIATION                        CARPET, INC
CLINE, STEVE           LIBERTY COUNTY TAX                 TAPSCO ALARMS -
                       COMMISSIONER                       WHITBY
CLINT BENSON           LIBERTY DIXON CENTER, LTD.         TAPSCO ALARMS
                                                          LIMITED - OSHAWA
CLINTON                LIBERTY HEALTH EXCHANGE            TARA CHAPMAN
INVESTIGATIONS,
LLC
CLINTON PRINTING       LIBERTY LANDHOLDINGS, LLC          TARA ENERGY
OF ROCHESTER INC
CLINTON SAWATZKY       LIBERTY TAX SERVICE                TARA GOODNAUGH
CLIPPER MAGAZINE       LIBERTY TAX SERVICE                TARA MCMILLAN DBA
                                                          DEBRIZ VARNISH
                                                          PROPERTY CLEANUP
CLOCKWORK              LIBERTY TAX SERVICE                TARA NUGENT
PRODUCTIONS INC.
CLOUD 9 VOIP           LIBERTY TAX SERVICE                TARA RUSHLOW
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CLOUD CATERING      LIBERTY TAX SERVICE                TARA SORRELL
CLOUD, BERTHA       LIBERTY TAX SERVICE                TARA VIRGOE
CLPF-CLAIREMONT     LIBERTY TAX SERVICE - JAMES        TARGET DIRECT
MESA LP             BURKE
CLS MECHANICAL,     LIBERTY TAX SERVICE - KATHY        TARGET INFORMATION
INC.                PONTE                              SERVICES
CLUB KRYSTAL DE     LIBERTY TAX SERVICE - SCOTT &      TARGUS INFO
GYMNASTICS          NAOMI BLACK
CLUB SOFTWARE       LIBERTY TAX SERVICE - SCOTT        TARIQ SHAIKH
                    SHRADER
CLUTTER             LIBERTY TAX SERVICE #3958          TARLAN YAZDANI
INVESTIGATIONS,
BILL
CLV GROUP INC       LIBERTY TAX SERVICE- ANTONIO       TARR, KATHY
                    VARGAS
CLYDE MCKEEN        LIBERTY TAX SERVICE OF NEW         TARRYMORE SQUARE
(OSHAWA)            MEXICO
CM & Z HOLDINGS,    LIBERTY TAX                        TASCONA, PATRICK
LLC                 SERVICE/MCCARTNEY
CM MUSIC COMPANY    LIBERTY TAX SERVICE/RAY            TASHA SIMPSON
INC.                NOLMAN
CM&2 HOLDINGS,      LIBERTY TAX SERVICE-4128           TASK-CO BUILDING
LLC                                                    MAINTENANCE
CMG HOLDINGS, LLC   LIBERTY TAX SERVICE-CAPITAL        TATINA M TUCKER
                    ONE
CML GROUP INC.      LIBERTY TAX SERVICE-FRANK          TAUNTON MUNICIPAL
                    GRIM                               LIGHTING PLANT
CMM PROPERTIES      LIBERTY TAX SERVICE-NET SPEND      TAWNY A SCHNEIDER
                    ACCT.
CMZ HOLDINGS LLC-   LIBERTY TAX SERVICE-SANDRA         TAX ANALYSTS
DO NOT USE          HENRY
CNA INSURANCE       LIEBERT GLOBAL SERVICES            TAX COLLECTOR, CITY
COMPANIES                                              OF NORWALK CT
CNC COMMERICAL      LIFE INSURANCE COMPANY OF          TAX COLLECTOR,
REAL ESTATE, INC    NORTH AMERICA-CIGNA                GARLAND COUNTY
CNS-THIS WEEK       LIFE MATTERS INTERNATIONAL,        TAX DISTRICT
                    INC.                               LEXINGTON-FAYETTE
                                                       URBAN COUNTY
                                                       GOVERNMENT
COAST COMPUTER      LIFECARE                           TAX ENGINE.COM, INC.
SERVICES
COAST PUBLISHING    LIFELOCK, INC                      TAX FREEDOM FIGHTERS
LTD.
COAST REPORTER      LIFESTYLE 360, INC.                TAX HEROES LLC- RALPH
                                                       LOWTHER
COASTAL AREA        LIFESTYLE MEDIA WORLDWIDE          TAX MATERIALS INC
HEALTH
COASTAL CAROLINA    LIFT CAPITAL VENTURES LLC          TAX SWAMIS LLC
RADIO
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COASTAL CURRENCY    LIGHTHOUSE LIST COMPANY             TAXATION AND REVENUE
SERVICES, INC.                                          DEPARTMENT
COASTAL FIRE        LIGHTHOUSE SERVICES, INC.           TAXATION AND REVENUE
PROTECTION CO.                                          DEPT.
COASTAL SPORTS &    LIGHTS OF LAS VEGAS, INC.           TAX-FILER
ENTERTAINMENT,                                          EMPOWERMENT CANADA
INC.
COBB                LILCRIS INDUSTRIES LIMITED          TAXME LLC
INVESTIGATIVE
SERVICES INC
COBBLE HILL         LILIIA SITNYKOVA                    TAXPAYER SERVICES
COMPUTERS                                               DIVISION (GA)
COCCA HOLDINGS II   LILLIAN VELASQUEZ HILLMAN           TAYLOE ASSOCIATES,
LLC                                                     INC.
COCCA HOLDINGS II   LILLY KOVACEVIC                     TAYLOE ASSOCIATES,
LLC                                                     INC.
CODE COMPLETE       LILLY PLIAKES                       TAYLOR AND
SOFTWARE, INC DBA                                       ZIEGENBEIN
JETBRAINS AMERICA
COE COMPANY         LILY BEGG                           TAYLOR CORPORATION
COFFEE NEWS OF      LILY SCHWARTZ (#9118)               TAYLOR DOCUMENT
SIOUX FALLS                                             MANAGEMENT
COGENCY GLOBAL      LIMELIGHT COMMUNICATIONS            TAYLOR MADE GROUP
INC.                GROUP, INC                          ENTERTAINMENT
COGENCY GLOBAL      LIN ANDY                            TAYLOR RESEARCH &
INC.                                                    INVESTIGATION
COGENT HOLDINGS-    LIN PLAZA LLC                       TAYLOR SOFTWARE, INC
1, LLC
COHEN AND MALAD,    LIN TELEVISION CORPORATION          TAYLOR, AL
P.C.
COLDWELL BANKER     LINA SHRAMKO                        TAYLOR, BILLY & PATTY
HARBOUR REALTY
COLEMAN             LINCOLN FINANCIAL MEDIA             TAYLOR, JOHANNA
LOCHMILLER &        GROUP OF COLORADO
BOND
COLIN ALEXANDER     LINCOLN PLAZA ASSOCIATES LLC        TAYLOR, KELLYE
COLIN HOLMES        LINCOLN SUNRISE LLC                 TAYLOR, MARGARET
COLIN VINEHAM       LINDA A BURNS                       TAYLOR, MARGARET H
COLISEUM CENTRAL    LINDA BAILEY                        TAYLOR, PAUL
COLISEUM FF, LLC    LINDA BOT                           TAYLOR, RENAULTA
COLLABORATIVE       LINDA D. JOLLY                      TAYLOR, SPENCER
MARKETING GROUP,
INC.
COLLABORATIVE       LINDA DALTON                        TBB LONG NECK LLC
RESEARCH
SOLUTIONS, INC.
COLLECTCORP INC.    LINDA DI PAOLO                      TCS CORPORATE
                                                        SERVICES
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COLLECTION          LINDA DZYDZ                          TD BANKNORTH, N.A.
ADVISOR MAGAZINE
COLLECTION          LINDA E KWOUN                        TD HOLDING LLC
TECHNOLOGY, INC.
COLLEEM LLOYD       LINDA FERLATTE                       TDI DYNAMIC CANADA
COLLEEN GAGNE       LINDA HUGHES                         TDI LLC- MSP DESIGN
                                                         GROUP
COLLEEN LLOYD       LINDA JULIEN                         TDI TRANSPORTATION
                                                         DISPLAY INC
COLLEEN LUNN        LINDA KOZLOWSKI                      TDWI REGISTRATION
COLLEEN MINOR       LINDA KWOUN & YOUNG JA               TEA MEDIA
                    KWOUN                                MANAGEMENT
COLLEENE JACK       LINDA LAFANTAISIE                    TEAGLE & LITTLE
                                                         PRINTING
COLLEGE PARK        LINDA MAY WILLIAMS                   TEAM SANDTASTIC
SQUARE
ASSOCIATES, LLLP
COLLETTE BEACH-     LINDA MCGILL                         TEAMMATES MENTORING
FISER MEMORIAL                                           PROGRAM OF COUNCIL
FUND                                                     BLUFFS
COLLEY, JOHN        LINDA MORRIS                         TEAMVIEWER GMBH
COLLIER COUNTY      LINDA SCHULER                        TECH CONFERENCE INC.
TAX COLLECTOR -
LICENSE
COLLIERS            LINDA TRIDER                         TECHINN 360
ARKANSAS INC
COLLIERS            LINDA TURNER                         TECHNICAL
INTERNATIONAL                                            REGISTRATION EXPERTS
COLLIERS            LINDA WILLIAMS                       TECHNIQUE MFG
MACAULAY NICOLLS
INC.
COLLIERS PRATT      LINDENMEYR MUNROE                    TECHNIQUE, THE
MCGARRY
COLLINS, OTIS       LINDMARK OUTDOOR                     TECHREPUBLIC
                    ADVERTISING
COLLOGO             LINDSAY SARAZIN-COTE                 TECO
NETWORKS, INC.
COLONIAL CORNER     LINDSEY & PORSHA BLEASDILLE          TECO
LLC
COLONIAL FOODS,     LINDSEY STRACEY                      TECO-21218
LLC
COLOR GRAPHICS OF   LINDY SILVER                         TED DORNEY
VA BEACH
COLORADO            LINGOTEK, INC                        TED LAGMAN
DEPARTMENT OF
LABOR &
EMPLOYMENT
COLORADO            LINK SYSTEMS, INC                    TEDD YURIK
DEPARTMENT OF
LAW
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COLORADO             LINKEDIN CORPORATION               TEENA FRENCH
DEPARTMENT OF
TREASURY-UCP
COLORADO DEPT OF     LINN COUNTY TAX COLLECTOR          TEJAS SHINDE
REVENUE
COLORADO             LINNENBRINK CONSTRUCTION           TEK SYSTEMS
SECRETARY OF
STATE
COLORADO SPRINGS     LINWOOD SHOPPING CENTER            TEKGUARD IT SOLUTIONS
SKY SOX BASEBALL     INITIATIVE, LLC
COLORCRAFT OF        LIONEL GAUTHIER                    TEKSAVVY
VIRGINIA, INC
COLTON WALLACE       LIONS BALL HOCKEY CLUB             TEKSHARK, INC
COLUMBIA GAS OF      LIONSTING, INC                     TEL-E CONNECT
MA                                                      INVESTMENTS LTD.
COLUMBIA GAS OF      LIPARI RENTALS                     TELEGRAPH HERALD
OHIO-KY
COLUMBIA GAS OF      LIPKIN-MOLINAR LLC                 TELEMUNDO ODESSA-
OHIO-OH                                                 MIDLAND
COLUMBIA GAS-4629    LIPSON MANAGEMENT                  TELEPHONE & MAIN
                                                        ASSOCIATES, LLC
COLUMBIA GAS-        LISA ARKSEY                        TELEPHONE DOCTOR
742510
COLUMBIA             LISA BAKER                         TELL-A-PHONE GUY
PROPERTIES
VENTURES V, LLC
COLUMBIA STATE       LISA ERICKSON DBA LHE              TELLIGENT
BANK                 ADVERTISING
COLUMBINE CENTER     LISA GRONDIN                       TELLY AWARDS
ASSOCIATES, LLC
COLUMBINE CENTER     LISA HALL                          TELNET
ASSOCIATES, LLC                                         COMMUNICATIONS
COLUMBUS AREA        LISA K. COPE,                      TELUS
CHAMBER OF                                              COMMUNICATIONS-
COMMERCE                                                VANCOUVER
COLUMBUS BLUE        LISA LARSEN                        TELUS MOBILITY
JACKETS
COLUMBUS CITY        LISA LAVOIE                        TELUS-BURLINGTON
TREASURER
COLUMBUS             LISA LIGHTFOOT                     TEMPLE TERRACE
DISPATCH - 3RD ST.                                      ASSOCIATES, LLC.
COLUMBUS             LISA R OWEN                        TENAMARIE HAWK
DISPATCH - DO NOT
USE
COLUMBUS             LISA REHEL                         TENDER HEARTS
EMPLOYMENT NEWS                                         PROPERTIES, LLC.
COLUMBUS WEST        LISA SIAKALUK                      TENERY, TERRY L.
JOINT VENTURE
COLVIN. JAMES        LISA SNELGROVE                     TENGCHONG
                                                        INVESTMENT INC
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COMAX VALLEY          LISA SOCH                          TENNESSE DEPT OF
ECHO                                                     REVENUE
COMBS, NANCY          LISA SODERLUND                     TENNESSEE AMERICAN
                                                         WATER
COMCAST - POB 840     LISA TAYLOR                        TENNESSEE CHILD
                                                         SUPPORT
COMCAST               LISA WARREN                        TENNESSEE DEPART. OF
ADVERTISING SALES-                                       REVENUE-INACTIVE
MD
COMCAST               LISA WRIGHTMAN-DAVIDSON            TENNESSEE
ADVERTISING SALES-                                       DEPARTMENT OF
PA                                                       REVENUE
COMCAST               LISA YAKELEY                       TENNESSEE HIGHER
ADVERTISING SALES-                                       EDUCATION COMMISSION
PA
COMCAST BUSINESS-     LISTK, LLC                         TENNESSEE PROCESS
60533                                                    SERVICES CORP.
COMCAST BUSINESS-     LITE-WAY ELECTRIC LTD              TENNESSEE SECRETARY
70219                                                    OF STATE
COMCAST-3001          LITHERLAND, WILLIAM                TENNESSEE-AMEICAN
                                                         H2O CO.
COMCAST-3002          LITORGICAL PUBLICATONS, INC        TENNEY MEDIA GROUP
COMCAST-3005          LITTLE FIVE POINTS COMMUNITY       TERAGO NETWORKS INC.
                      CENTER
COMCAST-34744         LITTLE ROCK INSURANCE              TERASEN GAS
                      AGENCY INC
COMCAST-37601         LITTLE ST GEORGE                   TERESA A SPARKS
COMCAST-530098        LITTLE, DARREN                     TERESA CELEBRE
COMCAST-530099        LIVE NATION WORLDWIDE, INC.        TERESA M BRASHEARS
COMCAST-660618        LIVING WATER FIRE PROTECTION,      TERESA MILLS
                      LLC
COMCAST-71211         LIVING WATER RESORTS               TERESA RICHARDSON
COMDOC INC - 41602    LIVINGSTON, SHARON                 TERESA ROULETTE
COMDOC INC - 932159   LIZCANO LLC                        TERESA SENATORE
COMED                 LJ BROBST RENOVATIONS              TERESA WATTERS
COMED                 LKMT ENTERPRISES, INC.             TERESA WEBB
COMED - 6111          LLORENS, ALFREDA J.                TERESA YOUNG
COMFORT SERVICES,     LLOYD & TAYLOR MORTGAGE            TERESA'S HOME SEWING
INC                   LLC
COMFORT               LLOYD AND PEGGY SCHAFER            TERMINIX
TELECOMMUNICATI                                          INTERNATIONAL
ONS INC                                                  COMPANY LIMITED
                                                         PARTNERSHIP
COMFORT ZONE          LLOYD FRYHOVER                     TERRACE CURLING
SERVICES LTD                                             ASSOCIATES
COMMAND               LLOYD GRIGSBY                      TERRACE REALTY AND
INVESTIGATIONS                                           MANAGEMENT INC
LLC
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COMMAND             LM COMMUNICATION OF WV, LLC         TERRACOM
INVESTIGATIONS,
LLC
COMMERCIAL DOOR     LMVISUALS LLC                       TERRANCE KRYSAK
LLC
COMMERCIAL          LOCAL INTERNET LEADS                TERRANCE MCSWAIN
EXECUTIVES REAL
ESTATE SERVICES
COMMERCIAL          LOCAL PAGES OF OHIO LLC             TERRI BAHR
INVESTMENT
PROPERTIES INC
COMMERCIAL          LOCK & GO SELF STORAGE, INC.        TERRI GALLAN
INVESTMENT
PROPERTIES INC
COMMERCIAL          LOCKETT, BILL                       TERRI LYN HOCKEY
RECORDS CENTER -
EL PASO INC
COMMERCIAL          LOCKHART INDUSTRIES, INC.           TERRI MARSH
TULSA, INC.
COMMERICAL ROOF     LOCK-N-KEY STORAGE                  TERRI SLAUNWHITE
MANAGEMENT, INC-
PROMENADE
COMMISIONAIRES      LODEROCK ADVISORS INC.              TERRI TELASCO
COMMISIONER OF      LOGAN CROSSING LLC                  TERRILYN KAJANDER
FINANCE
COMMISSION          LOGAN CROSSING,LLC                  TERRY BRIDGE DBA
JUNCTION                                                BRIDGE INVESTMENTS,
                                                        LLC
COMMISSIONER OF     LOGAN POWELL                        TERRY BROWN
REVENUE SERVICES
COMMISSIONER OF     LOGICIEL DR. TAX SOFTWARE,          TERRY ECKSTADT
REVENUE SERVICES-   INC.
CT
COMMISSIONER OF     LOGMEIN, INC.                       TERRY FINN
SECURITIES-HAWAII
COMMISSIONER OF     LOGO2GO                             TERRY HALLIGAN
TAXATION &
FINANCE
COMMISSIONER OF     LOGOS REAL ESTATE                   TERRY LEE HARMON DBA
TAXATION AND        MANGEMENT LLC                       HARMON SIGNS LLC
FINANCE (NYS)
COMMISSIONER OF     LOGUE JR, EDWARD                    TERRY LILLY
THE REVENUE-
NEWPORT NEWS
COMMISSIONERS OF    LOIS HAWKE                          TERRY MCCORMACK
PUBLIC WORKS
COMMIVESCO-         LOIS LOUGH                          TERRY NORTHRUP
LEVEINSON-VINER
GROUP INC.
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COMMODORE           LOKEY VENTURES, INC.               TERRY PECK SIGNS LTD.
REALTY
COMMON SPACE, LLC   LOLITO VILORIA                     TERRYN EVANS
COMMONWEALTH        LOMA VISTA ASSOCIATES, LLC         TERSIET WORKNEH
EXPRESS
COMMONWEALTH OF     LONDON DISTRICT ENERGY LP          TESLA ELECTRIC
MASSACHUSETTS                                          (WINDSOR) INC.
COMMONWEALTH OF     LONDON DRUGS LTD.                  TEST VENDOR
MASSACHUSETTS(UC
P)
COMMONWEALTH OF     LONDON HYDRO                       TEST VENDOR - AMEX
PENNSYLVANIA
COMMONWEALTH OF     LONDON KNIGHTS HOCKEY              TETRO-TRONICS
PENNSYLVANIA
COMMONWEALTH OF     LONE STAR SIGNS                    TEXAS COMPTROLLER OF
PENNSYLVANIA-                                          PUBLIC ACCOUNTS
UNCLAIMED PROP
COMMONWEALTH OF     LONESTAR PROPERTIES                TEXAS COMPTROLLER OF
PUERTO RICO                                            PUBLIC ACCOUNTS-
                                                       UNCLAIMED PROPERTY
COMMONWEALTH OF     LONG & FOSTER REAL ESTATE          TEXAS GAS SERVICE
VIRGINIA
COMMONWEALTH OF     LONG, MICHAEL                      TEXAS STATE
VIRGINIA-2478                                          COMPTROLLER
COMMONWEALTH OF     LONGFIELD CONSULTING LLC           TEXAS STATE
VIRGINIA-NOTARY                                        DISBURSEMENT UNIT
COMMONWEALTH        LONGFIELD, ROSS                    TEXAS WORKFORCE
SAFE & SECURITY                                        COMMISSION
COMMONWEALTH        LONGSHIP CAPITAL LLC               THA PATIO SHOP
SIGN CO.
COMMUNICATION       LONNIE ROBERTS                     THALHIMER
BRIEFINGS                                              COMMERCIAL REAL
                                                       ESTATE
COMMUNICATION       LOOK COMMUNICATIONS                THANE FOWLER
PLANNING            INC./TELNET COMMUNICATIONS
CORPORATION
COMMUNIQUE INC      LOOK SIGNS                         THAT'S GREAT NEWS
COMMUNITY BANK      LOPEZ, ENID                        THE ABERDEEN
OF MANATEE                                             AMERICAN NEWS
COMMUNITY           LORAINE LOVER                      THE ACCOUNTING
BROADCASTERS, LLC                                      SOURCE
COMMUNITY           LORE VONMINNIGERODE                THE AIRDRIE ECHO
BROADCASTING
SERVICES
COMMUNITY DRUG      LORENA MENDOZA                     THE ALBERMARLE
ALERT                                                  POTATO FESTIVAL
COMMUNITY           LORETTA SEYMOUR                    THE ALS ASSOCIATION
FOUNDATION OF
GREATER
PETERBOROUGH
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COMMUNITY             LORI FORGRAVE                      THE AMERICAN MALL OF
OUTREACH                                                 MEMPHIS, LLC
PROGRAM ERIE
COMMUNITY WAR         LORI HAVTUR                        THE ARIZONA REPUBLIC
VETERAN
COMOX VALLEY          LORI LYNN MACDONALD                THE ASCENDANT GROUP
ECHO
COMPANY 3/            LORIE CONTANT                      THE ASCENDANT GROUP,
METHOD INC                                               LLC.-DO NOT USE
COMPASS BANK          LORMAN EDUCATION SERVICES          THE ATLANTA JOURNAL-
                                                         CONSTITUTI
COMPASS GROUP         LORNA DYALL                        THE BALTIMORE SUN
CANADA
COMPASS               LORNE HEFFERTON                    THE BARGAINS GROUP
TECHNOLOGY                                               LTD
GROUP, LLC
COMPDATA              LORNE MCCULLY                      THE BARNETT GROUP OF
SURVEYS DOLAN                                            MISSISSIPPI, LLC
TECHNOLOGIES
CORP.
COMPETITOR FIRE       LORRAINE GAUTHIER                  THE BLOOR WEST
AND SAFETY                                               VILLAGER
COMPETITVE EDGE       LORRAINE GOMEZ                     THE BOSTON GLOBE
SERVICES, INC.
COMPLETE              LORRAINE GOOD                      THE BOTTOM LINE
COMMERCIAL
REPAIR, INC.
COMPLETE PAYMENT      LORRAINE HAMMOND                   THE BREEZE
RECOVERY SERVICES
INC
COMPLETE              LORRI MCCOLGAN                     THE BRIDGEBUILDER
PRESERVATION                                             COMPANY
SERVICES, LLC
COMPLETE TAX AND      LORRI ROVERT                       THE BROOKS AND
BUSINESS                                                 COUNTY CHRONICLE
SOLUTIONS
COMPLIANCEPOINT       LORRIEL THOMAS                     THE BROOKS BULLETIN
DM, INC.
COMPOLI JR., JOSEPH   LOS ANGELES BUSINESS JOURNAL       THE BUFFALO NEWS
R.
COMPONENET ONE        LOS ANGELES CONVENTION             THE BUREAU OF
                      CENTER                             NATIONAL AFFAIRS INC
COMPONENT ART         LOS ANGELES COUNTY -               THE BUSINESS & TAX
                      WATERWORKS DISTRICTS               CENTRE
COMPONENTS            LOS ANGELES COUNTY TAX             THE BUSINESS
ELECTRONIC            COLLECTOR                          EXCHANGE
SYSTEMS, LLC
COMPORIUM             LOS ANGELES DEPARTMENT OF          THE BUSINESS JOURNAL-
COMMUNICATIONS        WATER & POWER                      KANSAS CITY
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COMPTROLLER OF         LOS ANGELES REGISTRAR-            THE CADILLAC FAIRVIEW
MARYLAND               RECORDER/COUNTY CLERK             CORPORATION LIMITED
COMPTROLLER OF         LOS KITOS                         THE CADILLAC FAIRVIEW
MARYLAND-                                                CORPORATION LIMITED
UNCLAIMED
PROPERTY
COMPTROLLER OF         LOSCALZO ASSOCIATES, LLC          THE CANADIAN
PUBLIC ACCOUNTS                                          FRANCHISE &
                                                         DEALERSHIP MAGAZINE
COMPTROLLER OF         LOTENBERG, STANLEY                THE CANADIAN
PUBLIC ACCOUNTS                                          INSTITUTE OF
TX                                                       CHARTERED
                                                         ACCOUNTANTS
COMPTROLLER            LOTT & FRIEDLAND, P.A.            THE CAREER CENTER-
STATE OF NEW YORK                                        UNIVERSITY OF
                                                         MICHIGAN
COMPUMASTER            LOTUS RADIO CORP., RENO           THE CARING CUPBOARD
COMPUSA                LOUD CONSULTING INC.              THE CAVALIER
COMPUTER CABLES        LOUIS B. GERBERDING               THE CAVALIER HOTEL
AND MORE
COMPUTER               LOUIS SULLIVAN                    THE CHESTERMERE
ENTERPRISES, INC.                                        ANCHOR
COMPUTER RENTAL        LOUISANA DEPARTMENT OF            THE CHEUNG LAW FIRM
CENTRE INC             REVENUE                           PLLC
COMPUTER SUPPLY        LOUISIANA DEPARTMENT OF           THE CITY OF CALGARY
COMPANY OF             REVENUE
VIRGINIA, INC.
COMPUTERS INTEC &      LOUISIANA DEPARTMENT OF           THE CITY OF KENORA
MORE                   TREASURY-UCP
COMPUTERSHARE          LOUISIANA DEPT. OF REVENUE        THE CITY OF LONDON
COMPUWARE              LOUISIANA SECRETARY OF STATE      THE CITY OF TERRACE
CORPORATION
CON EDISON-1702        LOUISIANNA PRESS ASSOCIATION      THE CITY OF TERRACE
CONACULTA              LOUISVILLE METRO REVENUE          THE CITY OF WINNIPEG
                       COMMISSION
CONCEPT                LOUISVILLE WATER                  THE CLARION LEDGER
UNLIMITED, INC.
CONCORDE FOOD          LOURDES MIRAMONTES                THE COLUMBUS
SERVICES (1996) LTD.                                     DISPATCH
CONCURSO               LOVEJOT SINGH                     THE COLUMBUS
SENORITA                                                 DISPATCH - DO NOT USE
INDEPENDENCIA DE
CONDON, CHARLES        LOVELAND PUBLISHING CORP.         THE COMMERCIAL
                                                         APPEAL
CONECTIV               LOVERS ATWORK OFFICE              THE COMMUNITY
                       FURNITURE INC.                    NETWORK
CONEDISON              LOW COST SIGNS                    THE COMPUTER
                                                         SOLUTION COMPANY OF
                                                         VA, INC
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CONESTOGA LOANS      LOWE-MARTIN COMPANY, INC.           THE COOPER FAMILY
                                                         LIMITED PARTNERSHIP
CONEXION HISPANA     LOWENSKY CORTORREAL                 THE CORPORATION OF
INTERNATIONAL,                                           THE CITY OF OSHAWA
LLC
CONFIDENTIAL         LOWER DEMUNDS PROPERTY              THE CORPORATION OF
SERVICES, INC.       MANAGEMENT LLC                      THE CITY OF WINDSOR
CONFIGSOLUTIONS      LOWERY-HERNDON, FELICIA             THE COSTUME BAZAAR
                                                         INC.
CONLEY, TANISHA      LOYD D GULARTE INC                  THE COUPON GUIDE, INC
CONNECTICUT          LPR GROUND TRANSPORATION            THE COURIER-JOURNAL
DEPARTMENT OF
REVENUE
CONNECTICUT          LRP PUBLICATIONS                    THE CREEKMORE LAW
DEPARTMENT OF                                            FIRM PC FBO CLIVENS &
REVENUE                                                  ANDREA GOLDMAN
CONNECTICUT-         LRP PUBLICATIONS-FL                 THE CROWLEY POST
CCSPC                                                    SIGNAL
CONNELL              LS SECURITY SYSTEMS                 THE CURE STARTS NOW
REPORTING, INC.
CONNER, FLINT        LSU CAREER SERVICES                 THE DAILY
CONNIE SCHMIDT       LT MANAGEMENT, INC.                 THE DAILY COURIER
CONNOR STEED         LTS HOLDINGS ALBERTA LTD.           THE DAILY GLOBE
CONRAD BEAR          LTS SOFTWARE INC.                   THE DAILY HELMSMAN
CONRAD CULANAY       LU LI                               THE DAILY RECORD
CONSERVICE           LUBBERS PROPERTIES INC              THE DAILY REPUBLIC
CONSOLIDATED         LUC VACHON                          THE DAILY STANDARD
CONTAINER SYS. LTD
CONSOLIDATED         LUCCA PROPERTIES LLC-DO NOT         THE DALLAS MORNING
PLASTICS CO., INC    USE                                 NEWS
CONSTANT             LUCCA PROPERTIES,LLC                THE DAYTON BUILDERS
CONTACT, INC                                             EXCHANGE INC.
CONSTANT             LUCID SOFTWARE INC.                 THE DESERT SUN
CONVOCATION
CENTER
CONSTELLATION        LUCIE MERCIER                       THE DESK DOCTOR
NEWENERGY - 5472
CONSTELLATION        LUCIEN CARRIERE                     THE DISTILLATA
NEWENERGY INC                                            COMPANY
CONSTRUCTION         LUCKY BAMBOO SHOP                   THE DOUGHNUT
ENGINEERING                                              CUPBOARD
DESIGN GROUP, LLC
CONSULATE            LUCKY GROUP INVESTMENTS LLC         THE DRUM CAFE
GENERAL OF
MEXICO
CONSULATE OF         LUCKY STRIKE                        THE DUTCHESS
MEXICO IN
INDIANAPOLIS
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CONSUMER JUSTICE    LUE HERNANDEZ                      THE EAST TEXAS
CENTER, P. A.                                          PEDDLER
CONSUMER LAW        LUFKIN GKD PARTNERS LP             THE EDMONTON SUN
GROUP LLC
CONSUMERINFO.CO     LUI, MICHAEL                       THE ELITE FLEET
M, INC                                                 COURIER
CONSUMERS           LUIS CELAYA                        THE ESTATE OF HELLON
ENERGY                                                 LIGHTNER
CONSUMERS UNIFIED   LUIS RIVERA                        THE ESTATE OF THE LATE
LLC                                                    CHRISTINE CROUTCH
CONTEL Y FERRAEZ    LUISE ROSPERICH                    THE FAIRWAY GROUP
ABOGADOS SC
CONTEMPORARY        LUKITO, HENDARSIN                  THE FAQUIER CITIZEN
ART CENTER OF VA
CONTINENTAL         LUMIN-ART SIGNS INC                THE FLAGSHIP
DIVIDE
CONTINENTAL         LUMOS NETWORKS                     THE FLORIDA TIMES-
INVESTMENTS                                            UNION
CONTINENTAL         LUNAMETRICS LLC                    THE FLYER
RESEARCH
CONTINENTAL         LUNDBERG, KENNETH                  THE FLYER SHOP
VISINET
BROADBAND
CONTINU INC.        LUNDY, DAPHNE                      THE FRANCHISE
                                                       HANDBOOK
CONTRACT FUNDING    LUONG LY AND TRINH LY              THE FRANCHISING
GROUP                                                  COMPANY LLC
CONTROLLER OF       LURLINE MONTEITH                   THE FRYE FOUNDATION
MARYLAND
CONVERGENT          LUTHER BURNEY, ROY MEADERS         THE GEORGIA-ALABAMA
MOBILE, INC.        & JAMES J. DAVIDSON III            ADVERTISER
CONVERTOLOGIC       LUTHER W LONG                      THE GOURMET GANG
LTD
CONVERZE MEDIA      LUX MARKETING SOLUTIONS LTD        THE GRAND FM 92.9
GROUP
CONVERZE MEDIA      LUXOR MANAGEMENT                   THE GRAPHICS
GROUP, LLC                                             DEPARTMENT, INC.
CONWAY REAL         LUXOR MANAGEMENT INC.              THE GRAPHIX HOUSE,
ESTATE SERVICES                                        LLC
INC.
COOK                LUXURIOUS PROPERTIES               THE GREENSHEET
INVESTIGATIONS
COOK, JOHN H.       LUZ D VAZQUEZ                      THE GUIDANCE CENTER
COOLIDGE MIDWAY     LUZ GALUT                          THE HAMPTON ROADS
MALL EQUITIES, LP                                      AREA SENIOR SOURCE
COOPER, ELIZABETH   LUZ MIRIAM BLANDON                 THE HARTFORD-CA
M.
COOPER, LEVY &      LVM ELECTRONICS LLC                THE HERALD LANCE
PARTNERS, LLC                                          METRO TIME HEADLINER
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COOPER, TIM          LYAL, KONDOFF, KANTER              THE HERTZ
                                                        CORPORATION
COPELAND MILLS       LYALL DESIGN, INC.                 THE HILL COUNTY
SCHOOL OF THE                                           COMMUNITY JOURNAL
ARTS
COPELAND,            LYDIA MESSENGER                    THE HOLLAND SENTINEL
LACRECIA D.
COPELAND, RICHARD    LYDIA PRAGNELL                     THE HOME DEPOT
COPI-EZ VIDEO        LYLE DAVIS                         THE HOME DEPOT CRC
PRODUCTIONS
COPY RIGHT           LYNCEN, LLC                        THE HOSPITAL ACTIVITY
SERVICES, INC                                           BOOK FOR CHILDREN
                                                        LTD.
CORAC NORTHLAND,     LYNCEN, LLC                        THE HUNTINGTON
LLC                                                     NATIONAL BANK
CORALEE ZUEFF        LYNCH, BERNARD                     THE INDEPENDENT
                                                        JOURNAL
CORBEILLE'S          LYNCH, BERNARD                     THE INDIANAPOLIS STAR
JEWELERS, INC.
CORDELL ERIC         LYNCH, KEN                         THE INLET
SHEPPARD
CORDERO SIERRA,      LYNCH, PHILIP                      THE INSTITUTE OF
YEIDY M.                                                INTERNAL AUDITORS
CORE BTS, INC        LYNDA DYCK                         THE INSTITUTE OF
                                                        INTERNAL AUDTORS, INC.
CORECOMM             LYNDA PARKINSON                    THE IQ GROUP, LTD.
COREY MAAS           LYNDA SCHOENMAKER                  THE IRREGARDLESS
                                                        CATERING
CORI JONES           LYNN L. TAVENNER, TRUSTEE          THE IRVIN LAW FIRM
CORILEE V.           LYNN MARGISON                      THE JEFF ELSTON
WEATHERBY 1999                                          REVOCABLE TRUST
IRREVOCABLE
TRUST
CORINNA DEPOTIER     LYNN MORRISON                      THE JEWEL 98.5
CORINNE M BAKER      LYNN MULLEN                        THE JEWISH POST &
                                                        NEWS
CORINNE SHIPMAN      LYNN PROPERTIES LLC                THE JIM PATTISON
                                                        GROUP
CORMACK              LYNN WRIGHT                        THE JOURNAL
CONTRACTING                                             NEWSPAPERS
CORNELL              LYNN Y CONNORS                     THE KANSAS CITY STAR
UNIVERSITY
CORNER OFFICE, INC   LYNNE FARRAR                       THE KATSIAS COMPANY
CORNER PERFORMER     LYNOLA HIPWELL                     THE KHOURY GROUP
CORNERS PLAZA LLC    LYON COUNTY TREASURER              THE LAMONT LEADER
CORNERS PLAZA,       M & A LAWN CARE                    THE LEADER-POST
LLC
CORNERSTONE          M & M SERVICES INC                 THE LERU COMPANY
CLEANING SERVICES
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CORNERSTONE          M & N HALL LLC                       THE LEX GROUP VA
HOLDINGS LLC
CORODATA             M ELIE LLC                           THE LIBERAL
RECORDS
MANAGEMENT, INC
CORONA HILLS         M LEO STORCH DEVELOPMENT             THE LONDON
HOLDING CO.          CORP                                 COMMUNITY NEWS
CORPAMERICA, INC.    M&M'S                                THE LONDON
                                                          PENNYSAVER
CORP-LINK            M&N HALL LLC                         THE LOOMIS
SERVICES, INC.                                            CORPORATION
CORPORATE            M&O ELECTRICAL CORP.                 THE LOUISIANA HOME &
CLEANING                                                  FOREIGN MISSIONS
SOLUTIONS, LLC                                            BAPTIST CONVENTION
                                                          INC
CORPORATE            M. ETA TRABING                       THE MACDONALD
CREATIONS                                                 BROADCASTING
INTERNATIONAL, INC                                        COMPANY
CORPORATE            M. PICCIONI                          THE MAILBOX
EXECUTIVE BOARD
CORPORATE GAMES,     M. W. SCHOFIELD                      THE MARGARITA MAN
INC.
CORPORATE PRESS,     M.A. OPERATING, INC                  THE MARKETPLACE AT
INC                                                       CALLINGWOOD TENANT'S
                                                          OWNERS ASSOCIATION
CORPORATE            M.B.D.PROPERTIES, INC.               THE MASA CORPORATION
SERVICES
CONSULTANTS
CORPORATE            M.B.I., INC.                         THE MASON
SERVICES                                                  RICHARDSON CORP LLC
CONSULTANTS, LLC
CORPORATE            M.BONDY                              THE MASTER'S BUILDER
TECHNOLOGY
GROUP INC.
CORPORATION          M.V. CONCORDE PROPERTY MGMT          THE MCCAMMON GROUP,
DIVISION (STATE OF   INC.                                 LTD
OREGON)
CORPORATION OF       M-4 LLC                              THE MCGRAW- HILL
THE CITY OF                                               COMPANIES
MISSISSAUGA
CORPORATION          MAAGERO, RAY                         THE MERGIS GROUP
SERVICE COMPANY-
PA
CORPORATION TAX/     MAC 3 LLC                            THE MIAMI HERALD
ANNUAL REPORT
CORPORATION TAX-     MAC MURRAY & SHUSTER LLP             THE MIAMI HURRICANE
NEW JERSEY
CORRINE GILDING      MACDONALD BROADCASTING-              THE MICHIGAN PENSION
                     WHZZ FM                              GROUP
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CORT FURNITURE       MACERICH CITADEL LIMITED          THE MID NORTH
RENTAL               PARTNERSHIP                       MONITOR
CORTINAS, TONY       MACH PROPERTIES INC               THE MIRCHANDANI
                                                       FAMILY LIMITED
                                                       PARTNERSHIP
CORUS                MACHPUALOO ASHOONA                THE MIRROR
ENTERTAINMENT
CORUS                MACK PEST ELIMINATORS             THE MIRROR
ENTERTAINMENT
CORUS RADIO
SALES-INC
CORUS SALES INC      MACKENZIE KEDDY-BRZESKI           THE MONTGOMERY
(CIMJ)                                                 STRATEGIES GROUP, LLC
CORVEL-AUTO PAY      MACKENZIE, GRANT & BRIDGET        THE MOOSE JAW &
                                                       DISTRICT FOOD BANK
CORY STINSON         MACKIE QHP OFFICE SERVICES        THE NATIONAL
                     LTD                               UNDERWRITER
                                                       COMPANY
CORYDON              MACLAREN PROPERTY                 THE NEW YORK STATE
DEMOCRAT             MAINTENANCE                       SOCIETY OF CERTIFIED
                                                       PUBLIC ACCOUNTANTS
COSSMANPR LLC        MACON HOCKEY, LLC                 THE NEWS HERALD
COSTAR REALTY        MACON TAX COMMISSIONER            THE NEWS OBSERVER
INFORMATION, INC
COSTUME INVASION     MACON WATER AUTHORITY             THE NEWSPAPERS OF
CORPORATION                                            WEST GEORGIA
COTHRAN, PAM         MAD DOG CRESTING                  THE NEWSY NEIGHBOUR
                                                       MAGAZINE
COTHREN, BILL        MADDOX, JOSHUA                    THE NORFOLK &
                                                       PORTSMOUTH BAR
                                                       ASSOCIATION
COTTON, PAMELA       MADELINE MOORE                    THE OFFICE FURNITURE
                                                       SPECIALIST INC
COUCELL, PETER J.    MADERA DEVELOPMENT                THE OHIO MUNICIPAL
                                                       LEAGUE
COUNCIL UNITED       MADISON + MAIN                    THE OHIO SECRETARY OF
FILIPINO                                               STATE
ORGANIZATION OF
COUNSEL PRESS INC.   MADISON MOBILE MEDIA              THE ORIGINAL SIGNMAN,
                                                       LLC
COUNTERFORCE         MADISON, JANA                     THE ORLANDO SENTINEL
COUNTRY CORNERS      MADISON, MIKE                     THE OSHAWA EXPRESS
SHOPPING CNTR LLC
COUNTRY INN &        MADMAC, INC                       THE PANGBURN GROUP,
SUITES                                                 INC
COUNTRY RIDGE        MADRIVO MEDIA LLC                 THE PANGBURN GROUP,
SHOPPING CENTER                                        INC.
INC
COUNTRYSIDE MALL     MAE BRADLEY                       THE PETTIT COMPANY
LLC                                                    INC
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COUNTRYWIDE         MAEGAN SAVAGE                       THE PHILLIPS VENTURE
SUMMIT SERVICES                                         GROUP LLC
INC.
COUNTY OF MIAMI     MAELI A. LEE                        THE PHONE BOOK
DADE                                                    COMPANY
COUNTY OF           MAFIZA RUSTAMOVA                    THE PHONE GUIDE
NORTHAMPTON
COUNTY OF           MAG IV, INC                         THE PINK PAGES
ROANOKE, VIRGINIA
COUNTY OF SAN       MAGGIE CHAN                         THE POST & COURIER
BERNARDINO
COUNTY TREASURER    MAGGIE LEUNG                        THE POSTAL CENTER OF
(NORTHAMPTON)                                           NEWNAN
COURIER             MAGIERSKI, ALICE                    THE POTTER'S HOUSE OF
COMMUNICATIONS                                          DALLAS INC
COURIER JOURNAL     MAGNETISIGNS WINDSOR NORTH          THE PRESIDIO
                                                        CORPORATION
COURIER NEWS        MAGNETSIGNS - SUDBURY               THE PRESS ROOM LTD.
COURSEY PROPERTY    MAGNETSIGNS ADVERTISING             THE PRESS ROOM LTD. -
LLC                 INC.-CAMROSE                        DO NOT USE
COURT REPORTING,    MAGNETSIGNS CALGARY INC.            THE PRESS ROOM LTD.-
INC.                                                    GM FUNDS
COURT TRUSTEE -     MAGNETSIGNS OSHAWA                  THE PROS AT 82ND
BY0218347                                               STREET INC
COURT TRUSTEE       MAGNETSIGNS SE EDMONTON             THE PROVIDENCE
BL0047574                                               JOURNAL CO.
COURTNEY            MAGNETSIGNS SE EDMONTON             THE PUBLICITY HOUND
CARPENTER
COURTNEY JACKSON    MAGNETSIGNS ST CATHARINES           THE QUALITY INN
                    INC
COURTNEY LOWE       MAGNETSIGNS VAUGHAN                 THE RADIO NETWORK
COURTNEY PERRY      MAGNETSIGNS WATERLOO                THE REAL DEAL
COVENANT            MAGNETSIGNS-LONDON                  THE RECORD
SECUTIRY & PATROL
COVERALL NORTH      MAGNOLIA ENTERPRISE LLC             THE REPORTER
AMERICA, INC
COVERED, INC        MAGNOLIA PLUMBING, INC.             THE REVIEW
                                                        NEWSPAPER/KRONER
                                                        PUBLICATIONS
COVERT              MAGNUM SECURITY AND                 THE RICHDEN COMPANY-
INVESTIGATIVE       INVESTIGATION INC                   DO NOT USE
SERVICES
COVINGTON           MAHER MALATY                        THE ROSEMYR
HUNTERS RIDGE                                           CORPORATION
ACQUISITIONS, LLC
COVINGTON           MAHMOUD AZIZI                       THE SALES STAFF, LLC
LANSING                                                 DBA SALESSTAFF
ACQUISITION
COX BUSINESS        MAIDELYN ACEVEDO                    THE SANDERLING INN
                                                        RESORT
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COX BUSINESS -        MAIL BOXES ETC.                    THE SAULT STAR
919367
COX BUSINESS-         MAIL CENTER HEAVEN                 THE SCHERRER GROUP
248871
COX BUSINESS- 53214   MAIL MARKETING SYSTEMS             THE SCHREIBER LAW
                                                         FIRM,LLX
COX BUSINESS-2742     MAIL PRINT INC.                    THE SCORE FOUNDATION
COX BUSINESS-53262    MAILFINANCE INC.                   THE SEATTLE TIMES
COX BUSINESS-         MAIN HOCKEY PARTNERS               THE SENTINAL
771911
COX                   MAIN STREET PIQUA, INC             THE SHARING PLACE
COMMUNICATIONS
COX                   MAINE REVENUE SERVICES             THE SHELBYVILLE NEWS
COMMUNICATIONS
ROANOKE
COX                   MAINE SECRETARY OF STATE           THE SHERWIN-WILLIAMS
COMMUNICATIONS                                           COMPANY
SAN DIEGO
COX                   MAJEED RAMAN                       THE SHOPPING CENTER
COMMUNICATIONS-                                          GROUP OF
183124
COX                   MAJID, SHEHZAD                     THE SHOPS AT
COMMUNICATIONS-                                          NORTHGATE, LLC
248851
COX                   MAJORFRANCHISES.COM                THE SHOPS ON STEELES &
COMMUNICATIONS-                                          404 PROMOTION
248876
COX                   MAJORIE BROWN                      THE SIGN GUY
COMMUNICATIONS-
53249
COX                   MAKOSHRED, LLC                     THE SIGNS ACADEMY
COMMUNICATIONS-
78000
COX                   MALAIKA CHAMBERS                   THE SNUG
COMMUNICATIONS-
9001008
COX DISPOSAL          MALDONADOALCAL, GABRIELA           THE SOUTHWEST
SYSTEMS, INC.                                            BOOSTER
COX RADIO             MALEH BROTHERS LLC                 THE SPOTLIGHT
COX RADIO             MALEY, MICHELLE                    THE STAFFING PEOPLE OF
                                                         GEORGIA, INC.
COX RADIO INC.-       MALGORZATA MALEWSKA                THE STANDARD
WACHOVIA BANK
COX RADIO, INC. -     MALKAN BROADCASTING                THE STANDARD
GREENVILLE                                               INSURANCE COMPANY
COZY MINI STORAGE     MALL 1-BAY PLAZA LLC               THE STANDARD-EYE
                                                         INSURANCE
CP SHUCKERS           MALLARD, DONNIE                    THE STATE BAR OF
                                                         CALIFORNIA
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CPACTUARIES           MALLORY MELANSON                   THE STATE BAR OF
                                                         CALIFORNIA
CPADIRECTORY          MALON D MIMMS                      THE STATE INSURANCE
MARKETING, INC.                                          FUND
CPS 764               MALONE DISPLAYS                    THE STATIONERY HOUSE,
                                                         INC.
CR RAPID TAX INC      MANAGECAMP                         THE STROLLING SILVER
                                                         STRINGS
CRA                   MANAGED NETWORK SYSTEMS            THE SUN
INTERNATIONAL INC.    INC.
CRAIG C FOWLER        MANAGEMENT 2000                    THE SUN
CRAIG, TOM            MANAGER OF FINANCE                 THE TALKING PHONE
                                                         BOOK
CRAWFORD, LYNDA       MANBIR SINGH                       THE TELEGRAM
CRAWFORD,             MANCHESTER SIGNS PRINTING &        THE THEME FACTORY OF
WISHNEW & LANG        GRAPHICS                           PHILADELPHIA
PLLC
CRAZY DARRELL'S       MANCHESTER TOWNSHIP                THE TIMES HERALD
ENTERTAINMENT
CRAZYHORSE LLC        MANCON-COMMERCIAL SALES            THE TODD
                                                         ORGANIZATION OF
                                                         VIRGINIA, LLC
CREASON & SONS        MANDEEP KAUR                       THE TOLEDO BLADE
WELL SERVICE INC
CREATIVE              MANDHANA, MANJU                    THE TORGON GROUP
ASSISTANT
CREATIVE CATERING     MANDY EDWARDS                      THE TREASURER, CITY OF
OF VIRGINIA                                              TORONTO
CREATIVE COVERS       MANDY GRAVELLE                     THE TREND
FOR GOLF                                                 ORGANIZATION, LLC
CREATIVE DIGITAL,     MANDY-LEE AITKEN                   THE UBYSSEY
INC.
CREATIVE NEON         MANFRED SCHALK                     THE UBYSSEY
SIGNS
CREATIVE OUTDOOR      MANGEAC, DANIEL                    THE UNIVERSITY OF
                                                         VIRGINIA
CREATIVE PRINT ALL    MANGOS TROPICAL CAFE               THE UPS STORE
LTD.
CREATIVE              MANIFOLD DATA MINING INC.          THE VELASCO FAMILY
PUBLISHING                                               IRREVOCABLE TRUST
CREATIVE              MANITOBA CURLING                   THE VENETIAN
SOLUTIONS             ASSOCIATION, INC.
CREATIVE TRAINING     MANITOBA HYDRO                     THE VENTURE FORUM
TECHNIQUES
CREDIT ADMIRAL        MANIVANNAN PONNAMPALAM             THE VENUE CHANNEL
SOFTWARE LLC
CREDIT CLINIC U. S.   MANN & ALPERT RENTALS LLP          THE VINDICATOR
A.
CREDIT                MANRON, LLC                        THE VIRGINIAN PILOT
CONNECTION, LLC
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CREDIT CONTROL       MANSFIELD, EVIE                    THE WALL STREET
CORPORATION                                             JOURNAL
CREDIT PROTECTION    MANTERO, VIRGINIA                  THE WATER H20LE, INC
ASSOC.
CREDIT SAINT         MANUEL MUNOZ                       THE WEEKLY VILLAGER
LIMITED LIABILITY
COMPANY
CREEKSIDE            MANULIFE FINANCIAL                 THE WEST COAST
SHOPPING CENTER                                         FRANCHISE EXPO
CRENSHAW, WARE &     MANVIR SEKHON                      THE WEST GEORGIA
MARTIN P.L.C                                            SHOPPER
CRESA GLOBAL, INC.   MANZANILLO, TAMAYO                 THE WESTIN NOVA
                                                        SCOTIAN
CRESCENT STREET      MANZANO BAND BOOSTERS              THE WHITLOCK GROUP
CROSSING LLC
CRESCO SHOPPER,      MAPLE CITY MINI STORAGE            THE WHITLOCK GROUP
INC.
CRESTAR BANK         MAPLE CITY MINI STORAGE            THE WILLERTON GROUP
                                                        INC
CRF SOLUTIONS        MAPLE DRIVE PARTNERS, LLC          THE WINDSOR STAR
CRIMSON 1031         MAPLETOWN REALTY LLC               THE WOOTEN BUILDING
PORTFOLIO, LLC
CRIPPLE CREEK        MAPLETOWN REALTY LLC               THE YGS GROUP
ELECTRIC INC
CRISP IMAGING        MAPONICS                           THE ZONE
PRODUCTS
CRISTIAN             MARATHON CONSULTING, LLC           THEO BEER CONSULTING
SCHAEFFER                                               & CONTRACTING
CRISTINA FAMILY      MARBONITA LLC                      THEODIS ELZIE
PROPERTIES
CRISTINA PETERSEN    MARC BERGERON                      THEODORE JANKOWSKI
CRITICAL PATH        MARC HURTUBISE                     THEODORE KEVIN
COURIERS                                                LOWRY
CRM                  MARC LONGPRE                       THEODORE WEICLE
CROFTON              MARC MANAGEMENT                    THEORDORE DEMARINO
CONSTRUCTION
SERVICES, INC.
CROHN'S & COLITIS    MARC S GIOVINSKY DPM LLC           THEOTIS H BROWN, II
FOUNDATION
CRONOFY LIMITED      MARC S GIOVINSKY DPM LLC           THERESA DELORME
CROSBY OF            MARCA GLOBAL LLC                   THERESA ELSWORTH
ELBRIDGE LLC
CROSS MATCH          MARCEL SAMPSON                     THERESA ELSWORTH
TECHNOLOGY
CROSSCOM             MARCELLA N BECKUM                  THERESA GREGOIRE
NATIONAL, INC.
CROWE SHREDDING      MARC-ERIC BARDEAU                  THERESA SNEDDON
CROWLEY FLOWER       MARCH OF DIMES                     THERESA VANDERZON
SHOP
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CROWN                 MARCH OF DIMES                    THERMOL-TROL
ENTERPRISES LTD.                                        SYSTEMS
CROWN PROPERTIES      MARCH OF DIMES (NATIONAL          THIBODEAU, JOE
LTD-TRENTON           OFFICE)
CROWN PROPERTIES,     MARCHAND & ASSOCIATES LTD.        THIEL,DONNA C.
LTD-SUMMERVILLE
CROWN SHRED &         MARCIA C. TEAGLE PARKER           THIESS, ROBERT
RECYCLING
CROWN TROPHY          MARCIN MARCINIAK                  THINCIT LLC
CROWNE PLAZA          MARCO AND WENDIE AYALA            THINKING PHONE , INC-
NIAGARA FALLS-                                          FUZE
FALLSVIEW
CRUISINE &            MARCUM LLP                        THIRD DAY RENTALS LLC
COMPANY
CRUMMEY               MARCUS INVESTMENTS, LLC           THIRD DISTRICT PTA
INVESTIGATION, INC.
CRUSH ADS, L.L.C.     MARCUS T JOHNSON                  THIRD DOOR MEDIA, INC.
CRUZ, IVETTE          MARDEN, TIM                       THIRD MILLENNIUM
CRUZ, RONALD &        MARGARET AGUIAR                   THIRD STAGE INC
DIANA
CRYSTAL A. CROAN      MARGARET BIRKENHEIER              THOMAS A & SANDRA K
                                                        MUNDY
CRYSTAL AIR           MARGARET HALEY                    THOMAS AQUINAS DUFFY
CONDITIONING AND                                        PROPERTIES LLC
HEATING
CRYSTAL BETHUNE       MARGARET KING                     THOMAS BEEBE DBA
                                                        AFTER HOURS PLUMBING
CRYSTAL CLEAN         MARGARET KINLEY                   THOMAS BULGER
SERVICES
CRYSTAL DRANE         MARGARET RAHM                     THOMAS BUTTERFIELD
CRYSTAL MALL, LLC     MARGARET SMITH                    THOMAS CAMPBELL
CRYSTAL               MARGARET WILLIAMS                 THOMAS CLAYTON
MORRISSEY
CRYSTAL REPORTS       MARGARITA LEUNG                   THOMAS E. FISCHER
TRAINING &
CONSULTING
CRYSTAL ROCK          MARGO PEARSON                     THOMAS HENGGELER
HOLDINGS, INC.                                          ENTERPRISES LLC
CRYSTAL               MARGULIS ESQ, MAX                 THOMAS HICKIN
SENSATIONS, INC.
CRYSTAL SPRINGS       MARIA DEL PILAR MARTINEZ          THOMAS J DELESSIO
CRYSTAL SPRINGS-      MARIA GUEVARA                     THOMAS NELSON
660579                                                  COMMUNITY COLLEG
CRYSTAL STASIUK       MARIA ISKRIC                      THOMAS NEWMAN
CRYSTAL WARD          MARIA RAPOSO                      THOMAS PORTS
C'S RENOVATIONS,      MARIA RUGGIER                     THOMAS ROY JARRETT,
INC.                                                    JR.
CS SERVICES GROUP,    MARIA SALGADO-MERLOS              THOMAS TAYLOR
INC.
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CSC CONSULTING,       MARIA SMODIS                      THOMAS TRAILER &
INC.                                                    TRUCK SERVICE, INC
CSC HOLDINGS, LLC     MARIA SOARES                      THOMAS W. MULLINS
CSC LEASING           MARIA SOLIS                       THOMPSON CORBETT
COMPANY                                                 WEBSTER LLP
CSG SYSTEMS, INC.     MARIA TERESA GREGORIO             THOMPSON CORBETT
                                                        WEBSTER LLP
CSI LEASING           MARIAN GRIMA                      THOMPSON FINANCIAL
CANADA LTD                                              SERVICES INC
CSI LEASING, INC      MARIAN WALTERS                    THOMPSON TAX
                                                        BUSINESS
CSS SAHARA L.P.       MARIANNE MALIZIA                  THOMPSON, JOYCE
CSSTYLES DESIGN,      MARICAR, SYED & SRINIVASAN,       THOMSON REUTERS
LLC                   SRIVIDYA
C-SUITE HOLDINGS,     MARIE A VIEN                      THOMSON REUTERS
LLC                                                     (MARKETS) LLC
CT CORPORATION        MARIE FLETCHER                    THOMSON REUTERS (TAX
                                                        & ACCOUNTING) INC.
CT CORPORATION        MARIE FRASER                      THOMSON REUTERS GRC,
                                                        INC
CT CORPORATION -      MARIE LEAVITT                     THOMSON REUTERS-
4349 - CAROL                                            WEST
STREAM
CT CORPORATION -      MARIEANNE GUILBEAULT              THOMSON REUTERS-
WASHINGTON                                              CANADA
CT CORPORATION        MARIE-JOSEE LEDUC                 THOMSON TAX &
SYSTEM                                                  ACCOUNTING
CTA MEDIA             MARIELLE LOECHER                  THORNE DONNELLY
C-TACKLE              MARIETTA DAILY JOURNAL            THORNHILL PLAZA
CTEC                  MARIETTA DRAPERY & WINDOW         THORNTON, FRANK
                      COVERINGS CO, INC
CTF-3 COMMERCE        MARIETTE BENDER                   THRIFTY CAR RENTAL
PARK, LLC
CTS                   MARIJA SABO                       THRIFTY CAR RENTAL -
                                                        DO NOT USE
CTV NORTHERN          MARILEN INVESTMENTS, LTD.         THRIFTY CAR RENTAL-
ONTARIO                                                 SUBROGATION DEPT.
CTV REGINA (CKCK-     MARILYN ANTHONY                   THRIFTY CAR RENTAL-
TV)                                                     MISSOURI
CTV SASKATOON         MARILYN RAMAN                     THRIFTY NICKEL
(CFQC-TV)
CTV TELEVISION INC.   MARILYNN BLAIR                    THRIFTY NICKEL, LLC-
                                                        ALABAMA
CUISINE AND           MARIN SILVIA                      THURMAN GAINES
COMPANY
CULLEN AND            MARINA SHORES LTD                 TIA LEBEL
DYKMAN LLP
CULLIGAN              MARINER MARKETPLACE LLC           TIANNA R. LINDSAY
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CULLIGAN - PO BOX    MARINO, ULISES                    TIDBITS OF RIVERS &
4800                                                   LAKES
CULLIGAN - SEATTLE   MARINOW HELEN & GEORGE            TIDEWATER ARTS
                                                       OUTREACH
CULLIGAN SOFT        MARION AHRENS                     TIDEWATER CHAPTER,
WATER SERVICE CO-                                      VTAA
8511
CULLIGAN WATER       MARION RATLEY DBA BUDDY           TIDEWATER
CONDITIONING-        RATLEY SIGNS                      COMMERICAL CEILINGS
FLINT, MI                                              AND WALLS, INC
CULLIGAN-265         MARION RUEGER                     TIDEWATER
                                                       COMMUNICATIONS, LLC
CULP ELLIOTT &       MARION SHEA                       TIDEWATER COMMUNITY
CARPENTER, PLLC                                        COLLEGE
CULPEPER STAR-       MARION SHEA                       TIDEWATER DJ'S
EXPONENT
CULTURAL             MARISA CASTRO                     TIDEWATER GRAPHICS
ALLIANCE OF
GREATER HAMPTON
ROADS
CULVER, BILLY        MARJAN TCHESHMEHOUI               TIDEWATER HISPANIC
CUMBERLAND           MARJORIE ANN THOMPSON             TIDEWATER NEON SIGNS,
COUNTY REGISTER                                        INC.
OF DEEDS
CUMBERLAND           MARJORIE DANKERT                  TIDEWATER PROCESS,
COUNTY TAX                                             INC.
COLLECTOR-PPT
CUMMINGS &           MARJORY NEWCOMBE                  TIDEWATER SITTING
FRANCK, P.C.                                           SERVICE, INC
CUMMINGS & WHITE-    MARK A HOLLIS                     TIDEWATER TOASTERS
SPUNNER INC.
CUMULUS              MARK A STEWART                    TIDY CASTLE
BROADCASTING
CUMULUS              MARK BANSCHBACH                   TIFFANY BRADY
BROADCASTING
CUMULUS              MARK BRAYLEY BLISS                TIFFIN AVENUE
BROADCASTING                                           INVESTORS
CUMULUS              MARK CAMPBELL                     TIFTON RETAIL I LLC
BROADCASTING -
FLINT
CUMULUS              MARK CARLOS                       TIGER FERA INVESTMENT
BROADCASTING -                                         INC.
INDIANAPOLIS MKT
CUMULUS              MARK COOMBS                       TIGER TOM'S
BROADCASTING -
KALAMAZOO
CUMULUS              MARK DUNNING INDUSTRIES, INC.     TILLEKE & GIBBINS
BROADCASTING                                           INTERNATIONAL LTD.
CORP. -643303
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CUMULUS              MARK GADEMSKY                     TILLER TAX COMPANY
BROADCASTING
GROUP
CUMULUS              MARK GAREMSKY                     TILLER, GENE
BROADCASTING -
MIDLAND TX
CUMULUS              MARK GIBSON                       TIM BURTON'S HOLDING
BROADCASTING-                                          LIMITED
MOBILE
CUMULUS              MARK GOODMAN                      TIM CONCANNON
BROADCASTING, INC.
CUMULUS              MARK HOVEY                        TIM DEW
BROADCASTING, LLC
- MELBOURNE FL.
CUMULUS              MARK JEROME                       TIM EDWARDS
BROADCASTING-
CINCINNATI
CUMULUS              MARK KELLY                        TIM HUNT
BROADCASTING-
WICHITA FALLS
CUMULUS              MARK KROZEK                       TIM LEBLOND
LICENSING, LLC
CUMULUS              MARK MCLAREN                      TIM STRATTON
LICENSING, LLC-
YOUNGSTOWN
CUMULUS MEDIA        MARK MYERS                        TIM TIPPER
CUMULUS MEDIA        MARK R CASTO                      TIM TOMLINSON
CUNNANE, KEVIN       MARK RAMSDEN                      TIM TRAVAILLE
CUNNINGHAM,          MARK REINHARDT                    TIMA ABRAMS
MARK
CUNY FAMILY LLC      MARK W ROWE                       TIMBER WOLF SIGNS &
                                                       DISPLAYS
CURBEX               MARK W. BARFIELD, CPA             TIMBERCREEK CENTER
                                                       PARTNERS LP
CURIOSITIES ROCK     MARK W. STEPHENS &                TIMBERLAND HEATING &
SHOP                 ASSOCIATES, LLC                   AIR
CURRIN ELECTRIC      MARK WILLIAMS                     TIME WARNER BOOK
                                                       GROUP
CURT PETRAK          MARK YABLONOVICH                  TIME WARNER CABLE -
                                                       11820
CURTIS 1000          MARKET FORCE INFORMATION          TIME WARNER CABLE-
                                                       1060
CURTIS MEDIA         MARKET MAPS                       TIME WARNER CABLE-
GROUP, INC                                             1104
CUSIP GLOBAL         MARKET SQUARE PROPERTIES          TIME WARNER CABLE-
SERVICES             CORP                              4617
CUSTOM COMFORT       MARKET TOWN, LLC                  TIME WARNER CABLE-
SYSTEMS INC                                            60074
CUSTOM SIGNS AND     MARKETPLACE STATION LLC           TIME WARNER CABLE-
DESIGNS, INC                                           70872
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CUSTOMER             MARKETWIRE, INC.                    TIME WARNER CABLE-
MAGNETISM, INC.                                          742663
CVENT, INC.          MARKHAM TROPHY INC.                 TIME WARNER CABLE-916
CWB NATIONAL         MARKIT ACCOUNTING SERVICES          TIME WARNER CABLE-
LEASING              LTD                                 NORTHEAST 901
CXR HOLDINGS, INC.   MARKS WEATHERSEALS                  TIMELESS
                                                         CONSTRUCTION &
                                                         RENOVATIONS
CY WAKEMAN, INC.     MARKUS, GEORGE                      TIMES & TRANSCRIPT
CYBER EXCHANGE       MARLENE D. LARSON & JOHN D          TIMES HERALD
#50                  LARSON
CYBERCODERS, INC.    MARLENE MATHER                      TIMES NEWS
CYBERNET             MARLIN BUSINESS BANK                TIMES UNION
CYCLOPS GRAPHICS     MARLISLE OLIVE                      TIMES-HERALD
CYGNOL               MARLISLE OLIVE                      TIMOTHY B MAGERLE
TECHNOLOGIES
CORP.
CYNTHIA ANITA        MARLON BECKFORD                     TIMOTHY BENNETT
BATTLE
CYNTHIA BROTHERS     MARLON SMITH                        TIMOTHY GREENFIELD
CYNTHIA BROTHERS     MARLOWE - YEOMAN LIMITED            TIMOTHY K HINDERKS
CYNTHIA DUGAS        MARLOWE INVESTIGATIONS, INC.        TIMOTHY OWENS
CYNTHIA FLOYD        MARLOWE -YEOMAN LTD                 TIMOTHY PUNTON
CYNTHIA K GONU       MARNIE JOSS                         TIMOTHY ST.PIERRE
CYNTHIA STALFOID     MAROGIL FAMILY, LLC                 TIMPER, TRISH
CYRULI SHANKS &      MAROGIL FAMILY, LLC                 TINA BALDASSARA
ZIZMOR LLP IOLA
ACCOUNT
CY'S COURIER HOUSE   MARQUISE FACILITIES                 TINA CADIEUX
                     CORPORATION
D&B                  MARRERO LAND & IMPROVEMENT          TINA CHANCE
                     ASSOCIATION LTD
D & S L II, LLC      MARRIOTT CALGARY                    TINA HUNT
D' ANGELO, GORDON    MARRIOTT HOTEL SERVICES, INC.       TINA MCCARTY-BOIKE
D B KO ENTERPRISES   MARRIOTT INTERNATIONAL, INC         TINA MCDONNELL
LLC
D SIGNS              MARSEE, KAREN                       TINA SIMPSON
D SIGNS OF ALL       MARSH CANADA LIMITED                TINKER, HURD &
KINDS                                                    ASSOCIATES
D&K MANAGEMENT       MARSH USA, INC.                     TIOGA CONTRACTORS,
& MARK DARNIEDER                                         LLC
D&M INVESTMENTS      MARSH USA, INC.                     TIPPER, MELODY
D&M LOCK AND         MARSH USA, INC.                     TIPPO BAY
SAFE, INC.                                               DEVELOPMENT CO.
D&T LEGAL            MARSHA MASON                        TISA CARPER STONE
SERVICES
D.C TREASURER        MARSHAL & ASSOCIATES, INC.          TISA CARPER STONE
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D.L. WILLIAMS        MARSHALL & STERLING                TISON COMMERCIAL
ELECTRIC COMPANY,                                       PROPERTIES, INC.
INC.
D.R. HOME            MARSHALL HOLMAN                    TITAN OUTDOOR, LLC
IMPROVEMENTS
D-1 ACCESS INC.      MARSHALL K KELSAY                  TJ BERRY
DA DING ZHENG        MARSHALL REALTY                    TKL EAST, LLC
DABIR DUVERT         MARSHALL, PATRICIA                 TKL-EAST LLC DBA
                                                        MARLEY STATION
DACO                 MARTCO                             TLG STOREFRONT &
INVESTIGATION, LLC                                      GLASS INC
DAGEM, INC.          MARTCO LLC                         TLJ ENTERPRISES
DAILY COURIER        MARTHA MARSHALL                    TLO LLC
DAILY HERALD-        MARTHA SMITH DECLARATION OF        TLO, LLC
TRIBUNE              TRUST
DAILY NONPAREIL      MARTHA UMANA                       TM WELLINGTON GREEN
                                                        MALL LP
DAILY PRESS          MARTIN & MARTIN LLC                TMI TAX SERVICES, INC.
DAILY PRESS          MARTIN CUNNINGHAM                  TMJ BLDG LLC
DAILY PRESS          MARTIN EDGAR BROWN                 TMP DIRECTIONAL
                                                        MARKETING
DAISY TOMKULAK       MARTIN GOLD                        TN DEPARTMENT OF
                                                        LABOR & WORKFORCE
                                                        DEVELOPMNENT
DAKARA HUFFMAN       MARTIN J. JENNINGS JR., ESQ.       TN HOCKEY LP
DAKOTA LOCK &        MARTIN KARASIN                     TNP SRT BLOOMINGDALE
SAFE, LTD.                                              HILLS, LLC
DALE ALGUIRE         MARTIN LUTHER KING JR.             TODAY MANAGEMENT
                     PARADE FOUNDATION                  (WINDSOR) INC.
DALE AND SANDRA      MARTIN O MOAD                      TODAY'S FRANCHISE
DAVIDSON
DALE BLACKWELL       MARTIN WHITE                       TODD BARNES
DALE BROWN           MARTIN, CHRIS                      TODD SABOUREN
ENTERPRISES
DALE HANSON          MARTINA BEN                        TODD SCOTT NADEAU
DALE SAKALUK         MARTINELLI INVESTIGATINS, INC.     TODD STAHL
DALE TOMPKINS        MARTINETTE, THOMAS                 TODD TAGGART II DBA
                                                        SIGNS BY SUNDOWN INC
DALE WARREN          MARTINEZ, KAREN L                  TOKY RANAIVOSON
MCCARTHY
D'ALESANDRO,         MARTIN'S CUSTOM DESIGNS, INC.      TOM AND LARRY, INC.
ROBERT
DALGI, LLC           MARTY WHITE MAINTENANCE &          TOM CAVALIERE
                     REPAIR
DALLAS COUNTY        MARTZ PLUMBING &                   TOM CHAN
TAX ASSESSOR-        CONSTRUCTION, LLC
COLLECTOR
D'ALTO, THOMAS       MARVIN A GORODENSKY PC             TOM GATES
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DALTON ROOFING      MARVIN CHRISTIAN                   TOM HERSKOVITS
COMPANY, INC.
DAM TAXES INC.-     MARY A FELICIAN                    TOM MUSTY
DORI MILLER
DAMAGE RECOVERY     MARY ANDERSON                      TOM NGUYEN (# 1019)
UNIT
DAMON BOURGEOIS     MARY BANDUKWALA                    TOMAHAWK
                                                       PROPERTIEX, LLC
DAMUS FAMILY        MARY BEAUDIN                       TOMAS RIVERA SANCHEZ
TRUST
DAMUTH SERVICES     MARY FEBBRINI                      TOM'S SIGNS
DAN BURNETT         MARY FOLDESI                       TONER INK LTD.
DAN CARON           MARY FOLDESI                       TONER TECH DOCUMENT
                                                       SOLUTIONS
DAN DONNELLY        MARY FOLDESI                       TONER, THOMAS
DAN GAUDREAULT      MARY GRACE MASON JOHNSON           TONI & LISA KRANTZ
DAN MALM            MARY HAMILTON                      TONI SHEPHERDS
DAN PEACOCK         MARY HANNA                         TONOPAH CRAIG ROAD
                                                       COMPANY, LLP
DAN ROMAN           MARY JO FALLE                      TONY DIGIOVANNI
DAN THE WINDOW      MARY KATHERINE BRATTON             TONY HOLLAND
MAN
DANA ALLEN          MARY KROLLZIK                      TONY JULIANO
DANA BAYER          MARY MACLACHLAN                    TONY LUCIANO
DANA E. MCDOW-DO    MARY MCCREA                        TONY MA
NOT USE
DANA INVESTMENT     MARY MENDOZA                       TONY PRICE DBA
CORPORATION
DANA LAWRENCE       MARY NIEUWPOORT                    TONY RUGGIER
DANA-MARIE          MARY PARK                          TONY'S LOCK
DOHERTY
DANDA INC.          MARY PRETSWELL                     TOOELE COUNTY
                                                       ASSESSOR
DANE ALTON JENSEN   MARY RONO                          TOOELE PLAZA
DANIEL              MARY RONO                          TOP FASHION LTD.
BAVERSTOCK
DANIEL DEVEAUX      MARY SHEPPARD                      TOP NOTCH
                                                       NETWORKING
DANIEL GAUDET       MARY WYLLIE                        TOP TO BOTTOM
                                                       REMODELING
DANIEL GAUDET       MARYANN BENEDICT                   TOPPAN MERRILL USA
(CHURCH POINT)                                         INC
DANIEL KRETTEK      MARYANN BIDDLES                    TOPPAN VINTAGE INC.
DANIEL LEVERE       MARYANN BRUCE                      TORANTO ZOO
DANIEL LIU          MARY-ANNE NICHOLLS                 TORERO SPECIALTY
                                                       PRODUCTS
DANIEL              MARYIA JONES                       TORNOE, JUAN
MUCCIARELLI                                            GUILLERMO
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DANIEL REID          MARYJANE EMBROIDERY               TORONTO FIRE WATCH/
                                                       TORONTO PROFESSIONAL
                                                       FIRE FIGHTERS
                                                       ASSOCIATI
DANIEL ROMAN         MARYLAND ATTORNEY GENERAL         TORONTO HYDRO
DANIEL SHRIBMAN      MARYLAND COAST DISPATCH           TORONTO POLICE
                                                       ASSOCIATION
DANIEL STORM         MARYLAND HIGHER EDUCATION         TORONTO PROFESSIONAL
                     COMMISSION                        FIREFIGHTERS
DANIEL T THIEMANN    MARYLAND OFFICE - ATTORNEY        TORONTO REVENUE
                     GEN                               SERVICES
DANIEL W MAHOOD      MARYLAND UNEMPLOYMENT             TORONTO SUN
                     INSURANCE FUND
DANIEL W TITUS       MARYLAND-COMPTROLLER OF           TORONTO WINDOW
                     THE TREASURY                      CLEANERS INC
DANIEL W. HORNE      MARYNA GONCHAROVA                 TORRES FLAGS
DANIEL WIENER        MASIH-DAS, CLEMENT                TORREY SQUARE
                                                       SHOPPING PLAZA LP
DANIEL WILLIAMS      MASINO REALTY-ELYSIAN FIELDS,     TORRY, LISA
                     LLC
DANIEL, COKER,       MASON, THELMA                     TORSTAR (TORONTO
HORTON & BELL P.A.                                     STAR NEWSPAPER)
DANIELLE DAGG        MASSACHUSETTS DEPARTMENT          TOSHIBA AMERICA INFO
                     OF REVENUE                        SYSTEMS
DANIELLE DENALLI     MASSACHUSETTS DEPT. OF            TOTAL ADMINISTRATIVE
                     REVENUE                           SERVICES CORPORATION
DANIELLE GRAHAM      MASSACHUSETTS LATINO-             TOTAL LEASE CONCEPTS
                     CHAMBER OF COMMERCE
DANIELLE KENNEDY     MASSACHUSETTS STATE               TOTAL PRINTING
PRODUCTION           TREASURERS OFFICE                 SRVICES
DANIELLE MUIR        MASSACHUSETTS TAX PARTNERS,       TOTAL WINE & MORE
                     LLC
DANIELLE PITRE       MASSEY, GREG                      TOUCH OF ELEGANCE,
                                                       LTD
DANIELLE SURETTE     MASSIE-CLARKE DEVELOPMENT         TOUCH TONE
                     CO                                MARKETING, INC.
DANIELSON            MASTER BOWLERS ASSOCIATES         TOWER PARK
INVESTIGATIVE                                          MANAGEMENT CORP
SERVICES, INC.
DANILO PATRICIO   MASTER BOWLERS ASSOCIATION           TOWERS REALTY GROUP
                  OF MANITOBA INC
DANITE SIGN       MASTER LOCKSMITH SERVICES            TOWLE DENNISON &
COMPANY           INC                                  MANISCALCO, LLP
DANKA             MASTER RISK INC.                     TOWN & COUNTRY
DANKA CANADA INC. MASTERFILE CORPORATION               TOWN & COUNTRY CITY,
                                                       INC.
DANKA OFFICE         MASUD INVESTMENTS, INC.           TOWN & COUNTRY
IMAGING-CFG                                            SHOPPER
DANNIE BEAUDRY       MATHEW GARBUTT                    TOWN & COUNTRY
                                                       SHOPPING CENTER
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DANNY MOK            MATHEW GOETHEYN                    TOWN CENTER KIWANIS
                                                        CLUB
DANNY MOK            MATHEWS CONSTRUCTION INC.          TOWN OF ABINGDON
DANNY PAUL           MATHIEU ROUSSY                     TOWN OF APPLE VALLEY
DANNY ROY            MATHILDA RABOT                     TOWN OF CALEDON
                                                        PARKS & RECREATION
DANVILLE             MATHIS, MICHAEL                    TOWN OF
CROSSING, LP                                            CHEEKTOWAGA-VICKIE L
                                                        DANKOWSKI
DAP DEVELOPMENT      MATRIX RESOURCES, LLC              TOWN OF
LLC                                                     CHRISTIANSBURG
DARAIL JAVON         MATSUMOTO, ALAN                    TOWN OF DERRY
REYNOLDS
DARDARIS, THOMAS     MATSUMOTO, ROBIN                   TOWN OF ELKTON
DAREN COEN           MATT BILDERBACK                    TOWN OF EXMORE
DARK HORSE           MATT CHAVEZ                        TOWN OF FRONT ROYAL
VENTURES, LLC
DARLA ASHBY          MATT HANSSEN                       TOWN OF GIBSONS
DARLENE HUDON        MATT LEBAR                         TOWN OF IRMO
DARLENE LEE          MATT SALISBURY                     TOWN OF JUPITER
DARLENE MAYHEW       MATT STUNKEL                       TOWN OF KNIGHTDALE
DARLENE WILSON       MATTES SEAFOOD INC.                TOWN OF MARION
DARLINE              MATTES SEAFOOD INC.                TOWN OF NUTTER FORT
FITZPATRICK
DARNELL, JERRY       MATTHEW A PARSLEY                  TOWN OF ORANGEVILLE
DARRAJ, ELIAS        MATTHEW AHERN                      TOWN OF RIB MOUNTAIN
DARRAJ, SAM          MATTHEW AVRIL                      TOWN OF SMITHFIELD
DARRAN HILL          MATTHEW B MITCHELL                 TOWN OF SOUTH BOSTON
DARRELL CAROLL       MATTHEW B WILSON                   TOWN OF STONEHAM
DARRELL              MATTHEW BENDER & COMPANY           TOWN OF STRASBURG
MOREHOUSE            INC
DARREN THOMPSON      MATTHEW BENDER-LEXISNEXIS          TOWNE NORTH S/C
                                                        PARTNERS, LTD
DARREN WILSON        MATTHEW BRUMSEY                    TOWNE STORAGE
                                                        WASHINGTON DAM
DARRYL KINSLER       MATTHEW CLARK                      TOWNEBANK
DARRYLL              MATTHEW JACKSON                    TOWNSHIP OF
MACDONALD                                               SPRINGWATER
DARVILLE, SEAN       MATTHEW JAMES DEMOSS               TOWNSHIP OF UNION
                                                        FIRE DEPARTMENT
DARYL COE            MATTHEW MCCALLUM                   TOWNSQUARE MEDIA
DARYL DESIGNS        MATTHEW O'BRIEN                    TOWNSQUARE MEDIA
                                                        BANGOR, LLC
DATA CABLE           MATTHEW PECKHAM                    TOWNSQUARE MEDIA INC
TECHNOLOGIES, INC
DATA MANAGEMENT      MATTHEW PERLIC                     TPAAA
GROUP OF VIRGINIA,
INC.
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DATA                MATTHEW SCOTT LESMEISTER           TRA INVESTMENT
MANANGEMENT, INC
DATA SHRED          MATTHEW WATTS                      TRACE INVESTIGATIONS,
                                                       INC.
DATALINE            MATTIE RHODES MEMORIAL             TRACEY CHAVES
INCORPORATED        SOCIETY
DATAMARK            MATTILA, PAUL TRUSTEE              TRACEY GALLANT
SYSTEMS
DATANATIONAL        MAUI PROCESS SERVERS LLC           TRACEY LABELLE
DATATAX BUSINESS    MAULDING DEVELOPMENT, LLC          TRACEY MUIR
SERVICES, LTD
DAVE & BUSTER'S     MAUREEN GRIEVE                     TRACEY VASELENIUCK
DAVE CHRISTENSEN    MAUREEN MCCANN                     TRACY CONSIDINE, P.A.
DAVE EDGEMON        MAUREEN MORRIS                     TRACY DOUCETTE
DEANNA EDGEMON
DAVE QUINN          MAURICE H SOLOMON                  TRACY HEMLOW
DAVENPORT & CO.     MAURICE WILLIAMS                   TRACY HOWE
LLC F/B/O/ MELVIA
HEWITT IRA
DAVENPORT &         MAURICIO CASTRO                    TRACY MCCAW
COMPANY
DAVENPORT &         MAURY KROLL LOCKSMITH, INC.        TRACY O'SULLIVAN
COMPANY A/C 6390-
1973
DAVENPORT &         MAX RADIO                          TRACY OVERHOLT
COMPANY F/B/O
DAVENPORT &         MAX RECOVERY GROUP, LLC            TRACY SEGUIN
COMPANY LLC A/C
4108-6431
DAVID A PEREZ       MAXDECISIONS, INC                  TRACY SHARPHEAD
DAVID BEAUPRE       MAXEY CONSULTING GROUP, LLC        TRACY WIESCHOLLEK
DAVID BURTON        MAXIMAIN COMEAU                    TRACY WOOD
DAVID C JACK,       MAXIME COLLIN                      TRADEMARK
ATTORNEY                                               ENTERPRISES, LLC
DAVID CROUCH        MAXIMUM SECURITY SHREDDERS         TRAIL OF THE LAKES
                                                       MUD
DAVID D.            MAYBELLE HOLDINGS CORP.            TRAINING RESOURCE
DICKERSON AND                                          CLINIC
ASSOCIATES
DAVID DONOVAN       MAYFAIR JOINT VENTURE              TRAININGABC.COM
DAVID FITZGERALD    MAYFLOWER EMERALD SQUARE,          TRAMMEL CROW CO.
                    LLC
DAVID FORTIER       MAYFLOWER TRANSIT, LLC             TRAMMELL CROW
DAVID G STANUTZ     MAYKEE INC                         TRANE PARTS
DAVID GOMEZ         MAYOLA BECHERET RUIZ               TRANS CAN MINI-STOR
                                                       INC.
DAVID HENSLER       MAYOR'S FUND TO ADVANCE NYC        TRANS CANADA
                                                       BUILDING
DAVID HILL          MAZZE, ROY                         TRANSAD, INC.
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DAVID HORAN         MBC GRAND BROADCASTING, INC.       TRANSCENTIVE
DAVID HUTCHISON     MBEC COMMUNICATIONS, L.P.          TRANSCENTIVE
DAVID J REGA &      MBH MERCEDES-BENZ                  TRANSCOOL INC.
MAUREEN             HEADQUARTERS
MIGLIACCLO-REGA
DAVID KENNEDY       MBRG                               TRANSIT PRODUCTIONS,
                                                       INC.
DAVID L HAYDEN II   MBS RADIO                          TRANSPERFECT
                                                       HOLDINGS, LLC
DAVID L             MC SIGN LLC                        TRANSPORTATION
KORDONOWY                                              DISTRICT COMMISSION
                                                       OF HAMPTON ROADS
DAVID LESSARD       MCAGENCY PRIVATE                   TRANS-UNITED INC.
                    INVESTIGATIONS
DAVID LISTON        MCALEER, AMANDA                    TRANSWEST
INVESTIGATIVE                                          INVESTIGATIONS, INC.
SERVICES
DAVID LOVE          MCALEER, TONY                      TRAVELERS INSURANCE
DAVID LOVE          MCALLISTER, HYBERG, WHITE,         TRAVIS BROADCASTING
                    COHEN AND MANN, PC
DAVID M. WHITE      MCAP LEASING                       TRAVIS COUNTY CLERK
DAVID MACMILLAN     MCB TRUST SERVICES                 TRAVIS MEPHAM
DAVID MCPHERSON     MCBEE, ELAINE                      TRAVIS MILLS GROUP,
                                                       LLC
DAVID MESSERVEY     MCBRIDE, PAT                       TRAVIS SPOONER
DAVID N.            MCCAIN, CHARLES W.                 TRAYNOR, PAT
FLUMERFELT
DAVID NAZARIAN      MCCARTHY, BURGESS & WOLFF          TREASURE COAST FOOD
                                                       BANK, INC
DAVID NAZARIAN      MCCLANAN, GLENN B.                 TREASURER CITY OF
                                                       NORFOLK
DAVID NIEBUHR       MCCLURE, GLEN                      TREASURER OF
                                                       COMMONWEALTH OF
                                                       VIRGINIA
DAVID PAUL          MCCORKLE SIGN COMPANY, INC         TREASURER OF RHODE
HOLDINGS INC                                           ISLAND
DAVID PAYNE         MCCORMICK, MONICA                  TREASURER OF ROANOKE
                                                       COUNTY
DAVID PITTS         MCCORMICK, WYNNE W.                TREASURER OF STATE
                                                       (OH)
DAVID POOLE         MCCRACKEN COUNTY SHERIFF           TREASURER OF THE
                                                       UNITED STATES
DAVID PYPER         MCCRUM'S OFFICE FURNISHINGS        TREASURER OF VA -
                                                       229438214
DAVID REID          MCCULLOCH, WILLIAM                 TREASURER OF VA #
                                                       142527932
DAVID ROY           MCDANIEL, DEBRA                    TREASURER OF VA
                                                       #235231244
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DAVID SMITH        MCDERMOTT, STEVE                    TREASURER OF VA
                                                       068585574 (2)
DAVID STANOVICH    MCDERMOTT, WILL & EMERY, LLP        TREASURER OF VA
                                                       REF#373901783
DAVID THOROGOOD    MCDONALD HOPKINS, LLC               TREASURER OF VA
                                                       REF#549497675
DAVID VARTANIAN    MCDONALD, HOPKINS, BURKE &          TREASURER OF VA-570-
                   HABER                               84-9089
DAVID W. HALL      MCDONNELL FOR GOVERNOR              TREASURER OF VA-STATE
                                                       BAR DUES
DAVID WALKER       MCDOUGAL, MOSES                     TREASURER OF VIRGINIA
                                                       - 052646925
DAVID WATSON       MCDOWELL, ELLEN                     TREASURER OF VIRGINIA
                                                       - P.O.7621
DAVID WHITE        MCDOWELL, RICE, SMITH &             TREASURER OF VIRGINIA
                   BUCHANAN                            - SS# XXX-XX-XXXX
DAVID WORDEN       MCEB, LLC                           TREASURER OF VIRGINIA
                                                       # 167688373
DAVID, MATTHEW     MCENROE, MCCARTHY &                 TREASURER OF VIRGINIA
                   GOTSDINER, P.C.                     # 171461035
DAVID-FAYIZ        MCFARMER INC.                       TREASURER OF VIRGINIA
GHOBRIAL                                               # 226112508
DAVID-PAUL         MCGEHEE, LEWIS                      TREASURER OF VIRGINIA
HOLDINGS INC.                                          # 226170215
DAVIDSON MEDIA     MCGILL INVESTIGATION AGENCY         TREASURER OF VIRGINIA
CAROLINAS                                              # 226940248
STATIONS, LLC
DAVIDSON, FULLER   MCGRATH HIGHLANDS I LP              TREASURER OF VIRGINIA
& SLOAN, LLP                                           # 228270402
DAVIDSON, MEGAN    MCGRATH INVESTIGATIVE               TREASURER OF VIRGINIA
                   SERVICES, LLC                       # 228290337
DAVIS COUNTY       MCGRAW-HILL GLOBAL                  TREASURER OF VIRGINIA
UTAH ASSESSOR'S    EDUCATION HOLDINGS, LLC             # 231989916
OFFICE
DAVIS MILL         MCGRIFF                             TREASURER OF VIRGINIA
STATION, LLC                                           (UNCLAIMED PROPERTY)
DAVIS, DENISE      MCGRIFF INSURANCE SERVICES,         TREASURER OF VIRGINIA
                   INC.                                0001705934
DAVIS, GEORGE      MCGRIFF INSURANCE SERVICES,         TREASURER OF VIRGINIA
                   INC.                                040606779
DAVIS, TIMOTHY     MCGUIRE DETECTIVE AGENCY            TREASURER OF VIRGINIA
                                                       040606779
DAVIS-KENDRICK,    MCGUIRE REVOCABLE TRUST             TREASURER OF VIRGINIA
MAGGIE             SHARE B                             068585574
DAVITA B NEWELL    MCGUYVER SIGN & DESIGN              TREASURER OF VIRGINIA
                                                       072601522
DAWE DENISE        MCHALE, JAY                         TREASURER OF VIRGINIA
                                                       224865677
DAWN BOSTON        MCI WORLDCOM                        TREASURER OF VIRGINIA
                                                       225410315
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DAWN CYPRESS         MCI WORLDCOM                      TREASURER OF VIRGINIA
                                                       231335459
DAWN HEDGECOTH       MCINNES COOPER                    TREASURER OF VIRGINIA
                                                       28172244
DAWN M THIELE        MCINNES COOPER                    TREASURER OF VIRGINIA
                                                       425576970
DAWN MILLER          MCINTIRE SCHOOL OF COMMERCE       TREASURER OF VIRGINIA-
                     FOUNDATION                        XXX-XX-XXXX
DAWN OF HOPE         MCINTOSH STATE BANK               TREASURER OF VIRGINIA
FOUNDATION                                             XXX-XX-XXXX
DAWN S FILETTI       MCINTYRE GROUP OFFICE             TREASURER OF VIRGINIA
                     SERVICES                          REFERENCE # 227989331
DAWN SCHMITT         MCINTYRE, RALPH                   TREASURER OF VIRGINIA
                                                       TECH
DAWOOD AHMAD         MCKAY, GORDON                     TREASURER OF VIRGINIA
                                                       -VIRGINIA STATE BAR
DAWSON CREEK JR.     MCKEE CLEAR SERVICE               TREASURER OF VIRGINIA-
CANUCKS              SOLUTIONS, INC                    0002585274
DAY & NIGHT          MCKELVEY REALTY CO.               TREASURER OF VIRGINIA-
ELECTRIC EEL &                                         0002959980
PLUMBING
DAY NITE NEON        MCKENZIE CONSTRUCTION CORP.       TREASURER OF VIRGINIA-
SIGNS LTD                                              MERRIFIELD
DAY PITNEY, LLP      MCKINLEY FREEWAY CENTER II,       TREASURER OF VIRGINIA-
                     INC.                              PO BOX 526
DAYNE DELANO         MCKINNEY, KELLY K.                TREASURER OF VIRGINIA-
                                                       RICHMOND
DAYNITE NEON SIGN,   MCKNIGHT, MARCUS                  TREASURER OF VIRGINIA-
LTD                                                    VIRGINIA STATE BAR
DAYS INN             MCLAUGHLIN HOLDINGS, LLC          TREASURER SMYTH
EXPRESSWAY                                             COUNTY
DAYSTAR, LLC         MCLEAN, NAKIA                     TREASURER STATE OF
                                                       IOWA
DAYTON DELTA LLC     MCLEAN, SUSAN                     TREASURER STATE OF
                                                       MAINE (UNCLAIMED
                                                       PROPERTY)
DAYTON MALL          MCLENDON-KOGUT REPORTING          TREASURER STATE OF
VENTURE, LLC         SERVICE                           NEW JERSEY
DAYTON POWER         MCMAHON PARATER                   TREASURER STATE OF
AND LIGHT            FOUNDATION FOR EDUCATION          TENNESSEE UCP
COMPANY
DB ELECTRIC          MCMANUS, PAUL L, RMR, FCRR        TREASURER, CITY OF
                                                       LANSING
DBC IMAGING INC      MCMICHAEL, JERRY S.               TREASURER, CITY OF
                                                       ROANOKE
DBSI CANABERRA       MCNAMEE III, WILLIAM F.           TREASURER, CITY OF VA.
HEIGHTS                                                BEACH-RE TAX
DC BUSINESS GROUP    MCNAMEE, SEAN                     TREASURER, COUNTY OF
INC.                                                   GLOUCESTER
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DC MOR HOLDING CO MCNAMEE, WILLIAM                      TREASURER, COUNTY OF
LLC                                                     YORK-PPT
DC OFFICE OF      MCNEAL, DEBORAH J.                    TREASURER, STATE OF
FINANCE AND                                             CONNECTICUT
TREASURY                                                (UNCLAIMED PROP)
DC SERVICES       MCNICHOLAS ASSOCIATES, INC.           TREASURER, STATE OF
                                                        IOWA (UNCLAIMED
                                                        PROPERTY)
DC TRAILS, INC.      MCNULTY, THOMAS                    TREASURER, STATE OF
                                                        MAINE
DCA MARKETING        M-CO TULSA, LLC                    TREASURER, STATE OF
                                                        NEW HAMPSHIRE
                                                        (UNCLAIMED PROPERTY)
DCW & ASSOCIATES     MCP TALENT                         TREASURER, STATE OF
                                                        NEW JERSEY
                                                        (UNCLAIMED PROP)
DCWY-TV              MCPHEETERS CONFIDENTIAL            TREASURER, STATE OF
                     SERVICES                           TENNESSEE
DDC FARMINGTON       MCPHERSON, WILLIAM                 TRELIANT, LLC
PROPERTY LLC
DDSS TAX SERVICE     MCPHILLIPS, ROBERTS & DEANS-       TRELLENE LLOYD
                     DO NOT USE
DE LAGE LANDEN       MCPHILLIPS, ROBERTS, & DEANS       TREMAYNE, LAY, BAUER,
FINANCIAL SERVICES                                      COLEMAN
CANADA INC.
DEACY & DEACY,       MCRARY, GLEN A.                    TREMENDOUS LIFE
LLP                                                     BOOKS
DEAL & SONS          MD INVESTMENTS OF NC LLC           TREMONT CENTER, LLC
ELECTRIC
DEAN & PETER         MDB CONSULTING INC.                TRENDWAY
VOULGARIS                                               CORPORATION
DEAN BLANCHARD       MEADOWBROOK CENTER, LLC            TRETCHLER, SHAWN
DEANNA GARVEY        MEAGAN A VELENOSI                  TREVIZO, ALBERT
DEANS LANDING,       MEBRAT ZEGHAI                      TREVOR BALDI-LUCIER
INC. DBA WEBFOOT
MARKETING
DEB COUPLAND         MECHANICAL ELECTRICAL AND          TREVOR LARSON
                     PLUMBING PARTNERS LLC
DEBARTOLO            MECHILLE BURKE                     TREVOR MIDDLEMISS
CAPITAL
PARTNERSHIP
DEBBIE GILLARD       MECKLENBURG COUNTY                 TRI POWER CYCLING
                     REGISTER OF DEEDS
DEBBIE HANRAHAN      MECKLENBURG COUNTY TAX             TRI STATE FIRE SYSTEMS
                     COLLECTOR-PPT                      INC.
DEBBIE HARVIE        MEDIA ACCOUNTABILITY GROUP         TRIAD INVESTIGATIVE &
                                                        EXECUTIVE PROTECTION,
                                                        LLC
DEBBIE HIGGINS       MEDIA CITY PUB INC.                TRIAD RETAIL
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DEBBIE WALLACE       MEDIA EAST, INC.                    TRIANGLE RENT A CAR
                                                         INC.
DEBBIE WARD          MEDIA GENERAL                       TRIBUNE
DEBBIE WEAVER        MEDIA X PRESENTATIONS, INC.         TRIBUNE & GEORGIAN
DEBENHAM,            MEDIACOM                            TRIBUNE INTERACTIVE
MICHAEL
DEBORAH              MEDIACOM-105487                     TRIBUNE PUBLISHING
ARSENAULT                                                COMPANY, LLC
DEBORAH              MEDIACOM-5744                       TRIBUNE PUBLISHING
AXWORTHY                                                 COMPANY, LLC
DEBORAH J. KLEIN     MEDIANT COMMUNICATIONS INC          TRI-CITIES THRIFTY
                                                         NICKEL
DEBORAH JOHNSON      MEDIANT COMMUNICATIONS INC.         TRI-CITY HOLDINGS
                                                         INCORPORATED
DEBORAH MACEDO       MEDUGORJE, LLC                      TRI-COUNTY
                                                         BROADCASTING INC.
DEBORAH NEWTON   MEETKUMAR PATEL                         TRIGON BLUE CROSS
JOHNSON DBA                                              BLUE SHIELD
NEWTON & SONS
REAL ESTATE
DEBORAH SAUNDERS MEGA OFFICE FURNITURE                   TRIGON DENTAL
                                                         ALTERNATIVES
DEBORAH              MEGACITY FIRE & SECURITY, INC.      TRILOGY SOFTWARE, INC.
VANDUZEN
DEBRA A. AGUAYO      MEGAN BOSWELL                       TRIMEX MOBILE
                                                         MARKETING
DEBRA LIVINGOOD      MEGAN BOXWARVA                      TRI-MOR PROPERTIES,
                                                         INC.
DEBRA LIVINGOOD      MEGAN CLEVENGER                     TRINA COLLINS
DEBRA MCCONNELL      MEGAN ORRISS                        TRINITY DEVELOPMENT,
                                                         LLC
DEBT.COM, LLC        MEGASOURCE                          TRINITY HILLS PROP LLC
DECHERT LLP          MEGEN HAVARD                        TRINITY JOHNSON CITY,
                                                         LLC
DECICCO, NANCY       MEGHAN ROTH                         TRINITY ONE
DECISIONES, LLC      MEISHA HIDALGO-DIAZ                 TRION GROUP, INC.
DECLARATIVE          MEJRA SEJDIC                        TRIPLE V MECHANICAL
HOLDINGS, INC.                                           CORP.
DECORAH              MEKORMA                             TRISTAN DUNCALF
NEWSPAPERS
DEELEY IT SERVICES   MEL KIESMAN                         TRISTAN GIROUX
LLC
DEEPAK BHAVNANI      MELADIE D. CROY                     TRI-STARR
                                                         INVESTIGATIONS, INC.
DEERFIELD            MELANIE BLACK                       TRIUMPH CENTURY
SEMINARS, INC.                                           BOULEVARD LLC
DEERFOOT MALL        MELANIE CRONAN                      TROMMER, MICHAEL
DEGIULIO, LOUIS      MELANIE DIXON                       TROPICAL SMOOTHIE
                                                         CAFE
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DEGRAFT OFORI        MELANIE GROOT                      TROPICANA 26, LLC
DEIRDRE PARKS        MELANIE LANGLOIS                   TROPICANA SQUARE LLC
DEK ENTERPRISES      MELANIE LAVESQUE                   TROUTMAN PEPPER
INC                                                     HAMILTON SANDERS LLP
DEL CASTILLO,        MELANIE LODGE                      TROUTMAN PEPPER
CLEITON                                                 HAMILTON SANDERS LLP
DEL GRIMSTAD         MELANIE MIDDELKOOP                 TROUTMAN SANDERS
                                                        MAYS & VALENTINE LLP
DEL PAPA             MELANIE ROY                        TROUTMAN SANDERS,
VENTURES, LLC                                           LLP - VA BEACH
DEL SOL OF           MELBOURNE R. RICHARD, JR.          TROVATO, JENNIFER L.
VIRGINIA BEACH
DEL SOL PROPERTIES   MELINDA BLANCHETTE                 TROXELL, LEE
LLC
DEL SOL PROPERTY     MELISSA B WILLIAMS                 TROY HENDRICKS
MANAGERS
CORPORATION
DELAMAR PLAZA        MELISSA CHRISTOPHER                TROY MARTINEZ
LLC
DELANO PAUL PETTY    MELISSA COLE                       TROY TREMBLAY
JR
DELAWARE DIVISION    MELISSA COLEMAN                    TRU TOUCHING HUMANS,
OF CORPORATIONS                                         LLC
DELAWARE DIVISION    MELISSA DATA CORPORATION           TRUCK SKIN
OF REVENUE-DO NOT
USE
DELAWARE             MELISSA DUQUE                      TRUDI S BARR
SECRETARY OF
STATE
DELAWARE             MELISSA FAUBERT                    TRUDY TEMPLE
SECTRETARY OF
STATE-WI
DELAWARE STATE       MELISSA FROST                      TRUIST BANK
ESCHEATOR
DELIA SHAW           MELISSA L ALMAN                    TRUMBULL COUNTY
                                                        HEALTH DEPARTMENT
DELILAH MCGUIRE      MELISSA LAWRENCE                   TRUMBULL COUNTY
                                                        TREASURER
DELIVERY &           MELISSA MCINTYRE                   TRUREED LLC
COMMUNICATIONS,
INC.
DELL CANADA INC.     MELISSA VENT                       TRUSTARC INC
DELL FINANCIAL       MELODIE (JOHNSON) HAYOR            TRUSTE
SERVICES             STARR
DELL MARKETING LP    MELODIE A. RODGERS                 TRZASKO, MARZENA
DELL SOFTWARE,       MELODIE DAFOE                      TSANG REALTY LLC
INC.
DELLA DUVAL          MELODY SHIH                        TSE BONITO WATER
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DELMARVA            MELODY TIPPER                     TSX INC.
BROADCASTING -
WSTW-FM
DELMARVA POWER      MELODY TIPPER                     TSX TRUST COMPANY
DELMARVA POWER -    MELSHEIMER, SUSAN                 TUCKER III, RONALD
13609
DELOACH, MIKEL      MELTWATER NEWS US INC             TUCSON NEWPAPERS
DELOITTE & TOUCHE   MELVA CARPENTER                   TUCSON RODEO PARADE
DELOITTE & TOUCHE   MELVIN AGUILAR                    TUFFY'S HOLDINGS LTD
LLP                                                   C/O WESTWOOD PUB
DELOITTE- CANADA    MELVYN STARBUCK                   TUITION GUARANTY
                                                      FUND
DELOITTE LLP        MEMEGUANS ESHKAWKOGAN             TULANE HULLABALOO
DELORES THOMAS      MEMORIAL AT DAIRY ASHFORD         TULANE HULLABALOO
                    CENTER, LTD
DELPRINCIPE, BILL   MEMPHIS JOINT VENTURE             TULARE COUNTY TAX
                                                      COLLECTOR
DELTA DENTAL        MEMPHIS LIGHT, GAS AND WATER      TULSA COUNTY
                    DIVISION                          TREASURER
DELTA DENTAL OF     MEN FOR HOPE                      TUMBLEWEED SIGN CO.
CALIFORNIA
DELTA               MENDELSON & ASSOCIATES            TUNSTILL, MICHAEL
MANAGEMENT          ADVERTISING, LLC
GROUP, INC.
DELTA TELECOM,      MENDEZ, GEORGE                    TURFLAND MALL
INC.-14497
DELUXE BUSINESS     MENELAOS, INC.                    TURLOCK LANDER
FORMS                                                 PARTNERS LLC
DEMESHKIN,          MEPT TREE SUMMIT VILLAGE LLC      TURN KEY INVESTMENTS
ALEKSANDR
DEMING LLC          MERCEL ENTERPRISES DBA            TURNER, JENNA
                    MERCEL PAINTING
DENABY EQUITIES     MERCHANTS CORNER, L.P.            TURNER, WILLIAM
LIMITED
DENIS GAUTHIER      MERCURI URVAL, INC                TUSCALOOSA NEWS
DENISE B            MERCY PILE                        TV 48 WCPX AZTECA
VALLADARES                                            AMERICAN
DENISE BRIDGES      MEREDITH COLLINS                  TWC PROPRIETARY
                                                      SCHOOLS
DENISE GRIFFIN      MEREDITH MCGIBBON                 TWEEDS LOCKSMITH,
                                                      INC. SECURITY
                                                      HARDWARE
DENISE HALE         MERIDIAN MALL LIMITED             TWILIO, INC
                    PARTNERSHIP
DENISE MAGI         MERIDIAN WASTE                    TWIN BROOK CROSSINGS,
                                                      LLC
DENISE PUDDICOME    MERILYN COLBRAN                   TWIN CITY PRINTING
DENISE WILSON       MERLE LEGERE                      TWIN DIXIE LANES, INC.
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DENISE WINGER       MERLIN'S PARTY BOUNCERS           TWIN RIVERS
                                                      PROPERTIES, L.L.C.
DENISSE GUTIERREZ   MERRELL & ASSOCIATES, INC.        TWIN TECHNOLOGIES
DENNIS GAUMONT      MERRILL COMMUNICATIONS, LLC       TWO AMIGOS
DENNIS GOERTZEN     MERRILL HANCE                     TWO MEN AND A TRUCK
DENNIS HEIN         MERRILL LYNCH                     TX CHILD SUPPORT SDU
DENNIS              MERRIMAN, ROBIN                   TXU ENERGY
JANISZEWSKI
DENNIS LALONDE      MERRIT PRESS                      TY-CO PETROLEUM
                                                      GROUP LLC
DENNIS MCFADYEN     MERRITT PROPERTIES                TYDON SAFETY
                                                      CONSULTING INC.
DENNIS MCKINNEY     MERRY, CATHERINE                  TYLER ALLEN
DENNIS PICKUP       MERTIN ADAMS                      TYLER J. MCMASTER
DENNIS PRESCOTT     MERV PARABOO                      TYLER LILLEPOOL
DENNIS R WELCH      MESSORE, THOMAS J. & MARY A.      TYLER, STEPHEN
DENNIS R. STADNYK   MET LOCK & KEY CO.                TYLER, STEPHEN DEE
DENNIS WILSON       META BANK                         TYREL MAXWELL
DENNIS, TAMIA       META PAYMENT SYSTEMS              TYRONE WILSON
DENNISTON, ESTHER   METALWORKS, INC                   U.S. BANK NATIONAL
                                                      ASSOCIATION
DENNY J. VAN LOON   METC                              U.S. DEPARTMENT OF
                                                      TREASURY
DENNY L. TAYLOR     MET-ED                            U.S. POSTAL SERVICE
DENOBREGA,          METEJEMEL, LLC                    U.S. SECURITIES AND
ZACHARY                                               EXCHANGE COMMISSION
DENSIE SHERREN      METLIFE LEGAL PLANS, INC          UBONG ETUK
DENTON, TINA        METLIFE LEGAL PLANS, INC          UBS
DENTONS US LLP      METLIFE SMALL BUSINESS            UCN
                    CENTER
DENVER              METRO ATLANTA FRANCHISE           U-HAUL
DEPARTMENT OF       EXPO LLC
FINANCE
DENVER POST         METRO CLERK & MASTER              ULINE CANADA
                                                      CORPORATION
DENY MUTAGANDA      METRO COURIER                     ULINE SHIPPING SUPPLY
                                                      SPECIALISTS
DEPART OF           METRO DETECTIVE AGENCY            ULMER & BERNE LLP
COMMERCE &
CONSUMER
DEPARTAMENTO DE     METRO INFORMATION SERVICES        ULTIMATE PROMOTIONS,
HACIENDA                                              INC.
DEPARTMENT OF       METRO PROCESS & LITIGATION        UMAR TANWIR
AGRICULTURE AND     SERVICES
CONSUMER SVCS
DEPARTMENT OF       METRO PRODUCTIONS/METRO           UMER IQBAL
ARKANSAS            COMMICATIONS
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DEPARTMENT OF       METROBANK, N.A.                    UNAM FAMILIA SIN
ASSESSMENTS &                                          FRONTERAS
TAXATION
DEPARTMENT OF       METROLAND COMMUNITY                UNAM FOUNDATION
COMMERCE &          NEWSPAPERS
CONSUMER AFFAIRS-
HI
DEPARTMENT OF       METROLAND DIGITAL                  UNCLE BOB'S SELF
COMMERCE &                                             STORAGE
CONSUMER AFFAIRS-
HI
DEPARTMENT OF       METROLAND MEDIA GROUP LTD          UNCLE SAMS TAXES, LLC
COMMERCE/BANKIN
G COMMISSION
DEPARTMENT OF       METROLAND MEDIA GROUP              UNIFIRST CANADA
COMMISSIONER OF     SHARED SERVICES                    LTD/LTEE.
BANKS
DEPARTMENT OF       METROPLEX ECONOMIC                 UNIKO PROPERTY GROUP
CONSUMER &          DEVELOPMENT CORP                   LTD.
REGULATORY
AFFAIRS
DEPARTMENT OF       METROPOLITAN EXPOSITION            UNION BANK & TRUST
CORPORATIONS
DEPARTMENT OF       METROPOLITAN EXPOSITION            UNION ENERGY
FINANCE AND         SERVICES, INC.
ADMINISTRATION
DEPARTMENT OF       METROPOLITAN POLICE NEWS           UNION GAS
FINANCE AND
ADMINISTRATION-
AR
DEPARTMENT OF       METROPOLITAN ST. LOUIS SEWER       UNIONFRIENDLY.COM
FINANCIAL           DISTRICT
INSTITUTIONS
DEPARTMENT OF       METTER, GARY                       UNITED CHECK CASHING
HOMELAND
SECURITY
DEPARTMENT OF       METZER, ROBERT                     UNITED CHURCH OF GOD
JUSTICE (CA)
DEPARTMENT OF       MEYERS, RODBELL &                  UNITED CONSULTANCY
JUSTICE, CA         ROSENBAUM, P.A.                    SERVICES, INC.
DEPARTMENT OF       MEYTRES, LLC                       UNITED FULFILLMENT
LABOR                                                  SOLUTIONS, INC.
DEPARTMENT OF       MEZ DESERT PROPERTIES, LLC         UNITED GAS COMPANY
LABOR &
INDUSTRIES
DEPARTMENT OF       MFS                                UNITED HEALTHCARE
MOTOR VEHICLES
DEPARTMENT OF       MFS RETIREMENT SERVICES INC.       UNITED HEALTHCARE
MOTOR VEHICLES
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DEPARTMENT OF      MFV EXPOSITIONS LLC                UNITED HEALTHCARE-
PUBLIC UTILITIES                                      HEALTH INSURANCE
DEPARTMENT OF      MG TRUST COMPANY                   UNITED MAINTENANCE
REVENUE AND                                           SERVICES, INC.
REGULATION
DEPARTMENT OF      MHOG                               UNITED PARCEL SERVICE
REVENUE AND TAX                                       CANADA LTD.
DEPARTMENT OF      MI GENTE MAGAZINE                  UNITED PROCESS
REVENUE-MONTANA                                       SERVERS
DEPARTMENT OF      MI HELLE GOULD                     UNITED REALTY GROUP,
REVENUE-MS                                            INC.
DEPARTMENT OF      MI TAM, PROPERTY ACCOUNT           UNITED SERVICE
REVENUE-TX         MANAGER                            ORGANIZATIONS, INC
DEPARTMENT OF      MIACHAEL CORDES                    UNITED SHIPPING
SAFETY AND                                            SOLUTIONS
PROFESSIONAL
SERVICES
DEPARTMENT OF      MIACHAEL W WALLING                 UNITED STATE
SANITARY                                              TREASURY
ENGINEERING
DEPARTMENT OF      MIAMI POWER TEAM                   UNITED STATES DISTRICT
STATE - NATL       FOUNDATION, INC                    COURT
PASSPORT
PROCESSING CTR
DEPARTMENT OF      MIAMI SYSTEMS, CORP.               UNITED STATES HISPANIC
STATE -                                               CHAMBER OF COMMERCE
PENNSYLVANIA
DEPARTMENT OF      MIAMI-DADE COUNTY TAX              UNITED STATES
STATE - TN         COLLECTOR                          INVESTIGATIVE &
                                                      PROTECTION AGENCY
DEPARTMENT OF      MICAELA SAENZ                      UNITED STATES POSTAL
STATE (PA)                                            SERVICE
DEPARTMENT OF      MICHAEIF TRAINOR                   UNITED STATES POSTAL
STATE- FL                                             SERVICE - HASLER
DEPARTMENT OF      MICHAEL A CALHOON                  UNITED STATES POSTAL
STATE- NY                                             SERVICE PITTSFORD
DEPARTMENT OF      MICHAEL A. CAMPANA JR.             UNITED STATES POSTAL
STATE-DE                                              SERVICES-CAPS ACCT
DEPARTMENT OF      MICHAEL A. FORD                    UNITED STATES PROCESS
STATE-FL                                              SERVICE CORP.
DEPARTMENT OF      MICHAEL ADAMS                      UNITED STATES
TAX & REVENUE                                         TREASURY
DEPARTMENT OF      MICHAEL AHMED                      UNITED STATES
THE TREASURY                                          TREASURY
DEPARTMENT OF      MICHAEL AKEHVRST                   UNITED STATES
TREASURY                                              TREASURY
DEPARTMENT OF      MICHAEL BANTUGAN                   UNITED STATES
TREASURY                                              TREASURY
DEPARTMENT OF      MICHAEL BASS                       UNITED STATES
TRESURY-NJ                                            TREASURY
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DEPT OF CHILDREN & MICHAEL BELL                        UNITED STATES
FAMILY SERVICES                                        TREASURY- IRS CA
DEPT. OF           MICHAEL BLYTHE                      UNITED STATES
ASSESSMENTS &                                          TREASURY NC
TAXATION-MD
DEREK CURTIS       MICHAEL BRENT TURNER                UNITED STATES
                                                       TREASURY-GA
DEREK KNORR         MICHAEL BRENT TURNER - DO          UNITED STATES
                    NOT USE                            TREASURY-IRS (UTAH)
DEREK VALLADARES    MICHAEL BRUNO                      UNITED STATES
                                                       TREASURY-LEVY
                                                       (BALDEEP)
DEREK WADE          MICHAEL BURLEY                     UNITED STATES
                                                       TREASURY-NY LEVY
DERHAN HORTON       MICHAEL CADEAU                     UNITED TAX SERVICE
DEROSIER STORAGE    MICHAEL CALLAGHAN                  UNITED VAN LINES, LLC
CO., INC.
DERRENBACHER,       MICHAEL CAMARRO                    UNITED WAY OF TULARE
EDNA                                                   COUNTY
DERRENT JAMES       MICHAEL CONNOLLY                   UNITED YELLOW PAGES
                                                       INC
DERRICK             MICHAEL COPADA                     UNITEK EDUCATION
ROEBOTHAM
DERRICK SUTTON      MICHAEL DEMPSEY                    UNITY
                                                       COMMUNICATIONS, INC.
DESCHANBAULT,       MICHAEL DOY                        UNITY TELECOM
DON
DESIGN NOVELTY &    MICHAEL DUFFY                      UNIVERSAL TAX
SPECIALTY                                              SYSTEMS, INC.
COMPANY
DESIGNS             MICHAEL EGER                       UNIVERSITY HILLS WEST
                                                       LLC
DESIGNS, INC.       MICHAEL ERNST                      UNIVERSITY JOINT
                                                       VENTURE
DESMOND             MICHAEL FISHER                     UNIVERSITY OF
PIETERSEN                                              MISSOURI, KANSAS CITY
DESNOES             MICHAEL FREDETTE                   UNIVERSITY OF ST.
INVESTIGATIONS                                         THOMAS
INC.
DESOTO TIMES        MICHAEL GLEN WADE LLC              UNIVERSITY OF
TODAY                                                  WASHINGTON
DESSA, ADDIS M      MICHAEL GRIGG                      UNIVEST II
                                                       CORPORATION
DESSI HRISTOVA      MICHAEL HAN                        UNIVISION - TX LP
DESTINATION         MICHAEL HAWKSLEY                   UNIVISION GROUP
CONCEPTS, INC.
DESTINATION         MICHAEL HEINRICH                   UNIVISION KABE KBTF
NORTHWEST
DETECT INC.         MICHAEL HEINTZMAN                  UNIVISION RADIO
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DETLEV BOEVE        MICHAEL HELD                       UNIVISION RADIO -
                                                       CHICAGO
DETR                MICHAEL HOHOL                      UNIVISION RADIO
                                                       FRESNO, INC.
DETROIT             MICHAEL HUSSEY                     UNIVISION RADIO NEW
NEWSPAPER                                              MEXICO INC.
DEVELOPER           MICHAEL ILLIES                     UNIVISION RECEIVABLE
EXPRESS, INC.                                          CO. LLC
DEVIN CAINES        MICHAEL J ROCHE                    UNLIMITED NET
                                                       RESOURCES LLC
DEVIN DALY          MICHAEL J WARD                     UNO-FOUNDATIONS
DEVON CSONTOS       MICHAEL J. GAUDET                  UOFC VOLUNTEER TAX
                                                       PROGRAM
DEVON SEARLE        MICHAEL J. PETERSEN                UPADHYAYA, VIJAY
DEVONWORTH          MICHAEL J. SAWYER                  UPPER QUADRANT
EMBROIDERY INC
DEX IMAGING         MICHAEL J. SAWYER                  UPS
DEX IMAGING OF      MICHAEL JAMISON                    UPS / UPS SCS DALLAS
ALABAMA, LLC
DEX MEDIA           MICHAEL JANSEN                     UPS BROKERAGE
HOLDINGS INC -
619009
DEX MEDIA           MICHAEL JOHNSON                    UPS CANADA
HOLDINGS INC. -
9001401
DEXTER & JOY, LLC   MICHAEL LEES                       UPS- CAROL STREAM, IL
DEXTER CHECK        MICHAEL LEON DUKES                 UPS CUSTOMHOUSE
CASHING                                                BROKERAGE INC.
DEXTER MALLORY      MICHAEL LONG                       UPS EXPEDITED MAIL
                                                       SERVICES, INC.
DGEG, PLLC          MICHAEL MATTESON                   UPS FREIGHT
DHANASAGREN NAIR    MICHAEL MCBRIDE                    UPS FREIGHT
DHEERAJ GAWRI       MICHAEL MCCARTNEY                  UPS FREIGHT
DHL EXPRESS         MICHAEL MCMILLIN                   UPS GROUND FREIGHT,
(CANADA) LTD                                           INC.
DIAL GLOBAL RADIO   MICHAEL MEANS                      UPS STORE 329
NETWORKS
DIALAMERICA         MICHAEL NEMEC                      UPS SUPPLY CHAIN
MARKETING, INC.                                        SOLUTIONS INC.
DIAMOND             MICHAEL NORRIS                     UPS SUPPLY CHAIN
MARKETING                                              SOLUTIONS, INC.-DONT
SOLUTIONS                                              USE!!!!
DIAMOND PROPERTY    MICHAEL OWENS                      URBAN EDGE
(USA) INC                                              PROPERTIES LP
DIAMONDBACK         MICHAEL PARK                       URBAN LEAGUE OF
INVESTIGATIONS                                         HAMPTON ROADS INC.
DIANA DOWD          MICHAEL PIPER                      US DATA CORPORATION
DIANA S.REYNOLDS    MICHAEL Q LE                       US DEPARTMENT OF
                                                       HOMELAND SECURITY
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DIANE CHAPMAN        MICHAEL RAIMONDO                   US DEPARTMENT OF
                                                        STATE
DIANE FRASER         MICHAEL ROSE                       US DISTRICT COURT
DIANE GODDEN         MICHAEL SALAIMUPALE                US DISTRICT COURT EAST
                                                        DISTRICT OF VA
DIANE HEBERT         MICHAEL SMOKE                      US LEC OF NORTH
                                                        CAROLINA INC.
DIANE HICKEY &       MICHAEL STAPLEY                    US NEWSPAPERS
KATHLEEN
MULLALLY
DIANE MARTINO        MICHAEL THIES                      US RETAIL INCOME FUND
                                                        VIII-B, LP
DIANE MYERS          MICHAEL VASILIADIS                 US SMALL BUSINESS
                                                        ADMINISTRATION
DIANE O'NEIL         MICHAEL VILLAGE LLC                USA HOSTS, LTD.
DIANE STRICKLAND     MICHAEL WALKER                     USA LEASING, LTD
DIANNA LAMBREV       MICHAEL WHELAN                     USA TODAY
DICE.COM             MICHAEL WOOD                       USB PROPERTIES
DICKINSON            MICHAEL, EDWARD                    USC EDUCATIONAL
MACKAMAN TYLER                                          FOUNDATION
& HAGEN PC
DICKSON COUNTY       MICHAL, STEPHEN                    USDIGITALMEDIA
TRUSTEE
DICKSON SQUARE       MICHEAL LAMCH                      USER TESTING, INC
PROPERTIES
DICKSON, FLAKE       MICHEAL MICHAELINSKY               USERWORKS, INC
PARTNERS
DIEDRA TAYLOR        MICHEL LAROCQUE                    USHA RUMMUY
DIEFFENBACH          MI'CHELE JUBILEE                   USHYEE
HOLDINGS LLC
DIFWS LLC            MICHELE LIBLING                    USI TECHNOLOGY, INC.
DIGGS, DEWAYNE       MICHELLE BAIN                      USO OF HAMPTON ROADS
DIGI COMP            MICHELLE BURGESS                   USPS-PROFESSIONAL
COMPUTERS                                               PRINTING
DIGILANT, INC.       MICHELLE BUTLER                    USWEST
                                                        COMMUNICATIONS
DIGIOVANNI,          MICHELLE COLLIER                   UTAH DEPARTMENT OF
ANTHONY M.                                              REVENUE
DIGITAL              MICHELLE COX                       UTAH DEPT. WORKFORCE
ADVENTURE                                               SERVICES
(CALGARY)
DIGITAL BANG         MICHELLE D. MCBRIDE                UTAH DIV. OF CONSUMER
                                                        PROTECTION
DIGITAL BUSINESS     MICHELLE D. MCBRIDE                UTAH FOOD BANK
SYSTEMS, INC
DIGITAL BUSINESS     MICHELLE E CLARK                   UTAH STATE TAX
TECHNOLOGIES, INC.                                      COMMISSION
DIGITAL HIVE         MICHELLE ELLIS                     UTAH STATE TREASURER
STUDIO
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DIGITAL JUNGLE       MICHELLE GIROUX                    UTAH STATE TREASURER
ELECTRONIC PRINT
DIGITAL TECH         MICHELLE GRYWACHESKI               UTILITIES KINGSTON
COMPUTERS
DIGITAL-DNS          MICHELLE HELMER                    UTILITY BILLING
                                                        SERVICES
DILIGENT             MICHELLE HOLLAND                   V&E SYSTEMS AND
CORPORATION                                             SERVICES, LLC
DIMATTEO, JOSEPH     MICHELLE KAIN-LOVE                 V12 GROUP
A. JR.
DIMENSION            MICHELLE L DUTIAUME                V2K WINDOW FASHIONS
CONSULTING INC
DIMITRY KITS         MICHELLE LINK                      VA ABC
DINA ALONZI          MICHELLE SWEENEY                   VA HEATING AND
                                                        ELECTRICAL SERVICES,
                                                        LLC
DINA EL DABE         MICHIGAN ATTORNEY GENERAL          VA. BEACH PARKS & REC.
DINARDO, KEITH       MICHIGAN DEPARTMENT OF             VACO RICHMOND, LLC
                     TREASURY
DINESH KUMAR         MICHIGAN DEPARTMENT OF             VADIM ANTON
                     TREASURY
DIOCESAN             MICHIGAN DEPARTMENT OF             VAIL SOUTH INC.
PUBLICATIONS, INC.   TREASURY-SALES & USE
DIOCESE OF           MICHIGAN DEPARTMENT OF             VALASSIS CANADA INC.
JEFFERSON CITY       TREASURY-UCP
DIONE JOSEPH         MICHIGAN DEPT OF CONSUMER &        VALASSIS
                     INDUSTRY SVCS.                     COMMUNICATIONS, INC.
DIRECT DATA          MICHIGAN DEPT. OF LICENSING &      VALASSIS INTERACTIVE,
SYSTEMS              REGULATORY                         INC.
DIRECT DISPOSAL      MICRO VISION SOFTWARE              VALENTINA ALMA PRATO
CORP.                                                   CECILIO
DIRECT ENERGY        MICRO WAREHOUSE                    VALERIE GREEN
REGULATED
SERVICES
DIRECT IMAGING       MICROAGE                           VALERIE HEIDEMAN
SYSTEMS
DIRECT MARKETING     MICROSOFT AD CENTER                VALERIE HEIDEMAN
ASSOCIATION
DIRECT MEDIA, INC.   MICROSOFT CERTIFIED PARTNER        VALERIE SILAS
                     PROGRAM
DIRECT RESPONSE      MICROSOFT CORPORATION-             VALHEN
MEDIA GROUP          TECHNOLOGY
DIRECT SELLING       MICROSOFT LICENSING, GP            VALIERY G SUMABONG
ASSOCIATES
DIRECT SELLING       MICROSOFT ONLINE, INC.-BING        VALLEJO SANITATION
EDUCATION            ADS                                AND FLOOD CONTROL
FOUNDATION                                              DISTRICT
DIRECTIONS ON        MICROSOFT SERVICES                 VALLEJO TIMES HERALD
MICROSOFT
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DIRECTOR OF         MICROTEC SECURI-T                 VALLEY VOICE
EMPLOYMENT
STANDARDS
DIRECTOR OF         MICROTEK                          VALLEY WEST GLASS
FINANCIAL
INSTITUTIONS
DIRECTOR OF         MID ATLANTIC NETWORK              VALLEYVIEW VALLEY
REVENUE                                               VIEWS
DIRECTORY           MIDAMCO                           VALPAK OF BLAIR
SYSTEMS GROUP                                         COUNTY
DIRECTSAVE          MIDAMERICAN ENERGY                VALPAK OF CANADA
CANADA              COMPANY                           LIMITED
DIRECTTV            MID-ATLANTIC BUSINESS             VALPAK OF CATAWBA
                    COMMUNICATIONS                    VALLEY
DIRK OKKERSE        MID-ATLANTIC GLASS                VALPAK OF EASTERN
                    CORPORATION                       CAROLINA
DIRK WUEHR          MID-ATLANTIC NOTARY SUPPLIES      VALPAK OF EDMONTON
DIROCCO, YOLANDA    MIDCONTINENT RADIO OF SOUTH       VALPAK OF GREATER
                    DAKOTA, INC.                      KANSAS CITY
DIRTY DICKS         MIDDLE TENNESSEE NATURAL          VALPAK OF P.G. COUNTY
                    GAS
DISABLED            MIDLAND FINANCIAL SERVICES        VALSAINT EDITH
VETERANS
NATIONAL
FOUNDATION
DISALVO, STEVE      MIDLAND LOAN SERVICES INC         VALUE CARD ALLIANCE
                                                      LLC
DISASTER            MIDLAND NORTHSIDE LIONS           VALUE MOMENTUM
RECOVERY            CLUB
PROFESSIONALS LLC
DISASTER            MIDLAND PARK                      VALUMAIL MAGAZINE
RECOVERY
SERVICES, LLC
DISCOUNT            MIDLAND POWER UTILITY             VAN HORN, ERIK
PLUMBING, INC.      CORPORATION
DISCOVER FIN        MIDLAND PRESS                     VAN HOUTTE COFFEE
SERVICES INC                                          SERVICE INC
CASE#02 36170
DISCOVERY           MIDLANDS MEDIA GROUP, LLC         VAN RU CREDIT CORP.
BENEFITS
DISCOVERY PLAZA     MIDTOWN DEVELOPMENT               VAN UNNIK JUDY
RETAIL PARTNERS     CORPORATION
LLC
DISCOVERY           MIDTOWN PLAZA, LC                 VAN WIE, BILL
SERVICE, PRIVATE
INVESTIGATIONS
DISNEY              MIDWAY BROADCASTING               VANASSE HANGEN
RESERVATION         COMPANY                           BRUSTLIN, INC.
CENTER
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DISPATCH MEDIA       MIDWEST COMMUNICATIONS -          VANASSE HANGEN
GROUP                WIXX                              BRUSTLIN, INC.
DISPUTE ANALYTICS,   MID-WEST FAMILY                   VANCOUVER ISLAND
LLC                  BROADCASTING                      NEWSPAPER GROUP INC.
DISTINCTIVE EVENT    MID-WEST REAL ESTATE &            VANDA NICOLETTI
RENTALS              APPRAISAL GROUP, INC
DISTRIBUTEL MEDIA    MIERAS, NEIL                      VANDEVENTER BLACK
DISTRIBUTION, INC.                                     LLP
DISTRICT OF          MIGUEL A OROZCO-DO NOT USE,       VANDEVENTER BLACK
COLUMBIA             NEW LL                            LLP
DEPARTMENT OF
REVENUE
DISTRICT OF          MIGWANS PITQWANAKWAT              VANESSA CARPENTER
COLUMBIA
TREASURER
DISTRICT OF          MIHALK, MARK-NAC REP              VANESSA MCKAY
COLUMBIA
TREASURER
DIVERSIFIED          MIHALKA ENTERPRISES, INC          VANESSA PEREZ
COMFORT SERVICES
DIVISION OF MOTOR    MIJO M JAGATIC                    VANESSA VILLARUEL
VEHICLES
DIVISION OF          MIKE ADEY                         VANHORN & VANHORN,
TAXATION                                               INC.
DIVISION OF          MIKE BROWN                        VANN VIRGINIA CTR FOR
TAXATION - NJ                                          ORTHOPAE
DIXON HUGHES         MIKE BUCAR                        VANRYCKEGHAM, KATY
GOODMAN LLP
DJ BROADWAY LLC      MIKE BUCAR & RICK FORD            VANTAGE PRODUCTIONS
DJ MASTERMIX         MIKE CONWAY                       VAQUERO FINANCIAL
                                                       SERVICES, LLC
DJH ADVERTISING,     MIKE DORAN                        VARDEEP CHAHAL
LLC
DK GENERAL BOOTH     MIKE DUIKERSLOOT                  VARUN PANDAY
LLC
DL INVESTMENT        MIKE FARADAY                      VASA
PROPERTIES                                             SITHAMBARANATHAN
DLA PIPER (CANADA)   MIKE FLAMAN                       VATALARO, ANNA
LLP
DLA PIPER LLP        MIKE GRDIC                        VB DAM INVESTMENT
                                                       CORP
DLA PIPER LLP (US)   MIKE LANDY                        VB SPCA
DLA PIPER RUDNICK    MIKE LOWERY                       VC ROOMS, LLC
GRAY GRAY US LLP
DLM ARCHITECTS,      MIKE MCMANUS                      VD INNOVATION
P.C
DLM                  MIKE MOBLEY REPORTING             VECTREN ENERGY
INVESTIGATIONS                                         DELIVERY
DLS INC.             MIKE NASSER                       VEDIAN, LLC
DM INVESTMENT CO.    MIKE NEIL                         VEGA NANCY
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DM3 VENTURES INC     MIKE PASQUALE                      VEGA, VICKY
DM3 VENTURES, INC    MIKE PRYTULA                       VELLO HOLDINGS
                                                        LIMITED
DMDBD, LLC           MIKE SVEDE                         VELOPERS.COM, INC.
DMITRI               MIKE TSIGIRLAH                     VENTANILLA DE SALUD
IOUNATANOV                                              WITH TX AHEC
DMITRI               MIKE'S COMPUTER SERVICES           VENTURA COUNTY STAR
IOUNATANOV
DMK CASTLE SHOPS     MIKE'S QUALITY PAINTING            VENTURE DIRECT
                                                        WORLDWIDE - 9020
DMK ELECTRICAL       MIL ITF 585562 BC LIMITED          VENTURE DIRECT
CONTRACTING, INC.                                       WORLDWIDE - 9484
DN & TL LLC          MILADY IRIZARRY                    VENTURE SOURCING
                                                        GROUP
DO NOT USE BAKER     MILAM HOWARD NICANDRI DEES         VENTURE TOURS, INC
& DANIELS LLP        & GILLAM
DO NOT USE EBATES    MILAN HOTOVY                       VERA TURNBULL
& FAT WALLET
DO NOT USE ELDER,    MILENA ZIVOJINOVICH                VERGE AMERICA LTD
BECKY
DO NOT USE JEFFREY   MILES K. THOROMAN, CPA, P.C.       VERIDIAN
SCHUBERT
DO NOT USE SHRED-    MILES RACHAEL                      VERISIGN
IT - N. ARMISTEAD-
3801
DO NOT USE YULEE     MILES, PAUL                        VERIZON
STATE, LLC
DO NOT USEH.A.       MILIETTE REYES GARCIA              VERIZON
BRUNO, LLC DBA
MFV EXPO
DO NOT USE-MART      MILITARY BRIDGE, LLC               VERIZON - 4833 -TRENTON
FRANCHISE                                               NJ
VENTURE
DOBBS, JOHN          MILL END CENTER, LLC               VERIZON - 660720
DOBY'S BRIDGE LLC    MILL HOUSE PROPERTIES LLC          VERIZON - FREEHOLD
DOCHERTY             MILLAR TAX SERVICE, LLC            VERIZON CANADA
DOCUMENT             MILLER & BEAN COFFEE               VERIZON
RETRIEVAL            COMPANY                            COMMUNICATIONS -
NETWORK                                                 920041-TX
DOCUMENT SERVE       MILLER & MARTIN                    VERIZON- DFW AIRPORT
EXPRESS
DOCUMENT             MILLER FOOD STORE INC       VERIZON DIRECTORIES
SOLUTIONS, INC.                                  CORP.
DOCUMENT             MILLER PROPERTY MAINTENANCE VERIZON FLORIDA INC.
TECHNOLOGIES                                     920041
DOC-U-SEARCH         MILLER THOMPSON LLP         VERIZON SOUTH-DALLAS
DOCUSIGN INC         MILLER, CHARLES             VERIZON SOUTH-TAMPA
DOCUSIGN, INC.       MILLER, EVE L.              VERIZON WIRELESS -
                                                 17464
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DODSON &            MILLER, JOSEPH                     VERIZON WIRELESS
CHATMAN                                                DALLAS
CONSTRUCTION, INC
DODSON, TIFFANY     MILLER, KELLY                      VERIZON WIRELESS-16810
DOGS DESERVE        MILLER, RYAN                       VERIZON WIRELESS-PA
BETTER, INC
DOLEX DOLLAR        MILLER/WEINER                      VERIZON-15043
EXPRESS INC         COMMUNICATIONS
DOLLAR FINANCIAL    MILLER'S SIGN CO., INC.            VERIZON-15124
GROUP INC
DOLLAR RENT A CAR   MILLIKEN, BRIAN                    VERIZON-30001
DOLLAR THRIFTY      MILLION DOLLAR MEDIA, LLC          VERIZON-4830
AUTOMOTIVE
GROUP, INC.
DOLLAR THRIFTY      MILLS, JULIAN                      VERIZON-ALBANY
AUTOMOTIVE
GROUP, INC.
DOLOR HUBERT        MILLWOOD CLEANERS                  VERIZON-BALTIMORE
                                                       17398
DOLORES MILLER      MILNES MOVING & STORAGE LTD.       VERIZON-BALTIMORE-
                                                       17577
DOLPHIN CAPITAL     MILWAUKEE JOURNAL SENTINEL         VERIZON-PA
CORP.
DOMA                MIMCO, INC.                        VERIZON-PO BOX 64809-
TECHNOLOGIES, LLC                                      BALTIMORE
DOMAIN REGISTRY     MIMCO, INC.                        VERIZON-RECEIVABLES
OF AMERICA                                             MANAGEMENT CALL
                                                       CENTER
DOMINGA TOMAS       MIMCO, INC.                        VERMONT DEPARTMENT
                                                       OF REVENUE
DOMINGO PEDRO       MIMMS INVESTMENTS                  VERMONT DEPARTMENT
                                                       OF TAXATION
DOMINICS OF NEW     MINDY CLAIRE                       VERMONT DEPARTMENT
YORK                                                   OF TAXES-SETTLEMENT
DOMINION COURIER    MINDY CLAIRE                       VERMONT DEPT. OF
INC.                                                   TAXES
DOMINION ENERGY -   MINI MART                          VERMONT SECRETARY
WEFILE                                                 OF STATE
DOMINION ENERGY     MININGHAM, BARBARA                 VERNA JONES
NORTH CAROLINA
DOMINION ENERGY     MINISTER OF FINANCE                VERONICA GIANNINI
OHIO
DOMINION            MINISTER OF FINANCE - ONTARIO      VERRA MOBILITY
FIREWORKS                                              CORPORATION
DOMINION            MINISTER OF FINANCE & CORP         VERRINDER BHARMOTA
FRANCHISES          RELATIONS
DOMINION OHIO       MINISTER OF FINANCE &              VERSATILE
EAST                MUNICIPAL AFFAIRS                  CONSTRUCTION
                                                       COMPANY, INC.
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DOMINION            MINISTER OF FINANCE (ALBERTA)     VERSTANDIG
PRINTERS, INC.                                        BROADECASTING
DOMINION REALTY     MINISTER OF FINANCE (BC)          VERTICAL SIGN SERVICE
ADVISORS,INC                                          LLC
DOMINION SERVICE    MINISTER OF FINANCE               VERTIS B. HADLEY
COMPANY OF          (MANITOBA)
RICHMOND
DOMINION VIRGINIA   MINISTER OF FINANCE               VERVEBA LLC
POWER               (MANITOBA) INACTIVE
DOMINIQUE GAUDOT    MINISTER OF FINANCE (QUEBEC)      VESELA PARAPOUNSKA
DON A. TURKLESON    MINISTER OF FINANCE               VESTIGANT, LLC
                    (SASKATCHEWAN)
DON CORDEIRO        MINISTER OF                       VETERANS BUSINESS
                    FINANCE(MANITOBA)                 SERVICES
DON LIBOIRON        MINISTER OF FINANCE-MANITOBA      VIACOM OUTDOOR
                                                      CANADA
DON MCDOUGALL       MINISTER OF REVENUE OF            VIBES TECHNOLOGIES
                    QUEBEC                            INC.
DON REID PROPERTY   MINISTER OF REVENUE-ONTARIO       VICKI CROW, C.P.A
MANAGEMENT
DON RICHARDS        MINISTRY OF FINANCE (EHT)-        VICKI LONG
                    DONT USE!!!!
DON SOO KIM         MINNEHAHA/LAKE PARTNERS, A        VICKY BAKER
                    MINNESOTA PARTNERSHIP
DONAHUE             MINNESOTA DEPARTMENT OF           VICKY SALMOND
PROPERTIES          COMMERCE
ASSOCIATES, INC.
DONALD BLAKE        MINNESOTA DEPARTMENT OF           VICOM
                    COMMERCE (UCP)
DONALD BRADD        MINNESOTA DEPT. OF REVENUE        VICTOR CLAYTON
DONALD BRETT        MINNESOTA LAKES BANK              VICTOR M. VELEZ
DONALD              MINNESOTA REVENUE                 VICTOR RAMOS
CALLAGHAN
DONALD CLEGG        MINNESOTA REVENUE-DO NOT          VICTORIA COTRONA
                    USE
DONALD E ACKER      MINNESOTA SECRETARY OF            VICTORIA DOUGLAS
                    STATE
DONALD L HOFFMAN    MINNESOTA STATE TREASURER         VICTORIA E. CODY
DONALD LOGAN        MINNESOTA UI FUND                 VICTORIA FULLER
DONALD MORNEAU      MINNIES STORAGE LLC               VICTORIA GRIZZLIES
                                                      HOCKEY INC
DONALD MOXLEY       MINOLTA BUSINESS EQUIPMENT        VICTORIA PEREIRA
DONALD PRIGIONE     MINOLTA BUSINESS EQUIPMENT        VICTORIA RADIOWORKS,
                    (CANADA) LTD.                     LTD.
DONALD R RHOADES    MINSTER DISTIBUTORS               VICTORIA SHIER
DONALD R. HARVEY,   MINT MAGAZINE                     VICTORIA WOOTEN
INC.
DONALD              MINUTEMAN PRESS                   VICTORY CHRISTIAN
ROBERTSON                                             FELLOWSHIP
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DONALD STARLING    MIRAMAR PROPERTY INVESTORS,       VICTORY MEDIA, INC
                   LLC
DONALDSON, KELLY   MIRAMONTES, ROBERT                VIDEO ATLANTIC
S.                                                   TELEPRODUCTIONS
DONNA CLARKE       MIRANDA BEECHY                    VIDEO NEWS INC.
DONNA COWAN        MIRANDA GARVIE                    VIDEOTRON GP-11427
DONNA EBBS         MIRCHANDANI FAMILY LIMITED        VIDEOTRON S.E.N.C.
                   PARTNERSHIP
DONNA FERGUSON     MIROIR MAGIQUE CABINE PHOTO       VIEN, DON
DONNA              MISCELLANEOUS & ORNAMENTAL        VIETIMEX LLC
FERGUSON/CHRIS     METALS, INC
DAWSON
DONNA FLINN-NEHF   MISSION 2004 GROUP LLC            VIGEN ALLAHYARIAN
DONNA HICKS TAX    MISSION 2004 GROUP, INC           VIGGEY PROPERTIES LLC
RETURN
DONNA HILL         MISSION SERVICES OF LONDON        VIGRINIA STATE
                                                     UNIVERSITY
DONNA J. WALDEN    MISSISSIPPI DEPARTMENT OF         VIKTOR ZHEREBITSKIY
REVOCABLE LIVING   REVENUE
TRUST
DONNA MILLER       MISSISSIPPI DEPARTMENT OF         VILLA AVE. PARTNERS,
                   REVENUE                           LLC
DONNA MITCHELL     MISSISSIPPI SECRETARY OF STATE    VILLA LUISA, LLC
DONNA PAYNE        MISSISSIPPI STATE TAX             VILLAGE AUTO OUTLET
                   COMMISSION
DONNA QUINN        MISSISSIPPI STATE TREASURER       VILLAGE AUTO OUTLETT
DONNA RUGE AND     MISSOURI AMERICAN WATER           VILLAGE DEVELOPERS
ASSOCIATES
DONOHOE ADVISORY   MISSOURI AMERICAN WATER -         VILLAGE DEVELOPERS
ASSOCIATES LLC     6029
DON'S ASPHALT      MISSOURI DEPARTMENT OF            VILLAGE HALLOWEEN
PAVING &           REVENUE                           PARADE
MAINTENANCE
DOOR GUYS          MISSOURI DEPARTMENT OF            VILLAGE OF DEPEW
                   REVENUE
DOORS ON DEMAND,   MISSOURI DEPT. OF REVENUE         VILLAGE OF
LLC                                                  LIBERTYVILLE
DORCHESTER         MISSOURI DIRECTOR OF REVENUE      VILLAGE OF MIDLOTHIAN
DEVELOPMENTS                                         - LICENSES
DORCIA MINOTT      MISSOURI DIVISION OF              VILLAGE OF MIDLOTHIAN
                   EMPLOYMENT SECURITY               - UTILITIES
DOREEN MELLOW      MISSOURI GAS ENERGY               VILLAGE OF
                                                     SCHAUMBURG
DORI CALLAHAN      MISSOURI GAS ENERGY               VILLAGE SOUTH
                                                     SHOPPING CENTER
DORI ROWLAND       MISSOURI GAS ENERGY               VILLAGE SQUARE
                                                     SHOPPING CENTER OF
                                                     WINTER HAVEN, LLC
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DORI ROWLAND       MISSOURI GAS ENERGY                  VILLAS AL LAGO
TRUST                                                   DEVELOPMENT CORP
DORIAN JACKSON     MISSOURI GAS ENERGY                  VILLE DE MONTREAL
DORINE OOMEN       MISSOURI GAS ENERGY                  VIMEO, INC
DORIS BELL         MISSOURI GAS ENERGY                  VINCE ANELLO
DORIS JONES        MISSOURI SECRETARY OF STATE          VINCE JOHNSON
DORIS MURRAY       MISSOURI STATE TREASURER             VINCENT E FYFIELD
                   (UNCLAIMED PROPERTY)
DORIS SINON-DINE   MISTER MOVER                         VINCENT GUZMAN
DOROTHY CHUNG      MISTY BOYD                           VINEY BAGGA
DOROTHY DOOLEY     MISTY COLLINS                        VINNEDGE BUILDING LP
DOROTHY E          MISTY HORNE                          VINSON & ELKINS LLP
WISWELL
DOROTHY SILZER     MISYS IQ LLC                         VINTAGE CAPITAL
DOROTHY WEBER      MITCH WILLIAMS SHERIFF               VINTAGE CORPORATION
DOROTHY            MITCHELL BUILDING CONCEPTS,          VINTAGE FORMS, LLC
YOUNG/NEIL JONES   INC
DORTCH SILVER      MITCHELL LEASING COMPANY             VIOLET MINTS LLC
LAKE, LLC
DORTHY NEWELL      MITCHELL PERRAULT INC.               VIRESCENT, INC.
DOS COSTAS         MITCHELL, BARDYN & ZALUCKY           VIRGIN 98.5 FM
COMMUNICATIONS
CORP
DOS MUNDOS INC     MITCHELL, DIANE                      VIRGIN PULSE, INC.
DOTDASH MEDIA,     MITCHELL, JUDAH                      VIRGINIA AQUARIUM &
INC.                                                    MARINE SCIENCE CENTER
DOTY, RICK         MITESH RAHATE                        VIRGINIA BAR
                                                        ASSOCIATION
DOUBLE P           MITRA GOUNEH                         VIRGINIA BEACH
DEVELOPMENT LTD.                                        CHORALE, INC.
DOUBLETREE HOTEL   MJK/30TH REAL ESTATE HOLDING         VIRGINIA BEACH CLERK
VAB                COMPANY, LLC                         OF COURT
DOUG BEATTIE       MKI PRIVATE INVESTIGATION            VIRGINIA BEACH
                                                        CONSTRUCTION
DOUG BELDEN, TAX   MKJAS PROPERTIES                     VIRGINIA BEACH
COLLECTOR                                               CONVENTION & VISITORS
                                                        BUREAU
DOUG CAMPBELL      MLGW                                 VIRGINIA BEACH
                                                        CONVENTION CENTER
DOUG FOREMAN       MLK GRAND PARADE                     VIRGINIA BEACH
                                                        DEVELOPMENT
                                                        AUTHORITY
DOUG MCISAAC       M-M, LLC                             VIRGINIA BEACH
                                                        ELECTRIC SERVICE, INC.
DOUGH BOYS, LLC    MMP PAINTING                         VIRGINIA BEACH EVENTS
                                                        UNLIMITED
DOUGLAS & LAURA    MMS USA INVESTMENTS, INC             VIRGINIA BEACH
MOORE                                                   FIELDHOUSE
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DOUGLAS A BUSH     MNA REALTY                          VIRGINIA BEACH FIRE
                                                       DEPARTMENT
DOUGLAS ALLAN      MOATS, ANDY                         VIRGINIA BEACH FISHING
                                                       CENTER
DOUGLAS            MOBILE ALPHA LLC                    VIRGINIA BEACH HIGHER
CARPENTER                                              EDUCATION CENTER
DOUGLAS GIBSON     MOBILE ONE COURIER                  VIRGINIA BEACH KOA
DOUGLAS LOOMIS     MOBILE POSSE, INC.                  VIRGINIA BEACH RESORT
                                                       HOTEL
DOUGLAS PETERSON   MOBILE REGISTER                     VIRGINIA BEACH
INVESTMENTS, LLC                                       SEAFOOD
DOUGLAS SNYDER     MODERN ENVIRONMENTS                 VIRGINIA BEACH SPECIAL
                                                       OLYMPICS
DOUGLAS            MODERN OFFICE METHODS, INC          VIRGINIA BEACH, CITY
THOMPSON                                               TREASURER
DOUGLAS TRACHE     MODIS                               VIRGINIA BOARD OF BAR
                                                       EXAMINERS
DOUGLAS VENN       MODRALL,SPERLING,ROEHL,HARR         VIRGINIA BUILDING
                   IS & SISK, P.A.                     SERVICES, INC
DOUGLASVILLE       MOHAMAD ABOU KHAMIS                 VIRGINIA BUSINESS
ASSOCIATES, LLP
DOUG'S CATERING    MOHAMED AHMED                       VIRGINIA CHAPTER NATP
DOW BUSINESS       MOHAMMAD KASSEM                     VIRGINIA CLE
GUIDE
DOW JONES &        MOHAVE LOCK AND SAFE                VIRGINIA DEPARTMENT
COMPANY, INC.                                          OF ABC
DOWD, JOHN T.      MOHSEN SAID                         VIRGINIA DEPARTMENT
                                                       OF MOTOR VEHICLES
DOWLING, KATIE     MOLLY DURNING                       VIRGINIA DEPARTMENT
                                                       OF REVENUE
DOWNTOWN           MOLLY MAID                          VIRGINIA DEPARTMENT
DENVER EVENTS                                          OF TAXATION - 413-17-
                                                       1046
DOWNTOWN           MOLLY TYRNER                        VIRGINIA DEPARTMENT
NORFOLK COUNCIL                                        OF TAXATION 22313496400
DOWNTOWN           MONA MOGA, LLC                      VIRGINIA DEPARTMENT
NORFOLK                                                OF TAXATION-
ENTERTAINMENT,                                         20544817700
LLC
DOWNTOWN           MONACO, PETRA                       VIRGINIA DEPT OF
RENUAL LP                                              TAXATION
DOYLE SECURITY     MONERIS                             VIRGINIA DEPT. OF
SYSTEMS INC                                            AGRICULTURE &
                                                       CONSUMER SERVICES
DP PLAZA LTD       MONEY CLIP MAGAZINE                 VIRGINIA FARM BUREAU
DPIG, LLC          MONEY GROUP LLC                     VIRGINIA FOUNDATION
                                                       FOR RESEARCH &
                                                       ECONOMIC
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DR JOHNNY'S          MONEY MAILER                      VIRGINIA FRASER
APPLE/DECOR
EKLECT
DR MARKETING, INC.   MONEY MAILER                      VIRGINIA FREE
DR. BOB'S            MONEY MART                        VIRGINIA GENERAL
THEATRICITY, INC                                       BOOTH LLC
DR. HEATHER          MONEY PAK                         VIRGINIA INDEPENDENT
MARINACCIO                                             CHILDCARE HOMES
                                                       ASSN.
DR. J.OESTREICHER    MONGOOSE METRICS LLC              VIRGINIA LAW
                                                       FOUNDATION
DR. MAVEL VELASCO    MONICA BARNES                     VIRGINIA LAWYERS
                                                       WEEKLY
DRAKE ENTERPRISES    MONICA FLORES                     VIRGINIA LAWYERS
                                                       WEEKLY
DRAKE                MONICA GALLANT                    VIRGINIA NATURAL GAS
ENTERPRISES, LTD                                       INC. - 70840
DRAKE SOFTWARE       MONICA MCCOLL                     VIRGINIA NATURAL GAS-
                                                       5409
DREAM BIG            MONIGLE ASSOCIATES                VIRGINIA POWER
FOREVER LLC
DREAMLAND            MONIQUE KAULING                   VIRGINIA SACRAMENTO
PRODUCTION                                             INVESTMENTS LLC
DREAMS IN MOTION     MONIQUE SAUVE                     VIRGINIA SHREDDERS,
                                                       INC DBA SHRED-IT
DREHER, TOMKIES,     MONIQUE SAUVE                     VIRGINIA SHREDDERS,
SCHEIDERER, LLP                                        INC. DBA SHRED-IT
DREW NEUFELD         MONITRONICS INTERNATIONAL,        VIRGINIA STATE BAR -
                     INC.                              8TH & MAIN BLDG -
                                                       RICHMOND
DRINKER BIDDLE &     MONK, GOODWIN                     VIRGINIA STATE BAR -
REATH IOLTA                                            ALEXANDRIA
ACCOUNT
DRINKMORE            MONOPOLY COMMERCIAL               VIRGINIA STATE BAR-
DELIVERY, INC        REALTY INC                        1111 E MAIN
DRIVEERT             MONROE TRANSFER & STORAGE         VIRGINIA STATE BAR-707
                     CO.,                              MAIN
DRUCKER, BRIAN       MONSTER WORLDWIDE CANADA          VIRGINIA STATE BAR-
                                                       EAST FRANKLIN STREET-
                                                       RICHMOND
DRUMMOND             MONSTER WORLDWIDE, INC.           VIRGINIA STATE BAR-
RESEARCH, LLC                                          NEWPORT NEWS
DRY & TASSIN         MONSTER. CA                       VIRGINIA STATE
                                                       CORPORATION
                                                       COMMISSION
DRYCON NASHVILLE     MONSTER.CA                        VIRGINIA STORAGE
INC                                                    SYSTEMS, INC.
DS SERVICES OF       MONSTERTRAK                       VIRGINIA TECH
AMERICA, INC.
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DSAIR                MONTAGNA PROPERTIES, INC.         VIRGINIA TOY
ENTERTAINMENT
INC
D'SEAN JONES         MONTANA DEPARTMENT OF             VISALIA NUMBER ONE,
                     REVENUE                           LTD
DSG ASSOCIATES       MONTANA DEPARTMENT OF             VISHAL PATEL
                     REVENUE (UNCLAIMED PROP)
DSI TECHNICAL        MONTANA DEPT OF REVENUE           VISIBILITY SIGNAGE
SYSTEMS INC.                                           EXPERTS
DT LAND GROUP        MONTANA SECRETARY OF STATE        VISINET
DTE ENERGY-740786    MONTCALM ASSOCIATES, INC.         VISION CRITICAL
                                                       COMMUNICATIONS (US)
                                                       INC
DTE ENERGY-740786    MONTE CARLO INN & SUITES          VISION REAL ESTATE
                     DOWNTOWN MARKHAM
DTG HOLDINGS, INC.   MONTE CARLO INN-OAKVILLE          VISION SERVICES
                     SUITES
DTG OPERATIONS       MONTE CARLO RESORT & CASINO       VISTA GRAPHIC, INC.
INC.
DU PHAM LEE          MONTE WORLD WIDE STAFFING,        VISTA PLAZA
                     INC.                              INVESTMENTS, LLC
DUAL MAC LTD         MONTEREY BEACH PARTY              VISTA PLAZA
                                                       INVESTMENTS, LLC
DUALITE SALES &      MONTEREY LICENSES, LLC            VISTA RADIO
SERVICE, INC.
DUANE CHEPEKA        MONTGOMERY COUNTY AUDITOR         VISTA RADIO LTD
DUANE MORRIS, LLP    MONTGOMERY COUNTY                 VISTA RADIO LTD.-2DAY
                     TREASURER (VA)                    FM
DUCK, JOHN           MONTGOMERY COUNTY TRUSTEE         VISTARY USA INC
DUCKWOOD SQUARE      MONTGOMERY COUNTY TRUSTEE         VISUAL DESIGNS INC.
LLC
DUE PROCESS       MONTGOMERY COUNTY TRUSTEE            VISUAL HARBOR LLC
ATTORNEY SERVICES
DUFF ENTERPRISES  MONTGOMERY COUNTY, MD                VISUAL MARKETING
                                                       GROUP LLC
DUFRENE, MARK        MONTGOMERY COUNTY, MD C/O         VISUAL SCIENCES,
                     COUNTY ATTORNEY                   INC.(OMNITURE)
DUG & OK             MONTICELLO MARKETPLACE            VISUAL STUDIO
ENTERPRISES, INC.    SHOPPES LLC                       MAGAZINE
DUGAN, TIM           MONTICELLO MARKETPLACE            VITAL REALTY INC.
                     SHOPPES LLC
DUHAMEL              MONTRÉAL -- SAINT-LAURENT         VITAL SIGNS
BROADCASTING
ENTERPRISES
DUHAMEL              MONTY TREADWAY( PROPERTY          VITAL SIGNS
BROADCASTING         TAX)                              PROMOTIONS LTD
ENTERPRISES
DUKA DJORDJEVIC      MOONSHOT MARKETING LTD            VITRUE
DUKE ENERGY          MOONSTAR 2100, LLC                VLATKO JONCEVSKI
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DUKE ENERGY - 1094   MOORE & VAN ALLEN PLLC             VMY PROPERTIES LLC
DUKE ENERGY -        MOORE BUSINESS                     VNEG PROPERTY
CHARLOTTE            COMMUNICATION                      MANAGEMENT, LLC
DUKE ENERGY-1003     MOORE BUSINESS                     VO, TRANG
                     COMMUNICATIONS
DUKE ENERGY-70516    MOORE COUNTY REGISTER OF           VOCUS SOCIAL MEDIA,
                     DEEDS                              LLC
DULCE MONTOYA        MOORE COUNTY TAX                   VOCUS, INC.
                     DEPARTMENT
DULCE NANCY          MOORE INGRAM JOHNSON &             VOHRA ENTERPRISES LLC
CUEVAS               STEELE, LLP
DUMARESQ VALPY       MOORE WALLACE BCS                  VOLL PROPERTIES LLC
DUNBAR DAVIS,        MOORE, JESSICA                     VOLUNTEER HAMPTON
PLLC                                                    ROADS
DUNDAS DATA          MOORE, KAREN                       VONAGE BUSINESS
VISUALIZATION
DUNKIN DONUTS        MOORE, ROBERT                      VORA FINANCIAL
                                                        SERVICES, LLC
DUNLAP BENNETT &     MOORESVILLE MARKETPLACE            VOUCHFOR!
LUDWIG PLLC          STATION
DUPLIUM              MORALE, WELFARE &                  VOYAGER.NET
CORPORATION          RECREATION DEPT.
DUQUESNE LIGHT       MORAN FOODS, INC.                  VPC GROUP
DURHAM COUNTY        MORAN, JERRY                       VRJ DPB LLC
REGISTER OF DEEDS
DURHAM COUNTY        MORBEN REALTY CO INC               VSC DAWSON LLC
TAX COLLECTOR
DURHAM RADIO INC     MORCOS, GEORGE                     VSC FIRE AND SECURITY,
                                                        INC
DURHAM REGIONAL      MORDEN, KAREN                      VSD, LLC.
LOCKSMITHS
DUSAN ADZIC          MORE MUSIC GROUP                   VTAA - VIRGINIA TECH
                                                        ALUMI ASSOCIATION
DUSOME, SHARON       MORENO, ESTELA C.                  VTAA TIDEWATER
                                                        CHAPTER
DUSTIN ALFORD        MORGAN COUNTY TREASURER            VUKAJ PROPERTIES LLC
DUSTIN MCKAY         MORGAN L FRASER-DREAM              W & R VENTURES
                     MAKER DIGITAL MARK.
DUSTY HUNTLEY        MORGAN STANLEY CAPITAL I INC       W C & I INC
                     TRUST COMMERCIAL MTG
DUSZA, KATHLEEN      MORGAN, PERRY                      W C HANDYMAN
                                                        SERVICES
DUTCH PROPERTIES     MORGUARD INVESTMENTS LTD.          W. E. WELLER HEATING &
LLC                                                     A/C
DUTCHESS COUNTY      MORILLO, CARLOS                    W.C & I INC
SCU
DUVAL COUNTY TAX     MORNING JOURNAL                    W.D. WITH & ASSOCIATES
COLLECTOR
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DUVAL ROYAL          MORRIS COMFORT SYSTEMS            W.E. ROTH
INVESTMENTS INC.                                       CONSTRUCTION LTD.
DUWANE E             MORRIS MEDIA                      W.M. GRACE
WILLIAMS                                               DEVELOPMENT CO.
DWIGHT DYE           MORRISON & FOERSTER LLP           W.Y. HERITAGE GROVE
                                                       LLC
DYANE LAWRIE         MORRISSEY, JAMES                  W3GLOBAL, INC.
DYCOM DIRECT         MORRISTOWN ROAD LLC               W4 LLC
MAIL
DYKSTRA, NICOLLE     MORRISTOWN ROAD, LLC              WA GROUP INC
DYLAN DUNN           MORTON G THALHIMER INC            WAAL SECURITY EAST
                                                       INC.
DYLAN RAMSEY         MORTON G. THALHIMER, INC.         WADDELL RAPONI
DYNAMITE IMAGING     MORTON G. THALHIMER, INC.         WADDELL RAPONI
INC.                                                   LAWYERS
E & A SOUTHEAST      MOSIER-PETERSON, WILL             WADE POWELL &
LIMITED                                                ASSOCIATES, INC.
PARTNERSHIP
E&D LEGACY LLC       MOSSBERG & COMPANY, INC.          WADE THOMAS &
                                                       ASSOCIATES
E&E 0416, LLC        MOSTLY RESIDENTIAL PAINTING       WADE, JACK WARREN JR
E&J ELECTRIC LLC     MOTEL 6 #4052                     WADSWORTH ALLIANCE
                                                       CORPORATION
E. P. VALLEY         MOTOR VEHICLE TRANSACTION         WADSWORTH ALLIANCE
INVESTMENTS, INC.    RECOVERY FUND                     CORPORATION, INC.-DO
                                                       NOT USE
E. TEXAS PEDDLER     MOTUS ADVISORS, INC.              WADZITA, JEANIN
E.B.S.               MOUNTAIN ECHO                     WAFX
INVESTIGATIONS
E.L.K. ENERGY INC.   MOUNTAIN LAUNDRY CORP             WAGG'S LTD.
EA VIDEO             MOUNTAIN SIXTH ASSOCIATES,        WAGNER, DIANE
PRODUCTION           LLC
EADS CALDERWOOD,     MOUNTAIN VIEW COFFEE NEWS         WAHOO INC.
LLC
EAGLE PRINTING &     MOUNTAINGATE ASSOCIATES LLC       WAIT, JUDITH
GRAPHICS LLC
EAGLE RADIO          MOUTON, LARREY                    WAKE COUNTY REGISTER
                                                       OF DEEDS
EAGLE TECHNOLOGY     MOVABLE PARTS LLC DBA NEED        WAKE COUNTY REVENUE
MANAGEMENT, INC      A NERD                            DEPARTMENT
EAGLES TALENT        MOYOCK GARDENS & NURSERY          WAKG
CONNECTION, INC.     INC.
EAGLE-TRIBUNE        MPOWERING AMERICA, LLC            WAL MART
PUBLISHING
COMPANY
EAN SERVICES, LLC    MQ&C ADVERTISING, INC             WALBERG, RON
EARL CRAIN           MR ELECTRIC                       WALCORSE LLC
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EARL R. BROWN       MR MOBILE SIGN                        WALDROP LEGAL AND
                                                          BUSINESS SOLUTIONS,
                                                          PLLC
EARLEY, KEN         MR. DONUT                             WALISER, DON
EARTHLINK           MR. FIX IT HOME SERVICES              WALK, SHANNON
BUSINESS
EARWORKS DIGITAL    MR. J. GARY IBBOTSON                  WALKER & LABERGE CO.,
AUDIO INC.                                                INC
EAST BATON ROUGE    MR. KEY LOCKSMITH                     WALKER, KIM &
SHERIFF'S OFFICE                                          LEOPOLDO GONZALE
EAST BAY PLAZA,     MR. LIM                               WALKER, TANYA
LLC
EAST CAROLINA       MR. T CARTING CORP.                   WALKER, VERNON
RADIO, INC.
EAST COAST          MR. YOUNG LIM                         WALKERTOWN
PROCESS SERVICE                                           HOLDINGS LLC
EAST COAST          MR.HANDYMAN HOME                      WALL 2 WALL MEDIA
PUBLISHING, INC     IMPROVEMENT PROFESSIONALS
EAST COAST          MR.MIKES PLUMBING                     WALL EINHORN &
PUBLISHING, INC                                           CHERNITZER
EAST LYME TAX       MRI INTERMEDIATE HOLDINGS,            WALL STREET JOURNAL
COLLECTOR           LLC
EAST SIDE MINI      MRP HARRISON LLC                      WALLA WALLA COUNTY
STORAGE                                                   TREASURER
EAST TEXAS          MRP HOT SPRINGS PLAZA LLC             WALLACE LAWSON
BROADCASTING
EAST TEXAS          MRW SMYRNA JOINT VENTURE              WALLACE MEDICAL
PEDDLER                                                   CONCERN
EAST TEXAS RADIO    MS FAMILY DEALERSHIPS                 WALLER SHOPS LLC
GROUP
EASTCOM             MS. CLEAN SERVICES, INC.              WALLIS, MADELINE
DIRECTIONAL
DRILLING, INC
EASTERN INTERLAKE   MSA, P.C.                             WALLWIN ELECTRIC
PLANNING DISTRICT
EASTERN             MSC FINANCIAL, INC                    WAL-MART CANADA
KENANSVILLE                                               CORP.
MISSIONARY
BAPTIST
ASSOCIATION INC
EASTERN LOCK &      MSC VENTURES, LLC                     WALMART STORES, INC
KEY CO.
EASTERN PROPERTY    MSDN MAGAZINE                         WALNUT AVENUE
DEVELOPMENT LLC                                           PARTNERS
EASTERN SHORE       MSI DETECTIVE SERVICES                WALNUT AVENUE
DEVELOPMENT                                               PARTNERS LLC
EASTERN SHORE       MSSSSOFTWARE, INC.                    WALNUT CREEK
NEWS                                                      HOLDINGS, INC
EASTERN SHORE       MT VERNON RETAIL LLC                  WALNUT HILL WEST LLC
POST
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EASTERN SURFING     MT VERNON RETAIL, LLC              WALSH MEDIA, INC
ASSOCIATION
EASTERN VIRGINIA    MT. RUSHMORE BROADCASTING,         WALT CUNHA
MEDICAL SCHOOL      INC.
EASTFIELD           MTS BROADCASTING                   WALT WATTERSON
ASSOCIATES, LLC                                        (#3004)
EASTHOM             MTS COMMUNICATIONS INC.            WALTER BLACKSTOCK
BAKERVIEW, LLC
EASTLINK            MTS MOBILITY                       WALTER EWELL
EASTLINK            MTS-HOLDINGS LLC                   WALTER F HENNE-
ADVERTISEMENT                                          VALLEY SAFETY
                                                       EQUIPMENT CO
EASY LAWN LLC       MUCKLOW, WILLIAM                   WALTER MILLER
EASYHOME            MUDD, LEROY                        WALTER, CYNTHIA
EBATES              MUHAMMAD, JIBRAN                   WALTERS MEDIA GROUP
PERFORMANCE
MARKETING, INC
EBCON PROPERTIES    MULHALL, ERIC & FELICIA            WALTERS, SCOTT
LTD.
EBERHARDT &         MULLEN COUGHLIN LLC                WALTHER, KIRSTEN
BARRY PROPERTY
MANAGEMENT, LLC
EBRAHIM AYUB        MULLER, BRIAN                      WALTI, JUDI
EBRO, ELSA          MULROY SCANDAGLIA                  WALTON EMC
                    MARRINSON & RYAN
EC HISPANIC MEDIA   MULTI-UNITFRANCHISE.COM            WANDA BEACOM
EC IRVINGTON        MULTIVIEW, INC. DBA                WANDA BLAKELY
FOUNDATION, LLC     MULTIBRIEFS
ECA ELLE            MUNA A MOHAMUD                     WAPPINGER SHOPPING
NORTHWOOD                                              CENTER LLC
PARTNERS LLC
ECHELON MALL        MUNCHKIN PROPERTIES LLC            WARD BROS. COUNTY
MANAGEMENT                                             LOCKSMITHS
OFFICE
ECKHARDT,           MUNICIPAL CONSULTING GROUP         WARNE, RITA S.
RICHARD
ECO ELECTRIC LLC    MUNICIPAL REVENUE                  WARNICK ASHLEY
                    COLLECTION CENTER
ECO MEDIA DIRECT    MUNICIPAL SERVICES BUREAU          WARP CARTOONS
ECOL LASER          MUNICIPIO DE CAROLINA              WARREN & EKBLAD
SERVICES
ECOOPERATIONS       MUNSON, CRYSTAL                    WARREN GLEN
LTD                                                    WIELANDT
ECOS                MURDOCK, KEN                       WARREN SINCLAIR LLP
ED EMBERLEY         MURPHY BUSINESS & FINANCIAL        WARREN TOWLER AS
                                                       RECEIVER GENERAL
ED GIMPELJ          MURPHY, JAMES DERRICK              WARWICK MALL
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ED KINGSBURY          MURPHY, LYNDA J.                      WARWICK MALL-JOHN T.
CARPET CLEANING                                             BRENNAN
LTD
ED MANFREDI, JR.      MURPHY, MICHAEL R.                    WARWICK THORNTON
                                                            DICKSON LLC
EDDIE EDWARDS         MURPHY'S CABLE WHARF-                 WASAGA DISTRIBUTION
SIGNS, INC.           WHALEWATCHING                         INC.
EDDIE MOORE           MURPHY'S IRISH PUB                    WASHINGTON COUNTY
                                                            NEWS
EDDIE'S BUS SERVICE   MURRAY DUFF ENTERPRISES               WASHINGTON COUNTY
INC                   LIMITED                               SERVICE AUTHORITY
EDEENA MERRETT        MURRAY STARLING                       WASHINGTON COUNTY
                                                            TREASURER-PPT
EDELMAN, COMBS &      MURRAY WAKEMAN                        WASHINGTON DEPT OF
LATTURNER                                                   REVENUE (UNCLAIMED
                                                            PROP)
EDENS & AVANT         MURRAY WELLS WENDELIN &               WASHINGTON DEPT. OF
                      ROBINSON CPAS INC                     LABOR & INDUSTRIES
EDENS & AVANT         MURRAY, CHRISTOPHER                   WASHINGTON GAS
FINANCING, LP
EDGAR NEVES           MURRAY, THOMAS W.                     WASHINGTON GAS
EDGAR, WILLIAM        MURRAY'S SIGNS                        WASHINGTON GRAPHICS,
                                                            INC.
EDGE HOSTING, LLC     MUSA SAEED                            WASHINGTON GT
                                                            INVESTMENTS
EDGE PUBLISHING       MUSE BILLE                            WASHINGTON POST
EDGEMARK              MUSE, DANIEL & JAMIE                  WASHINGTON PRIME
SYSTEMS                                                     GROUP, L.P.
EDGEWATER MEDIA       MUSGRAVE, TOM                         WASHINGTON STATE
                                                            DEPT. OF REV.
EDGEWATER             MUSHETT, MOLLIE                       WASHINGTON STATE
PARTNERSHIP, LP                                             TREASURER
EDISON MALL           MUSIAL, KENNETH                       WASHINGTON STATE
                                                            TREASURER
EDISON                MUSIC BY DJ E, INC                    WASHINGTON TIMES
MANAGEMENT CORP.
EDISON VENTURE        MUSKEGON CHARTER TOWNSHIP             WASSERMAN, MANCINI,
FUND IV LLP                                                 AND CHANG, P.C.
EDITH GINTER          MUSTAFA HUSSEIN BULLALEH              WASTE INDUSTRIES
EDITH MARTIN          MUTH, ROY                             WASTE INDUSTRIES- DO
                                                            NOT USE
EDITH TAYLOR          MVP GROUP - MARKETING VIA             WASTE MANAGEMENT -
                      POSTAL                                13648
EDLEN                 MWT SUMYOSHI LLC                      WASTE MANAGEMENT -
                                                            541065
EDMOND JANDO          MY BENEFIT PARTNERS, LLC              WASTE MANAGEMENT
                                                            LAMP TRACKER, INC.
EDMONDSON,            MY BROADCASTING CORP.                 WASTE MANAGEMENT OF
LEDBETTER &                                                 COLUMBUS
BALLARD, L.L.P.
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EDMONTON FOOD       MY LOVED ONES LLC                 WASTE MANAGEMENT OF
BANK                                                  MI, INC.
EDOC PUBLISH INC.   MYA MOORE                         WASTE MANAGEMENT OF
                                                      VIRGINIA, INC
EDUARDA WILLIGAR    MYERS, ANTHONY D.                 WASTE MANAGEMENT
                                                      RECYCLE AMERICA
EDUCATION EQUITY,   MYERS, TERRY                      WASTE MANAGEMENT,
INC.                                                  INC.-DO NOT USE
EDUCATIONAL         MYKHAYLO KRACHKOVSKYY             WASTE WATCHERS LLC
APPROVAL BOARD
(THE)
EDUCATIONAL         MYLES CASCADDEN                   WATER TREATMENT
RESOURCES FOR                                         SOLUTIONS
CHILDREN, INC
EDWARD A PICKETT    MYLES HEFFERAN                    WATER WORKS
                                                      (NEWPORT NEWS)
EDWARD A. HILL      MYRNA SHEINBLUM                   WATER WORKS
                                                      SPRINKLER SYSTEM INC
EDWARD BOWSER &     MYRON GLASSMAN, PH.D.             WATERBURY ORCHARDS,
ASSOCIATES                                            LLC
EDWARD DAVIDSON     MYUNG JA YOO                      WATERFIELD PAINTING
                                                      CO.
EDWARD JONES        MYY MANAGMENT, LLC                WATERFORD PLAZA LLC
EDWARD              N INVESTMENTS I LLC               WATERHOUSE
KOMYSHYN                                              MECHANICAL
EDWARD LANGMAN      N&N DEFENSE SHOPPING CENTER       WATERLOO-CEDAR
                    GP                                FALLS COURIER/
                                                      HOMETOWNER
EDWARD LAVERGNE     NABIL SOMO                        WATERMASTER/
                                                      WYANDOTTE CENTER
EDWARD MILLAR       NABLASOL DIGITAL SERVICES         WATERS INCORPORATED
                    PVT. LTD.
EDWARD POLZIN       NABLASOL DIGITAL SERVICES         WATERS, KRISTOPHER
                    PVT., LTD
EDWARD WILLIAMS     NACD                              WATERTOWN MALL
                                                      ASSOCIATES LP
EDWARDS HOME        NACTP                             WATERWORKS BOARD OF
MAINTENANCE                                           SECTION
EDWARDS, JIM        NADBRO RIVIERA INC- DO NOT        WATTIGNY, VICTORIA
                    USE
EDWARDS, JOHN       NADER HAIFA                       WAVF FM
EDWIN FRIEST        NADIA BABAYI                      WAVY TV
EDX ELECTRONICS     NADIA RAPONI                      WAWRZYNIAK, ERIK
LIMITED
EFAX CORPORATE      NADIA ZEROUAL                     WAWRZYNIAK, ROLAND
EFILE ASSOCIATION   NADINE BIGRAS                     WAYLOR INDUSTRIES
OF CANADA                                             LTD
EFILE ASSOCIATION   NADINE BIRD                       WAYNE BENNETT
OF
CANADA/ASSOCIATI
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ON DE TED DU
CANADA
EFT PROMOTIONS,      NAE FEDERAL CREDIT UNION           WAYNE COLLING
INC.
EGGLESTON SMITH      NAEA                               WAYNE FROST
P.C.
EGGSPUEHLER          NAFEES HASNIE                      WAYNE MACNEIL
LIMITED
PARTNERSHIP II
EHAB BASHA           NAGHAM ABDEL SATER                 WAYNE MCCARTNEY
EIDI FAMILY          NAI CAPTIAL MANAGEMENT INC         WAYNE NABORS
PROPERTIES, LLC
EIDI FAMILY          NAI OHIO EQUITIES, LLC             WAYNE SANDRERS (K401)
PROPERTIES, LLC-
USE FIND02
EINBINDER & DUNN,    NALLA, MADHURI                     WAYNE ST.
LLP                                                     INVESTMENTS LLC
EIRASSI-WRIGHT,      NAM JIM CORP                       WAYNE SUMMERHAYES
ALEYA
EJ SYSTEMS, INC.     NAME BADGE PRODUCTIONS, LLC        WAYNE WATTS
EJAZ SYED            NAMON ROY BULLARD                  WAYNE.MEDA@HSCMAN
                                                        AGEMENT.
EJ'S ELECTRICAL      NANCY BATTAGLIA                    WAYNE'S WINDOWS
SIGN SERVICE, LLC
EKG IMAGES           NANCY CAMPBELL                     WAZIM FAKIRA
EKOW NKETSIOCH       NANCY CLARKE                       WBA ASSOCIATES
QUANSAH
EKTRON, INC.         NANCY DOUGALL                      WBBM-FM
EL AVISO DE          NANCY E ROBERTS                    WBCV RADIO
OCASION, INC.
EL CREECH & CO.      NANCY GINTER                       WBNS - AM-FM
EL ECO DE VIRGINIA   NANCY MCGILL                       WBQB-FM
EL HISPANO           NANCY MCLAUGHLIN                   WBTU- FM/ ARTISTIC
                                                        MEDIA PARTNERS
EL INFORMADOR        NANCY MELO                         WBYR 98.9 FM
DEL VALLE
EL NORTE             NANCY POST                         WBZX-FM
NEWSPAPER
EL PASO ELECTRIC     NANCY RUTHERFORD                   WC SERVICES &
                                                        CONTRACTING LLC
EL PASO WATER        NAPA COUNTY TAX COLLECTOR          WCFX
EL SEGUNDO           NAPIWOSKI, ROYLANE & THOMAS        WCKX FM
CENTER-BURKES
INVESTMENT GROUP
EL TORO.COM LLC      NAPLES BEEFS INC.                  WCLX- FM
ELAINE CORBIERE      NAPLES COMMERICAL                  WCVQ-FM/Q-108
                     MANAGEMENT, LLC
ELAINE GIANNINI      NAPOLITANO, OZZIE                  WCWSR, LLC
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EL-AMIN, HASSAN     NARLAND PROPERTIES (VICTORIA      WDEF TV
                    SQUARE) LTD.
ELAMMAR &           NARRAGANSETT ELECTRIC             WDKX RADIO
COMPANY INC
ELDEN ELECTRICAL    NASDAQ, INC                       WE ARE TITANS
EXHIBITION
SERVICES
ELEANOR             NASON, CHARLES                    WE ENERGIES
ALLBRIGHT
ELEANOR JONES       NASSAU BROADCASTING               WE FINANCE
ELEANORE            NASSIRI & JUNG, LLP               WEAVER AND TIDWELL
SHOLOPIAK                                             LLP
ELECTRA SIGN        NATALIE CAMPEAU-YULE              WEAVER, HOLLY
ELECTRIC POWER      NATALIE GUILLEMETTE               WEB BY NUMBERS, LLC
BOARD OF CHATT.
ELECTRICAL          NATALIE KAROU                     WEB SCRIBBLE
SERVICE AND                                           SOLUTIONS, INC
DESIGN
ELECTRONIC          NATASCHIA CREW MORGAN             WEB SOLUTIONS
SYSTEMS INC                                           TECHNOLOGY
ELECTRONIC          NATASHA BURNSIDE                  WEBB, CINDY
SYSTEMS, INC.
ELEMENT K           NATASHA MUNR^E                    WEBB, RYAN
CORPORATION
ELENA LOUTSIV       NATASHA PERSAUD                   WEBBER ENDEAVORS,
                                                      INC.
ELEVATED INTERNET   NATASHA TJONG                     WEBBER, KAREN AND
MARKETING, LLC                                        RAY
ELEXICON            NATERICA FERREIRA                 WEBER, TIM
ELGIN COUNTRY       NATHALIE CRETE                    WEBFILINGS, LLC
PLUMBING
ELIAS JAWISH        NATHAN LORENTZ                    WEBSTER LLC
ELIO QUAQLIERI      NATHANIEL WARREN                  WEBTEKS, INC.
ELISA BROWN         NATIK PAREKH                      WEBTIMECLOCK.COM
ELISABEL MEDINA     NATIONAL ASSOCIATION OF           WEBTRENDS
                    CORPORATE DIRECTORS
ELISABETH CRISCI    NATIONAL ASSOCIATION OF           WEEMS & ASSOCIATES
                    ENROLLED AGENTS
ELISABETH POPE      NATIONAL ASSOCIATION OF           WEHMEYER, PAMELA
                    ENROLLED AGENTS
ELISABETH ROSS      NATIONAL BOOK NETWORK             WEI YU LIN
AND JORDAN
ISBISTER
ELISHA BUTLER       NATIONAL BOULEVARD SELF           WEILER, MARK
                    STORAGE
ELISSA COSTANZA     NATIONAL BUSINESS INSTITUTE       WEINGARTEN NOSTAT,
                                                      INC.
ELITE FIRE          NATIONAL CAR RENTAL               WEINGARTEN REALTY
PROTECTION LTD
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ELITE FLOORS LTD     NATIONAL CAR RENTAL               WEINGARTEN REALTY
ELITE SIGN &         NATIONAL CAR RENTAL -             WEINGARTEN REALTY
MANUFACTURING        CANADA                            INVESTORS
ELITE TREE SERVICE   NATIONAL CENTER FOR               WEINGARTEN REALTY
                     PROFESSIONAL EDUCATION, INC.      INVESTORS
ELIZABETH &          NATIONAL COMPRESSOR               WEINGARTEN REALTY
RONALD MAGUIRE       EXCHANGE, INC.                    INVESTORS
ELIZABETH BAKER      NATIONAL CUSTOMS MUSEUM           WEINGARTEN REALTY
                     FOUNDATION                        INVESTORS
ELIZABETH            NATIONAL DEBT RELIEF LLC          WEINGARTEN REALTY
GAUTHIER                                               INVESTORS-924133 DO
                                                       NOT USE
ELIZABETH M.         NATIONAL DEVELOPEMENT             WEINHEIMER, SCHADEL
BRADLEY              GROUP                             & HABER P.C.
ELIZABETH MARTIN     NATIONAL DISTRIBUTION             WEIR & PARTNERS LLP
                     SYSTEMS
ELIZABETH            NATIONAL EVENT MANAGEMENT         WELCOME WAGON
MCBRINN
ELIZABETH PADUANI    NATIONAL EXEMPTION SERVICE        WELDON, HUSTON &
                                                       KEYSER, LLP
ELIZABETH RIVER      NATIONAL EXTERMINATION            WELLINGTON
TUNNELS              COMPANY, INC                      ADVERTISER
ELIZABETH ROSE       NATIONAL FINANCIAL SERVICES       WELLPORT
AYERS                CORPORATION                       BROADCASTING
ELIZABETH S          NATIONAL FOOTBALL LEAGUE          WELLS FARGO
MCEWAN               ALUMNI ASSOCIATION
ELIZABETH SINDEN     NATIONAL FRANCHISE COUNCIL        WELLS FARGO
                                                       EQUIPMENT FIN CO-7446
ELIZABETH            NATIONAL FUEL                     WELLS FARGO
STAINTHORPE                                            SHAREOWNER SERVICES
ELIZABETH            NATIONAL GRID                     WELLS FARGO VENDOR
ZOLDERDO                                               FINANCIAL SERVICES,
                                                       LLC
ELIZABETHTON         NATIONAL GRID - 371416            WEN DONG
NEWSPAPERS, INC.
ELIZABETHTOWN        NATIONAL GRID-11737               WENDY A. PROWS
WATER & GAS
ELKHART COUNTY       NATIONAL GRID-11741               WENDY DIONNE
TREASURER
ELLA BLVD RETAIL     NATIONAL GRID-11742               WENDY GARTNER
CENTER, LLC
ELLEN WAY            NATIONAL INVESTOR RELATIONS       WENDY GILLEN
                     INSTITUTE
ELLENOFF             NATIONAL LATINO PEACE             WENDY HARAM
GROSSMAN &           OFFICERS ASSOCIATION
SCHOLE LLP
ELLIOTT PROPERTIES   NATIONAL LAZER SUPPLY LTD.        WENDY HOFFART
ELLIS ENTERPRISES,   NATIONAL LEASING GROUP INC.       WENDY TEAHEN
LLC
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ELLIS SHAWNLEE      NATIONAL LEASING- WINNIPEG        WE'RE PRETTY DAM
                                                      QUICK DELIVERY
                                                      SERVICE INC
ELLIS, LEEROY       NATIONAL LEGAL RESEARCH           WERNER WEHRLE
                    GROUP
ELMHURST SQUARE     NATIONAL MAIL-IT, INC.            WERQ & WOLB
ASSOCIATES, LLC
ELMS PARK CENTER    NATIONAL MONEY MART               WERRES CORPORATION
ELOY                NATIONAL MONEY MART               WESBILD SHOPPING
CONSTRUCTION        COMPANY                           CENTERS
INTERIORS, LLC
ELOY RODRIGUEZ      NATIONAL NOTARY ASSOC.            WESLEY L. KARLSON
                                                      FAMILY TRUST
ELSO PROPERTIES     NATIONAL POST-PAYMENT             WESLEY R HOUSE
INC                 CENTRE
ELSY SIBRIAN        NATIONAL SEMINARS GROUP           WESNER ESQ., ARTHUR
ELVIS MAHOUKPO      NATIONAL SIGNS                    WESR
ELVIS RIVERS        NATIONAL SOCIETY OF PUBLIC        WEST BROAD BUILDING,
                    ACCOUNTANTS                       LLC
ELZA HANCZ          NATIONAL SOFTWARE INC             WEST CENTRAL FLORIDA
                                                      OIL CO.
ELZA HANCZ-USE      NATIONAL SPEAKERS                 WEST CORPORATION
HANC07              ASSOCIATION
EMAXIMATION         NATIONAL SPEAKERS BUREAU          WEST EDMONTON MALL
EMERALD CITY        NATIONAL TAX SERVICES INC.        WEST FARGO PIONEER
DISPOSAL & RECYCL
EMERALD COAST       NATIONAL TECHNICAL                WEST FERRIS
UTILITIES           INFORMATION SERVICE               INTERMEDIATE AND
AUTHORITY                                             SECONDARY SCHOOL
EMERALD             NATIONAL WASTE SERVICES & IRS     WEST HEALTH
MANAGEMENT &                                          ADVOCATE SOLUTIONS
REALTY LTD.                                           INC
EMERGENCY           NATIONWIDE- COLUMBUS REAL         WEST KERR CURRENT
ACCOUNTING INC      ESTATE INV.
EMERGIFIRE LLC      NATIONWIDE COLUMBUS REAL          WEST MAIN PARTNERS
                    ESTATE INVESTMENTS
EMERSON NETWORK     NATIONWIDE INCOME TAX             WEST MARKET SHOPPING
POWER               SERVICES LTD                      CENTER, LLC
EMERSON, ERIC       NATIONWIDE NEWSPAPERS             WEST MICHIGAN
                                                      MAINTENANCE
                                                      SERVICES. LLC
EMERY               NATIONWIDE YELLOW PAGES           WEST NIPISSING FOOD
COMMUNICATIONS,     SERVICE                           BANK
INC
EMI                 NATIONWIDE YELLOW PAGES           WEST NORTH HOLDINGS,
ENTERTAINTAINMEN    SERVICES                          INC.
T WORLD, INC.
EMILY GALLOWAY      NATIONWIDE-514540                 WEST PALM PLAZA INC
EMLING FORENSIS,    NATIVE COMMUNICTIONS              WEST VA STATE TAX
P.C. IOLTA          SOCIETY OF NWT                    DEPARTMENT
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EMMA INC           NATP                                WEST VALLEY PLAZA
                                                       WEST LLC
EMMANUEL           NATP - VA CHAPTER                   WEST VIRGINIA RADIO
PAGOTTO                                                CORP OF CHARLESTON
EMMIS AUSTIN       NATVARIAL B. PATEL                  WEST VIRGINIA
RADIO - KDHT-FM                                        SECRETARY OF STATE
EMPIRE             NAUGHTON, KELLI                     WEST VIRGINIA
ENTERTAINMENT                                          SECRETARY OF STATE
EMPIRE EVENTS &    NAUTICUS                            WEST VIRGINIA STATE
ENTERTAINMENT                                          TAX DEPT.
EMPIRE HOLDINGS    NAUTILUS INVESTIGATIONS             WEST VIRGINIA STATE
INC.                                                   TAX DEPT.
EMPIRE HOLDINGS,   NAVANEETH PONNAMBALAM               WEST VIRGINIA STATE
INC                                                    TREASURY
EMPIRE STATE TAX   NAVIGATORS BASEBALL TEAM            WESTAFF (CA) INC.
PUBLISHERS
EMPIST, LLC        NAVREET KAUR                        WESTAR
EMPLOYEE           NAVY EXCHANGE SERVICE               WESTAR
NAVIGATOR          COMMAND
EMPLOYMENT GUIDE   NAVY FEDERAL CREDIT UNION           WESTBROOK &
                                                       ASSOCIATES
EMPLOYMENT NEWS    NAZIM CHANDRANI                     WESTCOAST PHONEMAN
EMPLOYMENT         NC CHILD SUPOORT                    WESTECH CONSULTING
SECURITY                                               LIMITED
DEPARTMENT
EMPLOYMENT         NC CHILD SUPPORT CENTRALIZED        WESTERN ASSOCIATES,
SECURITY DEPT      COLLECTIONS                         INC.
EMPOWER            NC SANITATION, INC.                 WESTERN CPE, LLC
MARKETING INC.
EMPYR,             NC SECRETARY OF STATE               WESTERN MANAGEMENT
INCORPORATED                                           CO
EMTERRA            NCO FINANCIAL SYSTEMS, INC.         WESTERN MEDIA GROUP
ENVIRONMENTAL                                          SALES CO., INC.
REGINA
E-MYTH             NCR CORPORATION                     WESTERN NEW YORK
WORLDWIDE                                              DATA CABLING LLC
E-MYTH             NCSPLUS                             WESTERN OFFICE
WORLDWIDE                                              PRODUCTS
EN CORRIGAN LLC    NDEA GAINES                         WESTERN RESERVE
DBA CORRIGAN                                           REALTY GROUP, INC
REALTY TIC
ENABLEPATH, LLC    NDNLS.NET                           WESTERN UNION
                                                       FINANCIAL SERVICES
ENBRIDGE           NEAL BRAVER                         WESTERN UPSTATE
                                                       REALTY, INC
ENBRIDGE GAS       NEAL, BETH                          WESTERN WHEEL
(UNION GAS)
ENCOMPASS MEDIA    NEAL, CATHERINE                     WESTFIELD MALL
GROUP
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ENCOMPASS MEDIA     NEBRASKA DEPARTMENT OF             WESTFIELD PROPERTY
INC                 REVENUE                            MANAGEMENT, LLC
ENCORE              NEBRASKA DEPT. OF BANKING &        WESTGATE BROCKTON
BROADCASTING LLC    FINANCE                            MALL MEMBER LLC
ENDURANCE           NEBRASKA DEPT. OF REVENUE          WESTGATE ENTERPRISES
NETWORK SERVICES,                                      LLC
LLC
ENGEL, CHRIS        NEBRASKA SECRETARY OF STATE        WESTGUARD INSURANCE
                                                       COMPANY
ENGINEERING &       NEBRASKA YOUTH RUGBY               WESTKEY GRAPHICS LTD
TESTING SERVICES,   ASSOCIATION
INC.
ENGLEWOOD           NEC BUCKNER AND SAMUEL, LP         WESTLAKE ASSOCIATES,
LANDSCAPE                                              INC.
SERVICE, LLC
ENGLISH HILLS       NEEVIA TECHNOLOGY                  WESTLAND SQUARE
PROPERTIES, LLC                                        ASSOCIATES LTD
ENH CANADA LTD.     NEFF & ASSOCIATES                  WESTMAN
                                                       COMMUNICATIONS
ENHANCED            NEFF COLVIN                        WESTMINSTER
COMMUNICATIONS                                         EDUCATION
GROUP,LLC
ENMAX               NEGLIA YOPP REALTY                 WESTON COMPANIES
                    ASSOCIATES
ENOVA POWER         NEIL AIME CURTIS                   WESTON RANCH
                                                       STERLING PROPERTIES,
                                                       LLC
ENQUIRER MEDIA      NEIL H GREENBERG &                 WESTON RANCH
                    ASSOCIATES, P.C.                   STERLING PROPERTIES,
                                                       LLC
ENR                 NEIL JONES                         WESTRIDGE PROPERTIES,
                                                       INC.
ENRICHED ACADEMY    NEILSON FORMS                      WESTSOUND PLAZA LLC
ENTECOM WICHITA,    NEKOLA, RHEA L.                    WESTWOOD FINANCIAL
LLC                                                    CORPORATION
ENTEGRUS            NELCO                              WESTWOOD HOLDINGS
POWERLINES INC.                                        LLC
ENTEGRUS SERVICES   NELCO MECHANICAL LIMITED           WEX HEALTH, INC.
INC.
ENTERCOM            NELLIE COFFMAN PTSA                WFLS
COMMUNICATIONS -
PITTSTON
ENTERCOM            NELSON B & MARIA E FERREIRA        WFMS LICO, INC.
GREENVILLE, LLC
ENTERCOM            NELSON MULLINS RILEY &             WGH RADIO
INDIANAPOLIS        SCARBOROUGH LLP
LICENSE, LLC
ENTERCOM KANSAS     NELSON TAPLIN GOLDWATER, INC       WGM RE-NC, LLC
CITY LICENSE, LLC
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ENTERCOM             NEMITZ, VERNON                       WGME, INC. DBA WGME-
NORFOLK LICENSE,                                          TV
LLC
ENTERGY 61830        NENA-RAE WATSON                      WGNT, UPN 27
ENTERGY              NEOFUNDS BY NEOPOST                  WH NORMANDY CREEK,
LOUISIANA, LLC                                            LP
ENTERGY-8106         NEON NIGHTS, INC.                    WHEATLAND MALL
ENTERPRISE &         NEOPOST CANADA                       WHEATLAND WATERS,
ALBANY COUNTY                                             INC
POST
ENTERPRISE BANK      NEOPOST USA INC.                     WHEELER PROPERTIES,
                                                          INC.
ENTERPRISE           NEPTUNE FESTIVAL                     WHEREOWARE, LLC
LOCKSMITHS
ENTERPRISE LOS       NEPTUNE'S RESTAURANT                 WHICHFRANCHISE.ORG
ANGELES AREA
ENTERPRISE           NERDS ON-SITE INC                    WHISPER CONCERTS, INC
MAGAZINES, INC.
ENTERPRISES GODON    NERDWALLET, INC.                     WHISPER WALLS OF VA
                                                          LTD
ENTERPRISES-         NESS SECURITY INC.                   WHITAKER'S HOLDINGS
RECORD                                                    LLC
ENTRAVISION          NESTLE PURE LIFE DIRECT              WHITBY HYDRO
COMMUNICATIONS                                            ELECTRIC CORPORATION
CORPORATION
ENTREPRENEUR         NET UNIVERSE INTERNATIONAL           WHITE BEAR SERVICES
MEDIA                CORP
ENVEST HOLDINGS,     NETBANK BUSINESS FINANCE             WHITE DIRECTORY
LLC                                                       PUBLISHERS, INC.
ENVEST II, LLC.      NETCOM INFORMATION                   WHITE ELECTRIC
                     TECHNOLOGY, INC.                     COMPANY
ENVEST III, LLC      NETIQ CORPORATION                    WHITE GLOVE WINDOW
                                                          CLEANING
ENVEST VENTURES I,   NETSEC                               WHITE RIVER FIRST
LLC                                                       NATION
ENVIRO KIDS GUIDE    NETSPEND - BRIAN PANELO              WHITE STONE
                                                          CONTRACTING LLC
ENWIN UTILITIES      NETSPEND - NANCY NELSON              WHITE, ERIKA & ANTOINE
LTD.
EPB                  NETSPEND - NANCY SIMONSEN            WHITE, SARAH
EPB FIBER OPTICS     NETSPEND - NICOLE RHODES             WHITE, STEVE
EPCOR                NETSPEND CORPORATION                 WHITEHEAD LAND, LLC
EPCOR                NETSPEND-TEXAS                       WHITEHEAD, DON
EPCOT GRAPHICS       NETTIZEN - WALTER MARROU             WHITEHEAD, THOMAS
EPIC JOURNEY, LLC.   NETTIZEN.COM                         WHITEHURST, JOYCE &
                                                          WENDELL
EPICOR SOFTWARE      NETWORK INTELLIGENCE CORP            WHITEHURST, LINDA
CORPORATION
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EPIQ EDISCOVERY      NETWORK SOLUTIONS                   WHITE-SPUNNER &
SOLUTIONS, INC                                           ASSOCIATES, INC.
EPIQ EDISCOVERY      NETWORK TELSYS INC.                 WHITEWAY
SOLUTIONS, INC.                                          CONSTRUCTION INC
EPLEE & ASSOCIATES   NETWRIX SYSTEMS                     WHITEWOOD TAX
                     MANAGEMENT & COMPLIANCE             SOLUTIONS, LLC
EPLUS                NETWRKZ                             WHITFIELD COUNTY TAX
TECHNOLOGY, INC.                                         COMMISSIONER
EPNM INC. DBA        NETWRKZ                             WHITLOCK GROUP
ELECTRICAL
PRODUCTS
COMPANY
E-PROCESS &          NEUSTAR                             WHITMORE, RICHARD
INVESTIGATIONS,
LLC
EQ PHOENIX LLC &     NEUVISION, INC.                     WHITNEY, KIM
RE PHOENIX LLC AS
TIC
EQA OFFICE           NEVADA DEPARTMENT OF                WHITTAKER NORTHWEST
FURNITURE            TAXATION                            PARTNERS 1
EQUIFAX CANADA       NEVADA DEPARTMENT OF                WHITTIER, VALERIE
INC.                 TAXATION
EQUIFAX              NEVADA DEPARTMENT OF                WHITTLESEY MCDOWELL
INFORMATION          TAXATION                            & RIGA
SERVICES
EQUIFAX              NEVADA ENERGY                       WHLR JANAF, LLC
MARKETING
SERVICES
EQUIMAX              NEVADA LEGEL NEWS                   WHOLESALE CHESS
MANAGEMENT
EQUINITI TRUST       NEVADA PACIFIC HOLDINGS 1,          WHORTON, PHILIP
COMPANY              LLC
EQUITABLE LIFE OF    NEVADA POWER COMPANY                WHYTE HIRSCHBOECK
CANADA                                                   DUDEK S.C.
EQUITABLE            NEVADA SECRETARY OF STATE           WICK PUBLICATIONS
MANAGEMENT CORP.
EQUITABLE TRUST      NEVADA UNCLAIMED PROPERTY           WICKFIRE, LLC
COMPANY
EQUITY               NEW CARROLLTON PLAZA                WIDERFUNNEL
COMMUNICATIONS /     CENTER LLP                          MARKETING, INC.
WAYV
EQUITY INVESTMENT    NEW COVENANT UNITED                 WIDEWATERS GROUP
GROUP, LLC           METHODIST
EQUITY ONE           NEW HAMPSHIRE DEPT OF               WIEL- AM
(FLORIDA             REVENUE
PORTFOLIO) INC
EQUITY ONE REALTY    NEW HAMPSHIRE DEPT. OF REV.         WIERCINSKI, DEBBIE
& MANAGEMENT,        ADMIN.
INC
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EQUITY ONE, INC.    NEW HAMPSHIRE MOTOR               WIGGIN AND DANA LLP
                    SPEEDWAY INC
EQUITY VENTURES     NEW HAMPSHIRE SECRETARY OF        WILBUR S LAKE
                    STATE
EREP MARKET PLACE   NEW HAVEN REGISTER                WILCOX, LISA
I LLC
ERI ECONOMIC        NEW JERSEY CORPORATION TAX        WILD WINGS PROPERTY
RESEARCH
INSTITUTE
ERIC BENOIT         NEW JERSEY DEPARTMENT OF          WILEN GROUP
                    REVENUE
ERIC BERRY          NEW JERSEY DEPARTMENT OF          WILFRED HAWKINS SR.
                    TREASURY
ERIC BOURGON        NEW JERSEY DEPT OF THE            WILHELMUS VAN DE
                    TREASURY                          WIJNBOOM
ERIC CHARTIER       NEW JERSEY DIVISION OF            WILKES BROADCASTING
                    TAXATION
ERIC ELDER          NEW KINGSBRIDGE LLC               WILL BRANTLEY AND
                                                      KAYLA DESOUZA
ERIC H. CHRONA      NEW LONDON SHOPPING CENTER,       WILL RODGERS
                    LLC
ERIC L. MAJETTE     NEW MEXICO DEPARTMENT OF          WILL SPENCER
                    REVENUE
ERIC LANNAN         NEW MEXICO DEPARTMENT OF          WILLCOX & SAVAGE
                    REVENUE
ERIC LAVICTOIRE     NEW MEXICO GAS COMPANY            WILLIAM B. DANIELS JR.
ERIC MARCHI         NEW MEXICO OFFICE OF              WILLIAM BATSON
                    SUPERINTENENT OF INSURANCE
ERIC PAYNE          NEW MEXICO PUBLIC                 WILLIAM BLAIR
                    REGULATION COMMISSION
ERIC SALMON         NEW MEXICO TAXATION &             WILLIAM BUCKLE
                    REVENUE DEPARTMENT-UCP
ERIC SWETSKY        NEW MEXICO TAXATION &             WILLIAM CADE
                    REVENUE DEPT.
ERIC W GUILE        NEW ORLEANS SCHOOL OF             WILLIAM CAHILL
                    COOKING
ERIC WYNDER         NEW PLAN EXCEL REALTY TRUST       WILLIAM CONNOR
ERICA ARNOUSE       NEW PLAN EXCEL REALTY TRUST       WILLIAM CRAIG O'NEAL
ERICA BERRY         NEW PLAN OF SILVER POINTE, LLC    WILLIAM CUMMINGS
ERICA L. WILSON     NEW SUDBURY HOLDINGS, INC.        WILLIAM D. SUMMERS
ERICA MARCELLUS     NEW WEST BROADCASTING             WILLIAM DUNFORD
ERICA MONROE        NEW WEST ENTERPRISE               WILLIAM E. NEAL
                    PROPERTY GROUP                    ELECTRIC
ERICA NELSON        NEW WEST HARLEM OWNER LLC         WILLIAM E. WOOD &
                                                      ASSOCIATES
ERICA PROCOPIS      NEW YORK CITY DEPT OF             WILLIAM E. WOOD &
                    FINANCE                           ASSOCIATES
                                                      FOUNDATION
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ERICA SOTO           NEW YORK DEPARTMENT OF            WILLIAM E. WOODS
                     REVENUE                           ASSOCIATES
ERICSON, JUDI        NEW YORK DEPARTMENT OF            WILLIAM EDWARD
                     TAXATION AND FINANCE              HODGES
ERIK CROWDER         NEW YORK STATE COMPTROLLER        WILLIAM EDWARD
                                                       MEMORY JR
ERIK VANHORN         NEW YORK STATE DEPARTMENT         WILLIAM FAULHAFER
                     OF STATE
ERIKA SULTANI        NEW YORK STATE DEPT. OF LAW       WILLIAM H DELP III
ERIN BRONN           NEW YORK STATE SALES TAX          WILLIAM H JOHNSON
ERIN GIBBONS         NEWAD INC                         WILLIAM H SMITH JR
ERNEST AND RUTH      NEWCAP RADIO NEW BRUNSWICK        WILLIAM HALL
SORENSEN
ERNEST DANIAL        NEWCAP RADIO-                     WILLIAM HAYES
SNOWDON              CHARLOTTETOWN
ERNEST WEST          NEWCAP RADIO-RED DEER             WILLIAM HYNES
ERNIE'S              NEWELL NORMAND, SHERIFF AND       WILLIAM IDE
                     EX-OFFICIO TAX COLLECTOR
ERNST & YOUNG LLP    NEWMAN,WILLIAMS,MISHKIN,CO        WILLIAM J. BLAIR
                     RVELEYN,WOLFE & FARERI
ERNST & YOUNG LLP    NEWPORT NEWS CIRCUIT COURT        WILLIAM J. STOFFER
ERNST & YOUNG, LLP   NEWPORT NEWS GENERAL              WILLIAM JOHNSON
                     DISTRICT COURT
ERP OPERATING        NEWPORT NEWS WATERWORKS           WILLIAM KHALIL
LIMITED
PARTNERSHIP
ESBIN REALTY         NEWPORT NEWS WATERWORKS-          WILLIAM L
CORPORATION          979                               MANDELBAUM
ESCAMBIA COUNTY      NEWPORT SIGNS                     WILLIAM LEVEQUE
TAX COLLECTOR
ESERRI EKRAM         NEWS ADVERTISER                   WILLIAM P SCOTT
ESI INTERNATIONAL    NEWS DAILY / DAILY HERALD         WILLIAM P. ROGOWSKI,
                                                       RECEIVER OF TX
ESKINDER JIFAR       NEWS GLEANER PUBLICATIONS         WILLIAM READ
ESMAT SHEIKH         NEWS PRESS, INC.                  WILLIAM RIPLEY
ESOURCE.NET LLC      NEWSDAY, INC                      WILLIAM ROBERT
                                                       DEVINNEY
ESPANOL              NEWS-JOURNAL CORPORATION          WILLIAM ROCHEFORT
MARKETING &
COMMUNICATIONS,
INC.
ESPANOLA HELPING     NEWTON & SONS REAL ESTATE         WILLIAM SIMPSON
HAND FOOD BANK
ESPANOLA MALL        NEWTON COUNTY COLLECTOR           WILLIAM STEPHENS
ESPERANZA AQUINO     NEWTON, MFEEOMEAH U.              WILLIAM STRETLOW
ESPLANADE PLAZA      NEWWEST ENTERPRISE PROPERTY       WILLIAM TIPPETT
CO                   GROUP (SASK) INC.
ESPY, PAUL           NEWWEST ENTERPRISE PROPERTY       WILLIAM VAN DIEPEN
                     GROUP (SASK) INC.
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ESQUIMALT            NEXT BIG FRANCHISE                 WILLIAM WASHNUK
TRADING
ESQUIRE DEPOSITION   NEXT FINANCIAL HOLDINGS            WILLIAM WEIR
SERVICES INC.
ESQUIRE DEPOSITION   NEXT JUMP, INC.                    WILLIAM WILSON
SOLUTIONS LLC
EST-A-DIRE           NEXT LEVEL EVENTS, LLC             WILLIAM WRIGHT
COMMUNICATION
SERVICES
ESTATE OF JACK OR    NEXT MEDIA - WRNS                  WILLIAM, JUSTIN
MILDRED SELLERS
ESTATE OF JOHN       NEXTIRAONE BUSINESS                WILLIAMINA MUGFORD
PETRYNA              COMMUNICATIONS, LLC
ESTATE OF ROLLAND    NEXTMEDIA OUTDOOR, INC.            WILLIAMS & CONNOLLY
BEGIN                                                   LLP
ESTATE OF VIVA M.    NEXUS ALLIANCE GROUP, INC          WILLIAMS & WILLIAMS
FENGLER
ESTEBAN-TRINIDAD     NGA THI TRAN                       WILLIAMS MULLEN
LAW, PC
ESTELLE & ROGER      NGUYEN, TOM                        WILLIAMS SCOTSMAN
BRAZEAU                                                 INC.-CHESAPEAKE
ESTES EXPRESS        NHCLC                              WILLIAMS SCOTSMAN,
                                                        INC.-CHICAGO
ESTEY ASSOCIATES     NIAGARA FUN TOURS                  WILLIAMS, CHAS
ESTHER HA            NIAGARA HOME HEATING               WILLIAMS, DONALD &
                                                        DAWN
ETABEZAHU        NIAGARA PARKS                          WILLIAMS, ERIC
METAFERIA
ETARGETMEDIA.COM NIAGARA PENINSULA ENERGY               WILLIAMS, LARRY
                 INC
ETHAL DRENNAN    NICHOLAS HAMILTON-ARCHER               WILLIAMS, MICHAEL
ETHAN BRADFORD   NICHOLAS KRAMPS                        WILLIAMS, PATTEE
ETHAN CONRAD     NICHOLAS MARTIN V JTH TAX INC          WILLIAMS, STEVE
                 SETTLEMENT FUND
ETOBICOKE        NICHOLAS PALMERIO                      WILLIAMS, TONYA
GUARDIAN
ETTORE           NICHOLAS RICHTER                       WILLIAMSON ELECTRIC
ASSOCIATION
ETUKS, ITORO     NICHOLAS YIOKARIS                      WILLIE REX ANDERS
EUNJEONG CHOI    NICHOLS, CYNTHIA                       WILLIS, BRENT
EUREKA           NICK OF TIME IRRIGATION                WILLIS, WILLIAM
DEVELOPMENT, LLC
EUREKA WATER     NICK TRKULJA                           WILLKIE FARR &
COMPANY                                                 GALLAGHER LLP
EVA GABRIS       NICKEL ELECTRIC LTD                    WILLKIE FARR &
                                                        GALLAGHER LLP
EVA ROBICHAUD        NICOLAS RECOLLET                   WILLOW BEND TOWNE
                                                        CENTRE LTD
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EVAN RICHARD        NICOLE ARNER                        WILLOW GROVE CENTER
HUGHES                                                  LLC
EVAN W. TANDY       NICOLE JENNIFER PROSSER-SCOTT       WILLOW VALLEY
                                                        ASSOCIATES, INC
EVANGEL             NICOLE KUJAWA                       WILMA CHAPMAN
PUBLISHING HOUSE
EVANS ELECT.        NICOLE LAMURE                       WILMINGTON PAINTING
GROUP INC                                               INC
EVANS, DENNIS       NICOLE LANCASTER                    WILSHIRE CENTER
EVANS, JOHN         NICOLE MACDONALD                    WILSON ANDERSEN
EVANSVILLE          NICOLE OLENGA                       WILSON COUNTY
COURIER & PRESS
MAILING ADDRESS
EVE GORDON RAMEK    NICOLE OSSENFORT-DO NOT USE         WILSON HANDYMAN AND
TRUST                                                   CLEANING SERVICE
EVE LAFLAMME        NICOLE ROBINSON                     WILSON, CHARLES
EVELYN PLANE        NICOLE STRICKER                     WILSON, DARLENE
EVELYN VERGOS       NICOLE SWANSON                      WILSON, ELSER,
                                                        MOSKOWITZ, EDELMAN
                                                        & DICKER LLP
EVENT BOOTH         NICOLES ROSE                        WILSON, JIM
EVENT STAFFING      NICOLETA OPREA AND/OR JOHN          WILSON, STACY
INC.                OPREA
E-VENTS             NICOM TECHNOLOGIES INC              WIMBUSH, CRYSTAL
REGISTRATION
E-VENTS             NICOR GAS                           WINCHESTER REAL
REGISTRATION, LLC                                       ESTATE
E-VENTS             NICOR GAS - 5407                    WINDHAM
REGISTRATION, LLC                                       PROFESSIONALS INC
EVERGREEN           NIELSEN BUSINESS MEDIA              WINDHAM
CONSTRUCTION INC                                        PROFESSIONALS INC
EVERGREEN           NIELSEN MEDIA RESEARCH              WINDHAM REVENUE
DEVELOPMENT LLC                                         DEPARTMENT
EVERGREEN           NIETZ & GREEN LLC                   WINDHAM RT 32
MIDTOWN PLAZA,                                          ASSOCIATES LLC
LLC
EVERGREEN PLAZA     NIETZ & GREEN, LLC                  WINDMILL HILL LLC
II, LLC
EVERGREEN STATE     NIFTY NICKEL                        WINDSOR ESSEX FOOD
INVESTMENTS L.P.                                        BANK ASSOCIATION
EVERGY- 219089      NIGHT MOVES OF DENVER               WINDSOR FAMILY
                    PRIVATE INVESTIGATIONS              CREDIT UNION
EVERGY-219915       NIGHTHAWK INVESTIGATIONS            WINDSOR PARKS AND
                                                        REC
EVERGY-419353       NIKHLESH KUMAR                      WINDSOR POLICE
                                                        SERVICES
EVERSHEDS           NIKIFOROS AND GEORGIA               WINDSOR RACEWAY
SUTHERLAND (US)     VALASKANTJIS
LLP
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EVERSIGN, LLC        NIKKI MONTGOMERY                  WINDSOR SPITFIRES INC.
EVERSOURCE           NIKOLAS EZENNAYA AJAGU            WINDSOR-ESSEX COUNTY
                                                       PENNYSAVER
EVIE MANSFIELD       NILOTHPAUL DELTA                  WINDSTREAM
MODELING                                               COMMUNICATIONS
EVISIBILITY, INC.    NIMON SIGNS                       WINDSTREAM-9001908
EVOLUTION            NINA CASTELLO                     WINDWARD PROMENADE,
INTERNATIONAL                                          LLC
GROUP
EVOLVE               NIRAV PARIKH                      WINE & DINE EVENTS
COLLABORATION                                          GROUP
EXCEL                NITE 2 LITE COMMERCIAL            WING HING METAL
EMPLOYMENT           CLEANING SERVICES                 WORKS
OPTIONS
EXCEL REALTY         NITE MOVES PUBLICATIONS LTD       WINMAR
TRUST-NC
EXCELLENT            NIXON PEABODY, LLP                WINNIPEG FREE PRESS
PRINTING AND
GRAPHICS, LLC
EXCELO, INC.         NJ LAWYERS SERVICE                WINNIPEG HUMANE
                                                       SOCIETY
EXCLUSIVE COOLING    NJC CONSULTING, LLC               WINNIPEG JETS HOCKEY
LTD.                                                   CLUB
EXECUTIVE BOOKS      NJEWEL, JAY                       WINNIPEG OMG
EXECUTIVE            NM TAXATION AND REVENUE           WINNIPEG SYMPHONY
FRANCHISES.COM,      DEPARTMENT                        ORCHESTRA
LLC
EXECUTIVE            NMSP ITF ARTIS VICTORIA           WINNIPEG WATER AND
LANDSCAPING, INC.    SQUARE LTD.                       WASTE DEPARTMENT
EXHIBITS USA, INC    NO SKY STUDIOS                    WINPARK DORCHESTER
                                                       PROPERTIES
EXHIBITS, INC.       NOAM CORPORATION                  WINTERBERRIES
                                                       DECORATING CONCEPTS
EXP SERVICES, INC.   NOBLE LOCKSMITH, LTD              WIRE SUSPENSE
                                                       GENERAL LEDGER
EXPEDITE MEDIA       NOBLE MANAGEMENT COMPANY          WIRTJES, KATHLEEN
GROUP
EXPENSE              NOBLE PACIFIC                     WISAL BABAR
MANAGEMENT
CONSULANTS
EXPERIAN             NOBLE ROAD PRESBYTERIAN           WISCONSIN
INFORMATION          CHURCH                            DEPARTMENT OF
SOLUTIONS, INC.                                        FINANCIAL INSTITUTIONS
EXPERIAN             NOCO PROPERTIES, LLC              WISCONSIN
MARKETING                                              DEPARTMENT OF
SOLUTIONS, LLC                                         REVENUE
EXPERIENCE           NODUS TECHNOLOGIES, INC           WISCONSIN
PUBLISHING, INC.                                       DEPARTMENT OF
                                                       REVENUE
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EXPERIS US, INC.    NOE MARTINEZ                       WISCONSIN
                                                       DEPARTMENT OF
                                                       REVENUE-INACTIVE
EXPERTISE LLC       NOELLA MASSIA                      WISCONSIN DEPT OF
                                                       WORKFORCE
                                                       DEVELOPMENT
EXPLOREBIZ          NOELLA PICARD                      WISCONSIN DEPT. OF
                                                       FINANCIAL INSTITUTIONS
EXPLORERTOUR, INC   NOLTE, RICHARD                     WISCONSIN DIVISION OF
                                                       SECURITIES
EXPO DATA           NOORANI, NIZAR                     WISCONSIN
CAPTURE, INC.                                          EDUCATIONAL
                                                       APPROVAL BOARD
EXPRESS PERSONNEL   NOR-DON COLLECTION NETWORK         WISCONSIN STATE
SERVICES            INC.                               TREASURY (UNCLAIMED
                                                       PROPERTY)
EXPRESS PROCESS     NOREEN AHMED                       WISCONSIN
SEVICE, INC.                                           UNEMPLYMENT INS.
EXPRESS SERVICES    NOREEN SCHUSTER                    WITHLACOOCHEE RIVER
                                                       ELECTRIC
EXPRESS SERVICES    NORFOLK & PORTSMOUTH BAR           WITHLACOOCHEE RIVER
INC.                ASSOCIATION                        ELECTRIC
EXPRESS             NORFOLK ADMIRALS                   WITMAN PROPERTIES,
TRANSACTION                                            INC
SERVICES INC.
EXPRESS VALET       NORFOLK CIRCUIT COURT              WITMER, COLLETTE
EXPRESSCOPY.COM     NORFOLK CITY TREASURER             WJF ENTERPRISES LTD
EXTENDED STAY       NORFOLK ELECTRIC MOTOR             WJMZ-FM
AMERICA 4178        SERVICE
EXTERIOR DESIGN     NORFOLK FESTEVENTS, LTD            WJNT NEWS TALK RADIO
SPECIALIST
EXTREME REACH       NORFOLK FIRE MARSHAL'S             WJTT-FM
CANADA, ULC         OFFICE
EXTREME RODEO       NORFOLK FLORIST & GIFTS            WKBX-FM
TOUR
EYE SEARCH          NORFOLK LAW LIBRARY                WKHX-FM / WYAY-FM /
                                                       WDWD
EYEWITNESS          NORFOLK PARADE, INC                WKLC, INC.
INVESTIGATIONS
EZ CASH SERVICES    NORFOLK SECURITY VAULT CORP        WKMO- FM
EZ SIGNS            NORFOLK STATE UNIVERSITY           WKMY
EZ                  NORFOLK STATE UNIVERSITY           WKOC 93.7 FM
TRANSPORTATION      (CAREER FAIR)
EZ-SHRED            NORFOLK STATE UNIVERSITY           WKPT-AM KINGSPORT, TN
                    CONTINUING EDUCATION
F & N CENTER, LLC   NORFOLK TIDES BASEBALL CLUB        WLKI- FM
F. INGHAM           NORFOLK WHOLESALE FLORISTS         WLVY RADIO
CONSTRUCTION
COMPANY LIMITED
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F.I.S.T. SECURITY    NORFOLK WIRE AND                  WM CORPORATE
LTD.                 ELECTRONICS                       SERVICES, INC - 4648
FABER, BRAD          NORMA JAHNS                       WM RECYCLE AMERICA
FABIAN BEST          NORMA MCCOMB                      WM. CHARLES EALY &
                                                       CO.
FABIAN PASCOE        NORMA OBRIEN                      WMRE RADIO
FABRICS SAVE-A-      NORMA SQUIRES                     WNCI RADIO
THON 3RD AVE, INC
FACILITIES           NORMAN FOGEL                      WNIS 790AM-999
COMMERCIAL                                             WATERSIDE
REALTY, INC.
FADI SOBHI           NORMAN LAWLESS                    WNKI
FAEGRE BAKER         NORMAN MCPHEDRIAN                 WNNC RADIO
DANIELS LLP
FAHEEM RANDAAWA      NORRIS GHOLSTON                   WNOR RADIO
FAHEY EQUITIES LLC   NORTH AMERICAN CO. FOR L&H        WNVZ RADIO
FAHRHALL             NORTH AMERICAN                    WOKN-FM 99.5
MECHANICAL           INVESTIGATIONS
CONTRACTORS LTD
FAIRBAIRN            NORTH AMERICAN RECEIVABLE         WOLCOTT RIVERS GATES
HOLDINGS INC.        MGMT SERVICES
FAIRFAX              NORTH AMERICAN SAND SOCCER        WOLFF, BRAD
ASSOCIATES LLC       CHAMPIONSHIP
FAIRFAX STATION      NORTH BAY FOOD BANK               WOLFF, OWEN &
SQUARE LIMITED                                         HEATHER
PARTNERSHIP
FAIRFIELD BLOCK      NORTH BAY HYDRO                   WOLFGANG JEEHOW
LTD
FAIRFIELD INN BY     NORTH CAROLINA CHAMBER OF         WOLFINGBARGER,
MARRIOTT             COMMERCE                          TRACY E.
FAIRVIEW GOLF        NORTH CAROLINA DEPARTMENT         WOLFPACK TAX INC.
COURSE               OF REVENUE
FAIRVIEW LIQUOR      NORTH CAROLINA DEPT OF            WOLFSON, CASH
STORE                REVENUE
FAIRVIEW PRINTING    NORTH CAROLINA DEPT. OF REV.      WOLVES SOCCER CLUB
AND SILKSCREENING
FAIRWAY GROUP        NORTH CAROLINA DEPT.OF STATE      WOMADZ, LLC
                     TREASURER
FAIZAL PREMJI        NORTH CAROLINA                    WOMBLE BOND
                     INVESTIGATIVE SERVICES            DICKINSON LLP
FAIZAN AHMED         NORTH CAROLINA OFFICER OF         WON G. CHU
                     COMMISSIONER OF BANKS
FALER, KEVIN         NORTH CAROLINA STATE              WONDERLIC, INC
                     UNIVERSITY
FALLS AVE RESORT     NORTH CHARLESTON JOINT            WONG, ALAIN
                     VENTURE
FAMILY DOLLAR        NORTH COAST ELECTRIC, INC.        WOOD, CLIFTON
STORES
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FAMILY SUPPORT       NORTH CORNERS CENTER              WOOD, GARY
REGISTRY
FAMOUS TATE          NORTH DAKOTA OFFICE OF STATE      WOOD, JENNIFER
SPRING HILL, LLC     TAX COMMISSIONER
FANG, KEUR C.        NORTH DAKOTA SECRETARY OF         WOODHOUSE GROUP
                     STATE
FARGY INK            NORTH DAKOTA SECURITIES           WOODLIEF, GLENN
                     DEPARTMENT
FARIBORZ NOURIAN     NORTH DAKOTA STATE LAND           WOODRUFF-ROEBUCK
                     DEPARTMENT (UCP)                  WATER DISTRICT
FARLEY'S MASONRY,    NORTH DAKOTA STATE                WOODS ROGERS
INC.                 SECURITIES COM                    VANDEVENTER BLACK
                                                       PLC
FARMER, ED           NORTH DAKOTA STATE TAX            WOODSON ELECTRIC,
                     COMMISSIONER                      LLC
FARMERS              NORTH DAKOTA WORKFORCE            WOODWARD, HOBSON &
INSURANCE            SAFETY & INSURANCE                FULTON, LLP
EXCHANGE-894731
FARQUHARSON,         NORTH FOREST PROPERTIES #3        WOOLFSTON &
DONALD               LLC                               WOOLFSTON, IN TRUST
FAST BREAK SPORTS,   NORTH GEORGIA EMC                 WORKER TRAINING FUND
LLC
FAST PITCH           NORTH HILLS SCHOOL DISTRIC        WORKFLOWONE
FAST SIGNS           NORTH LIMESTONE, LLC              WORKFRONT, INC.
FAST SIGNS           NORTH MALL ASSOCIATES             WORKING MOTHER
                                                       MEDIA
FAST SIGNS OF        NORTH RIM PROPERTIES              WORKIVA INC.
VENTURA
FAST SIGNS OF        NORTH SAILS HAMPTON               WORKIVA INC.
WINNIPEG
FASTENAL CANADA,     NORTH TEXAS ROVER                 WORKIVA, LLC
LTD
FASTRAX              NORTHAMERICAN VAN LINES           WORKMAN NYDEGGER
GUARANTEED           CANADA
DELIVERY SERVICE
FASTSIGNS            NORTHAMPTON COUNTY                WORKPLACE INTERIORS,
                     GENERAL DISTRICT COURT            LLC
FASTSIGNS- BATON     NORTHAMPTON COUNTY                WORKPLACE SAFETY
ROUGE                TREASURER                         AND INSURANCE BOARD
FASTSIGNS            NORTHCOM AUDIO VISUAL             WORLD CLASS EXHIBIT
NATIONAL
ADVERTISING
COUNCIL, INC.
FASTSIGNS-4724       NORTHEAST HOLDING                 WORLD OF WATER
                     ASSOCIATION LLC
FASTSIGNS-5444 VAB   NORTHEAST WEEKLY LTD.             WORLD OFFICE SYSTEMS,
BLVD                                                   INC.
FATMA                NORTHERN ATHLETIC WEAR &          WORLD PAY
SULEYMANOF           ADVERTISING
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FATWALLET &            NORTHERN BUSINESS SOLUTIONS      WORLD POND HOCKEY
EBATES                                                  CHAMPIONSHIP
FAULKNER & GRAY        NORTHERN CLEANING                WORLDCOM CANADA
                       CONTRACTORS LTD.                 LTD.
FAXER TISEMENTS        NORTHERN ELECTRIC                WORLDWIDE
                                                        FRANCHISING NETWORK
FAY STEFANOU           NORTHERN LEASING SYSTEMS,        WORLDWIDE IMAGING
                       INC.
FAY VENTURA            NORTHERN LIFE                    WORLDWIDE MEDIA, INC.
FAYE GORDON            NORTHERN PLAINS RADIO            WOUNDED WEAR, INC.
                       NETWORK
FAYETTE COUNTY         NORTHERN ROCKIES REG             WOW! BUSINESS
PUBLIC SCHOOLS         MUNICIPALITY
FAYETTE                NORTHERN SECURITY                WOW! ENTERTAINMENT,
NEWSPAPERS, INC.                                        INC.
FAYETTEVILLE           NORTHERN SECURITY                WOWI RADIO
PUBLIC WORKS
COMMISSION
FBBT/US PROPERTIES     NORTHERN TOOL & EQUIPMENT        WPL ENTERPRISE LLC
LLC
FBJ INVESTORS, INC.    NORTHERN UNIFORM SERVICE         WPOW / POWER 96 FM
FCHT HOLDINGS          NORTHERN VISION                  WPPL FM
(ONTARIO               DEVELOPMENT LIMITED
CORPORATION)
FCR MANAGEMENT         NORTHERNLIGHTS                   WPTE RADIO
SERVICES LP            IMPROVEMENT, LLC
FDACS                  NORTHGATE ASSOCIATES             WQMG-FM
                       LIMITED
FDH GROUP              NORTHGATE DEVELOPMENTS INC.      WQOK FM
FEATHER                NORTHGATE LOTTO CENTRE           WQXE FM- 98.3
PUBLISHING CO., INC.
FEDERAL BAR            NORTHGATE MALL LLC               WRAZ-TV
ASSOCIATION
FEDERAL DIRECT,        NORTHGATE MALL PARTNERSHIP       WRD SHIPPENSBURG LP
INC.
FEDERAL EXPRESS -      NORTHGATE MARKETING FUND         WRIGHT, BARBARA
660481
FEDERAL EXPRESS-       NORTHGATE OLYMPIC                WRIGHT, BILL
332                    PROPERTIES
FEDERAL EXPRESS-       NORTHLAKE INVESTIGATIONS         WRIGHT, DAVID
371461
FEDERAL EXPRESS        NORTHLAND JOINT VENTURE          WRIGHT, EMILY
CANADA LTD.
FEDERAL KEMPER         NORTHMONT AREA CHAMBER           WRIGHT, JESSICA
LIFE ASSURANCE
COMPANY
FEDERAL TRADE          NORTHUMBERLAND PUBLISHERS        WRIGHT'S MEDIA
COMMISSION
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FEDERAL WAGE AND      NORTHVILLE GREEN ASSOCIATES        WROX RADIO
LABOR LAW             LLC
INSTITUTE
FEDERAL WAY           NORTHWALL ENTERPRISES              WRS CENTERS I LLC
FEDERAL WAY           NORTHWEST BENCH PROMOTIONS         WRSV-FM RADIO
TOWNE SQUARE
FEDERATED PI          NORTHWEST NEWS GROUP               WRZI- FM
FEDERATION OF TAX     NORTHWEST TENNESSEE REALTY         WRZK- FM
ADMINISTRATORS        LLC
FEDERATION OF TAX     NORTHWESTEL INC                    WSKY-TV
ADMINISTRATORS
FEDEX                 NOTARY CLERK-OFFICE OF THE         WSRADIO
                      SECRETARY
FEDEX FREIGHT-        NOVAMEX                            WSTO-FM - SOUTH
223125                                                   CENTRAL
                                                         COMMUNICATIONS
FEDEX KINKO'S -       NOVARE NATIONAL SETTLEMENT         WTAII PLLC
672085                SERVICE
FEDEX OFFICE-572085   NOVEDADES TV PUBLISHING, LLC       WTAII PLLC
FEDEX TRADE           NOVELLA TROIA                      WTAR NEWS/TALK RADIO
NETWORKS CAN INC.                                        850AM
FEDEX-PO BOX 1140     NOW NEWSPAPERS                     WTB LANGUAGE GROUP,
                                                         INC.
FEED THE NEED IN      NPBA                               WTHX- FM
DURHAM
FEEHRER               NRG INVESTMENTS, INC.              WTKR TV
DEVELOPMENT
FEERICK LYNCH         NSD NEWCO, INC                     WTT, S.E.
MACCARTNEY PLLC
FEITIAN               NUHA BAROUDI                       WTTE-TV
TECHNOLOGIES US,
INC.
FELDMAN ADVISORS,     NUMERACLE, INC.                    WTVZ TV
LLC
FELICIA M. BOWDEN     NUTEC ELECTRO TEL                  WU, JIALING
FELIX DADULA          NV ENERGY-30150                    WULF, THOMAS W.
FELIX GONZALEZ        NVENERGY                           WURST, ANNE
RUIZ
FELIX STRATER         NW NATURAL                         WVBT TV
FELKER, TIMOTHY       NY DEPARTMENT OF STATE             WVEA TV
FELLER, CAPTAIN       NY STATE DEPT OF TAXATION &        WVEC TV
FRED                  FINANCE
FELLER, FRED          NYC DEPARTMENT OF CONSUMER         WVEE FM - CBS RADIO
                      AFFAIRS
FELLOWS, ERIC         NYE COMMERCIAL ADVISORS INC        WVIC- FM
FEREN SIGNS &         NYS CORPORATION TAX                WVKL RADIO
AWNINGS LTD.
FERGUSON, DONNA       NYS CORPORATION TAX                WVT ENTERPRISES INC
FERMOS                NYS UNEMPLOYMENT INSURANCE         WWDE RADIO
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FERNANDA PEREIRA      NYSEG                             WWOC- FM
FERNE O'NEIL          NZR RETAIL OF TOLEDO, INC.        WWR PROPERTIES
FEROZ GADWAH          O&Y ENTERPRISE ITF PARKWAY        WXGM
                      MALL
FERRAEZ               OAK PARK APARTMENTS               WXII
PUBLICATIONS OF       PARTNERSHIP LLC
AMERICA CORP
FERRARELLI, DINO      OAK PARK CENTER LLC               WXLK-FM
FERTIG AND            OAKSHAW LLC                       WXSS
GORDON
COMPANIES, INC.
FEST EVENTS           OAKWOOD RESORT, GOLF, SPA         WYATT, JENNIFER
                      AND CONFERENCE CENTRE
FESTIVAL AT           OANA MORAN                        WYCHE, PROFESSIONAL
HAMILTON, LLC                                           ASSOCIATES
FESTIVAL AT           OBENSHAIN FOR ATTORNEY            WYCLIFFE PROPERTY
HAMILTON, LLC         GENERAL                           MANAGEMENT LTD.
FESTIVAL DU           OBIE MEDIA LIMITED                WYLWOOD AND
VOYAGEUR INC.                                           ASSOCIATES
FETTICHA              OBION COUNTY TRUSTEE              WYOMING CAVALRY
DANDAPANI
FIAT HOLDINGS, INC.   OBJECT CLOUDS TECHNOLOGY          WYOMING SECRETARY
                      SOLUTIONS INC                     OF STATE
FIBER                 OBJECT FRONTIER SOFTWARE          WYRE ELECTRICAL
TECHNOLOGIES                                            CONTRACTING, INC.
NETWORKS, LLC-
CROWN CASTLE
FICKLING &            OBJECTIF LUNE INC                 WZRX RADIO
COMPANY, INC.
FIDELE IRABIZI        O'BRIEN ADVERTISING               X1 TECHNOLOGIES
FIDELITY              O'BRIEN ET AL. ADVERTISING, INC   XAD, INC.
CONSTRUCTION, INC
FIDES FINANCIAL       O'BROS LLC                        XBRAND ENTERPRISES,
CORPORATION                                             LLC.
FIDLER SALES, LTD.    OBSERVER PUBLISHING               XCEL ENERGY
FIDUCIARY             OC OFFICE SUPPLIES                XENTEL DM INC.
REPORTING, INC.
FIFTH THIRD BANK      OCCUPATIONAL TAX                  XERO SOFTWARE
ACH ONLY              ADMINISTRATOR                     (CANADA) LTD
FINAL ACT             OCEAN BLUE FACILITY               XEROX CANADA LTD.
ENTERPRISES, LLC      SOLUTIONS
FINAL TOUCH           OCEAN BREEZE WATERPARK            XEROX CORPORATION -
FLOORING AND                                            7405
INTERIORS
FINANCE AND           OCEAN CATERING COMPANY            XEROX CORPORATION -
COMMERCE                                                827181
FINANCEBUZZ           O'CONNOR, DOUGLAS                 XEROX CORPORATION -
                                                        827598
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FINANCEPAL            ODD JOBS BY JOHN                     XINNING ZHOU
HOLDINGS LLC
FINANCEPAL            ODELL, JAMES H.                      XL SPECIALTY
HOLDINGS LLC                                               INSURANCE COMPANY
FINANCIAL             ODETTE ATHANAS                       XOSOFT
ACOUNTING
STANDARDS BOARD
FINANCIAL ASSIT       ODU CONSTANT CENTER                  XPENSETRAX
MANAGEMENT
SYSTEMS, INC.
FINANCIAL             ODU OFFICE OF THE UNIVERSITY         X-POSURE MARKETING
EXECUTIVE             REGISTRAR
INTERNATIONAL
FINANCIAL             ODUYALE, SOLOMAN                     XPRESS NSTALLS
EXECUTIVES
INTERNATIONAL
FINANCIAL             OFFICE DEPOT, INC                    XPRESSDOCS.COM
REPORTING
ADVISORS, LLC
FINANCIAL SERVICE     OFFICE DESIGN                        XRUN INC.
CENTERS OF
MISSISSIPPI
FINDLAY MARKET        OFFICE FURNITURE OUTLET              XTENSION
ASSOCIATION                                                TECHNOLOGIES
FINE PROPERTIES       OFFICE FURNITURE OUTLET, INC.        YAHOO ! USA
FINE PROPERTIES       OFFICE MAX IMPRESS                   YAHOO, INC
FINEST HOLDINGS,      OFFICE OF ATTORNEY GENERAL           YAKES, JEFF
INC.
FINK, KEVIN           OFFICE OF ATTORNEY GENERAL -         YALE NEWBERRY, LLC
                      MD
FINN, MARY            OFFICE OF COMPLIANCE                 YALE NEWBERRY, LLC
FINRA                 OFFICE OF SECRETARY OF STATE -       YAMILE DORY
                      RHODE ISLAND
FIORE, DAN            OFFICE OF THE ATTORNEY               YAN POULIOT
                      GENERAL
FIRBY THIBEAULT       OFFICE OF THE STATE TREASURER        YAREK LIN
                      SD
FIRE & LIFE SAFETY    OFFICE PRODUCTS & SERVICES           YARIVETTE ROSADO
AMERICA, INC
FIRE & SAFETY         OFFICE PRODUCTS CENTRE               YARMOUTH JR A HOCKEY
CENTRE
FIRE FIGHTERS'        OFFICE PRODUCTS, INC                 YARNELL, JASON & LISA
ASSOCIATION OF
ONTARIO
FIRE SERVICE CORP     OFFICEMAX - (NAT'L ACCT)             YASSINE HIAM
FIRE SERVICE CORP.    OFFICEMAX - (PUBLIC SITE) (DONT      YATES PROPERTIES
                      USE FOR INHOUSE)
FIRE SERVICES, INC.   OFFICES ON MAIN, LLP                 YBM INC
FIRE TECH SERVICES,   OFFICETEAM                           YEAGER, AMY
INC.
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FIREFLY LEGAL OH,     OFFICETEAM                        YEIMAR SERVICES
INC.
FIRETEK, LLC          OFFICIAL FRANCHISES, LLC          YELLOW BOOK
FIREWHEEL SIGNS &     OFICINA L DE CAROLINA             YELLOW BOOK USA
GRAPHICS
FIRST ATLANTIC        OFS GROUP                         YELLOW FREIGHT
RESTORATION                                             SYSTEM, INC.
FIRST AVENUE          OG& E                             YELLOW PAGES GROUP
PARTNERSHIP
FIRST BANK OF         OG&E                              YELLOW
DELAWARE                                                TRANSPORTATION
FIRST CELLULAR        OGDEN, CONNIE                     YELP INC.
FIRST CENTURY         OGDEN, NEWELL & WELCH             YEON J KIM
BANK, N.A.
FIRST CENTURY         OGDEN, SAM                        YESCO ONTARIO EAST
BANK, N.A.
FIRST COMMERCIAL      OGESTA GUBEK                      YESENIA MELENDEZ
MANAGEMENT                                              GONZALEZ
FIRST COMMERCIAL      OGINO, LLC                        YESHIVA OF GREATER
REALTY, LLC                                             WASHINGTON
FIRST HORIZON CC      OGINO, LLC DBA VALLEJO PLAZA      YEXT INC.
                      CENTER
FIRST HORIZON-CC      OHANA HANA, INC                   YFC ENTERPRISES, LLC
FIRST LA BREA LLC     OHIO BUREAU OF EMPLOYMENT         YIFEI WANG
                      SRV.
FIRST MANAGEMENT      OHIO BUREAU OF WORKERS'           YIRA GRIEGO
INC                   COMPENSATION
FIRST NIAGARA         OHIO CONSUMER'S USE TAX           YMCA MT. TRASHMORE
BANK                  RETURN
FIRST PRIORITY        OHIO DENTAL ASSOCIATION-          YMCA YOUTH SPORTS
FUNDING, LLC          DAYTON SOCIETY
FIRST TENNESSEE       OHIO DEPARTMENT OF                YOGESWAR, INC
BANK N.A.             COMMERCE, DIVISION OF
                      UNCLAIMED FUNDS
FIRST USA BANK, NA    OHIO DEPARTMENT OF REVENUE-       YOLANDA AGUAYO DE
                      SALES AND USE TAX                 STRONG
FISHEL'S PAINT &      OHIO DEPARTMENT OF TAXATION       YOLANDA BALDOCK
REMODEL               - LICENSES
FISHER                OHIO DEPARTMENT OF                YOLANDA BUSSEY
BROADCASTING, INC.    TAXATION-CAT PAYMENTS
FISHER ZUCKER, LLC    OHIO EDISON- 3687                 YOLANDA OWSIENKO
FISHMAN PR            OHIO JOB & FAMILY SERVICES        YOMO MANAGEMENT
FITZGERALD,           OHIO SECRETARY OF STATE           YONGE-KINGSTON
STEVEN                                                  CENTRE INC
FIVE FISH PRESS LLC   OHIO STATE LANTERN                YORK ADAMS TAX
                                                        BUREAU
FIVE POINT DATA       OHIO TREASURER OF STATE           YORK ADAMS TAX
SYSTEMS INC.                                            BUREAU
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FIVE POINT DATA      OK& D MARKETING GROUP             YORK ELECTRIC
SYSTEMS-DO NOT                                         COOPERATIVE, INC
USE
FIVE POINTS, LLC     OKANAGAN COMPUTER                 YORK NEWSPAPER
                     PRODUCTS RECYCLING INC.
FIVE STAR PRINTING   OKLAHOMA COUNTY TREASURER         YORK REGION
                                                       PROFESSIONAL FIRE
FIXTURES GROUP,      OKLAHOMA DEPARTMENT OF            YORK RIVER CROSSING
INC.                 HUMAN SERVICES                    ASSOCIATES
FLAMINGO LAS         OKLAHOMA DEPARTMENT OF            YORK, SHAUN
VEGAS                REVENUE
FLAMINGO, INC.       OKLAHOMA NATURAL GAS              YORK-EGLINTON BIA
FLATH, BRIAN &       OKLAHOMA SECRETARY OF             YOSHARA MONCADA
LESLIE               STATE
FLAVIANA             OKLAHOMA STATE TREASURER,         YOUNG AUDIENCES
NOMBRADO             UNCLAIMED PROPERTY DIVISION       VIRGINIA
FLEMING, DEAN        OKLAHOMA TAX COMMISSION           YOUNG BOLD AND
                                                       BEAUTIFUL
FLETCHER BRIGHT      OKLAHOMA TAX COMMISSION           YOUNG DON NAM
COMPANY
FLETCHER, ARNOLD     OLD BRANDON FIRST COLONIAL        YOUNG FITNESS INC.
                     ASSOCIATES, LLC
FLEX REVOLUTION,     OLD COAST GUARD STATION           YOUNG LIM
LLC
FLICK, KENNETH B.    OLD DOMINION RECOVERY             YOUR FRANCHISES LLC
FLOOR COVERINGS      OLD DOMINION TREE & LAWN          YOUR OWN FRANCHISE,
INTERNATIONAL        CARE SPECIALIST                   INC
FLOOR DECORATOR      OLD DOMINION UNIVERSITY           YP HOLDINGS, LLC
LLC
FLOOR STORE          OLD DOMINION UNIVERSITY           YPPA
FLORA ALLAN          OLD DOMINION UNIVERSITY           YRC REIMER
FLORENCE UPHAM       OLD DOMINION UNIVERSITY           YUEN LUI SQUARE LLC
FLORENTINA           OLD DOMINION UNIVERSITY           YUK YUK'S ON TOUR
MORARU               CAREER MANAGEMENT CENTER
FLORIA MOORE         OLD DOMINION UNIVERSITY           YUKON QUEST
                     RESEARCH FOUNDATION               INTERNATIONAL
                                                       CANADA
FLORIDA ASSUMED      OLD DOMINION UNIVERSITY-          YULEE STATE, LLC
NAME SERVICES        DINING SERVICES
FLORIDA ATLANTIC     OLD DOMINION UNIVERSITY-          YULIANA SLAVOVA
UNIVERSITY           FINANC
FLORIDA BAR          OLD NATIONAL LP                   YUN AND SIMONIAN. PC
FLORIDA              OLD QUEBEC TOURS                  YURI LIPKOV
DEPARTMENT OF
FINANCIAL SERVICES
FLORIDA              OLD TOWNE RETAIL                  YUSEF HAMIDEH
DEPARTMENT OF        INVESTMENTS, LLC
REVENUE
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FLORIDA DEPT OF      OLDTIMER BENEFIT HOCKEY            YUYU BARBEN
AGRICULTURE AND
CONSUMER
SERVICES
FLORIDA DEPT OF      OLDTIMERS HOCKEY CHALLENGE         YVES RHEAULT
FINANCIAL SERVICES
FLORIDA DEPT. OF     OLEANA PROPER                      YVETTE DUGAS
STATE
FLORIDA POWER &      OLEKSENDRA SOROKINA                YVON LACROIX
LIGHT COMPANY
FLORIDA REALTY       OLEVIER CHAMPAGNIE                 YVON LAFRANCE
GROUP
FLORIDA REALTY       OLGA MOTKINA                       YVONNE JULIET
INVESTERS, L.P.                                         MULLINGS
FLORIDA STATE        OLGA MOTKINA                       YVONNE NAVARRO
DISBURSEMENT UNIT
FLORIDA TIMES        OLGA MUSYKHINA                     YVONNE SCHWALM
UNION
FLOR-LINE            OLIVER & WINKLE, P.C               YWCA
ASSOCIATES
FLOW 93.5            OLROGGE, GEORGE                    YWCA - SOUTH HAMPTON
                                                        ROADS
FLOYD COUNTY TAX     OLSEN, GEORGE                      YWCA OF S. HAMPTON
COMMISSIONER                                            ROADS
FLOYD PRESS          OLSON ELECTRIC LTD.                Z COMPANY STORES
FLSPRING HILL        OLSON, FRED                        Z COMPANY STORES
CORTEZ, LLC
FLUENT, LLC.         OM INTERNATIONAL                   Z103.5
                     CORPORATION
FLYING HOG CYCLES    OMAHA LANCERS HOCKEY CLUB          ZACHARY M STROM
INC
FLYNN, MONICA        OMAHA WORLD HERALD                 ZADA, LLC DABA METRO
                                                        INVESTIGATIONS, LLC
FM HEATING & AIR     OMAR SMOKE ON THE BEACH            ZAHER, MAHMOUD A.
CONDITIONING
FMM PROPERTIES       OMNINET PROPERTIES                 ZAHN COURT
INC                  MANCHESTER CENTER LLC              REPORTING, LTD.
FOCCA, ANTHONY       OMNIPRINT                          ZAHN, HALL & ZAHN LTD.
FOCUS BRANDS, INC.   OMNITURE, INC.                     ZAHOUREK, RICHARD
FOG CREEK            OMS EAST LLC                       ZAIR MANAGEMENT
SOFTWARE, INC.                                          COMPANY
FOLEY & LARDNER      ON BOARD ADVERTISING INC           ZARES, LLC
LLP
FOLIO                ON BOARD ADVERTISING INC.          ZAYMA REALTY
INVESTMENTS, INC.                                       HOLDINGS INC
FOLKLORAMA           ON THE GO MAGAZINE                 ZEAL CAPITAL
                                                        MANAGEMENT LLC
FOLLETT'S            ONE ACCORD REALTY CORP             ZEE CALLS, LLC
TIDEWATER
BOOKSTORE
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FONCA/DONATIVOS      ONE MAN WITH A PAINTBRUSH           ZEENAT SHAFI
FOOD FOR THE POOR,   ONE O ONE DELIVERY SYSTEMS          ZEESHAN HAIDER ABIDI
INC
FOOD-A-RAMA          ONE WAVERLY LLC                     ZEIGLER FLORISTS, INC.
FOODBANK OF          O'NEAL, WILLIAM                     ZELDES NEEDLE &
SOUTH EASTERN                                            COOPER
VIRGINIA
FOOK YOUNG LIM       ONECARD MARKETING, INC. DBA         ZEMANIAN LAW GROUP
                     REVTRAX
FOOTNOTES PRESS,     O'NEILL & BORGES, LLC               ZENCZAK LIVING TRUST
LLC
FOR THE RECORD,      ONETONE TELECOM, INC                ZENDESK, INC
INC.
FORBES               ONOFRIO STRONGOLI                   ZENITH INSURANCE
                                                         COMPANY
FORBES MAGAZINE      ONSET CAPITAL CORPORATION           ZEPHYR CONSTRUCTION
FORBES REPRINTS      ONSLOW COUNTY TAX                   ZERO IN MEDIA LLC
AND LICENSING        COLLECTOR
FORD, TIMOTHY        ONTARIO COMMUNITY                   ZFERRAL, INC (DBA
                     NEWSPAPER ASSOCIATION               AMBASSADOR
                                                         SOFTWARE)
FORDHAM              ONTARIO FIREFIGHTERS SAFETY         ZIMMERMAN, FRED J.
RENAISSANCE          MAGAZINE
ASSOCIATES
FORESIGHT            ONTARIO HOME RENOVATIONS            ZIMMERMAN, PAUL
CONSULTING, INC.     INC.
FOREST HARLEM        ONTARIO SECURITIES                  ZIRIMWABADABO
PROPERTIES LIMITED   COMMISSION                          HUBARUGIRA
PARTNERSHIP
FOREVER YOURS        ONTREA INC.                         ZOEL BABINEAU
PHOTOGRAPHY
FORLINI, JUSTIN      ONWUKA, CHUKWUDI                    ZOHO CORPORATION
FORMS & SUPPLY,      OPALA IRENEUSZ                      ZONC ENTERPRISES, INC.
INC.
FORREST SEWER        OPB REALTY INC.                     ZONES
PUMP SERVICE, INC
FORSYTHIA            OPEN A FRANCHISE                    ZONES
FOUNDATION
FORT MYERS           OPEN ARMS MISSION                   ZONES LLC
BROADCASTING
FORT NELSON MINI     OPERATION HOMEFRONT MID-            ZOOTS CLEANERS
STORAGE              ATLANTIC
FORT YORK FOOD       OPERATION SCUGOG                    ZUBI ADVERTISING
BANK                                                     SERVICES, INC.
FORTISBC-NATURAL     OPIPOZ LLC                          ZULIANI GLASS CENTRE
GAS
FORTRA, LLC          OPPD                                ZURICH KEMPER
FORTUNE - NEW        OPT GOLDEN HILLS                    ZXUH, ANGIE
BUSINESS VENTURES
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FORTUNE           OPTIMA HEALTH - 2812
COMMERCIAL
MANAGEMENT, LLC
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Fill in this information to identify the case and this filing:



Debtor Name NextPoint Financial Inc.

United States Bankruptcy Court for the:                          District of Delaware
                                                                           (State)
Case number (If known):           23-10983

Official Form 202

Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.


                       Declaration and signature

                   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
                   another individual serving as a representative of the debtor in this case.

                   I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


                   ☐              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                   ☐              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                   ☐              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                   ☐              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                   ☐              Schedule H: Codebtors (Official Form 206H)


                   ☐              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                   ☐               Amended Schedule


                   ☐              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official
                                  Form 204)


                   ☒              Other document that requires a declaration Rule 1007(a)(4) Statement and Corporate Ownership Statement

I declare under penalty of perjury that the foregoing is true and correct.

Executed on            07/26/2023
                       MM / DD / YYYY                              /s/ Peter Kravitz
                                                                  Signature of individual signing on behalf of debtor

                                                                  Peter Kravitz
                                                                  Printed name

                                                                  Chief Restructuring Officer
                                                                  Position or relationship to debtor
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Due to the voluminous nature of the remaining 29 pe��ons ﬁled in these bankruptcy proceedings, the

documents may be (i) viewed and downloaded free of charge at the Debtors’ case website

(htps://cases.streto.com/NextPoint/), or (ii) obtained upon writen request (including by e-mail) to

counsel to the Foreign Representa�ve, DLA Piper (US) LLP, 1201 N. Market Street, Suite 2100

Wilmington, Delaware 19801 (Atn: R. Craig Mar�n, Esq. [craig.mar�n@us.dlapiper.com]), and 1251

Avenue of the Americas, New York, New York 10020 (Atn: Rachel Ehrlich Albanese, Esq.

[rachel.albanese@us.dlapiper.com] and Jamila Jus�ne Willis, Esq. [jamila.willis@us.dlapiper.com]):


  Case Number       Docket       Date
                    Number       Filed     Document Name

     23-10984           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding
                                           Filed by NextPoint Financial Inc., NPI Holdco LLC.

     23-10985           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., NPLM Holdco LLC.

     23-10986           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., LT Holdco, LLC.

     23-10987           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., MMS Servicing LLC.

     23-10988           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., LT Intermediate Holdco LLC.

     23-10989           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., LoanMe, LLC.

     23-10990           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., SiempreTax+ LLC.

     23-10991           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., JTH Tax LLC.

     23-10992           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., LoanMe Funding, LLC.
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23-10993      1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                               Filed by NextPoint Financial Inc., Liberty Tax Holding
                               Corpora�on.

23-10994      1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                               Filed by NextPoint Financial Inc., LM Reten�on Holdings, LLC.

23-10995      1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                               Filed by NextPoint Financial Inc., LoanMe Trust Prime 2018-1.

23-10996      1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                               Filed by NextPoint Financial Inc., LoanMe Trust SBL 2019-1.

23-10997      1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                               Filed by NextPoint Financial Inc., LoanMe Stores, LLC.

23-10998      1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                               Filed by NextPoint Financial Inc., InsightsLogic, LLC.

23-10999      1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                               Filed by NextPoint Financial Inc., LM 2020 CM I SPE, LLC.

23-10100      1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                               Filed by NextPoint Financial Inc., Liberty Tax Service Inc..

23-10101      1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                               Filed by NextPoint Financial Inc., JTH Financial, LLC.

23-10102      1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                               Filed by NextPoint Financial Inc., JTH Proper�es 1632, LLC.

23-10103      1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                               Filed by NextPoint Financial Inc., Liberty Credit Repair, LLC.

23-10104      1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                               Filed by NextPoint Financial Inc., Weﬁle, LLC.

23-10105      1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                               Filed by NextPoint Financial Inc., JTH Tax Oﬃce Proper�es,
                               LLC.

23-10106      1    7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                               Filed by NextPoint Financial Inc., LTS So�ware, LLC.
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     23-10107           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., JTH Court Plaza, LLC.

     23-10108           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., 360 Accoun�ng Solu�ons,
                                           LLC.

     23-10109           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., LTS Proper�es, LLC.

     23-10110           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., CTAX Acquisi�on LLC.

     23-10111           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., Community Tax Puerto Rico
                                           LLC.

     23-10112           1      7/26/2023   Chapter 15 Pe��on for Recogni�on of Foreign Proceeding.
                                           Filed by NextPoint Financial Inc., Community Tax LLC.


A copy of the cer�ﬁed Ini�al Order, as entered by the Canadian Court, is available to be viewed and

downloaded free of charge as Exhibit 1 to Docket Number 20 on the Debtors' case website

(https://cases.stretto.com/NextPoint/) or obtained upon written request (including by e-mail) to

counsel to the Foreign Representative, DLA Piper (US) LLP, 1201 N. Market Street, Suite 2100

Wilmington, Delaware 19801 (Attn: R. Craig Martin, Esq. [craig.martin@us.dlapiper.com]), and 1251

Avenue of the Americas, New York, New York 10020 (Attn: Rachel Ehrlich Albanese, Esq.

[rachel.albanese@us.dlapiper.com] and Jamila Justine Willis, Esq. [jamila.willis@us.dlapiper.com]).
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                   23-10983-TMHDoc
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                              EXHIBIT B TO NOTICE

                                  Verified Petition




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                        Chapter 15
    NEXTPOINT FINANCIAL INC., et al.,                             Case No. 23-10983 (TMH)
                  Debtors in a foreign proceeding.1               (Joint Administration Requested)


              VERIFIED PETITION FOR (I) RECOGNITION OF
   FOREIGN MAIN PROCEEDINGS, OR, IN THE ALTERNATIVE, FOREIGN
NON-MAIN PROCEEDINGS, (II) RECOGNITION OF FOREIGN REPRESENTATIVE,
AND (III) RELATED RELIEF UNDER CHAPTER 15 OF THE BANKRUPTCY CODE

             NextPoint Financial Inc. (“NextPoint Financial”), in its capacity as the duly-appointed

foreign representative (the “Foreign Representative”) for the above-captioned foreign debtors as

“debtors” as defined in 11 U.S.C. § 1502 (collectively, the “Debtors”), subject to the proceedings

(the “Canadian Proceedings”) currently pending before the Supreme Court of British Columbia

(the “Canadian Court”), initiated under the Companies’ Creditors Arrangement Act, R.S.C.

1985, c. C-36 (as amended, the “CCAA”), by and through its undersigned counsel, hereby submits

this Verified Petition for (I) Recognition of Foreign Main Proceedings, or, in the Alternative,

Foreign Non-Main Proceedings, (II) Recognition of Foreign Representative, and (III) Related

Relief Under Chapter 15 of the Bankruptcy Code (the “Verified Petition”) in furtherance of the

Official Form 401 Petitions [D.I. No. 1] (each a “Petition, and collectively with the Verified

Petition, the “Chapter 15 Petition”), filed as of the date hereof (the “Petition Date”) under


1
 The Debtors in these chapter 15 proceedings, together with the last four digits of their business identification numbers
are: NextPoint Financial Inc. (6134); LT Holdco, LLC (8090); LT Intermediate Holdco, LLC (0811); SiempreTax+
LLC (6145); JTH Tax LLC (8391); Liberty Tax Holding Corporation (N/A); Liberty Tax Service, Inc. (N/A); JTH
Financial, LLC (1522); JTH Properties 1632, LLC (0248); Liberty Credit Repair, LLC (5427); Wefile, LLC (6778);
JTH Tax Office Properties, LLC (0248); LTS Software LLC (6450), JTH Court Plaza, LLC (2116); 360 Accounting
Solutions, LLC (8312); LTS Properties, LLC (9088); NPI Holdco LLC (1936); CTAX Acquisition LLC (6975);
Community Tax Puerto Rico LLC (4349); Community Tax LLC (8001); NPLM Holdco LLC (8132); MMS Servicing
LLC (7430); LoanMe, LLC (5663); LoanMe Funding, LLC (2305); LM Retention Holdings, LLC (N/A); LoanMe
Trust-Prime 2018-1 (0257); LoanMe Trust SBL 2019-1 (N/A); LoanMe Stores LLC (3810); InsightsLogic LLC
(0818); and LM 2020 CM I SPE, LLC (N/A). The location of the Debtors’ headquarters is 500 Grapevine Hwy, Suite
402, Hurst, TX 76054, and the Debtors’ mailing address is 1133 Melville St., Suite 2700, Vancouver, BC V6E 4E5.


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sections 1504 and 1515 of chapter 15 of title 11 of the United States Code (the “Bankruptcy

Code”), commencing these chapter 15 cases (the “Chapter 15 Cases”) and seeking an order and

final decree granting recognition of the Canadian Proceedings as “foreign main proceedings” or

alternatively as foreign non-main proceedings, as each is defined in section 1502(4) of the

Bankruptcy Code.

        Contemporaneously herewith, and in support of the Chapter 15 Petition, the Foreign

Representative files (a) the Memorandum of Law in Support of Verified Petition for Recognition

of Foreign Main Proceeding and Certain Related Relief (collectively, the “Recognition

Memorandum”), (b) the Declaration of Peter Kravitz in Support of Debtors’ Verified Petition for

(I) Recognition of Foreign Main Proceedings, (II) Recognition of Foreign Representative, and

(III) Debtors’ Motion for Certain Provisional Relief (“Kravitz Declaration”), and (c) the

Declaration of Colin Brousson as Canadian Counsel to the Debtors in Support of the Debtors'

Chapter 15 Petitions and Requests for Certain Related Relief Pursuant to Chapter 15 of the

Bankruptcy Code, (the “Brousson Declaration”).

       The Foreign Representative petitions this Court as follows:

                               PRELIMINARY STATEMENT

       1.      The Debtors are providers of financial and tax services for small businesses and

consumers in Canada and the United States. On July 25, 2023, to address the Debtors’

overburdened debt structure, the Debtors entered into a Restructuring Support Agreement (the

“RSA”) with certain of their secured creditors whereby, among other things, the Petitioners agreed

to commence the Canadian Proceedings pursuant to the CCAA and these ancillary Chapter 15

Cases in the United States. The RSA embodies a restructuring (the “Restructuring”) by which

the Debtors will engage in a marketing and sale and investment solicitation process of the Debtors’


                                                2

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businesses to maximize value for all stakeholders. To ensure the success of the Restructuring, the

board of directors of NextPoint Financial – which is the ultimate parent company of all of its

Debtor subsidiaries – (a) appointed Peter Kravitz to serve as its chief restructuring officer and as

an authorized signatory of NextPoint Financial, (b) authorized NextPoint Financial to commence

these Chapter 15 Cases to petition this Court for recognition of the Canadian Proceedings as

foreign main, or in the alternative, as foreign non-main proceedings, and (c) appointed NextPoint

to serve as Foreign Representative of the Debtors. (See Petitions, Ex. A). On the Petition Date, the

Foreign Representative filed the Chapter 15 Petitions for each of the Debtors, commencing these

Chapter 15 Cases.

       2.      Recognition of the Canadian Proceedings is imperative to the success of the

Restructuring because it is aimed at protecting the Debtors and their assets within the territorial

jurisdiction of the United States from creditor and any other actions once parties learn of the

Canadian Proceedings, and it will complement the moratorium imposed under CCAA within

Canada. Recognition, if granted, will serve chapter 15’s purpose – to allow for centralized

administration of the Debtors’ assets by establishing a means of coordination between the

insolvency court in Canada and this Court and leveling the playing field for the Debtors, their

creditors, franchisees and other interested parties in Canada and the United States. Without this

Court’s recognition of the Canadian Proceedings, the Debtors’ operations in the United States may

be jeopardized due to creditor and franchisee enforcement actions, which would have a devastating

effect on the Debtors and their Restructuring, resulting in diminished, if any, recoveries to the

creditors of the Debtors.

       3.      The recognition and relief sought by the Foreign Representative in these Chapter

15 Cases will ensure that these Chapter 15 Cases and the Canadian Proceedings are conducted in


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a fair, efficient, uninterrupted, and centralized manner with the goal of providing utmost

protections and maximizing the value of the Debtors’ assets for the benefit of all stakeholders,

including creditors, preserving jobs of the Debtors and their franchisees, and ensuring

uninterrupted service to the Debtors’ customers.

       4.      As required by section 1515(b) of the Bankruptcy Code, the Petition is

accompanied by a copy of the relevant Canadian Court orders commencing the Canadian

Proceedings and appointing the Foreign Representative. See Petition [D.I. 1]. In accordance with

section 1515(c) of the Bankruptcy Code, the Foreign Representative has also filed a disclosure and

verified statement, identifying all foreign proceedings with respect to each Debtor known to the

Foreign Representative. See Petition [D.I. 1]. The Foreign Representative respectfully submits

that the Chapter 15 Petitions satisfy the requirements of chapter 15 of the Bankruptcy Code

because the Canadian Proceedings is a “foreign proceeding” as defined in section 101(23) of the

Bankruptcy Code, the Foreign Representative is a “foreign representative” as defined in section

101(24) of the Bankruptcy Code for each of the Debtors, and all other requirements for recognition

have been fulfilled. Additionally, the Chapter 15 Petition satisfies the requirements in sections

1515 and 1517 of the Bankruptcy Code, mandating recognition. For these reasons, as more fully

explained below, the Foreign Representative respectfully requests that the Court grant the relief

requested in this Chapter 15 Petition.




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                                 JURISDICTION AND VENUE

       5.      This Court has jurisdiction over these cases under sections 157 and 1334 of title 28

of the United States Code and the Amended Standing Order of Reference of the United States

District Court for the District of Delaware (Sleet, C.J.), dated February 29, 2012.

       6.      The Foreign Representative has properly commenced each case under sections

1504 and 1515 of the Bankruptcy Code. Recognition of a foreign proceeding and other matters

under chapter 15 of the Bankruptcy Code are core matters under 28 U.S.C. § 157(b)(2)(P).

       7.      Venue for this case is proper in this Court under section 1410 of title 28 of the

United States Code because the Debtors have their principal assets in the United States located in

Delaware. The Debtors have property in Delaware via their indirect ownership in the equity of

Delaware entities, and each debtor has an interest in a retainer on deposit with the Delaware office

of DLA Piper LLP (US) in which the Debtors have a continuing ownership interest. These funds

are held in a Wells Fargo bank account in accordance with Delaware Rule of Professional

Responsibility 1.5. See Kravitz Decl. ¶ 150.

       8.      As required by rule 7008 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) and rule 9013-1(f) of the Local Rules of Bankruptcy Practice and Procedure

of the United States Bankruptcy Court for the District of Delaware, the Foreign Representative

consents to the entry of final orders or judgments by the Court if it is later determined that the

Court, absent consent of the parties, cannot enter final orders or judgments consistent with article

III of the United States Constitution.

       9.      The statutory bases for the relief requested in this Chapter 15 Petition are sections

101(23)-(24), 105(a), 306, 1502, 1504, 1507, 1509, 1510, 1512, 1515, 1516, 1517, 1520, 1521,

1522, and 1524 of the Bankruptcy Code.


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                                  FACTUAL BACKGROUND

       A.      The Debtors’ Corporate Structure and Business Operations

       10.     NextPoint Financial is a Canada-based company that offers a marketplace for

financial services targeting consumers and small businesses. The “NextPoint Group,” as

demonstrated on the corporate chart attached as Exhibit A to the Kravitz Declaration, includes

NextPoint Financial and an intermediate holding company, NPI Holdco LLC (“NPI Holdco”),

incorporated in Delaware, and twenty-nine (29) subsidiaries incorporated in several jurisdictions,

and operating through three segments: Liberty Tax, Community Tax, and LoanMe, consisting of

the following subsidiaries:

               a.      Liberty Tax companies: these companies are comprised of LT Holdco,
                       LLC, LT Intermediate Holdco, LLC, JTH Tax, LLC, JTH Financial, LLC,
                       JTH Properties 1632 LLC, JTH Tax Office Properties, LLC, Wefile LLC,
                       Liberty Credit Repair, LLC, Liberty Tax Holding Corporation, Liberty Tax
                       Service Inc., LTS Software LLC, JTH Court Plaza, LLC, 360 Accounting
                       Solutions, and LLC LTS Properties, LLC (collectively, “Liberty Tax”).
                       The various Liberty Tax companies are incorporated under the laws of
                       Ontario, Delaware, and Virginia. The Liberty Tax segment provides income
                       tax services in the United States and Canada with over 250 locations in
                       Canada (headquartered in Markham, Ontario) and 2300 locations in the
                       United States (headquartered in Hurst, Texas). The vast majority of Liberty
                       Tax’s operations are franchised to small business owners and operators
                       pursuant to the terms of a franchise agreement with JTH Tax. Liberty Tax
                       also operates a limited number of company-owned offices during tax season
                       in order to meet customer demand.

               b.      Community Tax companies: these companies are comprised of CTAX
                       Acquisition LLC, Community Tax Puerto Rico LLC, and Community Tax
                       LLC (collectively, “Community Tax”), and incorporated variously under
                       the laws of Delaware and Illinois. The Community Tax segment provides
                       tax debt resolution services at both the federal and state level, as well as
                       other tax related services and offers tax resolution services by first
                       investigating outstanding tax debts, then negotiating the resolution of those
                       debts with the IRS, on behalf of their customers. Community Tax is based
                       in Chicago, Illinois and has offices in Jacksonville, Florida and San Juan,
                       Puerto Rico.

               c.      LoanMe companies: these companies are comprised of NPLM Holdco
                       LLC, LoanMe, LLC, MMS Servicing LLC, LoanMe Funding, LLC, LM
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                       Retention Holdings, LLC, LoanMe Stores LLC, LoanMe Trust Prime 2018-
                       1, LoanMe Trust SBL 2019-1, InsightsLogic LLC, and LM 2020 CM I SPE
                       LLC (collectively, “LoanMe”), and incorporated under the laws of
                       Delaware. The LoanMe segment is a specialty finance lender in the U.S.
                       that was previously in the business of originating, acquiring, and marketing
                       unsecured consumer installment loans to individuals and businesses, but has
                       been in the process of winding down operations since June 2022. LoanMe’s
                       small business loan program previously operated in 31 States and its
                       personal loan program in nine States.

       11.     NextPoint Financial was incorporated on July 16, 2020, under the Business

Corporations Act (British Columbia) as a special purpose acquisition corporation for the purpose

of effecting, directly or indirectly, an acquisition of one or more businesses or assets, by way of a

business combination. NextPoint Financial acquired Liberty Tax, a leading provider of tax

preparation services, and LoanMe, an online lender and loan marketer, in July 2021, and

Community Tax, a tax debt resolution service, in December 2021 (in each case indirectly through

NPI Holdco).

       12.     NextPoint Financial’s registered office is in Vancouver, British Columbia.

NextPoint Financial does business in the United States and Canada, both directly and through its

subsidiaries Liberty Tax, Community Tax, and LoanMe (the “Subsidiaries”).

       B.      The Debtors’ Capital Structure

       13.     The Debtors’ accrued prepetition funded debt obligations approximate $284

million under their currently outstanding, prepetition credit facilities.

NP/LT Credit Facility Agreement

       14.     Each of NPI Holdco and LT Holdco, LLC (“LT Holdco”) are borrowers under a

Credit Agreement, originally dated as of July 2, 2021 and as amended through Amendment No. 5

thereto dated as of June 30, 2023 (as may be amended, restated, supplemented, or otherwise

modified from time to time, the “NP/LT Credit Agreement”) with BP Commercial Funding

Trust, Series SPL-X, as administrative agent and collateral agent (the “NP/LT Facility Agent”)
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on behalf of the lenders thereunder (with respect to the NP Revolving Credit Loans (as defined

below), the “NP Lenders”, and with respect to the LT Term Loan (as defined below), the “LT

Lenders”).

       15.     Under the NP/LT Credit Agreement, the NP Lenders originally agreed to extend a

revolving credit facility to NPI Holdco of $200 million. The NP/LT Credit Agreement was

subsequently amended and restructured on November 1, 2022 to (i) reduce the maximum revolving

credit facility commitment available to NPI Holdco at $130 million, and (ii) provide a new $74.4

million term loan to LT Holdco, discussed further below. As of July 14, 2023, there was

approximately $125.7 million in outstanding principal amount of revolving loans borrowed by NPI

Holdco under the NP/LT Credit Agreement (the “NP Revolving Credit Loans”). Interest is

payable on outstanding NP Revolving Credit Loans at a rate of 13% per annum, payable monthly.

The NP Revolving Credit Loans mature on July 2, 2025. The draw maturity for additional NP

Revolving Credit Loans under the NP/LT Credit Agreement matured on July 2, 2023.

       16.     All obligations of NPI Holdco under the NP/LT Credit Agreement are secured

against all assets of NextPoint Financial, including restricted subsidiaries (subordinated only to

the claims of the LT Lenders (as defined below) in respect of the LT Term Loan (as defined below),

pursuant to that certain Intercreditor Agreement, dated as of November 1, 2022, by and among the

NP/LT Facility Agent, the NP Lenders and the LT Lenders, the “Intercreditor Agreement”)) and

by guarantees provided by NextPoint, all companies comprising Liberty Tax (other than Liberty

Tax Holding Corporation and Liberty Tax Service, Inc.) and by three companies within the

LoanMe group of companies (NPLM Holdco LLC, LoanMe, LLC and InsightLogic LLC)

(collectively, the “Guarantors”).

LT Term Loan


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       17.      LT Holdco is a borrower under the NextPoint Revolver Facility Agreement

pursuant to which the NextPoint Facility Agent advanced a term loan of $74.4 million (the “LT

Term Loan”). As of July 14, 2023, the LT Term Loan was fully drawn. Interest on the LT Term

Loan accrues at the SOFR Reference Rate plus 9.50% per annum. The LT Term Loan matures on

July 2, 2025.

       18.      All obligations of LT Holdco under the LT Term Loan are secured against the assets

of NextPoint, NPI Holdco and LT Holdco, and by guarantees provided by the Guarantors;

provided, that pursuant to the Intercreditor Agreement, all property, assets and interests in property

owned by the LoanMe group of companies and all equity interests therein are solely for the benefit

of the NP Lenders.

Community Tax Facility

       19.      The Community Tax Facility is comprised of a single advance term loan to CTAX

Acquisition LLC (“CTAX LLC”) as borrower in the amount of $70 million, as follows:

                a.     $45 million of senior debt held by Drake Enterprises Ltd. which bears

                       interest at a rate of 9% per annum (the “Drake Debt”). The Drake Debt is

                       secured on a first lien basis against all property and interests in property of

                       CTAX LLC or any subsidiary thereof.

                b.     $15 million of subordinated debt held by Frontier Capital Group Ltd. which

                       bears interest at a rate of 11% per annum (the “Frontier Debt”). The

                       Frontier Debt is secured on a second lien basis against all property and

                       interests in property of CTAX LLC or any subsidiary thereof; and

                c.     $10 million of subordinated debt to BP Commercial Funding Trust II, Series

                       SPL-I which bears interest at a rate of 11% per annum, paid monthly (the


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                       “BP Debt”). The BP Debt is secured on a second lien basis against all

                       property and interests in property of CTAX LLC or any subsidiary thereof,

                       (collectively, the “Community Tax Facility”).

       20.      The Community Tax Facility is guaranteed by both Community Tax Puerto Rico

LLC and Community Tax LLC. It may be prepaid, with final repayment due on the maturity date

(December 30, 2027), and monthly interest payments beginning on September 1, 2022.

       21.      As of May 31, 2023, approximately $70 million was outstanding on the Community

Tax Facility.

Unsecured Debt

       22.      The unsecured debt of the NextPoint Group primarily consists of the following:

                a.     unsecured trade debt which, as of July 21, 2023, totals approximately

                       US$5.25 million in the United States and CA$15,000 in Canada;

                b.     unsecured obligations of approximately $1.4 million owing to Frontier

                       Capital Group, Ltd. under an unsecured note issued by NextPoint and

                       having a maturity date of April 30, 2026 (the “Frontier Note”). Pursuant to

                       the Frontier Note, NextPoint commenced required monthly payments on the

                       Frontier Note of US$45,369.87 on May 1, 2023, and which payments are

                       scheduled to continue for the next 35 months;

                c.     an unsecured loan of US$500,000, advanced by the U.S. Small Business

                       Administration and guaranteed by Jonathan Williams and Bliksum, LLC to

                       LoanMe, LLC, bearing interest at a rate of 3.75%;

                d.     various settlement and litigation related obligations.

       23.      In addition to the foregoing unsecured debt, the NextPoint Group has various

intercompany obligations outstanding, including the following:
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               a.      NextPoint is owed approximately US$85 million by its various subsidiaries

                       relating to advances made in order to fund their continuing operations,

                       including US$77.8 million by LoanMe and $7.4 million by Community

                       Tax; and

               b.      Liberty Tax is owed approximately US$30.8 million by NextPoint.

       24.     The significant intercompany obligation between Liberty Tax and NextPoint is the

result of the disproportionate share of operating costs for the NextPoint Group as a whole that

Liberty Tax has borne during the past years. As discussed further below, the Liberty Tax business

is profitable and viable and, as a result, has funded approximately US$31 million to NextPoint

which, in turn, has pushed such funds down to the Community Tax and LoanMe business lines to

fund their daily operations and, since mid-2022, LoanMe’s wind down. Such business lines have

been unable to either service their debt or fund their normal course operating expenses without

funds from Liberty Tax by means of the foregoing intercompany funding arrangements.

       C.      The Debtors’ Financial Performance

       25.     The NextPoint Group maintains total leverage ratio of approximately 18.8 times

debt to earnings before interest, taxes, depreciation, and amortization (“EBITDA”), significantly

constraining the NextPoint Group’s ability to raise additional capital or service its debt obligations.

At the Community Tax level, the total leverage ratio is currently above 27.0 times debt to EBITDA.

Based on the NextPoint Group’s free cash flow metrics, it would take the current organization over

twenty-five (25) years to repay solely its principal obligations. The NextPoint Group does not




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believe there is a viable and sustainable path forward for the business with the current capital

structure constraints.

           EVENTS LEADING TO THE COMMENCEMENT OF THE DEBTORS’
                              ADMINISTRATION

       26.     The Petitioners are over-leveraged and have recurring operating losses, working

capital deficiencies, and insufficient cash flow to meet their obligations. As of July 14, 2023, the

NextPoint Group has an outstanding debt load of approximately US$285 million. It has a financial

leverage ratio across the enterprise of approximately 18.8, constraining its ability to raise

additional capital, service its debt obligations or raise additional capital. Community Tax’s

financial leverage is currently in excess of 27.0 times debt to EBITDA.

       27.     Based on the NextPoint Group’s free cash flow metrics, management forecasts that

it will take the current organization over twenty-five (25) years to repay its principal obligations

(including interest, fees, penalties, etc.). Management is of the view that there is no viable and

sustainable path forward for the NextPoint Group based on the current capital structure without a

significant restructuring.

       28.     The current financial situation faced by the NextPoint Group is the result of

macroeconomic factors caused by the novel coronavirus 2019 pandemic (“COVID-19”), which

led to an unsustainable capital structure driven by outsized leverage to the businesses’ ability to

service.

       29.     In response to COVID-19, tax authorities decreased their enforcement steps, which

reduced Community Tax’s new client creation rates and led to lower revenues, year over year,

from both Liberty Tax and Community Tax.

       30.     As a result, the Debtors are over-leveraged and have significant recurring operating

losses, working capital deficiencies, and insufficient cash flow to meet their obligations.

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       31.     Recognizing the need to restructure the NextPoint Group’s business and its debt

load in order to better position it for long-term success, in June 2022, LoanMe announced that it

would cease further loan originations and would only continue to service its outstanding loans. In

September 2022, in response to continuing financial difficulties, the NextPoint Group determined

that it needed to restructure its business to refocus its resources solely on its Liberty Tax and

Community Tax segments. The NextPoint Group accordingly announced that it would be winding

down the LoanMe segment on a go forward basis. Such wind down efforts have been ongoing.

       32.     In addition to winding down LoanMe, on September 30, 2022, the NextPoint Group

completed a financial and organizational restructuring with BP Commercial Funding Trust II,

Series SPL-I (“BP SPL-1”) in which NextPoint and BP SPL-1 entered into two Assignment of

Interest and Foreclosure Consent Agreements. Pursuant to such agreements, BP SPL-1 received

100% of the equity in two LoanMe special purpose entities in consideration for a $12.0 million

promissory note of NextPoint in favour of BP SPL-1 at a zero coupon, with an original maturity

date of December 31, 2023. On February 27, 2023, NextPoint extended the maturity date and

modified the repayment schedule and applicable interest rate. The maturity date was extended to

January 2, 2026, with the zero-coupon staying in place through maturity. The LoanMe special

purpose entities represented approximately 90% of LoanMe’s loan portfolio.

       33.     Finally, as discussed above, on November 1, 2022, NextPoint and the NextPoint

Facility Agent entered into a Waiver and Amendment to the NextPoint Revolving Credit

Agreement, which, among other things, set the maximum revolving credit facility commitment at

$130.0 million and provided for a new $74.4 million term loan to LT Holdco. Proceeds from the

new LT Term Loan were used by the NextPoint Group to provide additional working capital and




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to pay down the outstanding principal balance drawn under the existing NextPoint Revolving

Credit Agreement.

       34.     While the foregoing resulted in various positive financial and operational benefits

for the NextPoint Group, such efforts were not sufficient to address the NextPoint Group’s

overleveraged financial position and cash flow constraints.

       35.     As part of its efforts to restructure for the benefit of stakeholders, the NextPoint

Group commenced discussions in or about June 2023, with its primary secured lender, Basepoint

Capital (through its various wholly owned funding trusts comprising the NextPoint Facility

Lenders and BP Debt lenders, collectively, the “BP Lenders”), regarding the terms on which it

would support a restructuring of the Debtors. Such good faith, arm’s-length negotiations were

fruitful and, on July 25, 2023, the BP Lenders, NextPoint, NPI Holdco, various entities comprising

Liberty Tax, Community Tax and various entities comprising LoanMe (the “RSA Company

Parties”) executed the RSA.

       36.     Despite the Debtors’ efforts in executing a restructuring, certain of the Debtors’

lenders have not participated in the process. Specifically, Frontier Capital Group Ltd. is not a party

to the RSA. Additionally, during the months leading up to the commencement of the Debtors’

administration, the Debtors have received multiple communications from various shareholders

threatening to commence litigation and take further action.

       37.     The Debtors have operations throughout the United States and have many creditors

and contract counterparties in the United States that may be in a position to take action against the

Debtors.




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    COMMENCEMENT OF THE DEBTORS’ ADMINISTRATION UNDER THE ACT

        38.      After careful consideration of the Debtors’ financial position, including seeking

external professional advice of legal and financial advisers, in May 2023, NextPoint Financial

retained Province, LLC to advise with respect to restructuring alternatives. Shortly thereafter, in

July of 2023, Peter Kravitz was appointed as Chief Restructuring Officer.

        39.      On July 25, 2023, NextPoint Financial entered into an RSA the BP Lenders (various

wholly owned funding trusts of Basepoint Capital comprising the NextPoint Facility Lenders and

BP Debt lenders), Drake and the RSA Company Parties (NextPoint, NPI Holdco, various entities

comprising Liberty Tax, Community Tax and various entities comprising LoanMe) entered into

the RSA.

        40.      Under the terms of the RSA, the BP Lenders, Drake and the RSA Company Parties

have agreed to cooperate with each other in good faith and use commercially reasonable efforts

with respect to the pursuit, approval, implementation and consummation of the Restructuring

contemplated by the RSA as well as the negotiation, drafting, execution and delivery of the

Definitive Documents (as defined in the RSA) to implement the Restructuring.

        41.      The RSA parties have also agreed to a series of milestones that will help guide the

restructuring process:2

                          Milestone                                                 Date
     RSA Company Parties shall commence                        July 26, 2023
     proceedings under the CCAA in the Canadian
     Court and obtained an Initial Order in form and
     substance satisfactory to the BP Lenders, acting
     reasonably



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          In the event of any conflict or inconsistency between the terms and conditions hereof and any terms or
conditions set forth in any purchase order or other document relating to the transactions contemplated by this
Agreement, the terms and conditions set forth in this Agreement shall prevail. Capitalized terms used but not defined
in this paragraph shall have the meanings ascribed to them in the RSA.
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     The Foreign Representative of the RSA                 July 26, 2023
     Company Parties shall have commenced the
     Chapter 15 Proceedings and sought a temporary
     restraining order in the U.S. Bankruptcy Court to
     provide “stay” relief pending entry of an order
     recognizing the Initial Order (defined below)
     RSA Company Parties shall serve an application        July 27, 2023
     for approval of the sales and investment
     solicitation process (“SISP”) in the Canadian
     Court
     Foreign Representative shall file a motion with       2 business days after entry of the Initial
     the U.S. Bankruptcy Court for entry of an order       Order
     recognizing and enforcing the Initial Order
     RSA Company Parties shall obtain an order from        August 4, 2023
     the Canadian Court approving the SISP (the
     “SISP Order”), subject to court availability
     The Foreign Representative shall file a motion        2 business days after entry of the SISP
     with the U.S. Bankruptcy Court for an order           Order
     recognizing and enforcing the SISP Order
     The Foreign Representative shall obtain an order      August 25, 2023
     recognizing and enforcing the Initial Order
     The Foreign Representative shall obtain an order      August 28, 2023
     recognizing and enforcing the SISP Order
     RSA Company Parties shall obtain a vesting            September 15, 2023 if no letters of intent
     order from the Canadian Court, subject to court       are received by the deadline set forth in the
     availability                                          SISP;
                                                           October 6, 2023, if no Qualified Bids are
                                                           received by the Qualified Bid Deadline; or 9
                                                           days after the completion of the Auction
     The Foreign Representative shall file a motion        2 business days after entry of the Vesting
     with the U.S. Bankruptcy Court for an order           Order
     recognizing and enforcing the vesting order
     The Foreign Representative shall obtain the           14 days after the entry of the Vesting Order
     Vesting Recognition Order
     The Restructuring shall close, provided that to       14 days after the date that the Foreign
     the extent the only condition to the closing of the   Representative obtains the Vesting
     Restructuring that remains outstanding is the         Recognition Order (the “Initial Outside
     receipt of regulatory approval(s), the Outside        Date”) or such later dates as may be
     Date shall automatically be extended for another      determined by the Required Consenting BP
     60 days                                               Lenders on written notice to the other
                                                           Parties (the “Outside Date”)




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         42.     On July 25, 2023, the Debtors commenced the Canadian Proceedings to implement

the Restructuring under the supervision of the Canadian Court. The same day, the Canadian Court

entered an initial order (the “Initial Order”) appointing FTI Consulting Canada Inc. as monitor

and authorizing NextPoint Financial to act as Foreign Representative of the Debtors, with Mr.

Kravitz having been granted authority in the Initial Order to act as the chief restructuring officer

of the Debtors and an authorized officer of the Canadian Court.

                                   THE CHAPTER 15 FILING

         43.     On the date hereof (the “Petition Date”), the Foreign Representative filed petitions

under chapter 15 of the Bankruptcy Code for recognition of the Canadian Proceedings, thereby

commencing the Debtors’ Chapter 15 Cases.

         44.     Also on the Petition Date, the Foreign Representative filed that certain Ex Parte

Motion for Temporary Restraining Order and Other Provisional Relief Under Section 1519 of the

Bankruptcy Code and, After Notice and a Hearing, a Preliminary Injunction (the “Provisional

Relief Motion”) seeking entry of an order (the “Provisional Relief Order”) granting the relief

requested in the Provisional Relief Motion shortly after the commencement of these Chapter 15

Cases.

         45.     The Foreign Representative anticipates that the Canadian Court will enter an

amended and restated Initial Order (the “Amended and Restated Initial Order”) on or around

August 3, 2023. A description of the relief provided in the Initial Order is set forth below and in

the Provisional Relief Motion filed contemporaneously herewith. By entry of the Amended and

Restated Initial Order, the relief granted in the Initial Order will be extended beyond the initial ten

(10) day period.




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        46.      Additional information about the Debtors’ business and operations, the events

leading up to the filing of these Chapter 15 Cases, and the facts and circumstances surrounding the

Canadian Proceedings and these Chapter 15 Cases are set forth in the contemporaneously filed

Kravitz Declaration, incorporated into this Verified Petition by this reference.

                                         RELIEF REQUESTED

        47.      Based on the foregoing, the Kravitz Declaration, and the Brousson Declaration

offered in support of the Chapter 15 Petition, together with the materials attached to them, the

Foreign Representative requests that this Court recognize the Canadian Proceedings as a foreign

main proceeding under sections 101(23), 1502(4), and 1517 of the Bankruptcy Code and grant

related relief under sections 1520 and 1521 of the Bankruptcy Code.

        48.      After notice and a hearing at which this Chapter 15 Petition is considered, the

Foreign Representative seeks entry of a final order, substantially in the form attached to the

Recognition Motion as Exhibit A (the “Proposed Recognition Order”), granting relief

(collectively, the “Relief Requested”), including, but not limited to:

                 a.      Recognition of the Canadian Proceedings as a foreign main proceeding
                         pursuant to section 1517(b)(1) of the Bankruptcy Code;

                 b.      In the alternative should the Court find that any of the Debtors do not have
                         their center of main interest in Canada, as foreign nonmain proceedings
                         pursuant to section 1517(b)(2) of the Bankruptcy Code;3

                 c.      Recognition the Foreign Representative as a “foreign representative” as
                         defined in section 101(24) of the Bankruptcy Code in respect of the
                         Canadian Proceedings;


3
  For reference, the Debtors that are not formed under Canadian law are: LT Holdco, LLC; LT Intermediate Holdco,
LLC; SiempreTax+ LLC; JTH Tax LLC; JTH Financial, LLC; JTH Properties 1632, LLC; Liberty Credit Repair,
LLC; Wefile, LLC; JTH Tax Office Properties, LLC; LTS Software LLC, JTH Court Plaza, LLC; 360 Accounting
Solutions, LLC; LTS Properties, LLC; NPI Holdco LLC; CTAX Acquisition LLC; Community Tax Puerto Rico LLC;
Community Tax LLC; NPLM Holdco LLC; MMS Servicing LLC; LoanMe, LLC; LoanMe Funding, LLC; LM
Retention Holdings, LLC; LoanMe Trust-Prime 2018-1; LoanMe Trust SBL 2019-1; LoanMe Stores LLC;
InsightsLogic LLC; and LM 2020 CM I SPE, LLC.

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                  d.        gives full force and effect within the territorial jurisdiction of the United
                            States to the Initial Order, the Amended and Restated Initial Order,
                            including all extensions or amendments thereof authorized by the Canadian
                            Court;

                  e.        grants the Debtors all the relief afforded pursuant to section 1520 of the
                            Bankruptcy Code, including but not limited to the “automatic stay” under
                            section 362 of the Bankruptcy Code, which shall apply with respect to the
                            Debtors and the Debtors’ property that is now or in the future located within
                            the territorial jurisdiction of the United States;

                  f.        extends on a final basis (pursuant to section 1521(a)(6) of the Bankruptcy
                            Code) the relief granted under the Provisional Relief Order (as defined
                            below) and grants such further additional relief requested herein and as
                            otherwise authorized by sections 1507 and 1521 of the Bankruptcy Code,
                            as applicable, as the Court deems necessary;4 and

                  g.        provides such other and further relief as the Court deems just and proper.

                                    BASIS FOR RELIEF REQUESTED

         49.      For the reasons set forth in this Verified Petition, and as more fully set forth in the

Recognition Motion and the Memorandum of Law in support thereof, the Court should enter the

Proposed Recognition Order, as the Foreign Representative meets the standards for obtaining the

relief requested herein and otherwise satisfies the statutory requirements for recognition and

related relief under chapter 15 of the Bankruptcy Code.

         37.      The Foreign Representative respectfully submits that the Court should recognize

the Canadian Proceedings, as required under section 1517 of the Bankruptcy Code, because the

Foreign Representative applying for recognition is a “person,” the Canadian Proceedings are

“foreign main proceedings” or alternatively “foreign nonmain proceedings” within the meaning of

section 1502 of the Bankruptcy Code, and the Petition meets the requirements of section 1515 of

the Bankruptcy Code.



4
 The Debtors anticipate the Amended and Restated Initial Order will be entered approximately ten (10) days from the
entry of the Initial Order in a form substantially similar to the form attached as Exhibit 2 to the Motion for Provisional
Relief Pursuant to Section 1519 of the Bankruptcy Code.
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       38.     Section 1517(a) of the Bankruptcy Code authorizes the Court to enter a final order,

after notice and a hearing, recognizing a foreign proceeding if (i) such proceeding is a foreign main

proceeding or a foreign nonmain proceeding, (ii) the foreign representative applying for

recognition is a person or body and (iii) the application for recognition was properly filed in

accordance with section 1515 of the Bankruptcy Code. See 11 U.S.C. § 1517(a). Section 1517(b)

of the Bankruptcy Code further provides that a proceeding shall be recognized as a foreign main

proceeding if it is pending in the country where the debtor has the center of its main interest. See

11 U.S.C. § 1517(a).

       39.     The Foreign Representative is a “person[s]” within the meaning of section 101(41)

of the Bankruptcy Code that has been appointed by the Canadian Court, as memorialized in the

Initial Order, and expressly authorized by the Canadian Court to commence these cases under

chapter 15 of the Bankruptcy Code by filing the Chapter 15 Petition for recognition of the Canadian

Proceedings. See 11 U.S.C. § 1504. The Canadian Proceedings are “foreign proceedings” within

the meaning of section 101(23) of the Bankruptcy Code because, among other reasons, it is a

collective judicial proceeding conducted in Canada under the law related to insolvency or debt

adjustment, and the assets and affairs of the Debtors are subject to supervision by the Canadian

Court for the purpose of reorganization or liquidation.

       40.     Further, as required by section 1515(b) of the Bankruptcy Code, the Chapter 15

Petition is accompanied by a true copy of the decision commencing the Canadian Proceedings and

appointing the Foreign Representative of the Debtors. See Petition [D.I. 1], Ex. A. The decision

commencing the Canadian Proceedings is in English and, thus, comports with section 1515(d) of

the Bankruptcy Code. Id. In accordance with section 1515(c) of the Bankruptcy Code, the Foreign

Representative has filed a statement disclosing that, to the best of its knowledge, there are no other


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foreign proceedings pending with respect to the Debtors. The Foreign Representative has,

therefore, satisfied the conditions requiring entry of an order recognizing the Canadian

Proceedings. See 11 U.S.C. § 1517(a). Additionally, recognition of the Canadian Proceedings is

not manifestly contrary to the public policy of the United States. Based on the foregoing, the

Foreign Representative petitions the Court for entry of an order recognizing the Canadian

Proceedings.

       41.     The Canadian Proceedings should be recognized as foreign main proceedings.

Indeed, the Debtors’ center of main interest is in Vancouver, British Columbia, Canada, and, thus,

it has its nerve center in Canada. Specifically, the top holding company foreign debtor is formed

under the law of British Columbia and, prior to the commencement of Canadian Proceeding, had

its registered offices in Vancouver, Canada, and, therefore, Canada is presumed to be the center of

main interest for the Debtors formed in Canada. See 11 U.S.C. § 1516(c). Moreover, when the

Canadian Court took jurisdiction over the Debtors, it implicitly recognized the significance of the

Debtors’ interests there. Further, Nextpoint Financial is a reporting issuer for purposes of

applicable Canadian securities laws and listed on the Toronto Stock Exchange (“TSX”) (although

currently subject to a cease trade order). It has been obligated to meet its continuous disclosure

obligations (including filing the consolidated financial statements) and other disclosures such as

material change reports in connection with events occurring at the subsidiary level. Since Canada

is the center of main interest for the Debtors, the Canadian Proceedings should be recognized as a

foreign main proceeding. Id. § 1517(b)(1). While certain of the Debtors are formed under the

laws of Delaware, Virginia, and Illinois and cannot benefit from the presumption that their center

of main interest is in Canada, that is merely a presumption that can be rebutted with sufficient

evidence. Based on the Kravitz Declaration and the arguments set forth in the Recognition


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Memorandum, those Debtors formed under those states’ laws also have their center of main

interest in Canada; should the Court conclude otherwise, however, those entities Canadian

Proceedings qualify as foreign nonmain proceedings for the reasons set out in the Recognition

Motion.

       42.     Upon recognition of the Canadian Proceedings as a foreign main proceeding, final

relief is authorized by sections 1520 and 1521 of the Bankruptcy Code. In particular:

               a.      Upon recognition of the Canadian Proceedings as a foreign main
                       proceeding, the Foreign Representatives are automatically entitled to the
                       protections of the automatic stay of section 362 of the Bankruptcy Code.
                       See 11 U.S.C. §§ 1520(a)(1), 362.

               b.      Also, upon recognition of the Canadian Proceedings as a foreign main
                       proceeding, sections 363, 549 and 552 of the Bankruptcy Code apply to a
                       transfer of an interest of the Debtor in property that is within the territorial
                       jurisdiction of the United States to the same extent that the sections would
                       apply to property of the estate. See 11 U.S.C. § 1520(a)(2).

               c.      Further, upon recognition of the Canadian Proceedings as a foreign main
                       proceeding, unless the Court orders otherwise, the Foreign Representatives
                       may operate the Debtors’ business and may exercise the rights and powers
                       of a trustee under and to the extent provided by sections 363 and 552 of the
                       Bankruptcy Code. See 11 U.S.C. § 1520(a)(3).

               d.      The Court may also suspend the right to transfer, encumber or otherwise
                       dispose of the Debtors’ assets. See 11 U.S.C. § 1520(a). To the extent that
                       this relief is not granted under section 1520 of the Bankruptcy Code by
                       applying section 362 of the Bankruptcy Code, the Court may grant this relief
                       pursuant to section 1521(a)(3) of the Bankruptcy Code.

               e.      Additionally, upon recognition of the Canadian Proceedings as a foreign
                       main proceeding, the Foreign Representatives are entrusted, if not as of right
                       under section 1520 of the Bankruptcy Code, with the discretionary approval
                       of the Court under section 1521 of the Bankruptcy Code with the right to
                       operate the Debtors’ business, exercise rights and power of a trustee, and
                       are entitled to administer and realize all or part of the Debtors’ assets within
                       the territorial jurisdiction of the United States. See 11 U.S.C. § 1521(a)(5).

               f.      Upon recognition of the Canadian Proceedings as a foreign proceeding, the
                       Court may, at the request of the Foreign Representatives, grant any
                       additional relief that may be available to a trustee (except for the relief

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                       available under sections 522, 544, 545, 547, 548, 550 and 724(a)), including
                       the protections afforded in section 365(e) of the Bankruptcy Code.

       43.     The Court also has the power to provide additional assistance to a foreign

representative under the Bankruptcy Code or other laws of the United States, consistent with the

principles of comity. See 11 U.S.C. §§ 1507 and 1521. The Court’s entry of the relief requested

by the Chapter 15 Petition and of any additional assistance requested will not prohibit just

treatment of holders of claims against the Debtors’ property and will not prejudice their creditors.

As such, the Foreign Representative submits that the Court has the discretion to enter the additional

assistance set forth in the attached proposed form of order.

                                         CONCLUSION

               WHEREFORE, NextPoint Financial, by and through its authorized officer Mr.

Kravitz, in its capacity as Foreign Representative of the Debtors, respectfully petitions the Court

for recognition and relief under chapter 15 of the Bankruptcy Code, the relief requested here, and

for such other relief and assistance as may be necessary.



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 Dated: July 26, 2023          Respectfully submitted,
        Wilmington, Delaware
                               DLA PIPER LLP (US)

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                               R. Craig Martin, Esq. (DE 5032)
                               1201 N. Market Street, Suite 2100
                               Wilmington, DE 19801
                               Telephone: (302) 468-5700
                               Facsimile: (302) 394-2462
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                               -and-

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                               admission pending)
                               Jamila Justine Willis, Esq. (pro hac vice admission
                               pending)
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                                       jamila.willis@us.dlapiper.com

                               Counsel to the Foreign Representative




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                                 VERIFICATION OF PETITION

          I, Peter Kravitz, pursuant to 28 U.S.C. § 1746, hereby declare under penalty of perjury

under the laws of the United States of America as follows:

          I am the Chief Restructuring Officer of NextPoint Financial Inc., the authorized foreign

representative for the Debtors. As such, I have full authority to verify the foregoing Verified

Petition on behalf of the Debtors.

          I have read the foregoing Verified Petition, and I am informed and believe that the factual

allegations contained therein are true and accurate to the best of my knowledge, information, and

belief.

          I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

 Dated: July 26, 2023
        Vancouver, British Columbia

                                                    /s/ Peter Kravitz
                                                    Peter Kravitz
                                                    CRO of NextPoint Financial Inc.




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                              EXHIBIT C TO NOTICE

                                 Recognition Motion




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 15

    NEXTPOINT FINANCIAL INC., et al.,                             Case No. 23-10983 (TMH)

                   Debtors in a foreign proceeding.1              (Joint Administration Requested)


                      MOTION OF THE FOREIGN REPRESENTATIVE FOR
                       CHAPTER 15 RECOGNITION AND FINAL RELIEF

             NextPoint Financial Inc. (“NextPoint”), in its capacity as the duly-appointed foreign

representative (the “Foreign Representative”) for the above-captioned debtors (collectively, the

“Debtors” or the “Company”), in the proceedings (the “Canadian Proceedings”) currently

pending before the Supreme Court of British Columbia (the “Canadian Court”), initiated under

the Companies’ Creditors Arrangement Act, R.S.C. 1985, c. C-36 (as amended, the “CCAA”), by

and through their undersigned counsel, respectfully submit this Motion of the Foreign

Representative for Chapter 15 Recognition and Final Relief (the “Motion”) and respectfully refers

the Court to and incorporates the following into this Motion by reference, the Memorandum of

Law in Support of Motion of the Foreign Representative for Chapter 15 Recognition and Final

Relief (the “Memorandum of Law”), seeking entry of a final order recognizing the Canadian

Proceedings as foreign main proceedings, or, in the alternative, as foreign non-main proceedings,


1
 The Debtors in these chapter 15 proceedings, together with the last four digits of their business identification numbers
are: NextPoint Financial Inc. (6134); LT Holdco, LLC (8090); LT Intermediate Holdco, LLC (0811); SiempreTax+
LLC (6145); JTH Tax LLC (8391); Liberty Tax Holding Corporation (N/A); Liberty Tax Service, Inc. (N/A); JTH
Financial, LLC (1522); JTH Properties 1632, LLC (0248); Liberty Credit Repair, LLC (5427); Wefile, LLC (6778);
JTH Tax Office Properties, LLC (0248); LTS Software LLC (6450), JTH Court Plaza, LLC (2116); 360 Accounting
Solutions LLC (8312); LTS Properties, LLC (9088); NPI Holdco LLC (1936); CTAX Acquisition LLC (6975);
Community Tax Puerto Rico LLC (4349); Community Tax LLC (8001); NPLM Holdco LLC (8132); MMS Servicing
LLC (7430); LoanMe, LLC (5663); LoanMe Funding, LLC (2305); LM Retention Holdings, LLC (N/A); LoanMe
Trust-Prime 2018-1 (0257); LoanMe Trust SBL 2019-1 (N/A); LoanMe Stores, LLC (3810); InsightsLogic, LLC
(0818); and LM 2020 CM I SPE, LLC (N/A). The location of the Debtors’ headquarters is 500 Grapevine Hwy, Suite
402, Hurst, TX 76054, and the Debtors’ mailing address is 1133 Melville St., Suite 2700, Vancouver, BC V6E 4E5.


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ordering the relief requested in this Motion, and granting such other and further relief as

appropriate under the circumstances. In support of this Motion, the Foreign Representative

incorporates by reference the Declaration of Peter Kravitz in Support of the Debtors’ Verified

Petition for (I) Recognition of Foreign Main Proceedings, or, in the Alternative, Foreign Non-

Main Proceedings, (II) Recognition of Foreign Representative, (III) Debtors’ Motion for Certain

Provisional Relief (the “Kravitz Declaration”)2. In support of this Motion, the Foreign

Representative respectfully states as follows:

                                                 I.
                                      JURISDICTION AND VENUE

         1.       This Court has jurisdiction over this case under sections 157 and 1334 of title 28 of

the United States Code and the Amended Standing Order of Reference of the United States District

Court for the District of Delaware (Sleet, C.J.), dated February 29, 2012.

         2.       The Foreign Representative has properly commenced this chapter 15 case under

sections 1504 and 1515 of the Bankruptcy Code. This Chapter 15 Petition (defined below) is a

core proceeding under section 157(b)(2)(P) of title 28 of the United States Code.

         3.       Venue for this case is proper in this Court under section 1410 of title 28 of the

United States Code because the Debtors have their principal assets in the United States located in

Delaware. The Debtors have property in Delaware as a group via their ownership in the equity of

Delaware entities and incorporation of certain of the Debtors under Delaware law. Each Debtor

also has an interest in a retainer on deposit with DLA Piper LLP (US) in which the Debtor has an

ownership interest. These funds are held in a Wells Fargo bank account in accordance with

Delaware Rule of Professional Responsibility 1.5. (See Kravitz Decl. ¶ 146.)



2
  Capitalized terms used in this section but not otherwise defined herein shall have the meaning ascribed to them in
the Kravitz Declaration or the Verified Petition, as applicable.

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       4.          The statutory predicates for the relief requested in this Motion are sections 101(23)-

(24), 105(a), 306, 1502, 1504, 1507, 1509, 1510, 1512, 1515, 1516, 1517, 1520, 1521, 1522, and

1524 of title 11 of the United States Code (the “Bankruptcy Code”).

                                                II.
                                        RELIEF REQUESTED

       5.          By this Motion, the Foreign Representative seeks the entry of an order, substantially

in the form attached to this Motion as Exhibit A, recognizing the Canadian Proceedings as foreign

main proceedings or, in the alternative, foreign non-main proceedings and granting the Foreign

Representative final relief and protections in aid of the Canadian Proceedings as authorized under

Chapter 15 of the Bankruptcy Code, including, without limitation, the following:

            a.     All relief provided in aid of the Canadian Proceedings as a foreign main proceeding

                   upon recognition under section 1520 of the Bankruptcy Code, including without

                   limitation, the automatic stay of section 362 of the Bankruptcy Code, which shall

                   apply to the Debtors and any property of the Debtors that is within the territorial

                   jurisdiction of the United States throughout the duration of this chapter 15 case or

                   until otherwise ordered by this Court;

         b.        All relief provided in aid of the Canadian Proceedings as a foreign non-main

                   proceeding upon recognition under section 1521 of the Bankruptcy Code;

            c.     Entrusting the administration, realization, and distribution of the Debtors’ assets

                   located within the territorial jurisdiction of the United States to the Foreign

                   Representative in accordance with subsections 1521(a)(5) and 1521(b) of the

                   Bankruptcy Code; and

            d.     Granting as final relief all provisional relief the Court may have granted pursuant

                   to section 1519(a) of the Bankruptcy Code.


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                                           III.
                                  FACTUAL BACKGROUND

       6.      This Motion is filed in connection with the Official Form 401 Petition [D.I. 1] (the

“Petition”) and the Verified Petition for (I) Recognition of Foreign Main Proceedings, or, in the

Alternative, Foreign Non-Main Proceedings, (II) Recognition of Foreign Representative, and (III)

Related Relief Under Chapter 15 of the Bankruptcy Code [D.I. 5] (the “Verified Petition” and

together with the Petition, the “Chapter 15 Petition”) filed on July 26, 2023 (the “Petition Date”).

       7.      As more fully described in the Chapter 15 Petition, NextPoint was incorporated on

July 16, 2020, under the Business Corporations Act (British Columbia) as a special purpose

acquisition corporation for the purpose of effecting, directly or indirectly, an acquisition of one or

more businesses or assets, by way of a business combination. NextPoint acquired Liberty Tax, a

leading provider of tax preparation services, and LoanMe, an online lender and loan marketer, in

July 2021, and Community Tax, a tax debt resolution service, in December 2021 (in each case

indirectly through NPI Holdco LLC).

       8.      The NextPoint Group provides financial and tax services for small businesses and

consumers across Canada and the United States through the following three primary business lines:

               a. a tax preparation and settlement business, operated through Liberty Tax;

               b. a tax debt resolution service, operated through Community Tax; and

               c. a lending and loan marketing business, which previously operated through

                      LoanMe.

       9.      NextPoint acquired LoanMe in July 2021, for US$110 million. Subsequently,

LoanMe performed below expectations, contributing to liquidity strain. LoanMe experienced an

elevated rate of charge-offs as they continued to operate the business. This resulted in a significant

shortfall in cash compared to the amount required to fund the operations. Such shortfall was


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exasperated by the unsustainable debt load following the LoanMe acquisition.

       10.     Additionally, in response to the novel coronavirus 2019 (“COVID-19”) pandemic,

tax authorities decreased their enforcement steps, which reduced Community Tax’s new client

creation rates and led to lower revenues, year over year, from both Liberty Tax and Community

Tax. As a result, the Debtors are over-leveraged and have significant recurring operating losses,

working capital deficiencies, and insufficient cash flow to meet their obligations.

       11.     Recognizing the need to restructure the NextPoint Group’s business and its debt

load in order to better position it for long-term success, in June 2022, LoanMe announced that it

would cease further loan originations and would only continue to service its outstanding loans. In

September 2022, in response to continuing financial difficulties, the NextPoint Group determined

that it would be in the best interest of the enterprise to restructure its business to refocus its

resources solely on its Liberty Tax and Community Tax segments. The NextPoint Group

accordingly announced that it would be winding down the LoanMe segment on a go forward basis.

Such wind down efforts have been ongoing.

       12.     In addition to winding down LoanMe, on September 30, 2022, the NextPoint Group

completed a financial and organizational restructuring with BP Commercial Funding Trust II,

Series SPL-I (“BP SPL-1”). Under this arrangement, NextPoint and BP SPL-1 entered into two

Assignment of Interest and Foreclosure Consent Agreements: BP SPL-1 received 100% of the

equity in two LoanMe special purpose entities in consideration for a zero coupon $12 million

promissory note originally maturing on December 31, 2023. On February 27, 2023, NextPoint

extended the maturity date and modified the repayment schedule and applicable interest rate to

January 2, 2026. The LoanMe special purpose entities represented approximately 90% of

LoanMe’s loan portfolio.



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       13.     Each of NPI Holdco LLC (“NPI Holdco”) and LT Holdco, LLC (“LT Holdco”)

are borrowers under a credit agreement, originally dated as of July 2, 2021 and as amended through

Amendment No. 5 thereto dated as of June 30, 2023 (as may be amended, restated, supplemented,

or otherwise modified from time to time, the “NP/LT Credit Agreement”) with BP Commercial

Funding Trust, Series SPL-X, as administrative agent and collateral agent on behalf of the lenders

thereunder (with respect to the NP Revolving Credit Loans (as defined below), the “NP Lenders”).

       14.     Under the NP/LT Credit Agreement, the NP Lenders originally agreed to extend a

revolving credit facility to NPI Holdco of $200 million. The NP/LT Credit Agreement was

subsequently amended and restructured on November 1, 2022 to (i) reduce the maximum revolving

credit facility commitment available to NPI Holdco at $130 million, and (ii) provide a new $74.4

million term loan to LT Holdco. As of July 14, 2023, there was approximately $125.7 million in

outstanding principal amount of revolving loans borrowed by NPI Holdco under the NP/LT Credit

Agreement (the “NP Revolving Credit Loans”). Interest is payable on outstanding NP Revolving

Credit Loans at a rate of 13% per annum, payable monthly. The NP Revolving Credit Loans mature

on July 2, 2025. The draw maturity for additional NP Revolving Credit Loans under the NP/LT

Credit Agreement matured on July 2, 2023.

       15.     While the foregoing resulted in various positive financial and operational benefits

for the NextPoint Group, they did not fully address the NextPoint Group’s overleveraged financial

position and cash flow constraints.

       16.     As part of its efforts to restructure for the benefit of stakeholders, the NextPoint

Group began discussions in or around June 2023, with its primary secured lender, BP Commercial

Funding Trust Series SPL-X regarding the terms on which it would support a restructuring of the

Petitioners. Such good faith, arm’s length negotiations were fruitful and, on July 25, 2023, the BP



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Lenders, NextPoint, NPI Holdco, various entities comprising Liberty Tax, Community Tax and

various entities comprising LoanMe (the “RSA Company Parties”) executed a Restructuring

Support Agreement (the “RSA”) to permit the Debtors to pursue a restructuring under the

supervision of the Canadian Court for all of the NextPoint Group.

        17.     The Debtors submitted a Petition to the Canadian Court on July 25, 2023, (the

“Canadian Petition”) in compliance with the CCAA, requesting, among other relief, that the

Canadian Court enter an order in relation to the Company and appoint NextPoint Financial Inc. as

foreign representative for each of the Debtors. The Canadian Court entered an order (the “Initial

Order”) granting the relief requested in the Petition, and among other things, appointing the

proposed foreign representative of the Debtors (the “Foreign Representative”) as of July 25,

2023.

        18.      Upon initiation of the Canadian Proceeding, a moratorium on creditor enforcement

actions was imposed and creditors actions have been stayed. Yet, without recognition, creditors

and other parties not subject to the jurisdiction of the Canadian Court and based in the United

States may continue or begin to take action against the Debtors’ assets and operations within the

United States. Any litigation or enforcement action against the Debtors will destabilize their

operations and ability to consummate the Restructuring, including its efforts to find a buyer for the

Debtors’ businesses, which will ultimately jeopardize the livelihood of the Debtors’ 556

employees and result in significantly diminished recoveries for the Debtors’ creditors.

        19.     On July 26, 2023, the duly authorized Foreign Representative filed the Chapter 15

Petition for the Debtors and commenced these chapter 15 cases. The Foreign Representative seeks

recognition of the Debtors’ Canadian Proceedings as foreign main proceedings within the meaning

of section 1502 of the Bankruptcy; alternatively, for those Debtor entities formed under State law



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in the United States, the Foreign Representative seeks in the alternative, recognition of those

proceedings as foreign nonmain proceedings within the meaning of section 1502 of the Bankruptcy

Code.

        20.     For further background information regarding the Debtors’ business, the Canadian

Proceedings, and the facts and circumstances necessitating this chapter 15 filing, the Court is

respectfully referred to the Chapter 15 Petition, the Verified Petition and the Declaration of Colin

Brousson as Canadian Counsel to the Debtors in Support of the Debtors’ Chapter 15 Petitions

and Requests for Certain Related Relief Pursuant to Chapter 15 of the Bankruptcy Code (the

“Brousson Declaration”) each of which is incorporated by reference as if set forth fully in this

Motion.

                                              IV.
                                       BASIS FOR RELIEF

        21.     The Foreign Representative respectfully submits that the Canadian Proceedings

should be recognized by this Court because, as required under section 1517 of the Bankruptcy

Code, the Foreign Representative applying for recognition is a person or body, the Canadian

Proceeding is a foreign proceeding, and the Petition meets the requirements of section 1515 of the

Bankruptcy Code. Additionally, recognition of the Canadian Proceedings does not manifestly

violate the public policy of the United States of America.

        22.     The Foreign Representative is a “person,” as contemplated in subsections 101(24)

and 101(41) of the Bankruptcy Code, and was duly appointed by the Debtors’ directors as foreign

representative of each of the Debtors and identified as the Foreign Representative by the Canadian

Court in the Initial Order. See Petitions Att. and Initial Order 63.

        23.     The Canadian Proceedings are “foreign proceeding[s]” within the meaning of

section 101(23) of the Bankruptcy Code because the Canadian Proceedings are judicial


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proceedings conducted in Canada under the law related to insolvency or debt adjustment.

Additionally, the Canadian Proceedings are “main” proceedings because the Debtors’ center of

main interest is in Vancouver, British Columbia, Canada, and, thus, it has its nerve center in

Canada. Specifically, the top holding company Debtor is formed under the law of British

Columbia, is publicly listed on the Toronto Stock Exchange, where it files consolidated financial

reports and other disclosures required by Canadian law for the NextPoint Group, and, prior to the

commencement of CCAA, had its registered offices and headquarters in Vancouver, Canada, and,

therefore, Canada is presumed to be the center of main interest for the Debtors formed in Canada.

See 11 U.S.C. § 1516(c). Moreover, when the Canadian Court took jurisdiction over the Debtors,

it implicitly recognized the significance of the Debtors’ interests there. Further, now the locus of

the Debtors restructuring is in Canada. Since Canada is the center of main interest for the Debtors,

the Canadian Proceedings should be recognized as a foreign main proceeding. Id. § 1517(b)(1).

       24.     While certain of the Debtors are formed under the laws of Delaware, Virginia, and

Illinois and cannot benefit from the presumption that their center of main interest is in Canada,

that presumption can be rebutted with sufficient evidence. Based on the Kravitz Declaration and

the arguments set forth in the Memorandum of Law, Debtors formed under those states’ laws also

have their center of main interest in Canada; should the Court conclude otherwise; however, those

entities’ Canadian Proceedings qualify as foreign nonmain proceedings for the reasons set out in

this Motion.

       25.     Further, the Petition meets the requirements of section 1515 of the Bankruptcy

Code. Specifically, as required by section 1515(b) of the Bankruptcy Code, the Petition is




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accompanied by a certified copy of the Order Made After Application as endorsed3 by the

Canadian Court, effectuating the Canadian Proceeding. Additionally, in accordance with section

1515(c) of the Bankruptcy Code, the Foreign Representative filed a statement with the Petition,

identifying the Canadian Proceeding as the only pending proceeding with respect to the Debtors

and stating that there are no other pending foreign proceedings known to the Foreign

Representative. (See Petition Att.) Further, as required by section 1515(d) of the Bankruptcy

Code, all documents provided pursuant to section 1515(b) of the Bankruptcy Code are in English.

Finally, as required by Rule 1007(a)(4) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), the Foreign Representative has also filed a statement, identifying the

parties to litigation with respect to the Debtors pending within the United States and the parties

against which provisional relief is requested.

         26.      Because all of the conditions to the entry of an order recognizing the Canadian

Proceedings as foreign main proceedings under the Bankruptcy Code have been satisfied, the

Debtors are entitled to have the Canadian Proceedings recognized as “main” proceedings. Upon

recognition of the Canadian Proceedings as foreign main proceedings, final relief is authorized by

sections 1520 and 1521 of the Bankruptcy Code. In particular:

                  a.       Upon recognition of the Canadian Proceedings as foreign main proceedings,

                           the Foreign Representative is automatically entitled to the protections of the

                           automatic stay of section 362 of the Bankruptcy Code. See 11 U.S.C. §§

                           1520(a)(1) and 362.




3
 Due to the time of the hearing, the Debtors were not able to obtain a certified copy of the Initial Order; however,
Debtors provide the order as entered and will file a supplemental notice of exhibit, attaching the certified copy of the
Initial Order once they are able to obtain one.

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               b.     Also, upon recognition of the Canadian Proceedings as foreign main

                      proceedings, sections 363, 549, and 552 of the Bankruptcy Code apply to a

                      transfer of an interest of the Debtors in property that is within the territorial

                      jurisdiction of the United States to the same extent that the sections would

                      apply to property of the estate.

               c.     The Court may also suspend the right to transfer, encumber, or otherwise

                      dispose of the Debtors’ assets. See 11 U.S.C. § 1520(a). To the extent that

                      this relief is not granted under section 1520 of the Bankruptcy Code by

                      applying section 362 of the Bankruptcy Code, the Court may grant this relief

                      pursuant to section 1521(a)(3) of the Bankruptcy Code.

               d.     Additionally, upon recognition of the Canadian Proceedings as foreign main

                      proceedings, the Foreign Representative is entrusted either as of right under

                      section 1520 of the Bankruptcy Code or with the discretionary approval of

                      the Court under section 1521 of the Bankruptcy Code with the right to

                      operate the Debtors’ business, exercise rights and power of a trustee, and

                      administer and realize all or part of the Debtors’ assets within the territorial

                      jurisdiction of the United States.       See 11 U.S.C. §§ 1520(a)(3) and

                      1521(a)(5).

       27.     The Court also has the power to provide additional assistance to a foreign

representative under the Bankruptcy Code or other laws of the United States, consistent with the

principles of comity. See 11 U.S.C. §§ 1507 and 1521. The Court’s entry of the relief requested

by the Chapter 15 Petition and of any additional assistance requested will not prohibit just

treatment of holders of claims against the Debtors’ property and will not prejudice its creditors.



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As such, the Foreign Representative submits that the Court has the discretion to enter the additional

assistance set forth in the attached proposed form of order.

                                             V.
                                         CONCLUSION

       WHEREFORE, for the reasons set forth in this Motion, the Chapter 15 Petition, the Kravitz

Declaration, and the Brousson Declaration, including, without limitation, that all requisite

elements for the recognition and relief requested by the Motion are met in this case, the Foreign

Representative respectfully requests that this Court: (1) enter the proposed order attached to this

Motion as Exhibit A, recognizing the Canadian Proceeding as foreign main proceedings or, in the

alternative, foreign non-main proceedings and granting the requested final relief in aid of the

Canadian Proceeding; and (2) grant such other and further relief as this Court determines to be fair

and appropriate under the circumstances.



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 Dated: July 26 2023           Respectfully submitted,
        Wilmington, Delaware
                               DLA PIPER LLP (US)

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                               Wilmington, DE 19801
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                               -and-

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                                       jamila.willis@us.dlapiper.com

                               Counsel to the Foreign Representative




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                                      Exhibit A
        Proposed Order Granting Final Relief and Recognizing Foreign Proceeding




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 15

    NEXTPOINT FINANCIAL INC., et al.,                             Case No. 23-10983 (TMH)

                   Debtors in a foreign proceeding.1              (Jointly Administered)

                                                                  Re: D.I. No. __

         ORDER RECOGNIZING CANADIAN PROCEEDING AS A FOREIGN MAIN
                 PROCEEDING AND GRANTING RELATED RELIEF

             Upon consideration of the Official Form 401 [D.I. 1] and Verified Petition Under Chapter

15 for Order and Final Decree Granting Recognition of Foreign Main Proceeding and Other

Related Relief [D.I. 5] (together, the “Chapter 15 Petition”) and the Motion of the Foreign

Representative for Chapter 15 Recognition and Final Relief [D.I. [__]] (the “Motion”) filed by

NextPoint Financial Inc. (“NextPoint”), in its capacity as the duly-appointed foreign

representative (the “Foreign Representative”) of the above captioned debtors (the “Debtors”), in

a voluntary restructuring proceeding (the “Canadian Proceedings”) under the Companies’

Creditors Arrangement Act, R.S.C. 1985, c. C-36 (as amended, the “CCAA”), pending before the

Supreme Court of British Columbia (the “Canadian Court”), as well as upon consideration of the

Memorandum of Law in Support of Motion of the Foreign Representative for Chapter 15



1
 The Debtors in these chapter 15 proceedings, together with the last four digits of their business identification numbers
are: NextPoint Financial Inc. (6134); LT Holdco, LLC (8090); LT Intermediate Holdco, LLC (0811); SiempreTax+
LLC (6145); JTH Tax LLC (8391); Liberty Tax Holding Corporation (N/A); Liberty Tax Service, Inc. (N/A); JTH
Financial, LLC (1522); JTH Properties 1632, LLC (0248); Liberty Credit Repair, LLC (5427); Wefile, LLC (6778);
JTH Tax Office Properties, LLC (0248); LTS Software LLC (6450), JTH Court Plaza, LLC (2116); 360 Accounting
Solutions LLC (8312); LTS Properties, LLC (9088); NPI Holdco LLC (1936); CTAX Acquisition LLC (6975);
Community Tax Puerto Rico LLC (4349); Community Tax LLC (8001); NPLM Holdco LLC (8132); MMS Servicing
LLC (7430); LoanMe, LLC (5663); LoanMe Funding, LLC (2305); LM Retention Holdings, LLC (N/A); LoanMe
Trust-Prime 2018-1 (0257); LoanMe Trust SBL 2019-1 (N/A); LoanMe Stores, LLC (3810); InsightsLogic, LLC
(0818); and LM 2020 CM I SPE, LLC (N/A). The location of the Debtors’ headquarters is 500 Grapevine Hwy,
Suite 402, Hurst, TX 76054, and the Debtors’ mailing address is 1133 Melville St., Suite 2700, Vancouver, BC V6E
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Recognition and Final Relief [D.I. [__]], the Declaration of Colin Brousson in Support of Verified

Petition for (i) Recognition of Foreign Main Proceedings and Foreign Non-Main Proceedings,

(ii) Recognition of Foreign Representative, (iii) Recognition of Initial Order [and Amended and

Restated Initial Order] and (iv) Related Relief under Chapter 15 of the Bankruptcy Code (the

“Brousson Declaration”) and the Declaration of Peter Kravitz in Support of Verified Petition for

(i) Recognition of Foreign Main Proceedings and Foreign Non-Main Proceedings, (ii)

Recognition of Foreign Representative, (iii) Recognition of Initial Order and (iv) Related Relief

under Chapter 15 of the Bankruptcy Code (the “Kravitz Declaration”), and all documents

attached to the Brousson Declaration and the Kravitz Declaration (the “Petition and Relief

Documents”), and upon consideration of any responses or oppositions to the Motion or Chapter

15 Petition, and after due and sufficient notice of and hearing on the Motion,

        THE COURT FINDS AND CONCLUDES AS FOLLOWS:

        a.     This Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334;

        b.     This is a core proceeding under 28 U.S.C. § 157(b)(2)(P);

        c.     Venue is proper in this district under 28 U.S.C. § 1410;

        d.     Notice of the hearing on the Motion was sufficient under the circumstances and no

further or other notice of or hearing on the Motion is necessary or required;

        e.     This chapter 15 case was properly commenced and in accordance with 11 U.S.C. §

1504;

        f.     The Chapter 15 Petition meets all requirements of 11 U.S.C. § 1515;

        g.     The Foreign Representative is a “person” within the meaning of 11 U.S.C. §101(41)

and is the duly appointed foreign representative of the Debtors within the meaning of 11 U.S.C.

§§ 101(24) and 1517(a)(2);



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       h.        The Canadian Proceeding is a foreign proceeding under 11 U.S.C. § 101(23);

       i.        The Canadian Proceeding is pending in Canada, which is the location of the

Debtors’ center of main interests, and, therefore, the Canadian Proceedings are foreign main

proceedings within the meaning of 11 U.S.C. § 1502(4);

       j.        The Canadian Proceedings are entitled to recognition as foreign main proceedings

because they meet the requirements of 11 U.S.C. § 1517;

       k.        Recognition of the Canadian Proceedings as foreign main proceedings is not

contrary to the public policy of the United States;

       l.        The Foreign Representative and the Debtors are automatically entitled to all of the

relief available under 11 U.S.C. § 1520, without limitation;

       m.        All relief granted in this Order is necessary to effectuate the purpose of chapter 15

of title 11 of the United States Code and to protect the assets of the Debtors and the interests of its

creditors; and

       n.        All creditors and other parties in interest, including the Debtors, are sufficiently

protected in the grant of the relief ordered hereby in compliance with 11 U.S.C. § 1522(a).

       NOW, THEREFORE, IT IS HEREBY ORDERED:

       1.        The Motion is GRANTED as provided in this order (“Order”).

       2.        The Canadian Proceedings are hereby recognized as foreign main proceedings in

accordance with 11 U.S.C. § 1517 and given its full force and effect.

       3.        All relief authorized by 11 U.S.C. § 1520 shall apply throughout the duration of

this proceeding or until otherwise ordered by this Court, including, without limitation, the

automatic stay authorized by 11 U.S.C. § 362.




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       4.      The relief granted in the prior paragraph shall specifically include, but not be

limited to, the following provisions:

               i.      No person or entity may (a) commence or continue any legal proceeding

                       (including, without limitation, any judicial, quasi-judicial, administrative,

                       or regulatory proceeding or arbitration) or action against the Debtors, their

                       assets located in the United States, or the proceeds thereof; (b) enforce any

                       judicial, quasi-judicial, administrative or regulatory judgment, assessment

                       or order or arbitration award against the Debtors; (c) commence or continue

                       any legal proceeding or action to create, perfect, or enforce any lien, setoff,

                       or other claim against the Debtors or against any of their assets located in

                       the United States or the proceeds thereof; and (d) exercise any control over

                       the Debtors’ assets located in the United States except as authorized by the

                       Debtors in writing.

               ii.     The Foreign Representative is hereby granted the rights, powers,

                       protections, privileges, and immunities of a trustee in a bankruptcy in the

                       United States during this chapter 15 case. No action taken during such

                       period by the Foreign Representative, or its agents, representatives,

                       advisors, or counsel, in preparing, disseminating, applying for,

                       implementing, or otherwise acting in furtherance of or in connection with

                       the Canadian Proceedings, this Order, these chapter 15 cases, any adversary

                       proceeding, or any further proceeding commenced in this chapter 15 case

                       shall be deemed to constitute a waiver of the immunity afforded such person

                       under 11 U.S.C. §§ 306 or 1510.



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               iii.    The Foreign Representative is hereby authorized to obtain and borrow under

                       a credit facility from BP Commercial Funding Trust, Series SPL-X and

                       Drake Enterprises Limited, in order to finance the continuation of the

                       Debtors’ business and preservation of property, such amounts from time to

                       time as the Debtors may consider necessary and desirable up to an aggregate

                       principal amount not exceeding $25,000,000.

       5.      The provisions of 11 U.S.C. §§ 363, 549, and 552 apply to a transfer of an interest

of the Debtors in property that is within the territorial jurisdiction of the United States to the same

extent that the sections would apply to property of the estate.

       6.      The right to transfer, encumber, or otherwise dispose of the Debtors’ assets absent

the express written consent of the Debtors is hereby suspended.

       7.      The Foreign Representative is entrusted with the right to operate the Debtors’

business, exercise the rights and power of a trustee, and is entitled to administer and realize all or

part of the Debtors’ assets within the territorial jurisdiction of the United States.

       8.      Nothing in this Order shall enjoin a police or regulatory act of a governmental unit,

including a criminal action or proceeding, to the extent set forth in sections 362(b) and 1521(d) of

the Bankruptcy Code.

       9.      Notice of this Order shall be served in accordance with this Court’s Order (A)

Scheduling Recognition Hearing and (B) Specifying Form and Manner of Service of Notice [D.I.

__] on or before ___________, 2023. Service in accordance with this Order constitutes adequate

and sufficient service and notice for all purposes.

       10.     The Petition and Relief Documents shall be made available by the Foreign

Representative upon request in writing to its counsel, DLA Piper (US) LLP, 1201 N. Market Street,



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Suite    2100     Wilmington,      Delaware      19801    (Attn:    R.    Craig     Martin,    Esq.

[craig.martin@us.dlapiper.com]), and 1251 Avenue of the Americas, New York, New York 10020

(Attn: Rachel Ehrlich Albanese, Esq [Rachel.Albanese@us.dlapiper.com] and Jamila Justine

Willis, Esq. [jamila.willis@us.dlapiper.com]).

        11.     Notwithstanding any provision in the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) to the contrary including, but not limited to Bankruptcy Rules 7062 and

1018, (a) this Order shall be effective immediately and enforceable upon its entry; (b) the Foreign

Representative is not subject to any stay in the implementation, enforcement, or realization of the

relief granted in this Order; and (c) the Foreign Representative or the Debtors are authorized and

empowered, and may in their discretion and without further delay, take any action and perform

any act necessary to implement and effectuate the terms of this Order.

        12.     This Court shall retain jurisdiction with respect to any matters, claims, rights, or

disputes arising from or related to the Motion, the Chapter 15 Petition, or the implementation of

this Order.




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                              EXHIBIT D TO NOTICE

                               Provisional Relief Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                  Chapter 15
    In re:
                                                                  Case No. 23-10983 (TMH)
    NEXTPOINT FINANCIAL INC. et. al,
                                                                  (Jointly Administered)
                   Debtors in a foreign proceeding.1
                                                                  Re: D.I. 6


                     ORDER GRANTING PROVISIONAL RELIEF PURSUANT
                       TO SECTION 1519 OF THE BANKRUPTCY CODE

             Upon the motion for certain provisional and injunctive relief (the “Motion”) 2 filed by the

foreign representative (the “Foreign Representative”) of the above-captioned debtors

(collectively, the “Debtors”) seeking entry of an order granting provisional relief (the “Order”)

under the Bankruptcy Code to protect the Debtors and their property within the territorial

jurisdiction of the United States pending recognition of the Debtors’ proceedings currently pending

in Canada pursuant to the CCAA (the “Canadian Proceedings”); and upon this Court’s review

and consideration of the Motion, Verified Petition, Kravitz Declaration, and the Brousson

Declaration; this Court having jurisdiction to consider the Motion and the relief requested therein




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 The Debtors in these chapter 15 proceedings, together with the last four digits of their business identification numbers
are: NextPoint Financial Inc. (6134); LT Holdco, LLC (8090); LT Intermediate Holdco, LLC (0811); SiempreTax+
LLC (6145); JTH Tax LLC (8391); Liberty Tax Holding Corporation (N/A); Liberty Tax Service, Inc. (N/A); JTH
Financial, LLC (1522); JTH Properties 1632, LLC (0248); Liberty Credit Repair, LLC (5427); Wefile, LLC (6778);
JTH Tax Office Properties, LLC (0248); LTS Software LLC (6450), JTH Court Plaza, LLC (2116); 360 Accounting
Solutions LLC (8312); LTS Properties, LLC (9088); NPI Holdco LLC (1936); CTAX Acquisition LLC (6975);
Community Tax Puerto Rico LLC (4349); Community Tax LLC (8001); NPLM Holdco LLC (8132); MMS Servicing
LLC (7430); LoanMe, LLC (5663); LoanMe Funding, LLC (2305); LM Retention Holdings, LLC (N/A); LoanMe
Trust-Prime 2018-1 (0257); LoanMe Trust SBL 2019-1 (N/A); LoanMe Stores, LLC (3810); InsightsLogic, LLC
(0818); and LM 2020 CM I SPE, LLC (N/A). The location of the Debtors’ headquarters is 500 Grapevine Hwy, Suite
402, Hurst, TX 76054, and the Debtors’ mailing address is 1133 Melville St., Suite 2700, Vancouver, BC V6E 4E5.
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    Capitalized terms used by not otherwise defined herein shall have the meanings ascribed to them in the Motion.



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pursuant to 28 U.S.C. §§ 157 and 1334, and 11 U.S.C. §§ 109 and 1501; consideration of the

Motion and the relief requested therein being a core proceeding pursuant to 28 U.S.C. §

157(b)(2)(P); venue being proper before this Court pursuant to 28 U.S.C. § 1410(1) and (3);

appropriate, sufficient and timely notice of the Motion and the hearing thereon having been given

pursuant to Bankruptcy Rules 1011(b) and 2002(q) and Local Rule 9013-1(m); and upon the record

established at such hearing; and it appearing that the relief requested in the Motion is necessary to

avoid immediate and irreparable harm to the Debtors; it appearing that the relief requested in the

Motion is necessary and beneficial to the Debtors; and no objections or other responses having

been filed that have not been overruled, withdrawn or otherwise resolved; and after due

deliberation and sufficient cause appearing therefor,

       IT IS HEREBY FOUND AND DETERMINED THAT:

       A.      The findings and conclusions set forth herein constitute this Court’s findings of fact

and conclusions of law pursuant to Bankruptcy Rule 7052 and made applicable to these

proceedings pursuant to Bankruptcy Rule 9014. To the extent any of the following findings of

fact constitute conclusions of law, they are adopted as such.

       B.      There is a substantial likelihood that the Foreign Representative will successfully

demonstrate that the Canadian Proceedings constitute a “foreign main proceeding” or, in the

alternative “foreign non-main proceedings” as defined in section 1502(4) and (5) of the

Bankruptcy Code and that the Court will determine that the additional relief sought herein,

including the relief under sections 362 and 364, is necessary to effectuate the purpose of chapter

15 and the assets of the Debtors and the interests of creditors as contemplated by section 1521 of

the Bankruptcy Code.



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       C.       The commencement or continuation of any action or proceeding in the United

States against the Debtors should be enjoined pursuant to sections 105(a) and 1519 of the

Bankruptcy Code to permit the expeditious and economical administration of the Canadian

Proceedings, and such relief will either (a) not cause an undue hardship to other parties in interest

or (b) any hardship to parties is outweighed by the benefits of the relief requested.

       D.       Consistent with findings by the Canadian Court and relief granted under the Initial

Order, unless a preliminary injunction is issued with respect to the Debtors, and to the same extent

provided in the Initial Order, there is a material risk that the Debtors’ creditors or other parties-in-

interest in the United States could use the Canadian Proceedings and these chapter 15 cases as a

pretext to exercise certain remedies with respect to the Debtors.

       E.      Such acts could (a) interfere with the jurisdictional mandate of this Court under

chapter 15 of the Bankruptcy Code, (b) interfere with and cause harm to the Debtors’ efforts to

administer the Canadian Proceedings, (c) interfere with the Debtors’ operations, and (d) undermine

the Debtors’ efforts to achieve an equitable result for the benefit of all of the Debtors’ creditors.

Accordingly, there is a material risk that the Debtors may suffer immediate and irreparable injury,

and it is therefore necessary that the Court enter this Order.

       F.       The Initial Order provides for, among other things, certain charges and security in

the Debtors’ Property, including an Administration Charge, a Directors Charge, CRO Charge, and

the DIP Lenders’ Charge. Further, the Initial Order authorizes the Debtors to borrow from the DIP

Lenders such amounts from time to time as the Debtors may consider necessary and desirable up

to an aggregate principal amount not exceeding $25,000,000 on the terms and conditions set forth

in the DIP Term Sheet and provides that all of the Property of the Debtors is subject to the DIP



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Lenders’ Charge as security for the Interim Financing Obligations (as defined in the DIP Term

Sheet).

          G.     Entry of an order of this Court recognizing and enforcing the Initial Order in the

United States and applying the DIP Charges to the Debtors’ property located in the territorial

jurisdiction of the United States, is necessary to give effect to the Initial Order as it relates to the

Debtors and their Property in the United States and is required by the DIP Term Sheet.

          H.     The Foreign Representative has demonstrated that the incurrence of the

indebtedness under the DIP Facility and the granting of liens and charges negotiated in connection

with the DIP Facility, as authorized by the Initial Order is necessary to prevent irreparable harm

to the Debtors. Without such financing, the Debtors will be unable to continue operations and

fund their restructuring proceedings, which will significantly impair the value of the Debtors and

their assets. Further, the amount that the Debtors have been authorized to borrow pursuant to the

Initial Order is reasonably necessary for the continued operations of the Debtors in the ordinary

course of business pending entry of the Recognition Order.

          I.     The Foreign Representative has demonstrated that the terms of the DIP Facility, as

approved by the Initial Order are fair and reasonable and were entered into in good faith by the

Debtors and the DIP Lenders and that the DIP Lenders would not have extended financing without

the protections provided by section 364 of the Bankruptcy Code, made applicable by section

1519(a)(3) of the Bankruptcy Code. The Foreign Representative has demonstrated that the terms

of the DIP Facility are reasonable under the circumstances.

          J.     The Foreign Representative has demonstrated that, in the interest of comity, the

purpose of chapter 15 is carried out by granting recognition and giving effect to the Initial Order.

          K.     The interest of the public will be served by this Court’s entry of this Order.

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       L.      The Foreign Representatives and the Debtors are entitled to the full protections and

rights available pursuant to section 1519(a)(1)-(3) of the Bankruptcy Code.

NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

       1.      Beginning on the Petition Date and continuing until the date of the entry of an order

of this Court recognizing the Canadian Proceedings as “foreign main proceedings” or in the

alternative, “foreign non-main proceedings” as defined in section 1502(4) or, in the alternative of

the Bankruptcy Code and the Foreign Representative as a “foreign representative” as defined in

section 101(24) of the Bankruptcy Code (unless otherwise extended pursuant to section 1519(b)

of the Bankruptcy Code), with respect to the Debtors:

               a.     the Foreign Representative shall be the representative of the Debtors with
                      full authority to administer the Debtors’ assets and affairs in the United
                      States.

               b.     section 362 of the Bankruptcy Code shall apply with respect to each of the
                      Debtors and the property of each of the Debtors that is within the territorial
                      jurisdiction of the United States. For the avoidance of doubt and without
                      limiting the generality of the foregoing, this Order shall impose a stay within
                      the territorial jurisdiction of the United States of:

                      i.      the execution against any of the Debtors’ assets;

                      ii.     the commencement or continuation, including the issuance or
                              employment of process of, any judicial, administrative or any other
                              action or proceeding involving or against the Debtors or their assets
                              or proceeds thereof, or to recover a claim or enforce any judicial,
                              quasi-judicial, regulatory, administrative or other judgment,
                              assessment, order, lien or arbitration award against the Debtors or
                              their assets or proceeds thereof, or to exercise any control over the
                              Debtors’ assets, located in the United States except as authorized by
                              the Debtors in writing;

                      iii.    the creation, perfection, seizure, attachment, enforcement, or
                              execution of liens or judgments against the Debtors’ property in the
                              United States or from transferring, encumbering or otherwise
                              disposing of or interfering with the Debtors’ assets or agreements in
                              the United States without the express consent of the Foreign
                              Representative;
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                      iv.    any act to collect, assess, or recover a claim against any of the
                             Debtors that arose before the commencement of the Debtors’
                             chapter 15 cases; and

                      v.     the setoff of any debt owing to any of the Debtors that arose before
                             the commencement of the Debtors’ chapter 15 cases against any
                             claim against of the Debtors.

               c.     section 364 of the Bankruptcy Code is applicable with respect to each of the
                      Debtors and the property of each of the Debtors that is within the territorial
                      jurisdiction of the United States. For the avoidance of doubt and without
                      limiting the generality of the foregoing, this Order, without limitation:

                      i.     shall grant liens and security interests in the Debtors’ Property
                             located within the territorial jurisdiction of the United States
                             pursuant to section 364(d)(1) of the Bankruptcy Code in respect of,
                             and in accordance with, the Administration Charge, Directors’
                             Charge, CRO Charge and DIP Lenders’ Charge; and

                      ii.    finds any loans made by the DIP Lender in accordance with the DIP
                             Term Sheet prior to the entry of the Recognition Order are extended
                             in “good faith” as contemplated by 364(e) of the Bankruptcy Code,
                             such that the validity of DIP Loans, and the priority of the DIP
                             Lenders’ Charge in respect of the Debtors’ Property located within
                             the territorial jurisdiction of the United States shall not be affected
                             by any reversal or modification of this Order on appeal or the entry
                             of an order denying the Debtors’ request for entry of the Recognition
                             Order.

               d.     the Foreign Representative shall have the rights and protections to which
                      the Foreign Representative is entitled under chapter 15 of the Bankruptcy
                      Code, including, but not limited to, the protections limiting the jurisdiction
                      of United States Courts over the Foreign Representative in accordance with
                      section 1510 of the Bankruptcy Code and the granting of additional relief
                      in accordance with sections 1519(a)(3) and 1521 of the Bankruptcy Code;
                      and

               e.     notwithstanding any provision in the Bankruptcy Rules to the contrary, (i)
                      this Order shall be effective immediately and enforceable upon entry, (ii)
                      the Foreign Representative is not subject to any stay in the implementation,
                      enforcement, or realization of the relief granted in this Order, and (iii) the
                      Foreign Representative is authorized and empowered, and may, in its
                      discretion and without further delay, take any action and perform any act
                      necessary to implement and effectuate the terms of the Provisional Relief
                      Order.

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       2.      The Foreign Representative, in connection with its appointment as the “foreign

representative” in these cases, and the Debtors, is hereby granted the full protections and rights

available pursuant to section 1519(a)(1)-(3) of the Bankruptcy Code.

       3.      Pursuant to sections 1519 and 364 of the Bankruptcy Code, to the extent authorized

under the Initial Order, the Court grants, on a provisional basis, the Administration Charge, the

Directors’ Charge, DIP Lenders’ Charge and the CRO Charge on all the Debtors’ Property located

in the territorial jurisdiction of the United States in the same priority granted in the Canadian

Proceedings.

       4.      The Initial Order (as entered by the Canadian Court), attached hereto as Exhibit 1,

is hereby given full force and effect on a provisional basis with respect to the Debtors and their

property located in the territorial jurisdiction of the United States, including, without limitation,

the sections of the Initial Order (a) staying the commencement or continuation of any actions

against the Debtors and their assets and (b) granting the Directors’ Charge, Administration Charge,

DIP Lenders’ Charge and CRO Charge.

       5.      Pending entry by this Court of the Recognition Order, the Foreign Representative

and the Debtors are entitled to the benefits of, and may comply with, the terms and conditions of

the Directors’ Charge, Administration Charge, DIP Lenders’ Charge and CRO Charge, including,

but not limited to, the payment of associated fees and expenses as they come due without further

notice or order of this Court.

       6.      This Order shall be sufficient and conclusive notice and evidence of the grant,

validity, perfection, and priority of the liens granted in the Canadian Proceedings as they apply to

the Debtors and their property located in the territorial jurisdiction of the United States in respect

of the Administration Charge, the Directors’ Charge, the CRO Charge and the DIP Lenders’

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Charge without the necessity of filing or recording this Order or any financing statement,

mortgage, or other instrument or document which may otherwise be required under the law of any

jurisdiction; provided that the Debtors are authorized to execute, and the DIP Lenders may file or

record, any financing statements, mortgages, other instruments to further evidence the validity,

perfection, and priority of the liens granted in the Canadian Proceedings as they apply to the

Debtors and their property located in the territorial jurisdiction of the United States.

       7.      The DIP Term Sheet has been negotiated in good faith between the Debtors and the

DIP Lender. Any financial accommodations to the Debtors by the DIP Lenders pursuant to the

Initial Order and the DIP Term Sheet shall be deemed to have been made by the DIP Lenders in

good faith, as that term is used in section 364(e) of the Bankruptcy Code. Accordingly, pursuant

to sections 364(e), 1521(a)(7), and 105(a) of the Bankruptcy Code, section 364(e) of the

Bankruptcy Code hereby applies for the benefit of the DIP Lender, and the validity of the

indebtedness, and the priority of the liens authorized by the Initial Order, made enforceable in the

United States by this Order, shall not be affected by any reversal or modification of this Order on

appeal or the entry of any order denying recognition of the Canadian Proceedings pursuant to

section 1517 of the Bankruptcy Code.

       8.      Pursuant to Bankruptcy Rule 7065, the security provisions of rule 65(c) of the

Federal Rules of Civil Procedure are waived.

       9.      Service procedures as set forth in the Notice Procedures Motion shall be deemed

good and sufficient service and adequate notice for all purposes. The Foreign Representative, the

Debtors, and their respective agents are authorized to serve or provide any notices required under

the Federal Rules, Bankruptcy Rules or Local Rules.



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         10.     The requirements set forth in Bankruptcy Rule 1007(a)(4)(B) are waived with

respect to the Provisional Relief, to the extent such requirements have not already been satisfied

by the Bankruptcy Disclosures.

         11.     The banks and financial institutions with which the Debtors maintain bank accounts

or on which checks are drawn or electronic payment requests made in payment of prepetition or

postpetition obligations are authorized and directed to continue to service and administer the

Debtors’ bank accounts without interruption and in the ordinary course and to receive, process,

honor and pay any and all such checks, drafts, wires and automatic clearing house transfers issued,

whether before or after the Petition Date and drawn on the Debtors’ bank accounts by respective

holders and makers thereof and at the direction of the Foreign Representative or the Debtors, as

the case may be.

         12.     The Foreign Representative is authorized to take all actions necessary to effectuate

the relief granted pursuant to this Order.

         13.     The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

         14.     This Court shall retain jurisdiction with respect to the enforcement, amendment or

modification of this Order, any requests for additional relief or any adversary proceeding brought

in and through these chapter 15 cases, and any request by an entity for relief from the provisions

of this Order, for cause shown, that is properly commenced and within the jurisdiction of this

Court.




            Dated: July 27th, 2023                 THOMAS M. HORAN
            Wilmington, Delaware                   UNITED STATES BANKRUPTCY JUDGE




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                                     EXHIBIT 1
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                              EXHIBIT E TO NOTICE

                             Motion for Provisional Relief




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  cdÿMHÿLZEÿeWNfFg`LShÿbMIEÿB&!ÿ9ijklmljnÿjololpq;C<rÿ&!ÿB(CÿsES\WFWLGMNÿMHÿKELEFÿtFW]GLuÿGNÿ
  vg``MFLÿMHÿLZEÿsEwLMFXxÿDEFGHGEIÿKELGLGMNÿHMFÿOPQÿRESMTNGLGMNÿMHÿUMFEGTNÿVWGNÿKFMSEEIGNTXYÿMFYÿ
  GNÿLZEÿ[\LEFNWLG]EYÿUMFEGTNÿ^MN_VWGNÿKFMSEEIGNTXYÿOPPQÿRESMTNGLGMNÿMHÿUMFEGTNÿRE`FEXENLWLG]EYÿ
  OPPPQÿsEwLMFXxÿVMLGMNÿHMFÿbEFLWGNÿKFM]GXGMNW\ÿRE\GEHÿB&!ÿ9ykz{lo|ÿ}j~zkzolpq;Crÿ&!ÿ
  B.CÿsES\WFWLGMNÿMHÿbM\GNÿeFMgXXMNÿWXÿbWNWIGWNÿbMgNXE\ÿLMÿLZEÿsEwLMFXÿGNÿvg``MFLÿMHÿLZEÿ
  sEwLMFXxÿbZW`LEFÿcdÿKELGLGMNXÿWNIÿREgEXLXÿHMFÿbEFLWGNÿRE\WLEIÿRE\GEHÿKgFXgWNLÿLMÿbZW`LEFÿcdÿ
  MHÿLZEÿeWNfFg`LShÿbMIEÿB&!ÿ9kppqÿ}j~zkzolpq;Crÿ#",ÿ&!ÿB,CÿsES\WFWLGMNÿMHÿRÿbFWGTÿ
  VWFLGNÿGNÿvg``MFLÿMHÿLZEÿÿKWFLEÿVMLGMNÿHMFÿKFM]GXGMNW\ÿRE\GEHÿGNÿLZEÿUMFÿMHÿWÿE`MFWFhÿ
  REXLFWGNGNTÿFIEFÿaNIEFÿvESLGMNÿcdcÿMHÿLZEÿeWNfFg`LShÿbMIEÿWNIYÿ[HLEFÿ^MLGSEÿWNIÿWÿEWFGNTYÿ

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                -ÿ )*$ÿB(3$&%'ÿC$93$5$')-)&;$ÿ5*-11ÿF$ÿ)*$ÿ3$93$5$')-)&;$ÿ(2ÿ)*$ÿ,$F)(35ÿD&)*ÿ
                       2011ÿ-0)*(3&)4ÿ)(ÿ-.8&'&5)$3ÿ)*$ÿ,$F)(35Hÿ-55$)5ÿ-'.ÿ-22-&35ÿ&'ÿ)*$ÿI'&)$.ÿ
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                       ,$F)(35ÿ-'.ÿ)*$ÿ93(9$3)4ÿ(2ÿ$-/*ÿ(2ÿ)*$ÿ,$F)(35ÿ)*-)ÿ&5ÿD&)*&'ÿ)*$ÿ)$33&)(3&-1ÿ
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                                -/)&('ÿ(3ÿ93(/$$.&'%ÿ&';(1;&'%ÿ(3ÿ-%-&'5)ÿ)*$ÿ,$F)(35ÿ(3ÿ)*$&3ÿ-55$)5ÿ
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                                ,$F)(35Hÿ-55$)5<ÿ1(/-)$.ÿ&'ÿ)*$ÿI'&)$.ÿJ)-)$5ÿ$E/$9)ÿ-5ÿ-0)*(3&6$.ÿF4ÿ
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                                .&59(5&'%ÿ(2ÿ(3ÿ&')$32$3&'%ÿD&)*ÿ)*$ÿ,$F)(35Hÿ-55$)5ÿ(3ÿ-%3$$8$')5ÿ&'ÿ
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